             Case: 23-1922            Document: 39-3   Page: 1     Filed: 01/02/2024


                          Volume II of V, Appx1848 to Appx6653
                                       No. 23-1922
                                                  88




                                              In the
         United States Court of Appeals
                              for the Federal Circuit

                            BEARBOX LLC, AUSTIN STORMS,
                                                                            Plaintiffs-Appellants,
                                                 v.
     LANCIUM LLC, MICHAEL T. McNAMARA, RAYMOND E. CLINE, JR.,
                                                                          Defendants-Appellees.
                             _______________________________________
                               Appeal from the United States District Court
                       for the District of Delaware, No. 1:21-cv-00534-GBW-CJB
                                   The Honorable Gregory B. Williams

                               CORRECTED JOINT APPENDIX

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 f                                                                                              @
     COUNSEL PRESS ∙ (866) 703-9373                                 PRINTED ON RECYCLED PAPER
        Case: 23-1922     Document: 39-3    Page: 2   Filed: 01/02/2024




                        INDEX OF JOINT APPENDIX

                                                      Docket/
     Document Description                  Date       Exhibit      Appx Pages
                                                       No.
March 6, 2023 Opinion regarding
                                      2023-03-06      D.I. 262       Appx1-59
bench trial
Final Judgment entered 04/05/2023     2023-04-05      D.I. 267      Appx60-62
November 14, 2022 Memorandum
                                      2022-11-14      D.I. 230      Appx63-89
Opinion (re: summary judgment)
November 14, 2022 Order (re:
                                      2022-11-14      D.I. 231      Appx90-91
summary judgment)
November 23, 2022 Memorandum
                                      2022-11-23      D.I. 247      Appx92-97
Order (granting motion to strike)
U.S. Patent No. 10,608,433            2020-03-31       TX001       Appx100-149
Civil Docket Sheet for Case No.
                                                                   Appx150-191
1:21-cv-00534-GBW-CJB
COMPLAINT filed with Jury
Demand against Raymond E. Cline,
                                      2021-04-14       D.I. 1      Appx192-266
Jr, Lancium LLC, Michael T.
McNamara
AMENDED COMPLAINT against
Raymond E. Cline, Jr, Lancium
                                      2021-05-24      D.I. 19      Appx623-713
LLC, Michael T. McNamara- filed
by Austin Storms, BearBox LLC.
AMENDED ANSWER to 19
Amended Complaint,,
COUNTERCLAIM against BearBox
                                      2021-06-25      D.I. 28    Appx1101-1102
LLC, Austin Storms by Michael T.
McNamara, Raymond E. Cline, Jr,
Lancium LLC.
SCHEDULING ORDER                      2021-07-06      D.I. 35    Appx1431-1440
ANSWERING BRIEF in Opposition
re 32 MOTION for Judgment on the
                                      2021-07-19      D.I. 42       Appx1476
Pleadings filed by BearBox LLC,
Austin Storms.




                                     i
         Case: 23-1922    Document: 39-3     Page: 3   Filed: 01/02/2024




                                                       Docket/
      Document Description                  Date       Exhibit      Appx Pages
                                                        No.
Letter to The Honorable Maryellen
Noreika from Andrew C. Mayo
regarding joint status report in       2021-08-31      D.I. 54       Appx1501
connection with request for claim
construction hearing.
Letter to Judge Christopher J. Burke
from Chad S.C. Stover regarding        2021-10-15      D.I. 63       Appx1537
Claim Construction.
REPORT AND
RECOMMENDATIONS
                                       2022-01-18      D.I. 92    Appx1615-1623
re 32 MOTION for Judgment on the
Pleadings
ORDER ADOPTING 92 REPORT
AND RECOMMENDATION
                                       2022-02-02      D.I. 97       Appx1630
GRANTING 32 Motion for
Judgment on the Pleadings
Second AMENDED COMPLAINT
against Raymond E. Cline, Jr,
                                       2022-02-16      D.I. 103   Appx1631-1734
Lancium LLC, Michael T.
McNamara
Letter to The Honorable Christopher
J. Burke from Andrew C. Mayo
                                       2022-03-10      D.I. 113      Appx1848
regarding response to motion to
strike
OPENING BRIEF in Support re 120
                                       2022-03-16      D.I. 121   Appx2024-2041
MOTION to Dismiss
REPORT AND
                                       2022-05-26      D.I. 143      Appx2339
RECOMMENDATION
OBJECTION to 143 Report and
Recommendations by Raymond E.
                                       2022-06-09      D.I. 146   Appx2506-2567
Cline, Jr, Lancium LLC, Michael T.
McNamara.
OPENING BRIEF in Support re 148
                                       2022-06-15      D.I. 149   Appx2611-2656
MOTION for Summary Judgment




                                       ii
        Case: 23-1922    Document: 39-3      Page: 4   Filed: 01/02/2024




                                                       Docket/
     Document Description                   Date       Exhibit      Appx Pages
                                                        No.
CONCISE STATEMENT of
Undisputed Material Facts re 148
MOTION for Summary Judgment by        2022-06-15       D.I. 150      Appx2660
Raymond E. Cline, Jr, Lancium
LLC, Michael T. McNamara
DECLARATION OF Adam M.                2022-06-15       D.I. 151     Appx2681
Kaufmann re 150 Statement, 148                                      Appx2722
MOTION for Summary Judgment                                       Appx2733-2734
                                                                    Appx2739
                                                                  Appx2741-2742
                                                                  Appx2748-2751
                                                                  Appx2754-2755
                                                                  Appx2761-2762
                                                                    Appx2774
                                                                    Appx2777
                                                                    Appx2810
                                                                    Appx2827
                                                                  Appx2840-2841
                                                                    Appx2856
                                                                  Appx2858-2859
                                                                  Appx2899-2900
                                                                    Appx2939
                                                                  Appx2945-2946
                                                                    Appx2950
                                                                  Appx2963-3030
REDACTED VERSION of 149
                                      2022-06-29       D.I. 163      Appx3450
Opening Brief in Support
ANSWERING BRIEF in Opposition                                       Appx4260
re 148 MOTION for Summary                                           Appx4265
                                      2022-07-19       D.I. 176
Judgment filed by BearBox LLC,                                    Appx4271-4273
Austin Storms                                                       Appx4282
STATEMENT re 150 Statement //
Plaintiffs' Response to Defendants'
Concise Statement of Facts in
                                      2022-07-19       D.I. 177      Appx4290
Support of Defendants' Motion for
Summary Judgment by BearBox
LLC, Austin Storms

                                      iii
        Case: 23-1922   Document: 39-3     Page: 5   Filed: 01/02/2024




                                                     Docket/
     Document Description                 Date       Exhibit      Appx Pages
                                                      No.
DECLARATION of Chelsea Murray
                                                                  Appx4691
re 176 Answering Brief in
                                     2022-07-19      D.I. 179   Appx4693-4696
Opposition by BearBox LLC, Austin
                                                                Appx4843-4856
Storms
REPLY BRIEF re 148 MOTION for
Summary Judgment filed by
                                     2022-07-29      D.I. 195   Appx5618-5624
Raymond E. Cline, Jr, Lancium
LLC, Michael T. McNamara
DECLARATION of Adam M.                                            Appx5678
Kaufmann re 195 Reply Brief by                                  Appx5751-5753
                                     2022-07-29      D.I. 196
Raymond E. Cline, Jr, Lancium                                     Appx5846
LLC, Michael T. McNamara                                          Appx5850
REDACTED VERSION of 195
                                     2022-08-05      D.I. 206      Appx5916
Reply Brief
Letter to The Honorable Gregory B.
Williams from Chad S.C. Stover
regarding Defendants' request for    2022-09-28      D.I. 209   Appx5952-5953
oral argument re: their summary
judgment and Dabuert motions
Letter to The Honorable Gregory B.
Williams from Andrew C. Mayo
                                     2022-09-29      D.I. 210      Appx5954
regarding response to Defendant's
September 28, 2022 letter
MEMORANDUM OPINION                   2022-10-07      D.I. 212   Appx5957-5964
ORDER re 212 MEMORANDUM
                                     2022-10-07      D.I. 213      Appx5965
OPINION
MEMORANDUM OPINION re
                                     2022-10-28      D.I. 218   Appx6005-6020
claim construction
ORDER re 218 Memorandum
Opinion regarding claim              2022-10-28      D.I. 219      Appx6021
construction
MOTION to Bifurcate                  2022-10-31      D.I. 222   Appx6024-6026
OPENING BRIEF in Support re
                                     2022-10-31      D.I. 223   Appx6027-6043
222 MOTION to Bifurcate
ANSWERING BRIEF in Opposition
                                     2022-11-10      D.I. 229   Appx6062-6073
re 222 MOTION to Bifurcate


                                     iv
         Case: 23-1922    Document: 39-3    Page: 6   Filed: 01/02/2024




                                                      Docket/
      Document Description                 Date       Exhibit      Appx Pages
                                                        No.
ORAL ORDER                             2022-11-14     D.I. 232   Appx6074-6075
Letter to The Honorable Gregory B.
Williams from Chad S.C. Stover
regarding Defendants' Opening
Letter Brief in Support of its
                                       2022-11-15     D.I. 237   Appx6089-6191
Emergency Motion to Stike Plaintffs'
Newly Disclosed, Untimely Expert
Report and Request for Expedited
Briefing - re 236 MOTION to Strike
Proposed Pretrial Order by BearBox                                 Appx6216
                                       2022-11-15     D.I. 239
LLC, Austin Storms                                               Appx6639-6653s
Letter to The Honorable Gregory B.
Williams from Andrew C. Mayo
                                       2022-11-18     D.I. 241   Appx6744-6940
regarding response to defendants'
motion to strike
REDACTED VERSION of 237
Letter,, by Raymond E. Cline, Jr,
                                       2022-11-22     D.I. 246   Appx6974-6975
Lancium LLC, Michael T.
McNamara
POST TRIAL BRIEF by BearBox                                      Appx7104-7105
                                       2023-01-11     D.I. 256
LLC, Austin Storms                                               Appx7107-7120
Proposed Findings of Fact by                                       Appx7132
                                       2023-01-11     D.I. 257
BearBox LLC, Austin Storms                                         Appx7150
POST TRIAL BRIEF (Response) by
Raymond E. Cline, Jr, Lancium          2023-01-25     D.I. 258   Appx7163-7165
LLC, Michael T. McNamara
Proposed Findings of Fact by
Raymond E. Cline, Jr, Lancium          2023-01-25     D.I. 259   Appx7189-7196
LLC, Michael T. McNamara
POST TRIAL BRIEF (Reply) by
                                       2023-02-01     D.I. 260      Appx7219
BearBox LLC, Austin Storms
ANSWERING BRIEF in Opposition
re 269 MOTION for Attorney Fees        2023-05-03     D.I. 273      Appx7484
and Expenses
NOTICE OF APPEAL to the Federal
                                       2023-05-04     D.I. 274   Appx7973-7974
Circuit of 267 Judgment


                                       v
         Case: 23-1922     Document: 39-3    Page: 7   Filed: 01/02/2024




                                                       Docket/
      Document Description                  Date       Exhibit      Appx Pages
                                                        No.
Trial Transcript (Volumes I - III)     12/6/2022                    Appx8005
                                        through                     Appx8007
                                       12/8/2022                    Appx8010
                                                                  Appx8017-8026
                                                                  Appx8029-8030
                                                                  Appx8033-8035
                                                                  Appx8037-8046
                                                                  Appx8048-8059
                                                                    Appx8060
                                                                    Appx8063
                                                                    Appx8069
                                                                    Appx8070
                                                                    Appx8073
                                                                    Appx8075
                                                                    Appx8077
                                                                  Appx8080-8081
                                                                  Appx8084-8088
                                                                  Appx8090-8091
                                                                  Appx8098-8101
                                                                  Appx8104-8108
                                                                  Appx8111-8112
                                                                  Appx8115-8136
                                                                  Appx8141-8153
                                                                  Appx8155-8156
                                                                  Appx8160-8162
                                                                  Appx8165-8166
                                                                  Appx8168-8169
                                                                    Appx8171
                                                                  Appx8173-8174
                                                                  Appx8178-8183
Defendants’ 2nd Supplemental
Response to Plaintiffs’                2021-12-23      TX005      Appx8842-8878
Interrogatories (Nos. 3)
WO2019139632A1                         2019-07-18      TX013      Appx8879-8922
Text Message Conversation between
                                                       TX014      Appx8923-8994
A. Storms and B. Hakes


                                      vi
        Case: 23-1922    Document: 39-3     Page: 8   Filed: 01/02/2024




                                                      Docket/
     Document Description                  Date       Exhibit      Appx Pages
                                                       No.
Layer1 Claim Chart regarding U.S.
Patent No. 10,608,433, Ex. H to
                                     2020-08-14       TX017      Appx9003-9028
Complaint (D.I. 1-8)(20-cv-00739)
(exhibit as used at depositions)
Email from Austin Storms to Jason
re Fwd: code with attachments        2019-04-29       TX020         Appx9061
PTX130 through PTX141
denis_logic.py                       2021-02-16       TX022         Appx9109
arb_main_AEC.py                      2019-05-01       TX024         Appx9110
Message Report – Text messages
between A. Storms and M.
                                     2019-05-04       TX052         Appx9137
McNamara during May 4, 2019
through May 9, 2019
Presentation, Lancium – Powering
                                     2019-08-19       TX091         Appx9234
the Future of Computing
Email from M. McNamara to R.
Cline Fwd: Lancium Smart
                                     2019-10-25       TX096         Appx9274
Response/September Thomas Road
Power Reconciliation
Email from M. McNamara to R.
Cline re Thomas Road Power and       2019-08-16       TX107      Appx9310-9312
attachments
Email from M. McNamara to R.
Cline Re: ADK_LDI – Lancium LR       2019-09-01       TX111         Appx9318
Awards
Initial Purchase Agreement between
Lancium and Calpine for Thomas                        TX122      Appx9361-9362
Road Facility
PowerPoint - BTIG, Lancium
                                     2021-05-00       TX125      Appx9366-9411
Investor Presentation
5005.JPG (image with metadata)       2018-11-29       TX128      Appx9412-9413
5005.JPG (image with metadata)       2018-12-02       TX129      Appx9414-9415
5005.JPG (image with metadata)       2019-01-07       TX130      Appx9416-9417
IMG_0496.JPG (image with
                                     2019-01-24       TX131      Appx9418-9419
metadata)



                                     vii
        Case: 23-1922    Document: 39-3      Page: 9   Filed: 01/02/2024




                                                       Docket/
     Document Description                   Date       Exhibit      Appx Pages
                                                        No.
IMG_0497.HEIC (image with
                                      2019-01-24       TX132      Appx9420-9421
metadata)
IMG_7517.jpeg (image with
                                      2019-03-02       TX134      Appx9422-9423
metadata)
57429304353__6E0371C9-75E8-
44E8-A81D-AFBB30CF06BC.JPG            2019-03-14       TX138      Appx9424-9425
(image with metadata)
57776007234__2BB185B5-C6C7-
46CD-B355-A20A49854F4D.JPG            2019-04-23       TX143      Appx9434-9435
(image with metadata)
Email from Austin Storms to Denis
Labij re Day-ahead vs. RTBM LMP
biz requirements and data questions   2019-04-24       TX146      Appx9444-9453
with attachment
(lmp_model_04252019.csv)
Email from Austin Storms to Denis
Labij re Day-ahead vs. RTBM LMP       2019-04-26       TX149      Appx9454-9455
biz requirements and data questions
Email from Austin Storms to
Michael McNamara re BearBox 20'
product details and supporting
documentation with attachments
(BearBox Product Details Summary      2019-05-09       TX157      Appx9631-9635
v1.pdf; Permatron_Spec_Sheet.pdf;
CamFil_Spec_Sheet.pdf;
JandD_Spec_Sheet.pdf;
exelon4_modeling_05092019.xlsx)
International Application Published
Under PCT - WO 2019/139632 A1
Method and System for dynamic
                                      2019-07-05       TX163      Appx9711-9754
Power Delivery to a Flexible
Datacenter Using Un-utilized Energy
Sources
Patent Application File
                                      2021-09-07       TX167     Appx11232-11363
162927119.pdf



                                      vii
       Case: 23-1922   Document: 39-3    Page: 10   Filed: 01/02/2024




                                                    Docket/
     Document Description                Date       Exhibit      Appx Pages
                                                     No.
BearBox_Product_Details_Summary
                                    2019-05-09      TX171     Appx11371-11372
_v1.pdf
Permatron_Spec_Sheet.pdf            2015-03-02      TX172       Appx11373
CamFil_Spec_Sheet.pdf               2018-12-08      TX173       Appx11374
JandD_Spec_Sheet.pdf                2019-04-01      TX174     Appx11375-11376
exelon4_modeling_05092019.xlsx      2019-05-09      TX175     Appx11377-11393
Email Lancium / SBI Update - Sept
                                    2018-09-27      TX176     Appx11394-11395
27th
EDFR-
Lancium_Hereford_Terms_Summar       2018-09-27      TX177     Appx11396-11400
y_DRAFT_20180926.docx
Acciona_2018SEP19_Site_Visit.pdf    2018-09-20      TX178     Appx11401-11407
ServiceNow_Location_Entry.png                       TX179     Appx11408-11409
Tier44_Power_Management_Dashb
                                                    TX180        Appx11410
oard.png
Email Demo Day Script               2018-08-26      TX189     Appx11411-11412
Email Got it!                       2018-06-28      TX190       Appx11413
Email Re: Other Thomas Investment   2018-10-12      TX222       Appx11567
dashboard_content.pptx              2018-10-11      TX223       Appx11568
Lancium Deck - I Squared
                                                                 Appx11601
v5_1IZ8uVYKObIZVDbZItnXEz-          2018-01-31      TX266
                                                                 Appx11606
MJYT6wmTrr.pptx
Email Re: Lancium (ADK_LD1) LR      2019-08-28      TX310     Appx11632-11638
Lancium_Control_Narrative_-                                     Appx11639
                                    2019-05-02      TX320
_Draft_2019-05-01.pdf                                         Appx11656-11658
Miner_Field_Ops_Kick_Off.pptx       2021-09-29      TX345       Appx11734
Email Re: 1803343 Lancium Data
                                    2018-05-11      TX371        Appx11759
Box - Design Basis
Email Re: Introductions             2017-12-05      TX372        Appx11766
Email Deck                          2017-12-27      TX373        Appx11767
Lancium_Investor_Deck_Q118_v1.p
                                    2017-12-27      TX374     Appx11768-11796
ptx
Email LR DEMAND RESPONSE
                                    2019-05-18      TX437        Appx11797
PRESENTATION 2019.pptx
LR_DEMAND_RESPONSE_PRES
                                    2019-05-17      TX438     Appx11807-11809
ENTATION_2019.pptx


                                    ix
        Case: 23-1922     Document: 39-3    Page: 11   Filed: 01/02/2024




                                                       Docket/
      Document Description                  Date       Exhibit      Appx Pages
                                                        No.
Email BAML deck                         2018-03-29     TX462        Appx11817
Lancium_-_BAML_April_10th.pptx          2018-03-29     TX463        Appx11828
Email Countersigned EMS attached        2019-07-15     TX496        Appx12329
Countersigned_EMS_Lancium_0715
                                        2019-07-15     TX497        Appx12337
19.pdf
Email Re: FW: Real-Time LMP             2019-04-22     TX501     Appx12342-12343
Email MP2 Demand Response               2019-08-27     TX526       Appx12344
Email Thomas Road Power                 2019-08-16     TX567       Appx12348
Email Re: Checking / New Mexico
                                        2018-02-07     TX594        Appx12350
Wind Energy Center
Email Re: ADK_LD1 - Lancium LR
                                        2019-09-04     TX595     Appx12352-12356
Awards.xlsx
Email Re: ERS                           2019-05-14     TX626        Appx12358
Email Re: LR DEMAND
RESPONSE PRESENTATION                   2019-05-18     TX740     Appx12395-12396
2019.pptx
Lancium_Introduction_and_Overvie
                                        2019-05-08     TX741     Appx12397-12426
w_-_May_2019.pdf
751f8045-9c06-4c58-b83f-
                                                       TX742     Appx12427-12428
f1d98c859e00.json
Email Re: Meeting tomorrow              2019-05-06     TX748     Appx12431-12432
Lancium_Introduction_and_Overvie
                                        2019-04-10     TX749     Appx12433-12462
w_-_April_2019.pdf
Lancium_Standard_Mutual_NDA_.d
                                        2019-05-06     TX750     Appx12463-12465
oc
Email Fwd:ERCOT Energy Curves
                                        2019-08-14     TX756     Appx12466-12468
Have Been Updated
Lancium_August_2019_Renewal_-
                                        2019-08-14     TX757     Appx12469-12471
_24_months.docx
Email Re: Calpine forecast for CP
                                        2019-08-05     TX758     Appx12472-12473
days
Weighted Average Cost of Energy
(WACOE) - if you fix power at $33       2019-08-06     TX763        Appx12474
and sell back at any price over $100.
Lancium_Sellback_Sensitivity_Anal
                                        2019-08-06     TX764     Appx12475-12478
ysis.xlsx


                                        x
        Case: 23-1922     Document: 39-3   Page: 12   Filed: 01/02/2024




                                                      Docket/
     Document Description                  Date       Exhibit      Appx Pages
                                                       No.
Emails between Michael McNamara
to Eric Kutscha, Jon Cohen,
Raymond Cline attaching BearBox       2019-05-09      TX770        Appx12946
product details summary and
specification sheets
Email Jon Cohen to Michael
                                      2018-10-16      TX781        Appx13030
McNamara
Email from Austin Storms to
Michael McNamara attaching
                                      2019-05-09      TX887     Appx13323-13339
BearBox product details summary
and spec sheets
                                      11/1/2018 -
Storms Tweets - BearBox                               TX901        Appx13353
                                       5/16/2019
Email from Austin Storms to Rajiv
Patel and Michael Sacksteder
                                      2019-08-20      TX906     Appx13371-13396
attaching BearBox product details
summary
Email from Austin Storms to Todd
Garland Re: Fwd: EXELON DATA          2019-05-06      TX919     Appx13408-13409
MODELING DUMP 2
Email from Austin Storms to Todd
Garland with attachments Fwd:
                                      2019-05-03      TX920     Appx13411-13447
EXELON DATA MODELING
DUMP 2
Email from Austin Storms to Ben
Hakes attaching NDA                   2018-12-10      TX932        Appx13450
Confidentiality Agreement
Text message string                   2020-08-03      TX957        Appx13565
Email chain between Dennis Labi,
Austin Storms, Mike Hoadley, Chris
Vickery, and Benjamin Hakes RE        2019-04-25      TX962     Appx13566-13567
Day-ahead vs. RTBM LMP biz
requirements and data questions
Lancium_Data_Box_-
                                      2018-05-11      TX979     Appx13568-13569
_Design_Basis_20180511_R3
Email re: ADK_LD1 - Lancium.xlsx      2019-08-26      TX981        Appx13570


                                      xi
        Case: 23-1922     Document: 39-3    Page: 13   Filed: 01/02/2024




                                                       Docket/
      Document Description                  Date       Exhibit      Appx Pages
                                                        No.
ADK_LD1_-_Lancium.xlsx                2019-08-26       TX982        Appx13571
Curriculum Vitae of Frank
                                                                 Appx13572-13576
McCamant
Metadata for
exelon4_modeling_05092019(1).xls                       TX984     Appx13577-13586
x
Transcript of Telephonic Motion
Hearing regarding Joint MOTION
                                                                    Appx13647
for Teleconference to Resolve         2022-04-22
                                                                    Appx13653
Discovery Dispute; and Motion to
Strike Amended Complaint
                                                                   Appx13804
                                                                   Appx13821
Transcript of Markman Hearing         2022-10-20
                                                                   Appx13828
                                                                   Appx13835
Transcript of Pretrial Conference     2022-11-29                 Appx13858-13876




                                      xii
           Case: 23-1922        Document: 39-3          Page: 14      Filed: 01/02/2024

                                   ATTORNEYS’ EYES ONLY – HIGHLY CONFIDENTIAL –
                                                   SUBJECT TO PROTECTIVE ORDER

(ii)   economic   dispatch   revenue   through    arbitrage.   See,    e.g.,   LANCIUM00028482,

LANCIUM00033064,         LANCIUM00033065,             LANCIUM00030838,         LANCIUM00028485,

LANCIUM00033062, LANCIUM00024122,                     LANCIUM00033055, LANCIUM00033240,

LANCIUM00030839 (spreadsheet attachments              LANCIUM00030840, LANCIUM00030841,

LANCIUM00030842), LANCIUM00030782, LANCIUM00033215, LANCIUM00024173,

LANCIUM00029321, LANCIUM00018672. Lancium also continued to innovate its software-

controlled fast ramping (e.g., operations control), overall system design (e.g., site layouts), and

high-heat tolerance modular containers (e.g., scope changes; panel design; structural design; 2MW

module designs issued for construction; 4MW V-box iterations; miner density designs; demo box

reconfiguration plans; removal of evaporative cooler). See, e.g., LANCIUM00019208,

LANCIUM00019212,         LANCIUM00019217,             LANCIUM00019222,         LANCIUM00019227,

LANCIUM00019125,         LANCIUM00019130,             LANCIUM00019139,         LANCIUM00019143,

LANCIUM00019151,         LANCIUM00019155,             LANCIUM00018898,         LANCIUM00018904,

LANCIUM00025517,         LANCIUM00025518,             LANCIUM00025419,         LANCIUM00025420,

LANCIUM00025496          LANCIUM00019105,         LANCIUM00019109,             LANCIUM00019116,

LANCIUM00019124. Additionally, Lancium worked with stakeholders and hired a consultant to

analyze, develop, and advance the regulatory and protocol exemptions and changes that would be

necessary to integrate its fast-ramping load technology into the ERCOT power grid. See, e.g.,

LANCIUM00034586,         LANCIUM00034587,             LANCIUM00033660,         LANCIUM00033662,

LANCIUM00033672,         LANCIUM00033656,             LANCIUM00034755,         LANCIUM00033645,

LANCIUM00033648,         LANCIUM00033628,             LANCIUM00033632,         LANCIUM00033629,

LANCIUM00033617. Lancium also continued discussions with GlidePath for operation of a

third-party datacenter container at a GlidePath site served by Lancium power skids and under



                                                 30
                                           Appx1848
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  15 Filed:  1 of 18 PageID #: 2496




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   BEARBOX LLC and AUSTIN STORMS,            )
                                             )
                      Plaintiffs,            )
                                             )
                v.                           )      C.A. No. 21-534-MN&-%
                                             )
   LANCIUM LLC, MICHAEL T. MCNAMARA,         )
   and RAYMOND E. CLINE, JR.,                )
                                             )
                      Defendants.            )


    DEFENDANTS LANCIUM LLC, MICHAEL T. MCNAMARA, AND RAYMOND E.
         CLINE, JR.’S OPENING BRIEF IN SUPPORT OF THEIR MOTION
     TO DISMISS COUNTS V AND VI OF THE SECOND AMENDED COMPLAINT


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                                    Appx2024
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  16 Filed:  2 of 18 PageID #: 2497




                                                TABLE OF CONTENTS

                                                                                                                                    Page

  I.     INTRODUCTION ...............................................................................................................1

  II.    PROCEDURAL HISTORY.................................................................................................1

  III.   SUMMARY OF ARGUMENT ...........................................................................................2

  IV.    CONCISE STATEMENT OF THE FACTS .......................................................................2

  V.     ARGUMENT .......................................................................................................................4

         A.        Legal Standards ....................................................................................................... 4

         B.        Plaintiffs’ State Law Claims Should Be Dismissed Because They Fail As A
                   Matter Of Law......................................................................................................... 5

                   1.         Plaintiffs’ Unjust Enrichment Claim Fails As a Matter of Law
                              Because Other Remedies Are Available For the Alleged Conduct .............6

                   2.         To The Extent Plaintiffs’ Unjust Enrichment Claim Is Premised On
                              The Use of Non-Confidential Information, It Is Preempted By
                              Federal Patent Law ....................................................................................10

                   3.         Plaintiffs’ Conversion Claim Fails Because They Were Not
                              Deprived Of Tangible Property .................................................................12

  VI.    CONCLUSION ..................................................................................................................13




                                                                    i
                                                           Appx2025
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  17 Filed:  3 of 18 PageID #: 2498




                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

  Cases

  Abbott Lab. v. NutraMax Prod., Inc.,
     844 F. Supp. 443 (N.D. Ill. 1994) ..............................................................................................6

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) ...................................................................................................................5

  Baker v. Maclay Properties Co.,
     648 So. 2d 888 (La. 1995) .........................................................................................................7

  Bavarian Nordic A/S v. Acambis Inc.,
     486 F. Supp. 2d 354 (D. Del. 2007) ...........................................................................................6

  Bell Atl. Corp. v. Twombly,
      550 U.S. 544 (2007) ...................................................................................................................5

  Bihm v. Deca Systems, Inc.,
     226 So. 3d 466 (La. Ct. App. 2017) .........................................................................................12

  Bonito Boats, Inc. v. Thunder Craft Boats, Inc.,
     489 U.S. 141 (1989) ...........................................................................................................10, 11

  CamSoft Data Systems, Inc. v. Southern Electronics Supply, Inc.,
    2019 CA 0731, 2019 WL 2865359 (La. Ct. App. July 2, 2019), writ denied,
    282 So. 3d 1071 (La. 2019) ...............................................................................................12, 13

  Constance v. Austral Oil Expl., Co.,
     Nos. 12-1252 & 12-1253, 2013 WL 6578178 (W.D. La. Dec. 13, 2013) .................................8

  Eaton Corp. v. Geisenberger,
     486 F. Supp. 3d 770 (D. Del. 2020), aff’d in part, vacated in part on other
     grounds, remanded sub nom. Siemens USA Holdings Inc v. Geisenberger, 17
     F.Supp. 4th 393 (3d Cir. 2021) ..................................................................................................5

  Ferrara Fire Apparatus, Inc. v. JLG Indus., Inc
     581 Fed. App’x 440, 443–44 (5th Cir. 2014) ............................................................................8

  Jeffers v. Kerzner Int’l Hotels Ltd.,
      319 F. Supp. 3d 1267 (S.D. Fla. 2018) ......................................................................................6

  Pennsylvania Emp., Benefit Tr. Fund v. Zeneca, Inc.,
     710 F. Supp. 2d 458 (D. Del. 2010) .......................................................................................5, 6




                                                                      ii
                                                               Appx2026
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  18 Filed:  4 of 18 PageID #: 2499




  Pronova Biopharma Norge AS v. Teva Pharm. USA, Inc.,
     549 F. App’x 934 (Fed. Cir. 2013) ..........................................................................................11

  Quealy v. Paine, Webber, Jackson & Curtis, Inc.,
     475 So. 2d 756 (La. 1985) .......................................................................................................12

  Selective Ins. Co. v. Phila. Indem. Ins. Co.,
      No. N17C-08-325, 2018 WL 2215885 (Del. Super. Ct. May 15, 2018) ...................................6

  Shaw v. Restoration Hardware, Inc.,
     No. 21-1540, 2022 WL 343458 (E.D. La. Feb. 4, 2022) .......................................................7, 9

  Ultra-Precision Mfg., Ltd v. Ford Motor Co.,
      411 F.3d 1369 (Fed. Cir. 2005)..........................................................................................10, 11

  Walters v. MedSouth Rec. Mgmt., LLC,
     2010-0352 (La. 6/4/10), 38 So. 3d 241 ......................................................................................9

  Walters v. MedSouth Record Mgmt., LLC,
     38 So. 3d 243 (La. 2010) ...........................................................................................................7

  Waner v. Ford Motor Co.,
    331 F.3d 851 (Fed. Cir. 2003)..................................................................................................11

  Zaveri v. Condor Petroleum Corp.,
     27 F. Supp. 3d 695 (W.D. La. 2014)......................................................................................7, 8

  Statutes

  35 U.S.C. § 102 ..............................................................................................................................11

  35 U.S.C. § 256 ................................................................................................................................4

  Louisiana Civil Practice and Remedies Code, Title 51, Section 13-A ............................................5




                                                                        iii
                                                                 Appx2027
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  19 Filed:  5 of 18 PageID #: 2500




  I.     INTRODUCTION

         Despite having a second bite at the apple, Plaintiffs BearBox LLC (“BearBox”) and Austin

  Storms’ (“Storms”) (collectively, “Plaintiffs”) re-pleaded conversion claim (Count V) and unjust

  enrichment claim (Count VI) both still fail as a matter of law. Indeed, Plaintiffs’ unjust enrichment

  claim is still precluded by the availability of other remedies for the alleged conduct. And Plaintiffs’

  conversion claim does notʊand cannotʊallege a necessary element of conversion: that Plaintiffs

  were deprived of use or possession of tangible, movable property. Accordingly, the Court should

  dismiss Counts V and VI of Plaintiffs’ Second Amended Complaint, with prejudice.

  II.    PROCEDURAL HISTORY

         On April 14, 2021, Plaintiffs filed their original Complaint against Defendants, which

  included seven counts asserting claims for: (1) correction of inventorship for U.S. Patent No.

  10,608,433 (“the ‘433 patent”) to list Austin Storms as the sole inventor; (2) an alternative claim

  for correction of inventorship for the ‘433 patent to list Storms as a co-inventor; (3) conversion;

  (4) unjust enrichment; (5) trade secret misappropriation under the federal Defend Trade Secrets

  Act; (6) trade secret misappropriation under Texas state law; and (7) negligent misrepresentation.

  See D.I. 1. On May 3, 2021, Defendants filed their Answer and Counterclaims disputing each of

  Plaintiffs’ claims and asserting several affirmative defenses and counterclaims, including that

  Plaintiffs failed to state a claim for trade secret misappropriation. See D.I. 13.

         On May 24, 2021, in lieu of answering Defendants’ Counterclaims, Plaintiffs filed an

  Amended Complaint (“First Amended Complaint”). D.I. 19. The First Amended Complaint

  withdrew Plaintiffs’ trade secret counts, but maintained Plaintiffs’ other claims. On June 28, 2021,

  Defendants filed their Motion for Judgment on the Pleadings seeking dismissal of Plaintiffs’ claims

  for conversion, unjust enrichment, and negligent misrepresentation. D.I. 32. On January 18, 2022,




                                                    1
                                               Appx2028
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  20 Filed:  6 of 18 PageID #: 2501




  Your Honor issued his Report and Recommendation (“R&R”) recommending granting

  Defendants’ Motion, but allowing Plaintiffs leave to attempt to re-plead their unjust enrichment

  and conversion claims. D.I. 92. On February 2, 2022, Judge Noreika adopted the R&R. D.I. 97.

  On February 16, 2022, Plaintiffs then filed their Second Amended Complaint, which not only

  attempts to re-plead conversion and unjust enrichment but also attempts to reintroduce the Trade

  Secret Counts. See D.I. 103. On March 3, 2022, Lancium filed its Motion to Strike the Trade Secret

  Misappropriation Counts in the Second Amended Complaint (“Motion to Strike,” D.I. 111).

  Briefing on the Motion to Strike is now complete and that motion is pending.

  III.   SUMMARY OF ARGUMENT

         1.      Plaintiffs’ unjust enrichment claim should be dismissed because other remedies are

  available for the alleged conduct, which precludes this claim.

         2.      To the extent Plaintiffs’ unjust enrichment claim is based on Defendants’ alleged

  use of non-confidential information, it is preempted by federal patent law and should be dismissed.

         3.      Plaintiffs’ conversion claim should be dismissed because Plaintiffs have not

  allegedʊand cannot allegeʊthat they were deprived of use or possession of tangible, movable

  property, which is a necessary element of conversion under Louisiana law.

  IV.    CONCISE STATEMENT OF THE FACTS

         On February 13, 2018, Lancium filed a patent application, for which McNamara and Cline

  are inventors, that published as WO 2019/139632 A1 (the “’632 application”). D.I. 23 at

  Counterclaims ¶¶ 9-10; D.I. 26 ¶ 10. The ’632 application is titled “Method and System for

  Dynamic Power Delivery to a Flexible Datacenter Using Unutilized Energy Sources” and explains

  that, for example, its inventions are useful for “[b]lockchain miners” because “[t]he intensive

  computational demand of blockchain applications makes the widespread adoption of blockchain




                                                  2
                                             Appx2029
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  21 Filed:  7 of 18 PageID #: 2502




  technology inefficient and unsustainable from an energy and environmental perspective. D.I. 23-

  1 at Cover, ¶¶ 19-20.

          In May 2019, more than 14 months after filing the ’632 application, McNamara attended

  an industry conference where he met Storms. D.I. 103, ¶¶ 33-34; D.I. 23, at Answer ¶ 32. Plaintiffs

  allege that Storms then told McNamara about “BearBox’s technology” that purportedly “generally

  relates to an energy-efficient cryptocurrency mining system and related methods that reduce the

  inefficiency and environmental impact of energy-intensive mining operations by better utilizing

  available energy resources to increase the stability of the energy grid, minimize a mining

  operation’s impact on peak-demand, and also alleviate energy oversupply and undersupply

  conditions.” D.I. 103, ¶ 2. Storms alleges that he communicated with McNamara about “BearBox’s

  technology” through “conversations, emails, and text messages,” including a conversation at a

  dinner (D.I. 103, ¶ 33) and alleges that “Storms last communicated with McNamara on May 9,

  2019.” D.I. 103, ¶ 36.

          Months later, in October 2019, Lancium filed a provisional patent application that matured

  into U.S. Patent No. 10,608,433 (the “’433 patent”) for which McNamara and Cline are also the

  named inventors. See D.I. 103-1 at 1. In August 2020, Lancium filed a patent infringement suit

  against a company called Layer1 Technologies, Inc. (“Layer1”) asserting infringement of the ’433

  patent. D.I. 103, ¶ 52; D.I. 23 Answer ¶ 44. Plaintiffs acknowledge that they became aware of the

  Layer1 lawsuit “on or about August 17, 2020” but did not contact Lancium at this time or make

  any claim to have invented the patented technology. D.I. 103, ¶ 54. Then, around March 8, 2021,

  Plaintiffs read a press release announcing that “Layer 1 has licensed Lancium’s intellectual

  property and Lancium will provide Smart ResponseTM software and services to Layer1.” D.I. 103,

  ¶ 57.




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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  22 Filed:  8 of 18 PageID #: 2503




         A few weeks later, on April 14, 2021, Plaintiffs initiated this lawsuit alleging Storms should

  have been listed as an inventor on the ’433 patent. D.I. 1. Plaintiffs’ Second Amended Complaint,

  the operative complaint, alleges that “[t]his is an action seeking correction of the named inventors

  of a United States patent under 35 U.S.C. § 256,” and “[a]s such, this action arises under the laws

  of the United States.” D.I. 103, ¶ 13. Likewise, Plaintiffs’ claims for correction of inventorship

  assert that “[t]hrough omission, inadvertence, and/or error Storms was not listed as an inventor on

  the ’433 patent and the currently listed inventors on the ’433 patent were improperly listed.” Id.,

  ¶ 60. Count I further asserts that “Storms is the sole inventor of the subject matter claimed in the

  ’433 Patent,” and Count II asserts that “[i]n the alternative, Storms is a joint inventor of the subject

  matter claims in the ’433 Patent and should be added to the individuals currently named as

  inventors on the ’433 Patent.” D.I. 103, ¶¶ 59, 63. Additional allegations that Defendants

  McNamara and Cline were wrongly identified as the inventors of the ’433 patent are found

  throughout the Second Amended Complaint. See, e.g., D.I. 103, ¶¶ 1, 5, 7, 46, 48, 53.

         Plaintiffs’ original claims for conversion and unjust enrichment were likewise based on the

  allegedly incorrect inventorship of the ’433 patent. As such, the Court concluded that these claims

  were preempted by federal patent law. See D.I. 92, at 7, 9; see also D.I. 97. Plaintiffs have re-

  pleaded these claims, which are now based on Defendants’ alleged use of “BearBox’s technology,

  including system designs, documents, data, and know-how” to “modify their Smart ResponseTM

  software.” See D.I. 103, ¶¶ 85, 87, 92, 96.

  V.     ARGUMENT

         A.      Legal Standards

         “When presented with a motion to dismiss for failure to state a claim pursuant to Rule

  12(b)(6), district courts conduct a two-part analysis. First, the Court separates the factual and legal

  elements of a claim, accepting all of the complaint’s well-pleaded facts as true, but disregarding


                                                     4
                                                Appx2031
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3 Filed 03/16/22
                                            Page:       Page01/02/2024
                                                  23 Filed:  9 of 18 PageID #: 2504




  any legal conclusions. Second, the Court determines whether the facts alleged in the complaint are

  sufficient to show a . . . plausible claim for relief.” Eaton Corp. v. Geisenberger, 486 F. Supp. 3d

  770 (D. Del. 2020), aff’d in part, vacated in part on other grounds, remanded sub nom. Siemens

  USA Holdings Inc v. Geisenberger, 17 F. 4th 393 (3d Cir. 2021) (internal citations omitted).

         A legally sufficient complaint must establish more than a “sheer possibility” that Plaintiffs’

  claim is true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It need not contain detailed factual

  allegations, but it must go beyond labels, legal conclusions, or formulaic recitations of the elements

  of a cause of action. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Where a complaint

  pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line

  between possibility and plausibility of entitlement to relief.’” Iqbal, 556 U.S. at, 678 (quoting

  Twombly, 550 U.S. at 557). If there are insufficient factual allegations to raise a right to relief

  above the speculative level, the claim must be dismissed. Twombly, 550 U.S. at 555.

         B.      Plaintiffs’ State Law Claims Should Be Dismissed Because They Fail As A
                 Matter Of Law

         As with their First Amended Complaint, Plaintiffs’ Second Amended Complaint does not

  specify under which state’s law Plaintiffs assert their claims for conversion and unjust enrichment.

  See D.I. 103. However, Plaintiffs have affirmatively asserted a claim for trade secret

  misappropriation under Louisiana law. See id. at Count IV (“Trade Secret Misappropriation Under

  Louisiana Civil Practice and Remedies Code, Title 51, Section 13-A”). In addition, as the Court

  noted in its Report and Recommendation on Defendants’ previous Motion for Judgment on the

  Pleadings, “both parties agree[d] that Louisiana law applies to the state law claims at issue here,”

  which included claims for conversion and unjust enrichment. D.I. 92 at 5 n.4.

          Moreover, under the “most significant relationship” test applied in Delaware to resolve

  conflict of laws issues, Louisiana law applies to the extent a conflict of laws exists. Pennsylvania



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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  24 Filed: 10 of 18 PageID #: 2505




  Emp., Benefit Tr. Fund v. Zeneca, Inc., 710 F. Supp. 2d 458, 466 (D. Del. 2010) (Delaware applies

  the “most significant relationship” test for conflicts of law); see also Bavarian Nordic A/S v.

  Acambis Inc., 486 F. Supp. 2d 354, 361 (D. Del. 2007). This is because both BearBox and Storms

  are located in Louisiana, D.I. 103, ¶¶ 8-9, and any harm they allegedly suffered also would have

  occurred in Louisiana.1 See Selective Ins. Co. v. Phila. Indem. Ins. Co., No. N17C-08-325, 2018

  WL 2215885, at *3 (Del. Super. Ct. May 15, 2018) (“[T]he Delaware Supreme Court held ‘the

  law of the state where the injury occurred should apply unless, with respect to the particular issue,

  some other state has a more significant relationship … .” (quoting State Farm Mut. Auto. Ins. Co.

  v. Patterson, 7 A.3d 454, 457 (Del. 2010)); see also Abbott Lab. v. NutraMax Prod., Inc., 844 F.

  Supp. 443, 446 (N.D. Ill. 1994) (“The place of injury usually defines the locus of a cause of action”

  involving intellectual property, “and the damage to intellectual property rights is usually realized

  where the owner of the protected rights suffers the damage”); Jeffers v. Kerzner Int’l Hotels Ltd.,

  319 F. Supp. 3d 1267, 1271 (S.D. Fla. 2018) (“Generally, in tort cases, the location where the

  injury occurred is the decisive consideration in determining the applicable choice of law.”).

  Accordingly, Louisiana law governs Plaintiffs’ unjust enrichment and conversion claims.

         But as set forth below, Plaintiffs’ unjust enrichment and conversion claims each fail as a

  matter of law and should be dismissed with prejudice.2




  1
    Moreover, no other state has a more significant relationship to Plaintiffs’ claims as Defendants
  are located in both Texas and California, see D.I. 23, ¶¶ 8-10, and there is no single state where
  the alleged conduct causing Plaintiffs’ purported injury occurred or where any relationship
  between the parties is centered. Pennsylvania Emp., Benefit Tr. Fund, 710 F. Supp. 2d at 467-68.
  2
    As set forth in Defendants’ Letter to the Honorable Christopher J. Burke (D.I. 112) and their
  reply letter (D.I. 114) in support of the Motion to Strike the Trade Secret Misappropriation Counts
  in the Second Amended Complaint (D.I. 111), Plaintiffs trade secret claims should also be stricken.


                                                   6
                                              Appx2033
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  25 Filed: 11 of 18 PageID #: 2506




                 1.      Plaintiffs’ Unjust Enrichment Claim Fails As a Matter of Law Because
                         Other Remedies Are Available For the Alleged Conduct

         Despite Plaintiffs’ attempt to re-plead their unjust enrichment claim, this claim fails as a

  matter of law because it is still based on the same conduct as their other claims. One of the elements

  of unjust enrichment under Louisiana law is that “there must be no other remedy at law available

  to plaintiff.” Baker v. Maclay Properties Co., 94-1529 (La. 1/17/95), 648 So. 2d 888, 897.

  Accordingly, the Supreme Court of Louisiana has explained that “the remedy of unjust enrichment

  is subsidiary in nature, and shall not be available if the law provides another remedy. The unjust

  enrichment remedy is only applicable to fill a gap in the law where no express remedy is provided.”

  Walters v. MedSouth Rec. Mgmt., LLC, 2010-0353 (La. 6/4/10), 38 So. 3d 243, 244 (internal

  quotations and citations omitted).

         Significantly, the court in Walters made clear that the relevant inquiry is not whether a

  plaintiff can actually prevail on an alternative claim, but rather whether there is a “gap in the law”

  such that no other legal framework governs the conduct alleged. Thus, it is “of no moment that

  plaintiff’s tort claims have been held to be prescribed. The mere fact that a plaintiff does not

  successfully pursue another available remedy does not give the plaintiff the right to recover under

  the theory of unjust enrichment.” Id. “In other words, even though a plaintiff may not succeed

  when it pursues its other available remedies, there is no cause of action in unjust enrichment if

  such a remedy exists.” Shaw v. Restoration Hardware, Inc., No. 21-1540, 2022 WL 343458, at *6

  (E.D. La. Feb. 4, 2022) (granting motion to dismiss unjust enrichment claim); see also Zaveri v.

  Condor Petroleum Corp., 27 F. Supp. 3d 695, 701–02 (W.D. La. 2014) (“As correctly held by

  Judge Feldman of the Eastern District, under Louisiana law, an unjust enrichment claim is a

  ‘subsidiary’ claim, not an alternative claim, which cannot be pursued when Louisiana law affords

  any other legal remedy.”) (citing JP Mack Indus. LLC v. Mosaic Fertilizer, LLC, 970 F. Supp. 2d



                                                    7
                                              Appx2034
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  26 Filed: 12 of 18 PageID #: 2507




  516, 521 (E.D. La. 2013) (“[T]he availability of another remedy bars a plaintiff’s claim for unjust

  enrichment, regardless of whether the plaintiff prevails in his pursuit of those other remedies.”));

  Constance v. Austral Oil Expl. Co., No. 2:12-CV-1252, 2013 WL 6578178, at *9 (W.D. La. Dec.

  13, 2013) (“Unjust enrichment is a specific cause of action that may not be asserted against a

  defendant as a mere catchall or safety net in the event that a plaintiff fails to succeed on the merits

  of his or her other claims.”).

          Indeed, unjust enrichment is considered “a remedy of last resort under Louisiana law.”

  Zaveri, 27 F. Supp. 3d at 702 (W.D. La. 2014) (internal quotations omitted). Thus, as the Fifth

  Circuit held in Ferrara Fire Apparatus, Inc. v. JLG Indus., Inc., “[t]he important question is

  whether another remedy is available, not whether the party seeking a remedy will be successful.”

  581 Fed. App’x 440, 443–44 (5th Cir. 2014) (applying Louisiana law). Moreover, unjust

  enrichment may not be asserted against a defendant “as a mere catchall or safety net in the event

  that a plaintiff fails to succeed on the merits of his or her other claims.” Id. (citation omitted).

          Here, Plaintiffs unjust enrichment claim is clearly based on the same alleged conduct as its

  conversion and trade secret misappropriation claims: the alleged use of “BearBox’s technology”

  to improperly modify Lancium’s Smart ResponseTM software. Indeed, Plaintiffs’ unjust

  enrichment claim alleges that they “conferred a benefit on Defendants by providing them valuable

  technology, specifically BearBox’s technology, including system designs, documents, data, and

  know-how” and “Defendants used Plaintiffs’ system designs, documents, data, and know-how to

  modify their Smart ResponseTM software to function as BearBox’s technology did, [and] [a]s a

  result, Defendants are deriving an unjust benefit from exploiting BearBox’s property.” D.I. 103,

  ¶¶ 92, 96. This is the same basis as their conversion claim, which alleges that “Defendants

  intentionally and willfully assumed dominion and control over BearBox’s technology, including




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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  27 Filed: 13 of 18 PageID #: 2508




  system designs, documents, data, and know-how and improperly used it to modify their Smart

  ResponseTM software.” D.I. 103, ¶ 87. Plaintiffs’ conversion claim additionally alleges that

  “[d]espite providing Defendants with system designs, documents, data, and know-how that

  allowed Defendants to modify their Smart ResponseTM software, and corresponding system

  designs, Defendants have not compensated or recognized Plaintiffs for the use of BearBox’s

  technology,” which “constitute[s] an improper and unauthorized use of Plaintiffs’ property.” D.I.

  103, ¶ 89.

          Likewise, Plaintiffs’ trade secret misappropriation claims allege that “Defendants

  misappropriated Plaintiffs’ trade secrets when they used BearBox technology, without Plaintiffs’

  authorization, in at least its Smart Response™ software.” D.I. 103, ¶¶ 72, 81. And Plaintiffs’ trade

  secret misappropriation claims even allege that they have been harmed by “financial loss for any

  unjust enrichment caused by the misappropriation of the trade secrets.” D.I. 103, ¶¶ 73, 82

  (emphasis added).

          Because there are other remedies available to address Defendants’ allegedly wrongful

  conduct (e.g., conversion and trade secret misappropriation), unjust enrichment is not an available

  claim, regardless of whether Plaintiffs can successfully proceed on its other claims. See Walters v.

  MedSouth Rec. Mgmt., LLC, 2010-0352 (La. 6/4/10), 38 So. 3d 241, 242. Shaw v. Restoration

  Hardware, Inc., No. CV 21-1540, 2022 WL 343458 (E.D. La. Feb. 4, 2022). In Shaw, the court

  explained that the plaintiffs’ unjust enrichment claim was based on “[t]he same alleged conduct

  [that] is the basis of plaintiffs’ other claims in this litigation.” Id. at *6. As such, the court held that

  “plaintiffs cannot succeed in proving the fifth element of the unjust enrichment claim: absence of

  another remedy” and therefore dismissed the unjust enrichment claim. Id. The court further

  explained that even though the plaintiffs’ other claims that were based on the same conduct also




                                                       9
                                                 Appx2036
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  28 Filed: 14 of 18 PageID #: 2509




  failed as a matter of law and were dismissed, “the failure on those claims would not lead to

  recovery under an unjust enrichment theory.” Id.

         Thus, because here BearBox’s unjust enrichment claim is based on the same conduct as its

  conversion and trade secret claims, the unjust enrichment claim (Count VI) should be dismissed

  with prejudice.

                 2.      To The Extent Plaintiffs’ Unjust Enrichment Claim Is Premised On The
                         Use of Non-Confidential Information, It Is Preempted By Federal Patent
                         Law

         It is well-established that “[f]ederal law preempts state law that offers patent-like protection

  to discoveries unprotected under federal patent law.” Ultra-Precision Mfg., Ltd v. Ford Motor Co.,

  411 F.3d 1369, 1377-78 (Fed. Cir. 2005) (noting that “Federal Circuit law governs whether federal

  patent law preempts a state law claim”) (internal quotations and citation omitted). The Supreme

  Court has also noted that “[a] state law that substantially interferes with the enjoyment of an

  unpatented utilitarian or design conception which has been freely disclosed by its author to the

  public at large impermissibly contravenes the ultimate goal of public disclosure and use which is

  the centerpiece of federal patent policy.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.

  141, 156-57 (1989). Thus, “[a]bsent secrecy, state law cannot create a collateral set of rights

  available as an adjunct or expansion to patent rights.” Ultra- Precision, 411 F.3d at 1379 (quoting

  Waner v. Ford Motor Co., 331 F.3d 851, 856 (Fed. Cir. 2003)).

         Here, as addressed above, Plaintiffs’ unjust enrichment claim is premised upon

  Defendants’ alleged use of “BearBox’s technology” to modify their Smart ResponseTM

  softwareʊthe same conduct that forms the basis of Plaintiffs’ conversion and trade secret

  misappropriation claims. However, although Plaintiffs’ conversion and trade secret

  misappropriation claims are explicitly limited to Defendants’ alleged use of “confidential”




                                                   10
                                              Appx2037
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  29 Filed: 15 of 18 PageID #: 2510




  information (see, e.g., D.I. 103, ¶¶ 68-72, 77-81, 88), Plaintiffs’ unjust enrichment claim is silent

  regarding whether “BearBox’s technology” at-issue was confidential. See D.I. 103, ¶¶ 91-101.

  Nonetheless, to the extent Plaintiffs base their unjust enrichment claim on Defendants’ alleged use

  of non-confidential technology or information (or attempt to distinguish their unjust enrichment

  claims from their conversion and trade secret misappropriation claims on this basis), the claim is

  preempted by federal patent law. Under federal patent law, an idea is considered publicly available

  if “given to a member of the public without restriction.” See Pronova Biopharma Norge AS v. Teva

  Pharms. USA, Inc., 549 F. App'x 934, 940 (Fed. Cir. 2013); see also Bonito Boats, 489 U.S. at 149

  (under the one year statutory bar of federal patent law’s 35 U.S.C. § 102, “[o]nce an inventor has

  decided to lift the veil of secrecy from his work, he must choose the protection of a federal patent

  or the dedication of his idea to the public at large”). Thus, if Plaintiffs are permitted to pursue non-

  patent claims for use of an idea or technology that was publicly known, the Court would be

  allowing Plaintiffs to encroach impermissibly on the exclusive domain of federal patent law.

         Indeed, the Federal Circuit, which “governs whether federal patent law preempts a state

  law claim,” has repeatedly held similar unjust enrichment claims based on the use of non-

  confidential information to be preempted. For example, in Ultra-Precision, the court held

  plaintiff’s unjust enrichment claim, which was premised upon the defendant’s “using,

  manufacturing, and selling vehicles equipped with [Ultra-Precision’s] technology” was preempted

  because the idea/technology was not kept confidential and was therefore “free for all the world to

  enjoy.” Id. at 1380-82. Additionally, in Waner the court affirmed dismissal of the plaintiff’s unjust

  enrichment claim premised upon the use of his non-confidential idea because such “ideas can only

  be protected under intellectual property law by the patent system.” Waner, 331 F.3d at 856–57.

  Accordingly, to the extent Plaintiffs’ unjust enrichment claim is premised upon the alleged use of




                                                    11
                                               Appx2038
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  30 Filed: 16 of 18 PageID #: 2511




  non-confidential technology, information, or ideas, this claim is preempted and should be

  dismissed with prejudice.

                 3.     Plaintiffs’ Conversion Claim Fails Because They Were Not Deprived Of
                        Tangible Property

         Plaintiffs’ conversion claim fails as a matter of law because their allegations do notʊand

  cannotʊstate a claim for conversion. Under Louisiana law, “[a] conversion is an act in derogation

  of the plaintiff’s possessory rights and any wrongful exercise or assumption of authority over

  another’s goods, depriving him of the possession, permanently or for an indefinite time.” Quealy

  v. Paine, Webber, Jackson & Curtis, Inc., 475 So. 2d 756, 760 (La. 1985) (emphasis added); see

  also Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226 So. 3d 466, 478 (citing

  Quealy, 475 So. 2d at 760). Thus, conversion “is grounded on the unlawful interference with the

  ownership or possession of a movable.” CamSoft Data Systems, Inc. v. Southern Electronics

  Supply, Inc., 2019 CA 0731, 2019 WL 2865359, at *2 (La. Ct. App. July 2, 2019), writ denied,

  282 So. 3d 1071 (La. 2019).

         Here, Plaintiffs’ conversion claim fails because Plaintiffs were not deprived, and do not

  allege that they were deprived, of ownership or possession of any tangible, movable property. As

  an initial matter, the only things that Plaintiffs allege that Defendants converted were “BearBox’s

  technology, including system designs, documents, data, and know-how.” D.I. 103, ¶ 87. Moreover,

  Plaintiffs only allege that they provided Defendants with information about “BearBox’s

  technology” via “conversations, emails, and text messages.” See, e.g., id., ¶¶ 33-34. Importantly,

  Plaintiffs do not allege that Defendants converted any paper or hard copy documents, and they do

  not allege that they were ever deprived of copies of or access to the allegedly converted “system

  designs, documents, data, and know-how.” See id., ¶¶ 84-90. Indeed, they do not allege that

  Defendants took or converted the only copies of their “system designs, documents, data, and know-



                                                  12
                                             Appx2039
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  31 Filed: 17 of 18 PageID #: 2512




  how.” Id. They make no allegation that they were deprived of ownership or possession of their

  “system designs, documents, data, and know-how.” Id. Nor could they because in order to email

  or text message any information to Defendants, Plaintiffs must have had their own copies. Thus,

  Plaintiffs fail to allege a cause of action for conversion.

         CamSoft is instructive. 2019 WL 2865359, at *2-3. Similar to this case, in CamSoft, the

  plaintiff alleged the defendants were liable for conversion based on the alleged “ongoing use of

  CamSoft’s confidential technical and business information” that included “device compilations,

  software code, know-how, networking designs, installation process, business methods, marketing

  plans, pricing information, and strategic wireless network integrator business plans.” Id. The

  CamSoft court, however, granted summary judgment on the conversion claim for two reasons.

  One, the claim was based on “immovable, intangible information.” Id. at *3. Two, despite the

  defendants’ alleged use of CamSoft’s information, “CamSoft was not deprived of its confidential

  business information,” and “a conversion requires a deprivation of possession.” Id. This same

  reasoning applies here because Plaintiffs have not allegedʊand cannot allegeʊthat they were

  deprived of their allegedly converted technology or information because they retained copies of

  this information. Indeed, just as in CamSoft, Plaintiffs do not allege that “their business information

  was taken from them in physical form or that they no longer had the use of their confidential

  information.” Id. at 3 n.3.

         Accordingly, the Court should dismiss Plaintiffs’ conversion claim (Count V) with

  prejudice.

  VI.    CONCLUSION

         For the reasons stated above, the Court should dismiss Count V (conversion) and Count VI

  (unjust enrichment) in the Second Amended Complaint, with prejudice.




                                                    13
                                               Appx2040
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:121
                                    39-3Filed 03/16/22
                                            Page:      Page 01/02/2024
                                                  32 Filed: 18 of 18 PageID #: 2513




  Dated: March 16, 2022                BARNES & THORNBURG LLP

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                                        14
                                    Appx2041
                  Case: 23-1922        Document: 39-3         Page: 33      Filed: 01/02/2024

Jamie Daly




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                                              U.S. District Court

                                             District of Delaware

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Case Name:           BearBox LLC et al v. Lancium LLC et al
Case Number:         1:21-cv-00534-MN-CJB
Filer:
Document Number: 143(No document attached)


Docket Text:
REPORT AND RECOMMENDATION: The Court, having reviewed Defendants' motion seeking
dismissal, pursuant to Fed. R. Civ. P 12(b)(6), of Plaintiffs' Count V (conversion) and Count VI
(unjust enrichment) in the operative Second Amended Complaint ("Motion"), (D.I. 120), the
briefing related thereto, (D.I. 121; D.I. 128; D.I. 133), and having heard argument on May 23,
2022, hereby recommends as follows: (1) With regard to Count V, the Court recommends that
the Motion be DENIED. Defendants' argument is that Plaintiffs' conversion claim must fail as a
matter of law because under Louisiana law (which both sides agree applies to these claims)
there can be no conversion of electronic files (the type of documents allegedly converted in
Count V) where the owner retains a copy of those files (as Plaintiffs acknowledge it did), since
in such a case, the owner is not completely deprived of the property at issue. (D.I. 133 at 2-6)
This is a difficult issue, and Defendants do cite to some Louisiana state court precedent that
provides some support for their position. See CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc.,
2019 CA 0731, 2019 CW 0514, 2019 WL 2865359, at *2-3 & n. 3 (La. Ct. App. July 2, 2019)
(concluding that a claim for conversion could not stand because "a conversion requires a
deprivation of possession" and the plaintiff retained a copy of the allegedly converted
electronic materials at issue); but see Mabile v. BP, p.l.c., CIVIL ACTION NO. 11-1783, 2016 WL
5231839, at *1, *23 (E.D. La. Sept. 22, 2016) (permitting a conversion claim under Louisiana law
that was premised on the defendant's obtaining of the plaintiff's schematic, where the plaintiff
e-mailed a digital copy of the schematic but also retained a copy); cf. Total Safety, U.S., Inc. v.
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                                                  Appx2339
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  34 Filed:  1 of 13 PageID #: 2980




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   BEARBOX LLC and AUSTIN STORMS,

                        Plaintiffs,

         v.
                                          C.A. No. 21-534-MN
   LANCIUM LLC, MICHAEL T.
   MCNAMARA, and RAYMOND E. CLINE,
   JR.,

                        Defendants.


    DEFENDANTS’ OBJECTIONS TO THE REPORT AND RECOMMENDATION (D.I.
    143) REGARDING DEFENDANTS’ MOTION TO DISMISS COUNTS V AND VI OF
                    THE SECOND AMENDED COMPLAINT


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                                      Appx2506
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  35 Filed:  2 of 13 PageID #: 2981




                                                 TABLE OF CONTENTS

                                                                                                                                     Page

  I.     INTRODUCTION .............................................................................................................. 1

  II.    BACKGROUND ................................................................................................................ 1

  III.   ARGUMENT ...................................................................................................................... 3

          A.       Legal Standards ....................................................................................................... 3

          B.       Plaintiffs’ Conversion Claim Should Be Dismissed Because Conversion
                    Under Louisiana Law Requires That The Plaintiff Be Deprived Of Its
                    Property And There Is No Dispute That Plaintiffs Were Not Deprived Of
                    The Allegedly Converted Property ......................................................................... 4

  IV.    CONCLUSION ................................................................................................................... 9




                                                                     i
                                                            Appx2507
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  36 Filed:  3 of 13 PageID #: 2982




                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)

  Cases

  Bihm v. Deca Sys., Inc.,
     2016-0356 (La. App. 1 Cir. 8/8/17), 226 So.3d 466 ..............................................................3, 5

  Brown v. Astrue,
     649 F.3d 193 (3d Cir. 2011).......................................................................................................4

  CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc.,
    2019 CA 0731, 2019 WL 2865359 (La. Ct. App. July 2, 2019), writ denied,
    282 So.3d 1071 (La. 2019) ................................................................................................6, 7, 8

  CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc.,
    282 So.3d 1071 (La. 2019) ........................................................................................................7

  Chrysler Credit Corp. v. Perry Chrysler Plymouth, Inc.
     783 F.2d 480, 484 (5th Cir. 1986) .............................................................................................8
  Dual Drilling Co. v. Mills Equip, Invs., Inc.,
     721 So.2d 853 (La. 1998) ..........................................................................................................5

  Edward Levy Metals, Inc. v. New Orleans Public Belt R.R.,
     148 So.2d 580 (La. 1963) ..........................................................................................................5

  Glod v. Baker,
     998 So.2d 308 (La. App. 3d Cir. 2008) .....................................................................................5

  Importsales, Inc. v. Lindeman,
     231 La. 663, 92 So.2d 574 (1957) .............................................................................................5

  Mabile v. BP, P.L.C.,
    No. 11-1783, 2016 WL 5231839 (E.D. La. Sept. 22, 2016) ......................................................7

  Quealy v. Paine, Webber, Jackson & Curtis, Inc.,
     475 So.2d 756 (La. 1985) ......................................................................................................3, 5

  Speakman v. Williams,
     No. 18-1252-MN, 2019 WL 4751939 (D. Del. Sept. 30, 2019) ................................................4

  Total Safety, U.S., Inc. v. Code Red Safety & Rental, LLC,
     No. 19-12953, 2019 WL 5964971 (E.D. La. Nov. 13, 2019) ....................................................7

  Tri-state Bancshares, Inc. v. Scott,
      No. CV 15-2053, 2016 WL 4098604 (W.D. La. July 28, 2016) ...............................................8



                                                                    ii
                                                             Appx2508
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  37 Filed:  4 of 13 PageID #: 2983




  Valley Forge Ins. Co. v. Jefferson,
     628 F. Supp. 502 (D. Del. 1986) ................................................................................................6

  Statutes

  28 U.S.C. § 636(b)(1) ......................................................................................................................4

  Louisiana Uniform Trade Secrets Act .............................................................................................7

  Other Authorities

  Federal Rule of Civil Procedure 72(b)(2) ........................................................................................1

  Federal Rules of Civil Procedure Rule 72(b)(3) ..............................................................................3




                                                                      iii
                                                               Appx2509
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  38 Filed:  5 of 13 PageID #: 2984




  I.     INTRODUCTION

         Pursuant to Federal Rule of Civil Procedure 72(b)(2), Defendants object to the portion of

  the Report and Recommendation of Magistrate Judge Burke (D.I. 143, the “R&R”) on Defendants’

  Motion To Dismiss Counts V and VI of the Second Amended Complaint (D.I. 120, the “Motion

  to Dismiss”), recommending that the Motion to Dismiss be denied as to Count V (Plaintiffs’ claim

  for conversion). Plaintiffs’ conversion clam is premised on the alleged conversion of electronic

  documents that Plaintiffs provided to Defendants, but for which they retained copies. Thus,

  Plaintiffs were not deprived of the allegedly converted property. Under applicable Louisiana law,

  however, conversion requires that the owner of property be deprived of possession of that property.

  Although the R&R acknowledges that “[t]his is a difficult issue,” it mistakenly recommends

  against granting the Motion to Dismiss as to Plaintiffs’ claim for conversion based on a

  misunderstanding that such a claim can arise if Defendants interfered with Plaintiffs’ “ownership”

  of the allegedly converted property even if Plaintiffs were not deprived of possession of the

  property. But this is incorrect. Deprivation of possession is a necessary element of a claim for

  conversion under Louisiana law. Accordingly, the Court should grant Defendants’ Motion to

  Dismiss in its entirety and dismiss Plaintiffs’ claims for conversion and unjust enrichment.

  II.    BACKGROUND

         Defendant Lancium LLC (“Lancium”) is a technology company that since its founding in

  2017 has been a leading innovator in the field of flexible datacenters to perform blockchain hashing

  operations, such as mining for cryptocurrency, with little to no energy costs using clean and

  renewable energy that would otherwise be wasted. D.I. 23 at 20. Lancium’s technology and

  intellectual property, including its Smart ResponseTM software, enables more renewable energy on




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                                             Appx2510
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  39 Filed:  6 of 13 PageID #: 2985




  the nation’s power grid, and Lancium’s innovations have led to numerous pending and issued

  patents on its technology. D.I. 23 at 23.

         Plaintiff Austin Storms’ only interaction with any of Defendants occurred in May 2019,

  when Mr. Storms met Defendant Michael McNamara and they attended a group dinner, along with

  several other people, after a one-day industry conference. In the days that followed, Mr. Storms

  and Mr. McNamara exchanged a handful of text messages and Mr. Storms sent Mr. McNamara a

  single email. See D.I. 103 at ¶¶ 32-36; see also D.I. 23 at Exhibits C and D (the exchanged text

  messages and email). Based on these interactions, Plaintiffs have asserted a series of meritless and

  legally flawed claims against Defendants seeking damages for the alleged improper use of

  information Mr. Storms allegedly provided to Defendants. See D.I. 19 (First Amended Complaint

  dropping Plaintiffs’ originally pled trade secret misappropriation claims); D.I. 97 (dismissing

  Plaintiffs’ conversion and unjust claims pled in the First Amended Complaint); 4/22/22 Minute

  Entry (striking the trade secret misappropriation claims pled in the Second Amended Complaint).

  Plaintiffs’ currently pled conversion claim (aside from its unjust enrichment claim, which the R&R

  recommends dismissing) is the last of these claims, but it is equally meritless and legally flawed.1

           Plaintiffs’ operative Second Amended Complaint (“SAC,” D.I. 103) alleges that

  Defendants converted “BearBox’s technology, including system designs, documents, data, and

  know-how, and improperly used it to modify their Smart ResponseTM software … .” D.I. 103 at

  ¶ 87. Importantly, however, Plaintiffs only allege that they provided Defendants with information

  about “BearBox’s technology” via “conversations, emails, and text messages.” See, e.g., id., ¶¶




  1
    If the Court grants Defendants’ Motion to Dismiss in its entirety, Plaintiffs’ only remaining
  claims will be their claims regarding the allegedly incorrect inventorship of U.S. Patent No.
  10,608,433 (i.e., Counts I and II of the Second Amended Complaint, D.I. 103), but these claims
  do not seek monetary damages.

                                                   2
                                              Appx2511
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  40 Filed:  7 of 13 PageID #: 2986




  33-34. Plaintiffs do not allege that Defendants converted any paper or hard copy documents, and

  they do not allege that they were ever deprived of copies of or access to the allegedly converted

  “system designs, documents, data, and know-how.” See id., ¶¶ 84-90. Plaintiffs also do not and

  cannot allege that Defendants took or converted the only copies of their “system designs,

  documents, data, and know- how.” Id. They make no allegation that they were deprived of

  possession of their “system designs, documents, data, and know-how.” Id.

            Defendants moved to dismiss Plaintiffs’ claim for conversion because under Louisiana law

  conversion requires that the owner of the allegedly converted property be deprived of that

  property.2 See D.I. 121 at 12-13; D.I. 133 at 1-6. Indeed, as set forth in Defendants’ opening brief

  in support of the Motion to Dismiss, under Louisiana law, “[a] conversion consists of an act in

  derogation of the plaintiff’s possessory rights, and any wrongful exercise or assumption of

  authority over another’s goods, depriving him of the possession, permanently or for an indefinite

  time, is a conversion.” Quealy v. Paine, Webber, Jackson & Curtis, Inc., 475 So.2d 756, 760 (La.

  1985)3; see also Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226 So.3d 466, 478

  (citing Quealy, 475 So.2d at 760). Despite recognizing that “[t]his is a difficult issue,” the R&R

  recommends denying the portion of Defendants’ Motion to Dismiss regarding the claim for

  conversion. D.I. 143. Defendants object to that recommendation.

  III.      ARGUMENT

         A. Legal Standards

            “For reports and recommendations issued regarding dispositive motions, Rule 72(b)(3) of

  the Federal Rules of Civil Procedure instructs that ‘a party may serve and file specific written


  2
    The R&R correctly notes that Louisiana law applies to Plaintiffs’ conversion claim and “both
  sides agree” on this point. See D.I. 143.
  3
      All emphases added unless otherwise noted.

                                                   3
                                              Appx2512
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  41 Filed:  8 of 13 PageID #: 2987




  objections to the proposed findings and recommendations’ ‘[w]ithin 14 days’ and ‘[t]he district

  judge must determine de novo any part of the magistrate judge’s disposition that has been properly

  objected to.’” Speakman v. Williams, No. 18-1252-MN, 2019 WL 4751939, at *2 (D. Del. Sept.

  30, 2019) (quoting Fed. R. Civ. P. 72); see also 28 U.S.C. § 636(b)(1); Brown v. Astrue, 649 F.3d

  193, 195 (3d Cir. 2011).

     B. Plaintiffs’ Conversion Claim Should Be Dismissed Because Conversion Under
        Louisiana Law Requires That The Plaintiff Be Deprived Of Its Property And There
        Is No Dispute That Plaintiffs Were Not Deprived Of The Allegedly Converted
        Property

         Count V of Plaintiffs’ SAC asserts a claim for conversion under Louisiana law based on

  Defendants allegedly converting Plaintiffs’ electronic files. This claim fails as a matter of law,

  however, because conversion under Louisiana law requires that the owner be deprived of its

  property. Here, Plaintiffs only allege that they provided the allegedly converted files via email or

  text message, and as such, Plaintiffs could not have been deprived of the allegedly converted. This

  is because in order to email or text message any information to Defendants, Plaintiffs must have

  had their own copies. D.I. 103 at ¶¶ 33-34. Indeed, the R&R recognizes that “Plaintiffs

  acknowledge [they] did” retain copies of the allegedly converted property. See D.I. 143.

  Nonetheless, the R&R recommends that the Motion to Dismiss be denied as to Plaintiffs’

  conversion claim because although “[t]his is a difficult issue, and Defendants do cite some

  Louisiana state court precedent that provides some support for their position,” it concludes that

  “regardless of whether Defendants are correct on that point,” conversion can occur “when a

  defendant unlawfully interferes with the plaintiffs ‘ownership’ of a movable” and “Plaintiffs’

  conversion claim can be read to allege that this is what occurred here.” D.I. 143. The R&R,

  however, is incorrect and conversion under Louisiana law requires that the owner of property be

  deprived of possession of that property in order for a claim for conversion to arise. In other words,



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                                              Appx2513
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3 Filed 06/09/22
                                            Page:       Page01/02/2024
                                                  42 Filed:  9 of 13 PageID #: 2988




  deprivation of possession is a necessary element of a conversion claim.

         As an initial matter, there is more than “some support” for the requirement that a property

  owner be deprived of possession of its property in order for a conversion claim to arise. Indeed,

  the Louisiana Supreme Court has explained that “[t]he gist of a conversion has been declared to

  be not the acquisition of the property by the wrongdoer, but the wrongful deprivation of a person

  of property to the possession of which he is entitled.” Importsales, Inc. v. Lindeman, 231 La. 663,

  668, 92 So.2d 574, 575–76 (1957) (citations omitted). The Louisiana Supreme Court has also

  repeatedly noted the deprivation requirement for conversion when addressing conversion claims.

  See Dual Drilling Co. v. Mills Equip, Invs., Inc., 721 So.2d 853, 857 (La. 1998) (explaining that

  the cause of action of conversion “is available to an owner dispossessed as a result of an offense

  or quasi-offense or, in other words, a ‘tort’”); Quealy, 475 So.2d at 760 (“A conversion consists

  of an act in derogation of the plaintiff’s possessory rights, and any wrongful exercise or assumption

  of authority over another’s goods, depriving him of the possession, permanently or for an

  indefinite time, is a conversion.”); Edward Levy Metals, Inc. v. New Orleans Public Belt R.R., 148

  So.2d 580, 582 (La. 1963) (“It is well settled under concepts of conversion forming the basis for

  any tort action herein, that it is not the erroneous accumulation of the property by the wrongdoer

  which gives rise to delictual responsibility, but the wrongful deprivation of a person of property

  to the possession of which he is entitled once the possessor has knowledge that the property is

  under his control.”). Intermediate appellate courts in Louisiana have also recently emphasized the

  deprivation requirement. See, e.g. Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226

  So.3d 466, 478 (“A conversion is an act in derogation of the plaintiff's possessory rights and any

  wrongful exercise or assumption of authority over another’s goods, depriving him of the

  possession, permanently or for an indefinite time.”); Glod v. Baker, 998 So.2d 308, 317 (La. App.




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                                              Appx2514
Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3Filed 06/09/22
                                            Page:      Page 01/02/2024
                                                  43 Filed: 10 of 13 PageID #: 2989




  3d Cir. 2008) (citing Angelo and Son, Inc. v. Rapides Bank & Trust Co., 95–992 (La.App. 3 Cir.

  4/10/96), 671 So.2d 1283, writs denied, 96–1173, 96–1204 (La. 6/21/96), 675 So.2d 1083) (same).

  Thus, it is well-established by controlling authority that conversion under Louisiana law requires

  a deprivation of possession, which Plaintiffs do not and cannot allege.

         Although the Louisiana Supreme Court has not addressed a case where, as here, the

  conversion claim was based on the alleged conversion of electronic documents where the owner

  retained a copy, this situation has been addressed by the Court of Appeal of Louisiana for the First

  Circuit in CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc., 2019 CA 0731, 2019 WL 2865359 (La.

  Ct. App. July 2, 2019), writ denied, 282 So.3d 1071 (La. 2019).4 Indeed, CamSoft addressed a

  nearly identical situation where the conversion claim was based on the alleged “ongoing use of

  CamSoft’s confidential technical and business information” that included “device compilations,

  software code, know-how, networking designs, installation process, business methods, marketing

  plans, pricing information, and strategic wireless network integrator business plans.” 2019 WL

  2865359, at *2-3. The CamSoft court, however, found that there could be no conversion because

  the claim was based on use of electronic files and “immovable, intangible information” and

  “CamSoft was not deprived of this information” but “a conversion requires a deprivation of

  possession.” Id. at *3. Furthermore, the CamSoft plaintiff sought to appeal this decision to the

  Louisiana Supreme Court arguing that “[t]he First Circuit erred in holding as a matter of law that

  there can be no deprivation for purposes of conversion unless the subject property is completely

  removed by the plaintiff’s possession and use” because in Louisiana “the law of conversion seeks

  to address the defendant’s repudiation of plaintiff’s ownership rights to the subject property.” See



  4
    Where a state’s highest court has not spoken, a federal court applying state law has a duty to
  decide a case as it believes the state’s highest court would have done. Valley Forge Ins. Co. v.
  Jefferson, 628 F. Supp. 502, 510 (D. Del. 1986).

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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3Filed 06/09/22
                                            Page:      Page 01/02/2024
                                                  44 Filed: 11 of 13 PageID #: 2990




  Exhibit 2 (CamSoft plaintiff’s application for writ of certiorari) at 5-8 (emphasis in original). But

  the Supreme Court denied the application for writ of certiorari. CamSoft Data Sys., Inc. v. S. Elecs.

  Supply, Inc., 282 So.3d 1071 (La. 2019). Thus, beyond providing “some support” for Defendants’

  Motion to Dismiss, CamSoft establishes that Plaintiffs’ conversion claim fails as a matter of law

  because they were not deprived of possession of the allegedly converted property.

         Although the R&R cites Mabile v. BP, P.L.C., No. 11-1783, 2016 WL 5231839, at *1, *23

  (E.D. La. Sept. 22, 2016) and Total Safety, U.S., Inc. v. Code Red Safety & Rental, LLC, No. 19-

  12953, 2019 WL 5964971, at *1, *4-5 (E.D. La. Nov. 13, 2019) as contrary authority to CamSoft,

  both of these cases are federal district court decisions that are not controlling authority. See D.I.

  143. In addition, Mabile was decided before CamSoft and thus did not have the benefit of its

  guidance on Louisiana law. Furthermore, Total Safety is inapposite because it did not address the

  deprivation requirement for a conversion claim. See 2019 WL 5964971, at *4-5. Rather, Total

  Safety only held that a conversion claim was not preempted by the Louisiana Uniform Trade

  Secrets Act.5 Id.

         The R&R cites to CamSoft in support of its conclusion that interference with “ownership”

  is an independent basis that can give rise to a conversion claim, but CamSoft does not support this

  conclusion. See D.I. 143. Rather, CamSoft is explicit that “conversion requires a deprivation of

  possession.” 2019 WL 2865359, at *3. Moreover, similar to Plaintiffs’ claims here, the CamSoft

  plaintiffs’ conversion claim was based on the alleged “use of CamSoft’s confidential technical and




  5
    Total Safety was also raised by Plaintiffs for the first time during the hearing on the Motion to
  Dismiss. See Ex. 1 (5/23/22 Hr’g Tr.) at 27:18-23; see also D.I. 128 (Plaintiffs’ opposition to
  Motion to Dismiss). Although the R&R cites to Total Safety, when counsel pointed out that Total
  Safety was not raised in the parties’ briefing and was not appropriate authority to raise for the first
  time during oral argument, Magistrate Judge Burke responded that “I agree.” See Ex. 1 at 29:2-17.

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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3Filed 06/09/22
                                            Page:      Page 01/02/2024
                                                  45 Filed: 12 of 13 PageID #: 2991




  business information.” Id. at *2. Thus, the conclusion that such use can give rise to a claim for

  conversion where there is no deprivation of possession is directly contrary to CamSoft’s holding.

         The R&R also cites to Plaintiffs’ opposition to the Motion to Dismiss in support of its

  conclusion that interference with ownership can give rise to a claim for conversion where there is

  no deprivation of possession. See D.I. 143. But as set forth in Defendants’ reply brief, Plaintiffs’

  case law is all distinguishable, does not support this proposition, is not controlling, and/or predates

  CamSoft. See D.I. 133 at 2-5.

         The Fifth Circuit has also made clear that interference with ownership is not an independent

  basis for a conversion claim under Louisiana law. In Chrysler Credit Corp. v. Perry Chrysler

  Plymouth, Inc., where the plaintiff asserted a claim for conversion of funds, the Fifth Circuit

  explained that “to prevail against [defendant], [plaintiff] must prove that (1) it owned funds

  misused by him; (2) the misuse was inconsistent with its rights of ownership; and (3) the misuse

  constituted a wrongful taking of the funds.” 783 F.2d 480, 484 (5th Cir. 1986); see also Tri-state

  Bancshares, Inc. v. Scott, No. CV 15-2053, 2016 WL 4098604, at *4 (W.D. La. July 28, 2016)

  (quoting Chrysler Credit and explaining that “[t]he Fifth Circuit articulates three elements to be

  proven by the plaintiff for the tortious conversion of funds under Louisiana law.”). In other words,

  interference with ownership rights is an additional requirement for a conversion claim beyond the

  requirement for a “taking” (i.e., a deprivation of possession). And here, Plaintiffs have not and

  cannot allege that they were deprived of the allegedly converted property. See D.I. 143. As such,

  the R&R’s recommendation that dismissal of Plaintiffs’ conversion claim be denied because

  interference with “ownership” is an alternative basis for such a claim is legally flawed. Plaintiffs’

  the conversion claim fails as a matter of law because they were not deprived of possession of the

  allegedly converted property.




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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146
                                    39-3Filed 06/09/22
                                            Page:      Page 01/02/2024
                                                  46 Filed: 13 of 13 PageID #: 2992




  IV.    CONCLUSION

         For the reasons stated above, the R&R’s conclusion that interference with ownership is an

  independent basis for a conversion claim is mistaken. The Court should sustain Defendants’

  objections to the R&R and grant Defendants’ Motion to Dismiss in its entirety.


  Dated: June 9, 2022                                BARNES & THORNBURG LLP

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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146-1
                                    39-3 Filed
                                          Page:06/09/22 Page
                                                 47 Filed:   1 of 2 PageID #: 2993
                                                           01/02/2024




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   BEARBOX LLC and AUSTIN STORMS,

                         Plaintiffs,

          v.
                                                      C.A. No. 21-534-MN
   LANCIUM LLC, MICHAEL T.
   MCNAMARA, and RAYMOND E. CLINE,
   JR.,

                         Defendants.


   CERTIFICATION PURSUANT TO DISTRICT OF DELAWARE STANDING ORDER
              FOR OBJECTIONS FILED UNDER FED. R. CIV. P. 72

         Defendants Lancium LLC, Michael T. McNamara and Raymond E. Cline (“Defendants”)

  hereby certify that the foregoing objections do not raise any legal or factual arguments that were

  not previously raised before Magistrate Judge Burke.


  Dated: June 9, 2022                                   BARNES & THORNBURG LLP

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Case 1:21-cv-00534-MN-CJB
            Case: 23-1922 Document
                          Document:146-1
                                    39-3 Filed
                                          Page:06/09/22 Page
                                                 48 Filed:   2 of 2 PageID #: 2994
                                                           01/02/2024




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             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   49 Filed:   1 of 55 PageID #: 2995
                                                             01/02/2024




                         EXHIBIT 1




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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   50 Filed:   2 of 55 PageID #: 2996
                                                             01/02/2024
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE



         BEARBOX LLC, et al.,           )
                                        )
                   Plaintiffs,          )   C.A. No. 21-534-MN-CJB
                                        )
         v.                             )
                                        )
         LANCIUM LLC, et al.,           )
                                        )
                    Defendants.         )




                           Monday, May 23, 2022
                           1:00 p.m.




         BEFORE: THE HONORABLE CHRISTOPHER J. BURKE
               United States District Court Judge




         APPEARANCES:



                    ASHBY & GEDDES
                    BY: ANDREW MAYO, ESQ.

                            -and-

                    MARSHALL, GERSTEIN & BORUN
                    BY: JOHN LABBE, ESQ.
                    BY: BENJAMIN HORTON, ESQ.

                                       Counsel for the Plaintiff


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   51 Filed:   3 of 55 PageID #: 2997
                                                             01/02/2024
                                                                           2


   1     APPEARANCES CONTINUED:

   2
                    BARNES & THORNBURG
   3                BY: CHAD STOVER, ESQ.
                    BY: ADAM KAUFMANN, ESQ.
   4                BY: MARK NELSON, ESQ.

   5                                   Counsel for the Defendant

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                                     Appx2523
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   52 Filed:   4 of 55 PageID #: 2998
                                                             01/02/2024
                                                                           3


   1                          THE COURT:      Good afternoon,

   2        everyone.      It's Judge Burke here.          Can everyone

   3        hear me okay?

   4                          COUNSEL:     Yes, Your Honor.

   5                          THE COURT:      All right.      I know our

   6        court reporter is with us and we thank our court

   7        reporter for their service and let's go on the

   8        record in light of that and as we do let me just

   9        say a few things for the record.              The first is

  10        that we're here this afternoon by way of

  11        teleconference in the matter of BearBox LLC, et

  12        al, versus Lancium LLC, et al.             It's civil

  13        action number 21-534-MN-CJB here in our court.

  14        And we're here for a teleconference to hear

  15        brief argument on the pending motion to dismiss

  16        filed by the defendant's side.

  17                          Before we go further, let's have

  18        counsel for each side identify themselves for

  19        the record.      We'll start first with counsel for

  20        the plaintiff's side and we'll begin there with

  21        Delaware counsel.

  22                          MR. MAYO:      Good afternoon, Your

  23        Honor.     This is Andrew Mayo from Ashby & Geddes

  24        on behalf of the plaintiff, BearBox and Austin


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                                     Appx2524
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   53 Filed:   5 of 55 PageID #: 2999
                                                             01/02/2024
                                                                           4


   1        Storms.     I am joined this afternoon by my

   2        co-counsel from Marshall, Gerstein & Borun, you

   3        have Benjamin Horton and John Labbe on the line.

   4                          THE COURT:      All right.      And Mr.

   5        Mayo, who will be addressing the issues today?

   6                          MR. MAYO:      Mr. Horton, Your Honor.

   7                          THE COURT:      Okay.    Great.     And

   8        similarly, we'll ask defendant's to identify

   9        themselves, again beginning with Delaware

  10        counsel and to let us know who will be

  11        addressing the issues for their side.

  12                          MR. STOVER:       Good afternoon, Your

  13        Honor.     Chad Stover from Barnes & Thornburg for

  14        defendants and with me are my partners Adam

  15        Kaufmann and Mark Nelson and Mr. Kaufmann will

  16        be addressing the Court this afternoon on this

  17        motion.

  18                          THE COURT:      Okay.    Thank you.

  19        Thanks to all.       All right.       Counsel, as you

  20        know, the motion to dismiss implicates two

  21        claims that are in the current iteration of the

  22        operative complaint.         One is a conversion claim

  23        and then the second is the unjust enrichment

  24        claim.     There is one argument for dismissal of


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                                     Appx2525
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   54 Filed:   6 of 55 PageID #: 3000
                                                             01/02/2024
                                                                           5


   1        the conversion claim and for the unjust

   2        enrichment claim, there are a few different

   3        arguments.      There, the arguments are related to

   4        the fifth element of the claim on the one hand

   5        and they will relate to the federal preemption

   6        argument on the other.          Why don't we first deal

   7        with the arguments about the conversion claim

   8        and after we hear argument on that, we can move

   9        on to the unjust enrichment claim.                On that

  10        front, let me then turn first to defendant's

  11        counsel and, Mr. Kaufmann, I'll turn to you and

  12        I'll just have a few questions and I'll

  13        certainly let you add anything else that you

  14        wish to add from your briefing if it's not

  15        something we get into via my questions.

  16                          And so with regard to the

  17        conversion issue, you know, a lot of this comes

  18        down to your argument that when it comes to

  19        Louisiana law, what has to be pleaded and

  20        established is that in some way what's alleged

  21        here is an instance of a party depriving the

  22        owner of possession of information or the

  23        ability to use the property or the information.

  24        And here your basic assertion is that the


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                                     Appx2526
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   55 Filed:   7 of 55 PageID #: 3001
                                                             01/02/2024
                                                                             6


   1        complaint doesn't plead that because the

   2        information at issue was transferred

   3        electronically and it's clear from the

   4        allegations that the plaintiff retained a copy

   5        of it and so the plaintiff never lost -- was

   6        never deprived of possession of the information

   7        or the ability to use it.

   8                          Have I set out the gist of your

   9        argument at least by way of kind of framing it?

  10                          MR. KAUFMANN:       Yes, Your Honor, I

  11        think you have.        I guess maybe one point of

  12        clarification I would make is you're correct

  13        that the primary basis for our claim is that

  14        there's been no alleged deprivation of the

  15        converted property.         I will say I think there's

  16        two aspects to the allegation of what the

  17        converted property is.          The second amended

  18        complaint refers to conversion of some actual

  19        electronic documents, but also know-how is one

  20        of the things that is allegedly converted.                 And

  21        to the extent that know-how is not tied to

  22        physical things, physical documents or

  23        electronic documents, our position is that would

  24        also be, you know, not the proper subject matter


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                                     Appx2527
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   56 Filed:   8 of 55 PageID #: 3002
                                                             01/02/2024
                                                                             7


   1        of a conversion claim because it's intangible.

   2        Know-how divorced from any physical document is

   3        intangible and can't be converted and then of

   4        course for the electronic documents, there was

   5        no deprivation and so there can also been no

   6        conversion.

   7                          THE COURT:      I don't remember this

   8        know-how issue coming up from the briefing.                 My

   9        memory of the briefing, what the parties were

  10        arguing about there, it seemed to be understood

  11        that yes, the information that is alleged to

  12        have been converted was information that was

  13        sent electronically and obtained electronically

  14        and that presumably stored electronically at

  15        defendant's side.        Did the parties get into

  16        this -- do you disagree?            Did the parties talk

  17        about what you were just talking about now in

  18        the briefs?

  19                          MR. KAUFMANN:       Well, Your Honor,

  20        I'd just point out that in our brief the way the

  21        claim has been alleged refers to know-how as

  22        we've noted in our briefing as well.               But you're

  23        correct, I don't believe there's any dispute

  24        that what was converted was electronic


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                                     Appx2528
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document
                            Document:146-2
                                      39-3 Filed 06/09/22
                                             Page:        Page
                                                   57 Filed:   9 of 55 PageID #: 3003
                                                             01/02/2024
                                                                             8


   1        documents.

   2                          THE COURT:      Okay.    And then I

   3        guess, you know, there was some back and forth

   4        about whether under the Louisiana law electronic

   5        information or documents can be the type of

   6        property that could be converted.              And at some

   7        point I guess certainly about the time of the

   8        reply brief you acknowledged, yes, that's true,

   9        we're not saying on the defendant's side that

  10        electronic information can't be converted.                 And

  11        I guess my question there to you was, in your

  12        view is the only way that electronic information

  13        can be converted is if a party either literally

  14        kind of takes the electronic information

  15        physically, you know, say, for example, like in

  16        one of the cases is information on a hard drive,

  17        and takes that hard drive and takes it away from

  18        the plaintiff or if the defendant's side, you

  19        know, deletes or gets rid of the electronic

  20        information?       Put differently, in your view, is

  21        there any way that you can convert electronic

  22        information simply by receiving it, you know,

  23        via like an e-mail or a text or something like

  24        that?


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                                     Appx2529
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    58 Filed:  10 of 55 PageID #: 3004
                                                                            9


    1                         MR. KAUFMANN:        Well, Your Honor, I

    2       think that the conversion does require a

    3       deprivation of the property and so just by

    4       receiving a copy of electronic documents via

    5       e-mail or some other electronic conveyance, no,

    6       I don't believe there is a way that that could

    7       be converted as long as the owner of that

    8       property retained a copy of it.              I think you

    9       correctly summarized that instances of

  10        conversion of electronic documents could occur

  11        in instances like where the documents are stored

  12        on a physical hard drive and the hard drive is

  13        taken or, yeah, the files were withheld from the

  14        owner, I believe is one of the cases.                What was

  15        discussed in the briefing dealt with a situation

  16        where a party developed software that was, you

  17        know, stored on a computer hard drive and then

  18        didn't turn it over to the party that had paid

  19        for it.

  20                          THE COURT:       Right.    Like if two

  21        parties entered into a contract and the

  22        defendant is supposed to develop and create

  23        software for the plaintiff, but the allegation

  24        is defendant never gave this software to the


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                                      Appx2530
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    59 Filed:  11 of 55 PageID #: 3005
                                                                           10


    1       plaintiff, you know, that's if you have

    2       electronic information or software that can be

    3       properly said to be alleged to be converted, but

    4       you would say it's an example where the entirety

    5       of that information is in the defendant's

    6       possession?

    7                         MR. KAUFMANN:        Correct.

    8                         THE COURT:       Okay.    And then I

    9       guess just thinking about it, how come there

  10        can't be a deprivation of property regarding

  11        electronic documents when an owner or plaintiff

  12        retains a copy?        Isn't it -- couldn't it be said

  13        that the owner is deprived of sole possession of

  14        the electronic documents in that situation, even

  15        if they're not deprived of total possession of

  16        the information?

  17                          MR. KAUFMANN:        No, Your Honor, I

  18        don't believe there could be.              You know, the

  19        only, I think, potential scenario I could see

  20        where there could be a deprivation where the

  21        owner of the files retained a copy could be in

  22        the scenario where the information was the basis

  23        of a patent.       But as Your Honor knows, the

  24        original conversion claim in this case was based


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                                      Appx2531
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    60 Filed:  12 of 55 PageID #: 3006
                                                                            11


    1       on that, that Lancium converted BearBox's

    2       property by patenting it.            And Your Honor, you

    3       know, correctly found that that claim was not

    4       viable and dismissed that claim.              And so now the

    5       basis of this conversion claim is something

    6       different than that.          Right?     I mean, the

    7       allegations are no longer that the property was

    8       converted into a patent whereby Lancium would

    9       have the ability to prevent, you know, someone

  10        else from using their patented technology.                 As

  11        long as BearBox had a copy of their electronic

  12        files, they can do whatever they want with it.

  13        And again, that property, the basis of the

  14        conversion claim is something different than

  15        what is the subject matter of the patent that

  16        their enrichment claims relate to.

  17                          THE COURT:       I think what you're

  18        saying is, tell me if I'm wrong, but under the

  19        Louisiana law when it comes to conversion, there

  20        isn't the idea -- you can't have a scenario

  21        where, you know, there's a piece of property,

  22        say electronic information, or any kind of

  23        property really, and the plaintiff holds onto

  24        one copy of it, but the defendant gets another


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                                      Appx2532
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    61 Filed:  13 of 55 PageID #: 3007
                                                                           12


    1       copy of it and the plaintiff can claim that the

    2       defendant converted their property.               Isn't that

    3       right?     Isn't that -- isn't that, from what

    4       you're arguing, you can't have a conversion

    5       claim under Louisiana law in your view if each

    6       side keeps a copy, if each side ends up with a

    7       copy of the allegedly converted electronic

    8       material, is that right?

    9                         MR. KAUFMANN:        I think that is

  10        correct, Your Honor.          And that, you know, I

  11        think what the CamSoft case found, you know,

  12        explicitly, that, you know, they quoted the

  13        Louisiana supreme court Binn case, cited to the

  14        Binn, says that a conversion requires a case of

  15        possession.       And, for example, in CamSosft there

  16        was no deprivation because the owner of the

  17        property retained copies of their information

  18        and so there could not be a conversion.

  19                          THE COURT:       And then last question

  20        for you that I had, the Louisiana law, as both

  21        sides note, lists out the seven kind of possible

  22        examples of conversion.           And in describing what

  23        those things are, again, you say that they each

  24        involve depriving the owner of possession or the


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                                      Appx2533
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    62 Filed:  14 of 55 PageID #: 3008
                                                                           13


    1       ability to use its property.             I guess my

    2       question is how is that true with example number

    3       seven, which is referred to as ownership is

    4       asserted over the channel.            Can't you have a

    5       scenario where you have a conversion claim where

    6       a party claims that they own certain property

    7       but nevertheless, it physically remains -- also

    8       remains in the hands of the plaintiff?

    9                         MR. KAUFMANN:        Well, Your Honor, I

  10        don't believe you could have that scenario where

  11        there would be a situation other than, you know,

  12        the scenario I mentioned before, where the --

  13        you know, we're talking about the subject of a

  14        patent.      You know, the Louisiana supreme court

  15        has been clear that, you know, the basis of a

  16        conversion claim, in the Import Sales case the

  17        supreme court was explicit that the gist of a

  18        conversion has been declared not to be the

  19        acquisition of the property by the wrong does,

  20        but the wrongful deprivation of a person of the

  21        property to the possession to which he is

  22        entitled.      And the only way to assert ownership

  23        over property that would deprive the owner of

  24        that ownership would be to have physical


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                                      Appx2534
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    63 Filed:  15 of 55 PageID #: 3009
                                                                           14


    1       possession of it, unless there was some legal

    2       mechanism to preclude them from using that

    3       property.      And I think the only legal mechanism

    4       that could be would be a patent.              And Your Honor

    5       has already found that that can't be the basis

    6       of a conversion claim.

    7                         THE COURT:       Taking it out of the

    8       electronic information context, though, let's

    9       say think about just a physical item, like a

  10        car.     Let's say a plaintiff on its property has

  11        a car and a defendant says, hey, that's my car.

  12        I don't have the physical car, but I think

  13        that's my car.        And the defendant maybe goes and

  14        files some type of legal claim in Louisiana

  15        trying to convince somebody that the car is the

  16        defendant's, but the plaintiff says, that's

  17        totally false, this is my car.             The defendant is

  18        asserting ownership of this physical thing that

  19        I still possess, but I think defendant's

  20        converted it or maybe defendant is successful

  21        with their legal challenge if they converted it.

  22        Can't you have -- in the physical realm, can't

  23        you have a physical conversion claim where you

  24        assert ownership of something even though the


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    64 Filed:  16 of 55 PageID #: 3010
                                                                           15


    1       thing is still in the possession of the

    2       plaintiff?

    3                         MR. KAUFMANN:        Well, I don't think

    4       in that scenario that could be a conversion,

    5       because if there was a legal claim that was

    6       filed, you know, asserted against ownership of

    7       the claim and it was successful, then, you know,

    8       then the claimant prevailed and there would be

    9       no wrongful taking or you know, and if they --

  10        if they were unsuccessful, then there was no

  11        interference with the property either.                So

  12        there, Your Honor, I don't believe there's any

  13        mechanism.       I guess the one example of depriving

  14        the property owner of ownership would be in a

  15        situation like what we discussed earlier where,

  16        you know, developing the software and not

  17        turning it over to the owner could be an example

  18        of interfering with ownership, but there there's

  19        still a deprivation.

  20                          THE COURT:       Okay.    Mr. Kaufmann,

  21        is there anything more you want to say about

  22        this conversion issue before I turn to your

  23        colleague on the other side?

  24                          MR. KAUFMANN:        Your honor, the


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    65 Filed:  17 of 55 PageID #: 3011
                                                                           16


    1       only final point I would make on that is I think

    2       the CamSoft case is wholly precedent here and

    3       dealt with this issue, you know, nearly

    4       identical issue and concluded that there could

    5       be no conversion of electronic documents where

    6       there is no deprivation of the property owner.

    7       And under CamSoft, I think BearBox's claim

    8       necessarily fails for identical reasoning that

    9       there is simply no deprivation here because

  10        BearBox at all times retained a copy of the

  11        allegedly converted property and the ability to

  12        use it.

  13                          THE COURT:       Okay.    All right.

  14        Thank you.       Let me turn to plaintiff's counsel.

  15        And Mr. Horton I know is going to take this

  16        issue.     And Mr. Horton, I'll start out where the

  17        defendant's side left off.            If they say hey,

  18        look, we have a Louisiana state court case that

  19        we think pretty clearly addresses this issue

  20        and, you know, of course no case is a hundred

  21        percent the same facts, but basically pretty

  22        clearly says that, you know, when it comes to

  23        electronic information, you know, can electronic

  24        information be converted?            Yeah, but what we


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    66 Filed:  18 of 55 PageID #: 3012
                                                                           17


    1       would have to see is someone physically taking

    2       possession of that electronic information of the

    3       plaintiff's and depriving them of it.                And if

    4       you simply had a scenario where the electronic

    5       information was transmitted from a plaintiff to

    6       a defendant, but the plaintiff kept a copy,

    7       defendant says that CamSoft kind of indicates

    8       that that wouldn't cut it.            In your brief you

    9       cited some cases in support of your conversion

  10        claim, but do you have a Louisiana state court

  11        case that's about a conversion claim that really

  12        strongly supports your position?

  13                          MR. HORTON:        Yes, Your Honor.

  14        Well, first, if I could address quickly the

  15        CamSoft decision.

  16                          THE COURT:       Sure.

  17                          MR. HORTON:        The CamSoft decision

  18        was a summary judgment decision, Your Honor.

  19        And what the court found was there wasn't

  20        sufficient evidence and denied summary judgment

  21        on that basis.        It did not contemplate the

  22        pleading standard for conversion under Louisiana

  23        law, which is what we're talking about here in

  24        the instant motion, Your Honor.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    67 Filed:  19 of 55 PageID #: 3013
                                                                           18


    1                         The other thing I'd say about

    2       CamSoft is the CamSoft court also held that

    3       software was not protectable under Louisiana

    4       conversion law, which is something that has been

    5       rejected by the Louisiana supreme court and

    6       Lancium itself acknowledges is incorrect in its

    7       reply brief.       And so if we're debating the

    8       correctness or applicability of CamSoft, I think

    9       both of those points are important and worth

  10        noting.      In terms of --

  11                          THE COURT:       I guess, Mr. Horton,

  12        just to stop you briefly on the first point, you

  13        said it in your brief to, but of course it's

  14        correct that CamSoft's summary judgment decision

  15        you say wasn't addressing the pleading standard,

  16        but what it was addressing, plaintiff says was

  17        addressing what the law requires as to these

  18        claims.      You know, all the time we have

  19        instances where like in a summary judgment

  20        scenario you have to take a look at like what is

  21        required for this claim, you know, whether to

  22        plead or prove it.         And, you know, you can get a

  23        lot of level information from courts about what

  24        does a claim require and what just doesn't cut


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    68 Filed:  20 of 55 PageID #: 3014
                                                                           19


    1       it.    In a summary judgment decision that can be

    2       useful for a motion to dismiss.              I guess if

    3       everything I'm saying is correct and I think it

    4       is, how come, you know, you may disagree with

    5       CamSoft for other reasons, but why is it the

    6       fact that the summary judgment decision is

    7       irrelevant here?

    8                         MR. HORTON:        I think some of the

    9       facts that the CamSoft court relied on was lack

  10        of evidence on certain things.             And so, Your

  11        Honor, to the extent, your point is well taken

  12        that a summary judgment opinion can inform, you

  13        know, what might be required under a pleading

  14        standard, but here the Court's discussion of

  15        those issues was focused on what the plaintiff

  16        did not do in terms of introducing evidence and

  17        sort of roundabout reached its conclusion on

  18        that basis.       So I'm just suggesting that I think

  19        that's an important context that we have for

  20        CamSoft.      And the other important point is, you

  21        know, the fact that there was another very wrong

  22        portion of the decision that I think Lancium's

  23        own positions are inconsistent with CamSoft and

  24        so we should note that.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    69 Filed:  21 of 55 PageID #: 3015
                                                                           20


    1                         THE COURT:       Okay.    All right.      And

    2       then back to the question about, you know, the

    3       case law that you cite.           Do you have a Louisiana

    4       state court case regarding conversion that you

    5       think is pretty applicable on the facts?

    6                         MR. HORTON:        Well, I think first,

    7       Your Honor, I would go to the Louisiana supreme

    8       court decision in their discussion as to what

    9       constitutes conversion.           We've been talking

  10        about the Dual Drilling case, the Dilio case

  11        where the supreme court lace out the seven acts

  12        that would constitute conversion.              I think Your

  13        Honor is exactly right in pointing to, for

  14        example, the seventh action where the Louisiana

  15        supreme court I think very intentionally chooses

  16        the word ownership, you know, for instance,

  17        separate from possession to illustrate that

  18        concept.      I also think it's important to note

  19        that act number four, possession of, withheld

  20        from the owner or possessor.             That's exactly the

  21        one act of conversion that I think Lancium is

  22        trying to expand or I guess consolidate all acts

  23        of conversion into, just number four, when the

  24        others are much broader, including number one,


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                                      Appx2541
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    70 Filed:  22 of 55 PageID #: 3016
                                                                             21


    1       Your Honor, where it says possession is acquired

    2       in an unauthorized manner.

    3                         THE COURT:       Just to jump in.        You

    4       know, when I read the seven examples, you know,

    5       I saw it in your brief that you were trying to

    6       say like, well, four is an example of when you

    7       physically take something from another person,

    8       you know, and they don't have it anymore, but

    9       look at all these others.            But when I read them,

  10        I don't know, it seems like all or almost all of

  11        them are meant to be talking about examples of

  12        just that.       You know, like number one,

  13        possession is acquired in an unauthorized

  14        manner.      Well, I acquired possession, I took the

  15        thing, you don't have it anymore.              Number two,

  16        the channel is removed from one place to

  17        another, with the idea that you're going to

  18        exercise control over it.            I took the thing.        I

  19        have it.      You don't have it anymore.           Number

  20        three possession of the channel is transferred

  21        without authority.         It's transferred, now I've

  22        got it.      You don't have it anymore.           You know

  23        what I mean?       So I don't understand why -- why

  24        is fourth only one of the possible conversion


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                                      Appx2542
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    71 Filed:  23 of 55 PageID #: 3017
                                                                           22


    1       scenarios that deals with the physical obtaining

    2       of an item without the other side having it?

    3                         MR. HORTON:        I think, Your Honor,

    4       the fact that it is explicit I think is

    5       acknowledgement that each of those other

    6       scenarios could have a situation where there's a

    7       dual possession or a partial possession.                   And so

    8       the fact that it is laid out explicitly, I

    9       think, acknowledges that those other

  10        possibilities exist.          For example, number six,

  11        the channel was used improperly.              Well, that

  12        doesn't say who is possessing the channel at the

  13        time, just that it's being used improperly.

  14        Your Honor had the example about a car where

  15        someone is making the argument that that's my

  16        car.     The plaintiff says no, it isn't.              I can

  17        imagine other scenarios where someone is trying

  18        to take out a loan as collateral on someone

  19        else's house.        They say it's their house.             Well,

  20        the plaintiff at all times had possession of

  21        their house.       So there's all kinds of these

  22        examples that we think up and I think the

  23        Louisiana supreme court was explicit when

  24        articulating number four and saying that that


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                                      Appx2543
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    72 Filed:  24 of 55 PageID #: 3018
                                                                           23


    1       alone is an act, but it's not necessarily

    2       required for any of the others.              And I think

    3       it's also important, Your Honor, to look at, you

    4       know, what the supreme court says when it

    5       summarizes those seven acts.             You know, I think

    6       in defendant's brief they used the word

    7       deprivation in an argument today.              Deprivation

    8       is the word that's used, but the full quote from

    9       the Louisiana supreme court is conversion

  10        consists of an act of deprivation of the

  11        plaintiff's possessory rights, comma, and

  12        deprivation is impairment or interference.                 But

  13        it goes on to say and any wrongful exercise of

  14        assumption of authority over another's goods

  15        depriving him of a possession permanently or an

  16        indefinite time is a conversion.              What you've

  17        got there, Your Honor, is sort of that first

  18        statement of an act of deprivation as a

  19        conversion and them where it gives an example of

  20        a conversion.        And I think that's more

  21        consistent with how the supreme court has laid

  22        out these seven types of conversion, an act of

  23        deprivation, interference with the plaintiff's

  24        possessory rights and I think that it makes


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    73 Filed:  25 of 55 PageID #: 3019
                                                                             24


    1       sense that in the electronic context an

    2       interference with the plaintiff's possessory

    3       rights would be interference or elimination of

    4       exclusive possession of electronic information,

    5       right?     It seems to flow that it would be

    6       actionable or should be actionable under

    7       conversion if a defendant has, for example,

    8       taken a customer list or a schematic on how to

    9       build a product and then used that information

  10        to compete unfairly with the plaintiff who

  11        possessed those things and still would possess

  12        those things, you know, unlawfully taking

  13        profits and sales away from that plaintiff.                  I

  14        think that's exactly the type of act where

  15        there's dual possession that would be actionable

  16        under conversion.         And in fact, there are

  17        decisions that we've cited to in the briefing

  18        that contemplate exactly that.             The Mayville

  19        decision, Your Honor, and explicit when it talks

  20        about copied the schematic and used it to

  21        compete unfairly and illegally with the

  22        plaintiff.

  23                          THE COURT:       Do you think in

  24        Mayville it's clear from the case that the owner


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    74 Filed:  26 of 55 PageID #: 3020
                                                                           25


    1       retained a copy of the information?

    2                         MR. HORTON:        I do, Your Honor.

    3                         THE COURT:       Okay.    And then in

    4       terms of the -- just one more question about the

    5       way the supreme court explains the tort.                  I

    6       talked about number seven with the other side.

    7       Are you asserting -- are you saying in your

    8       complaint that in some way the defendants

    9       asserted ownership over the channel, which I

  10        guess here is the electronic information that

  11        passed between -- from plaintiff's side to

  12        defendant's side?         And if you are, in what way

  13        did they assert ownership of it?

  14                          MR. HORTON:        I think we are, Your

  15        Honor.     I think there's -- I think we

  16        articulated in the briefing there's at least

  17        four acts under Louisiana supreme court law that

  18        we pled as actionable.           Ownership I think is one

  19        of them and that would be in the way in which

  20        the defendants have taken the electronic

  21        information and asserted ownership in terms of

  22        modifying their business practices, soliciting

  23        and obtaining investments in their business

  24        based on their ability to practice the methods


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    75 Filed:  27 of 55 PageID #: 3021
                                                                           26


    1       and really making money off of it, Your Honor.

    2       They've asserted ownership over the information

    3       that way.

    4                         And if I could direct the court to

    5       a specific cite from Mayville to answer that

    6       question, Your Honor.          It's to page 1 actually

    7       of the decision.         And the quote is, the

    8       plaintiff left a schematic drawing with the

    9       defendant and later e-mailed a digital copy of

  10        the drawing.       So that case actually contemplates

  11        exactly what we are a talking about here,

  12        e-mails the schematic and of course necessarily

  13        retaining a copy.

  14                          THE COURT:       Okay.    And I guess

  15        lastly and more broadly, you know, how can it be

  16        said that the defendant impaired the plaintiff's

  17        possessory rights to the electronic information

  18        if in the end the plaintiff still possessed the

  19        electronic information?           Is the answer that,

  20        well, the definition of conversion is broader

  21        than impairing possessory rights or is the

  22        answer, well, they impaired our possessory

  23        rights because we no longer had sole possession

  24        of the information?


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    76 Filed:  28 of 55 PageID #: 3022
                                                                             27


    1                         MR. HORTON:        Yeah, I think that's

    2       one important articulation, Your Honor.                   By

    3       impairment by impairing the exclusive possession

    4       of that information, going back to the example I

    5       gave of a competitor acquiring a schematic.                     Now

    6       both competitors have the schematic, but

    7       previously the second competitor didn't have it,

    8       now they have it, they're making a competing

    9       product and now the market is split in purchases

  10        of that product where otherwise it wouldn't have

  11        that.

  12                          THE COURT:       Okay.    Anything

  13        further you wanted to add, Mr. Kaufmann on this

  14        conversion issue?         Apologize.       Mr. Kaufmann,

  15        before I turn to you, I should give Mr. Horton a

  16        chance to tell me if he had anything else.                     Mr.

  17        Horton, did you have anything else before I turn

  18        back to Mr. Kaufmann?

  19                          MR. HORTON:        There are other

  20        decisions, Your Honor, that contemplate dual

  21        possession of electronic information that I'd be

  22        happy to draw the Court's attention to.                   One is

  23        called Total Safety.          It's 2019 WL 5964971.             And

  24        of course they also cited Buena Vista is another


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    77 Filed:  29 of 55 PageID #: 3023
                                                                           28


    1       case that's in the briefing, Your Honor.                  I

    2       think that was defendant's took issue with that

    3       in the reply brief saying that the allegations

    4       actually were that the electronic information

    5       was copied but then the original version was

    6       deleted.      But that's actually not what happened

    7       in Buena Vista.        The conversion allegation was

    8       that information was copied put in archive and

    9       then a separate allegation of conversion was

  10        that different information was deleted from the

  11        plaintiff's server, so I wanted to make that

  12        clarification for the Court.

  13                          THE COURT:       I think you're talking

  14        about Euro Veritas, am I right?

  15                          MR. HORTON:        I'm sorry, yes.

  16                          THE COURT:       Okay.    Got it.       Let me

  17        go back to Mr. Kaufmann.             Anything you want to

  18        say by way of brief rebuttal on the conversion

  19        issue?

  20                          MR. KAUFMANN:        Yes, Your Honor.

  21        One, I'd point out that the Mayville case

  22        predates CamSoft by three years maybe.                It was a

  23        2016 decision, CamSoft was from 2019.                And of

  24        course Mayville was an Eastern District of


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    78 Filed:  30 of 55 PageID #: 3024
                                                                           29


    1       Louisiana case which is not controlling

    2       authority where of course CamSoft is.                 And Your

    3       Honor, the total safety case Mr. Horton just

    4       mentioned I don't believe is cited in the

    5       briefing, so I don't believe that's an

    6       appropriate authority to assert for the first

    7       time in this argument.

    8                         THE COURT:       I agree.       If there are

    9       cases that the parties find after they submitted

  10        the briefing that they think are particularly

  11        helpful, we have a way to do that which is to

  12        file another supplemental brief if it's

  13        something that, that's new.            And if it's not,

  14        you know, there should at least be a way to try

  15        to give the other side a fair chance to respond

  16        to it if they haven't heard it before, so I

  17        understand your point there.

  18                          Okay.     Let's move on to the unjust

  19        enrichment issue.         And again, I'll turn to

  20        defendant's side first.           And I guess, Mr.

  21        Kaufmann, there there are two arguments you're

  22        making, if I'm seeing it correctly, as to why

  23        this claim should be dismissed.              One is that the

  24        plaintiff can't satisfy the fifth element, that


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    79 Filed:  31 of 55 PageID #: 3025
                                                                           30


    1       there be no other adequate remedy in law and the

    2       second is the preemption claim.              If you are

    3       correct on either one of them, you prevail, am I

    4       right about that?

    5                         MR. KAUFMANN:        Yes, Your Honor.

    6       Although actually I believe the first point that

    7       BearBox can't establish the fifth element

    8       applies no matter what.           The preemption issue is

    9       really just to -- we included that to address I

  10        think a potential argument or an ambiguity that

  11        I don't believe BearBox has actually asserted,

  12        which is if they were to assert that their

  13        unjust enrichment claim was based on

  14        non-confidential information, the briefing

  15        doesn't state that, doesn't make that assertion.

  16                          THE COURT:       The presumption

  17        affirmative defense only relates to the extent

  18        that the claim is meant to refer to

  19        non-confidential information that was passed

  20        along and I think right now you're saying you

  21        don't actually think that's what the plaintiff

  22        is alleging, but just in case they are, if they

  23        were, you would have a preemption argument?

  24                          MR. KAUFMANN:        That's correct.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    80 Filed:  32 of 55 PageID #: 3026
                                                                           31


    1                         THE COURT:       Okay.    I guess on the

    2       preemption issue, just briefly since we're

    3       talking about it, how come this -- you know, and

    4       the briefing basically, just for the record the

    5       briefing basically kind of is a dispute about

    6       whether federal circuit law permits an unjust

    7       enrichment claim outside of the alleged, you

    8       know, enrichment with regard to confidential

    9       information that may have been shared in a quasi

  10        contract way.        And I think you acknowledge that

  11        federal circuit has said that, look, there can

  12        be some circumstances if a plaintiff is alleging

  13        that the defendant was unjustly enriched, even

  14        in the patent world when it comes to information

  15        that was provided based on the promise of

  16        confidentiality, there can be ways in which that

  17        kind of a claim can survive.             But you say

  18        otherwise in a circumstance like this where

  19        we're dealing with a case of this nature, if

  20        it's non-confidential information that's

  21        transferred, federal circuit law just would not

  22        let you make an unjust enrichment claim.                  Is

  23        that right??

  24                          MR. KAUFMANN:        That's correct,


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    81 Filed:  33 of 55 PageID #: 3027
                                                                           32


    1       Your Honor.       There may be scenarios where an

    2       unjust enrichment claim could be based on

    3       confidential information, but not -- there can

    4       not be a situation where a conversion claim or

    5       I'm sorry, an unjust enrichment claim is based

    6       on use of non-confidential information, that

    7       wouldn't be preempted.

    8                         THE COURT:       And how come this

    9       confidential/non-confidential distinction didn't

  10        come up the last time when we were having the

  11        motion to dismiss arguments about this kind of a

  12        claim?

  13                          MR. KAUFMANN:        Well, Your Honor,

  14        because I think the nature of the allegations

  15        were just different previously.              In the first

  16        amended complaint the allegations were that the

  17        patent, you know, what was patented was

  18        BearBox's technology and that the unjust

  19        enrichment was the incorporation of that

  20        technology into the patent.            And that is -- a

  21        claim of that nature is preempted separately

  22        from the confidentiality issue.              The claim is

  23        directly tied to whether the patent is the, is

  24        the basis of the unjust enrichment.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    82 Filed:  34 of 55 PageID #: 3028
                                                                           33


    1                         THE COURT:       Okay.    I mean, going

    2       back and re-reading the briefing and the

    3       decision last time, it seems like the issue

    4       there just really solely turned on, you know,

    5       was the allegation in the complaint, one, as to

    6       this unjust enrichment claim, that it turned on

    7       an assertion of inventorship and if it was, in

    8       my decision I highlighted a bunch of paragraphs

    9       where it seems like that's exactly what the

  10        plaintiff was saying, saying in my unjust

  11        enrichment claim, it's all about the real

  12        inventor.      They're not.       And if so, that

  13        implicated defense's preemption.              Isn't that

  14        what was going on last time?             And I guess, if it

  15        was or if it wasn't.          Okay.    Go ahead.

  16                          MR. KAUFMANN:        And the preemption

  17        issue there was federal patent law governs

  18        inventorship and so that was the basis of the

  19        preemption of the prior alleged claim.

  20                          THE COURT:       Okay.    But maybe the

  21        alleged thing is slightly differently now and so

  22        we're getting a different argument for a motion

  23        to dismiss the claim on preemption grounds, is

  24        that right?


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             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    83 Filed:  35 of 55 PageID #: 3029
                                                                           34


    1                         MR. KAUFMANN:        That's correct.

    2                         THE COURT:       Okay.    And then you

    3       also pointed -- on the preemption issue, you

    4       pointed to the third circuit case Warinski and I

    5       know you distinguish it in in part by saying you

    6       don't think the case dealt with whether the

    7       information at issue was allegedly confidential

    8       or not.      But otherwise, do you think the case

    9       just got it wrong?         Do you think that the third

  10        circuit just kind of misinterpreted federal

  11        circuit precedence?

  12                          MR. KAUFMANN:        Your Honor, I think

  13        they did.      In fact, the Warinski case doesn't

  14        even mention the Walter's case that dealt

  15        with -- I'm sorry, not the Walter's case, the

  16        federal circuit precedent on preemption.                  Ultra

  17        Precision.

  18                          THE COURT:       Okay.    And then just

  19        on the other issue, which would I guess be

  20        entirely dispositive of the claim no matter what

  21        confidential or non-confidential information is

  22        at issue, there's no -- you know, dispute really

  23        turns on like a case like Walters where the

  24        supreme court has made it clear that, that when


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             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    84 Filed:  36 of 55 PageID #: 3030
                                                                           35


    1       it comes to this development, if there is an

    2       adequate remedy at law, even one that the

    3       plaintiff ultimately is successful on, you can't

    4       make an unjust enrichment claim.              And I guess,

    5       is the way that, you know, that there is an

    6       adequate remedy of law otherwise that the

    7       plaintiff pleads such a remedy in a complaint?

    8       Is that how you know that one exists or are

    9       there other ways that you would know?

  10                          MR. KAUFMANN:        Well, Your Honor, I

  11        think there are potentially other ways that you

  12        could know.       I suppose you could, even if there

  13        was an unpled claim, the allegations in the

  14        complaint satisfied the elements of an unpled

  15        claim, that could be a situation again where the

  16        unjust enrichment claim couldn't proceed.

  17        Although, you know, here the trade secret claims

  18        that were stricken, you know, again, are based

  19        on the same conduct as the unjust enrichment

  20        claim.     And, in fact, the trade secret claim

  21        pled unjust enrichment as alleged harm from the

  22        trade secret misappropriation.             And so, you

  23        know, those claims are clearly based on the same

  24        conduct and the same with the conversion claim.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    85 Filed:  37 of 55 PageID #: 3031
                                                                           36


    1       And, Your Honor, courts that have dealt with

    2       this issue like the Shaw case have found that,

    3       you know, it's not whether -- even if the claim

    4       fails as a matter of law, you know, the Shaw

    5       case found that two other claims based on the

    6       same conduct should also be dismissed as a

    7       matter of law, but the allegation of those

    8       claims based on the same conduct as the unjust

    9       enrichment still precluded the unjust enrichment

  10        claim.

  11                          THE COURT:       And just to parse

  12        that, you know, like what it means to have an

  13        alternative remedy at law.            Let's say I had a

  14        complaint and there was like five claims and the

  15        last of which was unjust enrichment and they

  16        were all about the same conduct.              You know,

  17        like, number one was breach of contract, number

  18        two was conversion, three, four, whatever, and

  19        then five is unjust enrichment and the defendant

  20        moves to dismiss -- and they're all under

  21        Louisiana law -- and defendant moves to dismiss

  22        all five and the Court looks at them and says,

  23        you know what, not one is dismissed.               The

  24        plaintiff can't make out a plausible claim.


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             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    86 Filed:  38 of 55 PageID #: 3032
                                                                           37


    1       Count two, dismissed as well.             Plaintiff just

    2       simply cannot make out a plausible claim.                 Same

    3       with count three, same with count four and then

    4       you get to count five and you ask yourself, does

    5       the plaintiff have a, you know, an alternative

    6       remedy at law?        Well, from the one hand the

    7       plaintiff pleaded that they did.              You know, they

    8       pleaded four other claims based on the same

    9       basic conduct, but that the Court that's

  10        deciding whether they do just got through saying

  11        they don't.       You know, they -- like the court

  12        looked at it and plaintiff can't make out a

  13        claim under count one, breach of contract or

  14        count two conversion.          If you have a scenario

  15        like that, how can it be said that there is an

  16        adequate remedy at law if the Court says, as to

  17        all the other things the plaintiff tried, no.

  18                          MR. KAUFMANN:        Well, Your Honor,

  19        that's the guidance that the Louisiana supreme

  20        court has given and that's the scenario that the

  21        Court found in Shaw.          Although here, I think we

  22        don't even need to get to that question, because

  23        the trade secret claim, you know, as Your Honor

  24        knows, those claims were not dismissed because


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             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    87 Filed:  39 of 55 PageID #: 3033
                                                                           38


    1       they failed to plead an adequate trade secret

    2       claim.     They were stricken because they were

    3       untimely, so there's not an issue of whether

    4       other claims could be pled that set forth a

    5       viable claim.        And in fact, in their briefing on

    6       the motion to strike I believe BearBox was

    7       adamant that they had adequately alleged the

    8       elements of a trade secret claim and so because,

    9       you know, that claim could have been available

  10        to them, we don't -- we don't even need to get

  11        to the issue of, you know, if the conversion

  12        claim is stricken could that -- is there still a

  13        claim they could have availed themselves of.

  14        There is and it was the trade secret claims, at

  15        least.

  16                          THE COURT:       Okay.    Anything

  17        further you want to say on this unjust

  18        enrichment issue, Mr. Kaufmann?

  19                          MR. KAUFMANN:        No, Your Honor.

  20                          THE COURT:       Okay.    Let me then

  21        turn to Mr. Horton on plaintiff's side with

  22        these issues and why don't we start with the

  23        fifth element issue.          There I guess, you know,

  24        why doesn't Walter's just settle the issue?                  The


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    88 Filed:  40 of 55 PageID #: 3034
                                                                             39


    1       supreme court case from Louisiana supreme court.

    2       The other side says it pretty clearly, in their

    3       view, says that, look, if you plead another type

    4       of claim based on the same basic content as an

    5       unjust enrichment claim, even if that other

    6       claim gets dismissed, you had an alternative

    7       essential remedy.         And so you can't plead the

    8       fifth element.        And the defendant would say,

    9       heck, even in the recent case, federal cases

  10        recognize that too like Andretti or Cytogel

  11        Pharma.      How comes Walters doesn't just settle

  12        the issue?

  13                          MR. HORTON:        Yes, Your Honor.        I

  14        think we recognize in the briefing there seems

  15        to be a split in authority here.              We recognize

  16        the Walters decision, but there are decisions

  17        subsequent to Walters and the Hall case

  18        addresses Walters and distinguishes it.                   And the

  19        split seems to be, Your Honor, federal court

  20        versus state court and we think that makes sense

  21        here because in federal court, now federal rule

  22        civil procedure 8 which allows for pleading in

  23        the alternative.         And so we think because we're

  24        in federal court with this case that the split


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                                      Appx2560
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    89 Filed:  41 of 55 PageID #: 3035
                                                                           40


    1       in authority should give, allow the unjust

    2       enrichment claim to go forward.

    3                         THE COURT:       I guess just to stop

    4       you there, Mr. Horton.           You mentioned Hall as

    5       distinguishing Walters, but the way it

    6       distinguished Walters, not even sure this is a

    7       correct reading of Walters, but the way it

    8       distinguished it was by saying well, Walters was

    9       only talking about a scenario where the

  10        alternative relief was a tort claim.               And then

  11        it went on to talk about how that wasn't the

  12        case in Hall.        Here, even if the way that Hall

  13        was distinguishing Walters wouldn't help you,

  14        right, because you've got alternative tort

  15        claims that you're pleading, isn't that right?

  16                          MR. HORTON:        That was said in the

  17        Hall case, Your Honor, that's correct.                The Hall

  18        case also went on to say that the liberality of

  19        rule 8 should be recognized and the Hall case

  20        cites to the Richard versus Wal-mart case which

  21        again relies on rule 8 which allows for pleading

  22        in the alternative in federal court.

  23                          THE COURT:       And on the rule 8

  24        issue a number of cases that you cite reference


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    90 Filed:  42 of 55 PageID #: 3036
                                                                           41


    1       rule 8.      But I mean, you know, there are cases

    2       that the other side points to that say, and I'm

    3       not sure why this is wrong, whether rule 8 or

    4       rule 9 is a matter of federal procedure allows a

    5       party to plead in the alternative, that doesn't

    6       have much to do with what's the substance of the

    7       elements of the claim under state law.                And if

    8       the substance of an element of the claim was

    9       that you can't have another form of potential

  10        relief, it wouldn't matter what rule 8 or 9 lets

  11        you do because the actual substantive claim

  12        wouldn't permit a scenario like this.                How does

  13        rule 8 or 9 get you out of this problem?

  14                          MR. HORTON:        Yeah, so I think,

  15        Your Honor, you alluded to this earlier, which

  16        is to say that, you know, how do you know which

  17        cause of action is going to provide for the

  18        remedy the plaintiff seeks until you know?                 And

  19        at the pleading stage we don't know.                And so I

  20        think, you know, for conversion I think we feel

  21        that the remedy is a disgorgement of the

  22        defendants ill gotten gains and we think we're

  23        entitled to that under conversion.                But if it

  24        turns out that that's not right, then unjust


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                                      Appx2562
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    91 Filed:  43 of 55 PageID #: 3037
                                                                           42


    1       enrichment is meant to plug a gap in the law in

    2       terms of remedies in what the plaintiff might

    3       recover.      And so until we know that for sure, I

    4       think our positions is that unjust enrichment

    5       should stay in the case to continue to plug that

    6       potential gap, until we know for certain whether

    7       there's a gap or not.          And I think that's what

    8       rule 8 contemplates in the federal procedure

    9       context.

  10                          THE COURT:       All right.      And with

  11        regard to the preemption issue, I guess one

  12        question I have for you is the other side is

  13        only making that argument to the extent that

  14        your unjust enrichment claim is even alleged to

  15        implicate information that is non-confidential.

  16        You could tell me that the answer to that is no,

  17        actually no, the whole claim is about

  18        information that is asserted to have been

  19        confidential on the plaintiff's side.                Is that

  20        what's going on or does your unjust enrichment

  21        claim also implicate some information that

  22        wasn't confidential?

  23                          MR. HORTON:        Well, Your Honor, I

  24        think the claim certainly does contemplate


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                                      Appx2563
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    92 Filed:  44 of 55 PageID #: 3038
                                                                            43


    1       information that is confidential.              I think we've

    2       said that in the pleading.            I think we said that

    3       in the briefing.         At the pleading stage I would

    4       be hesitant to make a representation whether

    5       it's all constitutes confidential or not.                 And I

    6       don't think the Court needs to reach that

    7       conclusion, because the Rosinski case is on

    8       point and it doesn't contemplate confidentiality

    9       at all, it's simply saying that in order to

  10        avoid preemption you simply just cannot seek a

  11        patent-like remedy based on patent infringement.

  12        And we don't have that here.             We're not seeking

  13        patent infringement damages.             We don't even have

  14        a patent.      I think we're contending that we

  15        should have the patent, but we don't yet.                 And

  16        in Warinski the facts are even less favorable to

  17        the plaintiff there because there the plaintiff

  18        did have the patent and the third circuit said

  19        as long as you're not asking for patent

  20        infringement damages then unjust enrichment

  21        cannot and will not be preempted.              So I think

  22        that's really the only issue that the Court

  23        needs to address.

  24                          THE COURT:       And so I guess you're


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                                      Appx2564
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    93 Filed:  45 of 55 PageID #: 3039
                                                                           44


    1       saying -- is what you are saying to me, yes,

    2       Judge, you should understand the unjust

    3       enrichment claim to be alleging the unjust

    4       enrichment of the defendants with regard to both

    5       confidential and non-confidential information,

    6       is that right?

    7                         MR. HORTON:        I guess what I'm

    8       saying, Your Honor, is I think the Court's

    9       decision doesn't need to parse things that

  10        finely.      It can simply be a decision based on

  11        the fact that the plaintiff is not seeking at

  12        like remedies under unjust enrichment and on

  13        that basis cannot be preempted by patent law.

  14                          THE COURT:       I'm asking partly from

  15        an efficiency perspective because if you told me

  16        the only thing you're alleging was used and

  17        generated unjust enrichment was confidential

  18        information, then, you know, I don't have to

  19        make a decision on a whole big part of the

  20        briefing here.        But if you're telling me the

  21        opposite, then I might, so that's why I'm

  22        asking.

  23                          MR. HORTON:        Understood, Your

  24        Honor.


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Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    94 Filed:  46 of 55 PageID #: 3040
                                                                           45


    1                         THE COURT:       So humor me, which one

    2       is it?

    3                         MR. HORTON:        Fair enough, Your

    4       Honor.     Confidential information.

    5                         THE COURT:       So only confidential

    6       information is being alleged to have been used

    7       in a way that unjustly enriched the other side?

    8                         MR. HORTON:        I think the pleading

    9       is broader than that, Your Honor, but that's the

  10        claim I see going forward, is unjust enrichment

  11        based on confidential information.

  12                          THE COURT:       Okay.    All right.

  13        Anything further you wanted to add, Mr. Horton?

  14                          MR. HORTON:        No, Your Honor.

  15                          THE COURT:       Okay.    All right.      Mr.

  16        Kaufmann, anything more you want to say about

  17        the unjust enrichment issue?

  18                          MR. KAUFMANN:        Your Honor, I'd

  19        just reiterate the point Your Honor noted that

  20        controlling precedent here, Walters in the

  21        Louisiana supreme court and the fifth circuit

  22        precedent have established that unjust

  23        enrichment can not be pled in the alternative.

  24        Here, rule 8, federal rule 8 does not save the


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                                      Appx2566
Case 1:21-cv-00534-MN-CJB
             Case: 23-1922 Document 146-2
                            Document: 39-3 Filed 06/09/22
                                              Page:       Page01/02/2024
                                                    95 Filed:  47 of 55 PageID #: 3041
                                                                           46


    1       claim as you noted.          It is a substantive element

    2       of the claim that there can be no other remedy

    3       at law and here BearBox's own allegations show

    4       that there was other claims they could have

    5       availed themselves of and so here the unjust

    6       enrichment claim just can't be sustained.

    7                         THE COURT:       Okay.    All right.

    8       Thanks, counsel.         Appreciate your arguments.

    9       I'll take a short time to think about it and

  10        then I'll intend to issue a short report and

  11        recommendation in the very near future so that

  12        the parties will have an answer here.

  13        Appreciate everyone's time today.              Wish everyone

  14        continued health and safety.             Unless there's

  15        anything further, we can end our teleconference

  16        today and go off the record.             Take care,

  17        everybody.

  18                          (End at 1:58 p.m.)

  19

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  21

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                                      Appx2567
            Case: 23-1922       Document: 39-3   Page: 96     Filed: 01/02/2024




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 BEARBOX LLC and AUSTIN STORMS,                  )
                                                 )
                       Plaintiffs,               )
                                                 )
       v.                                        )    C.A. No. 21-534-MN-CJB
                                                 )
 LANCIUM LLC, MICHAEL T.                         )
 MCNAMARA, and RAYMOND E. CLINE,                 )    FILED UNDER SEAL
 JR.                                             )
                                                 )
                       Defendants.               )


               DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR
                     MOTION FOR SUMMARY JUDGMENT

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                                        Appx2611
              Case: 23-1922                Document: 39-3                  Page: 97            Filed: 01/02/2024




                                                TABLE OF CONTENTS

I.     INTRODUCTION .............................................................................................................. 1
II.    FACTUAL BACKGROUND ............................................................................................. 2
        A.       Lancium and Its Technology .................................................................................. 2
        B.       United States Patent No. 10,608,433 ...................................................................... 3
        C.       Austin Storms and BearBox.................................................................................... 5
        D.       Storms’ Communications with McNamara ............................................................ 5
        E.       Procedural History .................................................................................................. 7
III.   LEGAL STANDARD......................................................................................................... 8
IV.    ARGUMENT ...................................................................................................................... 8
        A.       Plaintiffs’ Sole Inventorship Claim Fails As A Matter Of Law Because There
                  Is No Evidence Austin Storms Conceived Of The Inventions Claimed In The
                  ‘433 Patent Or Communicated The Inventions To Defendants. ............................. 9
                  1.        Applicable Legal Principles ........................................................................ 9
                  2.        There Is No Evidence That Austin Storms Communicated The
                             Inventions Of The ‘433 Patent To Defendants. ........................................ 12
        B.       Plaintiffs’ Joint Inventorship Claim Fails As A Matter Of Law Because
                  Plaintiffs Cannot Meet Their Burden Of Proving Collaboration. ......................... 24
                  1.        Applicable Legal Principles ...................................................................... 24
                  2.        Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                             Storms Collaborated With Messrs. McNamara and Cline On The
                             Claimed Inventions ................................................................................... 25
                  3.        Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                             Storms Made A Significant Contribution To The ‘433 Patent. ................ 30
        C.       Plaintiffs’ Conversion Claim Is Prescribed By The One Year Statute Of
                  Limitations. ........................................................................................................... 30
        D.       Plaintiffs’ Conversion Claim Is Preempted By Federal Patent Law..................... 33
V.     CONCLUSION ................................................................................................................. 36




                                                                   i
                                                           Appx2612
                Case: 23-1922                Document: 39-3                Page: 98            Filed: 01/02/2024




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Acad. of Allergy & Asthma in Primary Care v. Quest Diagnostics, Inc,
   No. 5:17-CV-1295-RCL, 2022 WL 980791 (W.D. Tex. Mar. 31, 2022) ..........................28, 35

Acromed Corp. v. Sofamor Danek Group, Inc.,
   253 F.3d 1371 (Fed. Cir. 2001)....................................................................................11, 24, 27

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) ...................................................................................................................8

BASF Agrochemical Prods. v. Unkel,
   No. 05-1478, 2006 WL 3533133 (W.D. La. Dec. 7, 2006) .....................................................35

Bihm v. Deca Systems, Inc.,
   226 So.3d 466 (La. 2017) ........................................................................................................31

Bonito Boats, Inc. v. Thunder Craft Boats, Inc.,
   489 U.S. 141 (1989) .................................................................................................................34

Brand Coupon Network, LLC v. Catalina Mktg. Corp.,
   No. 11-00556, 2014 WL 6674034 (M.D. La. Nov. 24, 2014) .................................................35

CODA Dev. S.R.O. v. Goodyear Tire & Rubber Co.,
  916 F.3d 1350 (Fed. Cir. 2019)................................................................................................10

Dorsey v. Money Mack Music, Inc.,
   304 F. Supp. 2d 858 (E.D. La. 2003) .................................................................................34, 35

Dual Drilling Co. v. Mills Equip. Invs., Inc.,
   721 So. 2d 853 (La. 1998) .......................................................................................................34

Eli Lilly and Co. v. Arandigm Corp.,
    376 F.3d 1352 (Fed. Cir. 2004)......................................................................................9, 10, 30

Ethicon, Inc. v. U.S. Surgical Corp.,
   135 F.3d 1456 (Fed. Cir. 1998)..........................................................................................11, 22

Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n,
  383 F.3d 1352 (Fed. Cir. 2004)..............................................................................10, 11, 24, 30

Hammons v. City of Tallulah,
  708 So.2d 502 (La.App. 2d Cir. 1998) ....................................................................................32




                                                                    ii
                                                             Appx2613
                Case: 23-1922                Document: 39-3                Page: 99            Filed: 01/02/2024




Iceotope Grp. Ltd. v. LiquidCool Sols., Inc.,
    No. 20-CV-2644, 2022 WL 204923 (D. Minn. Jan. 24, 2022)................................................10

Imprenta Servs., Inc. v. Karll,
   No. 220CV06177GWPVCX, 2021 WL 4555333 (C.D. Cal. July 13, 2021) ..........................20

Interactive Gift Express, Inc. v. Compuserve, Inc.,
    256 F.3d 1323 (Fed. Cir. 2001)................................................................................................16

Jefferson v. Crowell,
    956 So.2d 746 (La. App. 2d Cir. 2007) ...................................................................................31

Kimberly-Clark Corp. v. Procter & Gamble Distributing Co., Inc.,
   973 F.3d 911 (Fed. Cir. 1992)..................................................................................................25

Lancium LLC v. Layer1 Technologies, Inc.,
   Case No. 6:20-cv-739 (W.D. Texas) .......................................................................................32

Level Sleep LLC v. Sleep No. Corp.,
   No. 2020-1718, 2021 WL 2934816 (Fed. Cir. July 13, 2021).................................................11

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) ...................................................................................................................8

O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
   521 F.3d 1351 (Fed. Cir. 2008)..........................................................................................11, 13

Philips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)..............................................................................11, 12, 13, 17

Pronova Biopharma Norge AS v. Teva Pharms. USA, Inc.,
   549 F. App’x 934 (Fed. Cir. 2013) ....................................................................................29, 34

Quealy v. Paine, Webber, Jackson & Curtis, Inc.,
   475 So.2d 756 (La. 1985) ..................................................................................................34, 35

Rubin v. General Hospital Corp.,
   No. 09-10040-DJC, 2011 WL 1625024 (D. Mass. Apr. 28, 2011) .........................................25

Rubin v. General Hospital Corp.,
   523 Fed. Appx. 719 (Fed. Cir. 2013) .......................................................................................29

Scott v. Zimmer, Inc.,
   889 F. Supp. 2d 657 (D. Del. 2012) ...............................................................................9, 10, 11

Sortiumusa LLC v. Hunger,
   No. 3:11-cv-1656, 2013 WL 11730655 (N.D. Tex. Mar. 31, 2013)..................................29, 35




                                                                    iii
                                                             Appx2614
               Case: 23-1922                  Document: 39-3                 Page: 100             Filed: 01/02/2024




Symantec Corp. v. Computer Associates Intern., Inc.,
   522 F.3d 1279 (Fed. Cir. 2008)............................................................................................9, 11

Trovan Ltd. v. Sokymat SA, Irori,
   299 F.3d 1292 (Fed. Cir. 2002)................................................................................................10

Ultra-Precision Mfg., Ltd v. Ford Motor Co.,
    411 F.3d 1369 (Fed. Cir. 2005)..............................................................................33, 34, 35, 36

University of Utah v. Max-Planck-Gesellschaft Zur Foerderung Der
   Wissenschaften E.V.,
   851 F.3d 1317 (Fed. Cir. 2017)..............................................................................10, 25, 26, 27

Wagner v. Ashline,
  No. 2021-1715, 2021 WL 5353889 (Fed. Cir. Nov. 17, 2021) ...................................10, 20, 23

Wagner v. Simpson Performance Prod., Inc.,
  Civ. No. 5:18-CV-00123-KDB-DCK, 2021 WL 411144 (W.D.N.C. Feb. 5,
  2021) ..................................................................................................................................10, 23

Waner v. Ford Motor Co.,
  331 F.3d 851 (Fed. Cir. 2003)............................................................................................34, 36

Weaver v. Houchin,
  467 Fed. App’x 878 (Fed. Cir. 2012).......................................................................................20

Statutes

35 U.S.C. § 102 ..............................................................................................................................34

35 U.S.C. § 112 ..............................................................................................................................16

35 U.S.C. § 256 ........................................................................................................................10, 24

Louisiana Civil Code Article 3492 ................................................................................................31

Other Authorities

Fed. R. Civ. P. 56(a) ........................................................................................................................8




                                                                      iv
                                                               Appx2615
           Case: 23-1922     Document: 39-3      Page: 101      Filed: 01/02/2024




                                  INDEX OF EXHIBITS

     Exhibit No.                                 Description
1                  Expert Report of Frank McCamant, dated April 5, 2022
2                  Reply Report of Frank McCamant, dated May 19, 2022
3                  Expert Report of Dr. Stan McClellan, dated April 5, 2022
4                  Reply Expert Report of Dr. Stan McClellan, dated May 20, 2022
5                  Excerpts from Deposition Transcript of Stanley A. McClellan
6                  Excerpts from Ercot Market Mechanisms Report prepared by Shams
                   Siddiqi, Ph.D., dated May 6, 2022
7                  Excerpts from Deposition Transcript of Austin Storms
8                  Confidentiality Agreement between BearBox, LLC and Glidepath
                   Development LLC dated December 10, 2018, produced by BearBox in this
                   case with Bates numbers BB10000736 – BB10000741
9                  Email from Austin Storms to Todd @buysellads attaching files, produced
                   by BearBox in this case with Bates numbers BB00000911 – BB00000923
10                 Email from Austin Storms to Michael McNamara attaching BearBox’s
                   Product Details Summary, produced by BearBox in this case with Bates
                   numbers BB00000090 – BB00000097
11                 BearBox tweets, produced by BearBox in this case with Bates numers
                   BB00000717 – BB00000731
12                 WO 2019/139632 Patent Application, produced by Lancium in this case
                   with Bates numbers LANCIUM00000050 - LANCIUM00000093
13                 U.S. Patent No. 11,016,456, produced by Lancium in this case with Bates
                   numbers LANCIUM00013636 – LANCIUM00013658
14                 Email from Michael McNamara to Eric Kutscha, Jon Cohen and Raymond
                   Cline attaching BearBox product details summary, produced by Lancium in
                   this case with Bates numbers LANCIUM00014645
15                 Excerpts from the File History of U.S. Patent 10,608,433, produced by
                   BearBox in this case with Bates numbers BB00000319 - BB00000667
16                 Excerpts from a Text message report between Austin Storms and Ben Hakes
                   dated between 12/5/2018 – 4/28/2021, produced by BearBox in this case
                   with Bates numbers BB10003955 – BB10004026
17                 U.S. Patent No. 10,608,433
18                 Text message report between Austin Storms and Michael McNamara dated
                   between 5/4/2019 – 5/9/2019, produced by BearBox in this case with Bates
                   numbers BB10004959 – BB10004961



                                             v
                                        Appx2616
     Case: 23-1922    Document: 39-3       Page: 102      Filed: 01/02/2024




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            District of Texas on August 14, 2020, produced by Lancium in this case with
            Bates numbers LANCIUM00016546 – LANCIUM00016554
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            Defendants’ First Set of Interrogatories (Nos. 1-9), dated November 9, 2021
21          Excerpts from Defendants’ Second Set of Supplemental Response to
            Plaintiffs’ Interrogatory No. 3, dated December 23, 2021
22          Excerpts from Hearing Transcript re: Motion to Strike and Discovery
            Dispute, dated April 22, 2022
23          Excerpts from Plaintiff’s Objections and Responses to Defendants’ First Set
            of Requests For Admission (Nos. 1-33), dated November 22, 2021




                                      vi
                                 Appx2617
           Case: 23-1922         Document: 39-3         Page: 103      Filed: 01/02/2024




I.     INTRODUCTION

       Plaintiffs Austin Storms (“Storms”) and BearBox LLC (“BearBox”) have three remaining

claims against Defendants Lancium LLC (“Lancium”), Michael T. McNamara (“McNamara”),

and Raymond E. Cline, Jr. (“Cline”). First, Plaintiffs assert a claim that Storms is the sole inventor

of U.S. Patent No. 10,608,433 (the “’433 patent”) (Count I of the Second Amended Complaint).

Second, in the alternative, Plaintiffs assert a claim that Storms is a joint inventor of the ‘433 patent

(Count II). Third, Plaintiffs assert a claim for conversion of so-called “BearBox technology”

(Count V). All of these claims are based on information allegedly provided by Storms to

McNamara via their only three communications: (1) a May 3, 2019 conversation at a group dinner

attended by several other competitors following a cryptocurrency mining summit; (2) a series of

text messages from May 3-9, 2019 following the dinner; and (3) a single email that Storms sent

McNamara on May 9, 2019. Based on these extremely limited communications, and despite

Defendants’ years of innovation and investment in research and development, Plaintiffs allege that

Defendants wrongly filed a patent on Storms’ alleged invention more than five months after

Storms and McNamara last communicated. Likewise, Plaintiffs seek millions of dollars in

damages for Defendants’ alleged conversion of a small amount of allegedly confidential

information in one attachment to Storms’ email by purportedly using that information to modify

Defendants’ Smart ResponseTM software that is used to control datacenters.

       Plaintiffs’ claims, however, all fail as a matter of law. Indeed, Plaintiffs’ inventorship

claims are based on a fundamentally incorrect interpretation of two key claim terms found in every

claim of the ‘433 patent. Plaintiffs rely on this misinterpretation to assert that Storms’ “BearBox

technology” discloses the inventions of the ‘433 patent even though these technologies are not

only different, they are inconsistent. Plaintiffs’ sole inventorship claim thus fails as a matter of law

because there is no evidence, much less clear and convincing evidence that could meet their heavy


                                                   1
                                             Appx2618
            Case: 23-1922       Document: 39-3       Page: 104       Filed: 01/02/2024




burden, that Storms conceived of or communicated the inventions of the ‘433 patent, as properly

construed, to Defendants. Likewise, regarding Plaintiffs’ joint inventorship claims, they cannot

prove, much less by clear and convincing evidence, that Storms made a significant contribution to

the ‘433 patent. In addition, the limited communications between Storms and McNamara cannot,

as a matter of law, establish that Storms and McNamara collaborated on the inventions of the ‘433

patent, as is required for a joint inventorship claim. Furthermore, Plaintiffs’ conversion claim is

barred by the applicable one-year statute of limitations and is preempted by federal patent law

because it is based on the alleged use of information that, as a matter of law, is not confidential.

Accordingly, the Court should grant summary judgment for Defendants on all three of Plaintiffs’

remaining claims.

II.    FACTUAL BACKGROUND

       A.      Lancium and Its Technology

       Lancium is a technology company founded in 2017, to, among other things, create software

and intellectual property solutions that enable more renewable energy on the nation’s power grid,

and Lancium began to do so immediately. For example, in February 2018, Lancium, including

McNamara and Cline, filed a patent application titled “Method and System for Dynamic Power

Delivery To a Flexible Datacenter Using Unutilized Energy Sources,” that published as

International Publication No. WO 2019/139632A1 (the “’632 application”) and later issued as U.S.

Patent No. 11,016,456. SOF ¶¶6-9; Ex. 12; Ex. 13. Lancium’s technology, as explained in the ‘632

patent, permits a “flexible data center” to “ramp-up to a fully online status, ramp-down to a fully

offline status, or dynamically reduce power consumption,” where “the flexible datacenter may

perform computational operations, such as blockchain hashing operations” (e.g., Bitcoin mining)

“with little to no energy costs, using clean and renewable energy that would otherwise be wasted.”

Ex. 12 at [0022].


                                                 2
                                           Appx2619
            Case: 23-1922       Document: 39-3        Page: 105      Filed: 01/02/2024




       Lancium continued to innovate and by the end of 2018 had filed numerous other patent

applications that led to numerous patents such as U.S. Patent No. 10,873,211 (filed September 13.

2018) titled “Systems and Methods for Dynamic Power Routing with Behind-the-Meter Energy

Storage,” U.S. Patent No. 10,444,818 (filed October 30, 2018) titled “Methods and Systems for

Distributed Power Control of Flexible Datacenters,” and U.S. Patent No. 10,367,353 (filed October

30, 2018) and “Managing Queue Distribution between Critical Datacenter and Flexible

Datacenter.” D.I. 28 ¶ 24.

       B.      United States Patent No. 10,608,433

       Through 2019, Lancium continued to innovate and invest in research and development,

eventually leading to the filing of U.S. Provisional Patent Application No. 62/927,119 on October

28, 2019 (SOF ¶1; Ex. 21 at 32-33 and documents cited therein) and the follow-on U.S.

Nonprovisional Patent Application No. 16/702,931 on December 4, 2019, which issued as the ’433

patent, titled “Methods and Systems for Adjusting Power Consumption Based on A Fixed-

Duration Power Option Agreement.” SOF ¶¶2-4; Ex. 17.

       The technology of the ‘433 patent at issue in this case relates to systems and methods for

adjusting the amount of power available on the electrical grid. As depicted in its Figure 1, of which

an excerpted version is shown below, an electrical grid typically includes: (i) power generation

stations (e.g., nuclear power plants 102a) that produce electricity, (ii) transmission lines 104 that

carry the power from the generation stations to demand centers (i.e., consumers), and (iii)

distribution networks 106 that carry power to individual consumers. Ex. 17 at 1:26-4:8. To

maintain stability on the grid, the grid operator strives to maintain a balance between the amount

of power entering the grid (via generators) and the amount of grid power used by loads (e.g.,

customers in the distribution segment 106). Ex. 17 at 4:9-13.




                                                 3
                                            Appx2620
              Case: 23-1922              Document: 39-3   Page: 106   Filed: 01/02/2024




                GENERATION                      TRANSMISSION              DISTRIBUTION
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                102a "               :
                                     I




                 102e         102i       103e

                102b 'Y




                                                PRIOR ART
                                                 FIGURE 1
       In an effort to maintain this balance, grid operators, such as Independent Service

Organizations (“ISOs”) have various tools at their disposal, some of which are called ancillary

services. Ancillary services are programs that give ISOs some amount of control over the amount

of power being consumed by loads on the grid in real time in order to balance the amount of power

being consumed with the amount of power available.1 In order to provide this ability, specially

qualified loads can bid into the “day-ahead” ancillary services market2 where the loads offer a

specific minimum amount of load (i.e., power in megawatts (MW)) that they commit to use during

specific hourly periods the following day (i.e., the “operating day”). If the offer is accepted (i.e.,

“awarded”) by the ISO, the ISO will pay the load for guaranteeing that the load will use the

committed minimum amount of power during each specific hourly period the next day while

simultaneously providing the ISO with the option to reduce (i.e., “curtail”) that power use in real


1
  See, e.g., Ex. 1 at 18 (“ERCOT needs system capacity for two reasons: first for energy dispatch
to meet real time system demand, and second as a reserve available to respond to large and small
operational fluctuations. This reserve capacity is what is used for Ancillary Services…”)
2
 See, e.g., Ex. 1 at 24 (“Qualified LRs ... may provide operating reserves in the ERCOT AS
markets.”)


                                                      4
                                                  Appx2621
              Case: 23-1922      Document: 39-3       Page: 107      Filed: 01/02/2024




time that next day by up to the committed amount, in order to balance generation and consumption

of power on the grid.3 The load is obligated to use at least the committed minimum power amount;4

otherwise, the ISO could not exercise its option in real time to reduce load on the network up to

the committed power amount. Plaintiffs do not dispute how ancillary service programs work.5

         C.      Austin Storms and BearBox

         Austin Storms and his company BearBox, in late 2018 and early 2019, sought to develop

cryptocurrency mining technology. D.I. 103 at ¶ 29. In particular, Plaintiffs worked to develop a

portable container called a “BearBox” that contained cryptocurrency miners (i.e., computers that

can perform cryptocurrency mining operations). Ex. 7 at 45:2-17. BearBox, however, only ever

built one BearBox, which it eventually sold for no profit. Ex. 7 at 45:18-23; 48:6-7.

         D.      Storms’ Communications with McNamara

         On May 3, 2019, Storms attended the Fidelity FCAT Mining Summit in Boston where he

explained he was “[g]onna poke around and figure out if anyone else is doing what we’re working

on.” Ex. 16 at BB10003996. At the conference, Storms met McNamara and the two went to a

group dinner attended by approximately six others, including competitors in the Bitcoin mining

field. SOF ¶¶10-11; D.I. 41 at ¶¶ 38, 40-41; D.I. 28 at ¶¶ 38, 40-41. Storms and McNamara’s

conversation at the dinner occurred in front of these other attendees, and this was their only oral



3
 Ex. 6 at 17 (“Awarded Ancillary Service Offers, specifying … MW … and price, for each hour
of the awarded offer.”); Ex. 1 at 24 (“Load Resources that are scheduled or selected in the ERCOT
Day-Ahead AS Markets are eligible to receive a capacity payment regardless of whether they are
actually curtailed.”)
4
    Ex. 6 at 14 (“Ancillary Service (AS) awards are physically binding.”)
5
 Dr. Siddiqi describes ancillary service market operation in significant detail in his expert report;
Plaintiff’s ISO market expert Mr. McCamant states that Dr. Siddiqi’s “report is an accurate account
of how the ERCOT market functions,” and does not dispute the factual operation of the ancillary
service market. Ex. 2 at 5.


                                                  5
                                             Appx2622
            Case: 23-1922       Document: 39-3       Page: 108     Filed: 01/02/2024




communication. SOF ¶¶11, 14; D.I. 41 at ¶ 43; D.I. 28 at ¶ 43; Ex. 23 at 9. Shortly thereafter,

Storms wrote to an individual, Ben Hakes, with whom he had been working and explained that:

“The guys at Lancium are doing what we are trying to do exactly, but they don’t have a container

builder or software team yet. Mike’s pretty interested in my solution.”6 Ex. 16 at BB10004001.7

         Following the dinner, from May 3 to May 9, 2019, Storms and McNamara exchanged a

handful of text messages, which mostly involved McNamara’s request for specifications on the

BearBox container. SOF ¶12; Ex. 18. And on May 9, 2019, Storms emailed McNamara a

specification sheet for his BearBox as well as a handful of other documents. See SOF ¶13; Ex. 10.

This was the last communication between Storms and any of Defendants. SOF ¶13; D.I. 103 at ¶

36.

         Following receipt of Storms’ email, McNamara forwarded it to a few others at Lancium on

May 9, 2019, explaining that “[w]e met this guy at the fidelity conference. … His box seems very

expensive though.” Ex. 14. There were no responses to McNamara’s email.

         In addition, none of the attachments to Storms’ email were marked as confidential and

Storms has testified that three of the attachments were publicly available product specification

sheets. SOF ¶16; Ex. 7 at 213:5-214:5; Ex. 10. The fourth attachment contains the BearBox product

specification sheet as well as a drawing titled “BearBox Automatic Miner Management System

Version 1.0” that Storms also posted on BearBox’s public Twitter account. SOF ¶¶19-20;

Compare Ex. 10 at BB00000092, with Ex. 11 at BB00000718. Plaintiffs also do not assert that this

attachment is confidential. SOF ¶18; Ex. 7 at 217:13-23. The only reference to confidentiality in


6
    All emphases added unless otherwise noted.
7
 Storms also stated “[T]hey want my logic for curtailing miners on DA and RTMB LMP – all
over dinner Friday night and several bottles of wine, they told me they were looking into Digital
Shovel, but their Schneider Electric/Siemens engineer was worried about 480/277v because of
potential liability….” Ex. 16 at BB10004002.


                                                 6
                                           Appx2623
             Case: 23-1922        Document: 39-3         Page: 109       Filed: 01/02/2024




the email or its attachments was a boilerplate “confidentiality notice” at the bottom of email stating

that “[t]his email communication may contain private, confidential, or legally privileged

information intended for the sole use of the designated and/or duly authorized recipient(s).” SOF

¶16; Ex. 7 at 217:6-12; Ex. 10 at BB00000090. Moreover, Storms did not have a confidentiality

or nondisclosure agreement with McNamara or any of Defendants although he did have such

agreements with other third parties. See, e.g., Ex. 7 at 70:4-6, 124:7-13; Ex. 8.

        Plaintiffs learned of the ‘433 patent and Defendants allegedly wrongful use of BearBox’s

technology on August 17, 2020 when Storms saw a press release about a lawsuit Lancium filed

for infringement of the ‘433 patent. SOF ¶22; D.I. 103 at ¶¶ 52-54. Nonetheless, and despite the

fact that Storms never sought to file a patent on his alleged invention, Plaintiffs waited until April

14, 2021 to file this lawsuit. Ex. 7 at 290:7-16. Indeed, Plaintiffs did not file this lawsuit until after

a press release was issued announcing the settlement of the earlier infringement suit regarding the

‘433 patent and that the defendant in that lawsuit licensed Lancium’s intellectual property. D.I.

103 at ¶¶ 56-57.

        E.      Procedural History

        Plaintiffs’ claims in this case have continually changed since the original Complaint was

filed on April 14, 2021. D.I. 1. Plaintiffs’ originally asserted claims, inter alia, for trade secret

misappropriation, but a little over a month later withdrew these claims and filed an Amended

Complaint. See D.I. 19. Defendants then moved for judgment on the pleadings regarding Plaintiffs’

claims for conversion, unjust enrichment, and negligent misrepresentation, which the Court

granted dismissing Plaintiffs’ conversion and unjust enrichment claims without prejudice as

preempted by federal patent law and dismissing the negligent misrepresentation claim with

prejudice. D.I. 92; D.I. 97. Two days before the close of fact discovery, Plaintiffs then filed the

Second Amended Complaint asserting new, different conversion and unjust enrichment claims and


                                                    7
                                              Appx2624
          Case: 23-1922        Document: 39-3        Page: 110      Filed: 01/02/2024




re-asserting claims for trade secret misappropriation. D.I. 89 (order adopting stipulated, amended

scheduling order); D.I. 103 (Second Amended Complaint). The Court, however, granted

Defendants’ motion to strike the re-asserted trade secret claims. See 4/25/22 Minute Entry.

Magistrate Judge Burke has also recommended granting Defendants’ motion to dismiss the new

unjust enrichment claim, and Plaintiffs have not objected to this recommendation.8 D.I. 143.

       Accordingly, Plaintiffs have three remaining claims: First, Plaintiffs’ claim that Storms

should be substituted as the sole inventor of the ’433 patent (Count I). Second, Plaintiffs’

alternative claim that Storms should be found to be a joint inventor of the ’433 patent (Count II).

Third, Plaintiffs’ claim that Defendants converted certain technology relating to energy arbitrage

that Storms purports to have provided to McNamara (Count V). D.I. 103. As explained herein,

summary judgment is appropriate because each of these claims fail as a matter of law.

III.   LEGAL STANDARD

       The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). To defeat a motion for summary judgment, the nonmoving party must “do more than

simply show that there is some metaphysical doubt as the material facts.” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). A factual dispute is only genuine where “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The “mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment.” Id.

IV.    ARGUMENT


8
 Defendants also have pending objections to Magistrate Judge Burke’s recommendation to deny
Defendants’ motion to dismiss Plaintiffs’ new conversion claim. D.I. 146.


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                                           Appx2625
            Case: 23-1922      Document: 39-3        Page: 111      Filed: 01/02/2024




       A.      Plaintiffs’ Sole Inventorship Claim Fails As A Matter Of Law Because There
               Is No Evidence Austin Storms Conceived Of The Inventions Claimed In The
               ‘433 Patent Or Communicated The Inventions To Defendants.

       The ‘433 patent invented systems and methods that can be used to adjust power

consumption of computing systems (e.g., cryptocurrency or Bitcoin miners) that can be used, inter

alia, to participate in ancillary services programs. Although Plaintiffs have previously avoided

specifically explaining how they claim Storms’ so-called “BearBox technology” encompasses and

relates to the claimed technology of the ‘433 patent, during expert discovery it became clear that

Plaintiffs’ inventorship claims are premised on a fundamentally incorrect interpretation of two key

claim terms appearing in every claim of the ‘433 patent: (1) “power option agreement”; and (2)

“minimum power threshold.” This is significant because resolution of Plaintiffs’ inventorship

claims requires proper construction of these claim terms, and there is simply no evidence that

Storms conceived of, much less communicated, the inventions of the ‘433 patent as properly

construed. Thus, summary judgment denying Storms claim of sole inventorship of the ‘433 patent

should be granted.

                1.     Applicable Legal Principles

                      a.      Inventorship

       Inventorship is a question of law premised on underlying questions of fact. Eli Lilly and

Co. v. Arandigm Corp., 376 F.3d 1352, 1362 (Fed. Cir. 2004). Patent issuance creates a

presumption that the named inventors are the true and only inventors, and that people not named

are not to be inventors. Scott v. Zimmer, Inc., 889 F. Supp. 2d 657, 662 (D. Del. 2012). A person

seeking to add himself/herself as an inventor, therefore, “must meet the heavy burden of proving

[his/her] case by clear and convincing evidence.” Id.; Eli Lilly, 376 F.3d at 1358. Inventorship,

therefore, is often decided as a matter of law, including at summary judgment. See, e.g., Symantec

Corp. v. Computer Associates Intern., Inc., 522 F.3d 1279, 1295-96 (Fed. Cir. 2008) (affirming


                                                9
                                           Appx2626
          Case: 23-1922        Document: 39-3        Page: 112      Filed: 01/02/2024




summary judgment of no inventorship); Univ. of Utah v. Max-Planck-Gesellschaft Zur

Foerderung Der Wissenschaften E.V., 851 F.3d 1317 (Fed. Cir. 2017) (same); Wagner v. Simpson

Performance Prod., Inc., Civ. No. 5:18-CV-00123-KDB-DCK, 2021 WL 411144, at *2

(W.D.N.C. Feb. 5, 2021), aff'd sub nom. Wagner v. Ashline, No. 2021-1715, 2021 WL 5353889

(Fed. Cir. Nov. 17, 2021) (granting summary judgment of no inventorship because Plaintiff failed

to provide sufficient evidence to corroborate its claim of co-inventorship); Eli Lilly, 376 F.3d at

1364 (reversing jury’s verdict that unnamed inventor was a joint inventor because the evidence

was insufficient to meet the clear and convincing standard).

       The inventorship analysis first requires construction of each disputed claim to determine

the subject matter encompassed. Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n, 383 F.3d

1352, 1381-82 (Fed. Cir. 2004). Then, “[t]o state a claim for complete substitution of inventors

under Section 256,” a plaintiff must establish that “(1) the erroneously omitted inventor conceived

the invention claimed in the patent and (2) the named inventor on the patent did not conceive the

invention.” Iceotope Grp. Ltd. v. LiquidCool Sols., Inc., No. 20-CV-2644, 2022 WL 204923, at *2

(D. Minn. Jan. 24, 2022) (emphasis in original) (citing to CODA Dev. S.R.O. v. Goodyear Tire &

Rubber Co., 916 F.3d 1350, 1358 (Fed. Cir. 2019)).

       Ultimately, conception is the touchstone of inventorship. Gemstar, 383 F.3d at 1381.

Conception is “the formation in the mind of the inventor of a definite and permanent idea of the

complete and operative invention.” Id. Conception is complete when one of ordinary skill in the

art could construct the apparatus, perform the process, or make the composition without unduly

extensive research or experimentation. Trovan Ltd. v. Sokymat SA, Irori, 299 F.3d 1292, 1302

(Fed. Cir. 2002). A would-be inventor’s contribution must have been to the conception of the

claims, not something outside the claims. Scott, 889 F. Supp. 2d, at 662.




                                                10
                                           Appx2627
           Case: 23-1922        Document: 39-3        Page: 113       Filed: 01/02/2024




       A would-be inventor’s proof of conception, however, must be more than simply his/her

testimony. “To prove [his or her] contribution, the purported inventor must provide corroborating

evidence of any asserted contributions to the conception.” Acromed, 253 F.3d at 1379 (internal

citations and quotations omitted); see also Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456,

1461 (Fed. Cir. 1998). Indeed, a would-be inventor’s testimony regarding their own inventorship

claim is “regarded with skepticism.” Scott, 889 F. Supp. 2d at 664. Would-be inventors, therefore,

must supply evidence to corroborate their testimony. Symantec, 552 F.3d at 1295. The sufficiency

of the corroborating evidence is evaluated under a rule of reason analysis, which requires that an

evaluation of all pertinent evidence be made so that a sound determination of the credibility of the

alleged inventor’s story may be reached. Id.; Gemstar, 383 F.3d at 1382.

                       b.      Claim Construction

       “When the parties raise an actual dispute regarding the proper scope of these claims, the

court, not the jury, must resolve that dispute.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,

521 F.3d 1351, 1360 (Fed. Cir. 2008). A district court “may engage in claim construction during

various phases of litigation” and is “well within its power to clarify, supplement, and even alter its

construction” of disputed terms “in its summary judgment order.” Level Sleep LLC v. Sleep No.

Corp., No. 2020-1718, 2021 WL 2934816, at *3 (Fed. Cir. July 13, 2021).

       “Words of a claim are generally given their ordinary and customary meaning, which is the

meaning a term would have to a person of ordinary skill in the art after reviewing the intrinsic

record at the time of the invention.” O2 Micro, 521 F.3d at 1360 (citing Philips v. AWH Corp., 415

F.3d 1303, 1312-13 (Fed. Cir. 2005)). “A determination that a claim term ‘needs no construction’

or has the ‘plain and ordinary meaning’ may be inadequate when a term has more than one

‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not resolve the parties’

dispute.” Id. at 1361. “To determine the meaning of the claims, courts start by considering the


                                                 11
                                            Appx2628
           Case: 23-1922        Document: 39-3        Page: 114       Filed: 01/02/2024




intrinsic evidence,” which “includes the claims themselves, the specification, and the prosecution

history.” Philips, 415 F.3d at 1312-1314. “[C]laims ‘must be read in view of the specification, of

which they are a part.’” Id. “[T]he specification ‘is always highly relevant to the claim construction

analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.’”

Id. Expert testimony may aid a court in understanding the underlying technology and determining

the particular meaning of a term in the pertinent field, but an expert’s conclusory, unsupported

assertions as to a term’s definition are entirely unhelpful to a court. Phillips, 415 F.3d at 1317

(emphasis in original).

                2.        There Is No Evidence That Austin Storms Communicated The
                          Inventions Of The ‘433 Patent To Defendants.

                       a.      Proper Claim Construction of “Power Option Agreement”

 Claim Term                        Defendants’ Construction          Plaintiffs’ Construction

 “power option agreement” an agreement between a Plain and ordinary meaning
 (‘433 patent, independent power entity associated with
 claims 1, 17, & 20)       the delivery of power to a load
                           and the load, wherein the load
                           provides the power entity with
                           the option to reduce the
                           amount of power delivered to
                           the load up to an agreed
                           amount of power during an
                           agreed upon time interval such
                           that the load must use at least
                           the amount of power subject
                           to the option during the time
                           interval

       On October 15, 2021, the parties indicated to the Court that they did not seek claim

construction at that time and would advise, or seek construction, if developments suggested

otherwise. See D.I. 61; D.I. 63. During expert discovery it has become apparent that Plaintiffs seek

to ignore the clear meaning of “power option agreement” as established by the intrinsic evidence,

and instead assert a purported “plain and ordinary” meaning that they contort to support their


                                                 12
                                            Appx2629
           Case: 23-1922        Document: 39-3        Page: 115      Filed: 01/02/2024




inventorship claims. The intrinsically-supported clear meaning of power option agreement is: “an

agreement between a power entity associated with the delivery of power to a load and the load,

wherein the load provides the power entity with the option to reduce the amount of power delivered

to the load up to an agreed amount of power during an agreed upon time interval such that the load

must use at least the amount of power subject to the option during the time interval.” However,

Plaintiffs improperly depart from the intrinsic evidence and instead use a purported “plain and

ordinary” meaning under which their expert, Dr. Stanley McClellan, describes the power option

agreement as “an agreement [by the load] to purchase a certain amount of power at a certain time

at a certain price.” Ex. 3 at ¶ 49; Ex. 5 (McClellan Dep. Tr.) at 90:2-13. Dr. McClellan further

contends that the “option” is the load “buying power ahead of time,” which the load can then

decide to use the power or not. Ex. 5 at 157:1-18. Plaintiffs’ interpretation of “power option

agreement” is fundamentally inconsistent with the patent specification, which specifically

describes and provides examples related to the term. As such, construction of this term is needed

because “[a] determination a claim term ‘needs no construction’ or has the ‘plain and ordinary

meaning’ may be inadequate when a term has more than one ‘ordinary’ meaning or when reliance

on a term’s ‘ordinary’ meaning does not resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361.

       It is well-established that “claims must be read in view of the specification, of which they

are a part” and “the specification is always highly relevant to the claim construction analysis.

Usually it is dispositive; it is the single best guide to the meaning of a disputed term.” Phillips,

415 F.3d at 1315 (internal quotations omitted). Here, the specification is dispositive and explains

in great detail that a “power option agreement” is an agreement between a power entity (such as a

grid operator) and a load (such as a datacenter) that gives the power entity the option to reduce the




                                                 13
                                            Appx2630
           Case: 23-1922        Document: 39-3        Page: 116       Filed: 01/02/2024




amount of power delivered to the load, up to an agreed amount during an agreed time interval.9

Indeed, the ‘433 patent explains that:

       “In general, a power option agreement is an agreement between a power entity 1140
       associated with the delivery of power to a load (e.g., a grid operator, power
       generation station, or local control station) and the load (e.g., the datacenters 1102-
       1106). As part of the power option agreement, the load (e.g., load operator,
       contracting agent for the load, semi-automated control system associated with the
       load, and/or automated control system associated with the load) provides the power
       entity 1140 with the right, but not obligation, to reduce the amount of power
       delivered (e.g., grid power) to the load up to an agreed amount of power during an
       agreed upon time interval.” Ex. 17 at 43:46-57.

The specification further explains that the power option agreement gives the power entity this

optionality as a tool to balance the supply and demand for power on the grid:

       “The power option agreement may be used by the power entity 1140 to reserve the
       right to reduce the amount of grid power delivered to the load during a set time
       frame (e.g., the next 24 hours). For instance, the power entity 1140 may exercise a
       predefined power option to reduce the amount of grid power delivered to the load
       during a time when the grid power may be better redirected to other loads coupled
       to the power grid. As such, the power entity 1140 may exercise power option
       agreements to balance loads coupled to the power grid.” Ex. 17 at 44:3-12.

The ‘433 patent even gives an example of how a power option agreement could work:

       “To illustrate an example, a power option agreement may specify that a load (e.g.,
       the datacenters 1102-1106) is required to use at least 10 MW or more at all times
       during the next 12 hours. … In order to comply with the agreement, the load must
       subsequently operate using 10 MW or more power at all times during the next 12
       hours. This way, the load can accommodate a situation where the power entity 1140
       exercises the option. Particularly, exercising the option may trigger the load to
       reduce the amount of power it consumes by an amount up to 10 MW at any point
       during the 12 hour interval. By establishing this power option agreement, the power
       entity 1140 can manipulate the amount of power consumed at the load during the
       next 12 hours by up to 10 MW if power needs to be redirected to another load or a
       reduction in power consumption is needed for other reasons.” Ex. 17 at 44:17-35.

Furthermore, the ‘433 patent explains that a load may enter into a power option agreement and



9
 The prosecution history does not alter the meaning of “power option agreement” as established
by the specification because the ‘433 patent issued without any rejections by the examiner. See
SOF ¶5; Ex. 15 at BB0000553-62 (1/27/20 Notice of Allowance)


                                                 14
                                            Appx2631
           Case: 23-1922        Document: 39-3        Page: 117       Filed: 01/02/2024




give the power entity the ability to exercise the option in return for monetary consideration from

the power entity, such as payment from the power entity or a reduced price for power. Ex. 17 at

43:65-44:2.

       The meaning of the term that Plaintiffs apply is flatly inconsistent with the meaning

established by the ‘433 patent’s specification. As an initial matter, although Plaintiffs’ expert, Dr.

McClellan, purported to apply the “plain and ordinary meaning” of the term to his inventorship

analysis, he asserts that a system that “calculated profitability at distinct time intervals”

demonstrates conception of claim elements including this term, even though that has nothing do

with a “power option agreement” as described by the ‘433 patent. Ex. 3 at ¶¶ 49, 62. And Dr.

McClellan confirmed his misinterpretation of the claim at his deposition. Indeed, Dr. McClellan

testified that he interpreted “power option agreement” to mean “essentially a contract to buy power

at a certain price. It’s like a wholesale purchase. I’m going to buy X number of units at X price.”

Ex. 5 at 83:5-10. Dr. McClellan further testified that his understanding of the “plain and ordinary

meaning” of the term is “opting to purchase power ahead of time at a certain rate and then I’m

going to pay for that power, and then when it comes for that time I’m going to pay for that power

whether I use it or not.” Ex. 5 at 157:1-18. He then gave the example of “I’m going to pay for that

power, that’s the option. When it comes time, I’m going to pay for that whether I use it or not. I

don’t have to use it. I can screw in that light bulb and turn off the switch, and I’m still paying for

that minimum power.” Ex. 5 at 157:1-18. Thus, Plaintiffs and their expert misinterpret “power

option agreement” as an agreement that gives the purchaser (i.e., the load) the option to use power

rather than an agreement that requires the load to use a certain amount of power and gives a power

entity the option to reduce the amount of power used by the load.

       Based on the clear guidance the specification of the ‘433 patent provides to a person of




                                                 15
                                            Appx2632
           Case: 23-1922        Document: 39-3        Page: 118      Filed: 01/02/2024




ordinary skill in the art regarding the meaning of “power option agreement,” the Court should

resolve the parties’ dispute and construe this term using Defendants’ proposed construction.

                          b.   Proper Claim Construction of “Minimum Power Threshold”

 Claim Term                       Defendants’ Construction          Plaintiffs’ Construction

 “minimum power threshold” a minimum amount of power Plain and ordinary meaning
 (‘433 patent, claims 1, 17, & a load must use during an
 20)                           associated time interval

       As with “power option agreement,” Plaintiffs purport to apply the “plain and ordinary”

meaning of the term “minimum power threshold” but ignore the guidance the specification

provides for the meaning of this term. Based on the meaning established by the intrinsic evidence,

the Court should construe “minimum power threshold” to mean “a minimum amount of power a

load must use during an associated time interval.”

       The claim construction analysis “must begin and remain centered on the language of the

claims themselves, for it is that language the patentee chose to use to ‘particularly point[] out and

distinctly claim[] the subject matter which the patentee regards as his invention.’” Interactive Gift

Express, Inc. v. Compuserve, Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (quoting 35 U.S.C. §

112). Here, the claim language itself supports Defendants’ proposed construction. Exemplary

claim 1 is instructive:

       1. A system comprising:
          a set of computing systems, wherein the set of computing systems is
              configured to perform computational operations using power from a
              power grid;
          a control system configured to:
              monitor a set of conditions;
              receive power option data based, at least in part, on a power option
                  agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein
                  each minimum power threshold in the set of minimum power
                  thresholds is associated with a time interval in the set of time
                  intervals;



                                                 16
                                            Appx2633
          Case: 23-1922        Document: 39-3        Page: 119      Filed: 01/02/2024




               responsive to receiving the power option data, determine a performance
                   strategy for the set of computing systems based on a combination of at
                   least a portion of the power option data and at least one condition in
                   the set of conditions, wherein the performance strategy comprises a
                   power consumption target for the set of computing systems for each
                   time interval in the set of time intervals, wherein each power
                   consumption target is equal to or greater than the minimum power
                   threshold associated with each time interval; and
               provide instructions to the set of computing systems to perform one or
                   more computational operations based on the performance strategy.

Ex. 17 at 59:2-28. Thus, consistent with Defendants’ proposed construction, the claim language

generally sets forth a system where a loadʊpursuant to a power option agreement and data

received under that agreementʊdetermines a performance strategy for a set of computing systems

in order to ensure that they use at least a minimum amount of power during specified time intervals

(i.e., minimum power thresholds).

       The specification, which “is always highly relevant to the claim construction analysis” and

“is the single best guide to the meaning of a disputed term,” also supports Defendants’

construction. Phillips, 415 F.3d at 1315. For example, the specification explains that in order to

provide a power entity with the option contemplated by a power option agreementʊi.e., “the right,

but not obligation, to reduce the amount of power delivered (e.g., grid power) to the load”ʊ“the

load needs to be using at least the amount of power subject to the option (e.g., a minimum power

threshold).” Ex. 17 at 43:50-60. The ‘433 patent further explains that:

       “To illustrate an example, a power option agreement may specify that a load (e.g.,
       the datacenters 1102-1106) is required to use at least 10 MW or more at all times
       during the next 12 hours. Thus, the minimum power threshold according to the
       power option agreement is 10 MW and this minimum threshold extends across the
       time interval for the next 12 hours. In order to comply with the agreement, the load
       must subsequently operate using 10 MW or more power at all times during the next
       12 hours.” Ex. 17 at 44:17-25; see also id. at 44:26-35.

       The ‘433 patent also provides an example in Figure 12, which depicts a graph line 1206

indicating “the set of time intervals associated with minimum power thresholds” where “time 1202



                                                17
                                           Appx2634
           Case: 23-1922         Document: 39-3         Page: 120          Filed: 01/02/2024




increases along the X-axis and minimum power thresholds 1204 increase along the Y-axis of the

graph 1200.” Ex. 17 at 50:56-59; 50:66-51:5; see also 50:53-56; 51:8-52:11.




                                                                                   /'1202

                         0        4       8        12       16        20       24 TIME (H)


                                              FIGURE 12

In relation to Figure 12, the ‘433 patent further explains that:

       “To further illustrate, an initial minimum power threshold 1206A is shown
       associated with the time interval starting at hour 0 and extending to hour 8. In
       particular, the minimum power threshold 1206A is set at 5 MW during this time
       interval. Thus based on the power option data shown in FIG. 12, the loads must be
       able to operate at a target power consumption level that is equal to or greater than
       the 5 MW minimum power threshold 1206A at all times during the time interval
       extending from hour 0 to hour 8, in order to be able to satisfy the power option if it
       is exercised for that time interval. Similarly, the power entity could reduce the
       power consumed by loads by any amount up to 5 MW at any point during the time
       interval from hour 0 to hour 8 in accordance with the power option agreement. For
       instance, the power entity could exercise its option at any point during this time
       interval to reduce the power consumed by the loads by 3 MW as a way to load
       balance the power grid.”

Ex. 17 at 51:24-40; see also id. at 51:8-23; 51:41-52:11.

       Plaintiffs and their expert, Dr. McClellan purport to apply the “plain and ordinary meaning

of “minimum power threshold,” but Dr. McClellan made clear at his deposition that his

interpretation of “minimum power threshold” is not based on how the term is used in the ‘433

patent. Ex. 3 at ¶ 49. In particular, Dr. McClellan testified that:

       Q. What specifically is a minimum power threshold?
       A. That’s the amount of power that you’re contracted to consume.


                                                  18
                                              Appx2635
           Case: 23-1922        Document: 39-3        Page: 121      Filed: 01/02/2024




       Q. And by consume you don’t mean use, correct?
       A. I may not use it, but I’m going to consume it. I’m purchasing it. Whether I use
          it or whether I sell it, that’s a completely separate issue. I’m agreeing to
          purchase it at that threshold.

Ex. 5 at 82:18-85:1. As a further example of his interpretation of the term, Dr. McClellan also

testified that “[w]ell, if I purchase one kilowatt at $1, I’m going to pay that $1 whether I use that

kilowatt or not,” thus “[t]he power threshold is the kilowatt.” Ex. 5 at 87:16-88:17. Dr. McClellan,

however, also testified that he was not sure whether or not there was actually a requirement to use

the amount of power set by a minimum power threshold. Rather than being a requirement

established by the ‘433 patent, however, he testified that “[f]undamentally it’s a business

question.” Ex. 5 at 90:14-91:21; see also id. at 87:2-15. Dr. McClellan also asserted that “this is a

question for McCamant”ʊanother of Plaintiffs’ experts, Mr. Frank McCamant. Ex. 5 at 91:22-

92:24; see also id.at 155:13-156:11. But Mr. McCamant did not offer any opinions regarding claim

construction or the meaning of “minimum power threshold.” See generally Ex. 1; Ex. 2

(McCamant Reply Report). As such, Plaintiffs’ and their experts’ interpretation of this claim term

is somewhat unclear, but nonetheless is not based on the intrinsic record.

       It is thus apparent that Plaintiffs at the very least to take an ambiguous position on whether

a “minimum power threshold” sets an amount of power a load must actually use. Accordingly, and

based on the meaning established by the intrinsic evidence, the Court should resolve the parties’

dispute and construe “minimum power threshold” to mean “a minimum amount of power a load

must use during an associated time interval.”



                       c.      None of the documents Storms sent to Lancium disclose the
                               claimed inventions of the ‘433 patent.

       To prevail on their claim that Storms is the sole true inventor of the ‘433 patent, Plaintiffs



                                                 19
                                            Appx2636
          Case: 23-1922        Document: 39-3        Page: 122      Filed: 01/02/2024




must prove by clear and convincing evidence that Storms “is the sole inventor of each of the claims

of the patent” and that “any contribution by defendant[s] to the conception of each and every claim

was insignificant.” See, e.g., Imprenta Servs., Inc. v. Karll, No. 220CV06177GWPVCX, 2021 WL

4555333, at *6 (C.D. Cal. July 13, 2021). Moreover, it is axiomatic that because Plaintiffs seek to

have Storms substituted as the sole inventor of a patent filed by Defendants, they must also

proveʊagain by clear and convincing evidenceʊthat they communicated the inventions of the

‘433 patent to Defendants. See Weaver v. Houchin, 467 Fed. App’x 878, 880 (Fed. Cir. 2012);

Wagner v. Ashline, No. 2021-1715, 2021 WL 5353889, at *4 (Fed. Cir. Nov. 17, 2021).

       As a matter of law, however, Plaintiffs cannot meet this “heavy burden” because there is

no evidence that Storms conceived of the properly construed inventions of the ‘433 patent, much

less that he communicated these inventions to Defendants.10

       The only written communications between Storms and any of Defendants were a handful

of text messages exchanged from May 3-9, 2019 and a single email that Storms sent to McNamara

on May 9, 2019. SOF ¶14; Ex. 20; see also D.I. 103 at ¶¶ 34-36. Plaintiffs cannot establish that

any of these written communications demonstrate, by clear and convincing evidence, possession

of the inventions of the ‘433 patent by Storms or conveyance of the claimed inventions to

Defendants. For example, because Plaintiffs rely on a misinterpretation of “power option

agreement” and “minimum power threshold” they cannot establish that Storms’ communications

show possession or communication of a system that can:

            x   “receive power option data based, at least in part, on a power option agreement,
                wherein the power option data specify: (i) a set of minimum power thresholds, and
                (ii) a set of time intervals, wherein each minimum power threshold in the set of

10
  Likewise, Plaintiffs cannot prove that McNamara and Clineʊthe ’433 patent’s named inventors
ʊdid not provide a significant contribution to conception of any claim. Indeed, Plaintiffs’ expert,
Dr. McClellan does not offer any opinions or analysis that McNamara and Cline did not provide a
significant contribution to any of the claims. See, e.g., Ex. 3 at ¶ 14 (summary of opinions).


                                                20
                                           Appx2637
          Case: 23-1922        Document: 39-3       Page: 123      Filed: 01/02/2024




               minimum power thresholds is associated with a time interval in the set of time
               intervals”; or

           x   “responsive to receiving the power option data, determine a performance strategy
               for the set of computing systems based on a combination of at least a portion of
               the power option data and at least one condition in the set of conditions, wherein
               the performance strategy comprises a power consumption target for the set of
               computing systems for each time interval in the set of time intervals, wherein each
               power consumption target is equal to or greater than the minimum power threshold
               associated with each time interval”

as required by independent claim 1 of the ‘433 patentʊor the similar requirements of the other

two independent claims (claims 17 and 20). Indeed, Plaintiffs’ expert, Dr. McClellan provides no

explanation how of the written communications and documents Storms sent to McNamara disclose

or convey the properly construed requirements of the claims. See generally Ex. 3 (McClellan

Opening Report); Ex. 4 (McClellan Reply Report).

       Fundamentally, the alleged “invention” that Storms purportedly conceived of and

communicated to Defendants does not pertain to the claimed inventions of the ‘433 patent. Rather,

as Dr. McClellan asserts, it pertains to “a system that utilizes a set of Bitcoin miners under the

direction of a control system” that based on certain information “periodically determinine[s]

mining profitability” and then “may either instruct some or all of the miners to mine Bitcoin or

sell power to the grid (power arbitrage).” Ex. 3 at ¶ 9. Dr. McClellan thus relies on his

misinterpretation of “power option agreement” and “minimum power threshold” to mistakenly

conclude that Storms’ written communications with McNamara demonstrate the above claim

requirements because these communications show a system that “calculated profitability at distinct

time intervals, each with an associated power threshold, such as comparing mining profitability

based on, inter alia, current power usage and energy price conditions on the one hand with

profitability based, inter alia, on expected future power usage and energy price conditions” and

then “determin[es] performance strategies … to determine, for example, whether to mine Bitcoin”



                                               21
                                           Appx2638
           Case: 23-1922         Document: 39-3       Page: 124       Filed: 01/02/2024




based on whether that is the most profitable use of purchased power. Ex. 3 at ¶¶ 188-189; see also

id. at ¶¶ 62, 66. But the claim elementsʊand indeed the claimed inventionsʊhave no requirements

relating to profitability calculations.

        Furthermore, the claims set forth requirements that a load (e.g., a Bitcoin mining operation)

must use the amount of power set by the minimum power thresholds regardless of profitability,

which is the opposite of the system contemplated by Storms’ communications. Indeed, when asked

whether the system described in Storms’ communications “contemplate[s] a performance strategy

where X amount of power must be utilized by the miners, they must mine and use X amount of

power, regardless of whether or not it’s profitable for the miners to do so?”, Dr. McClellan testified

that “[t]he simulation kind of ignores” what he called a “nonsensical case … because it’s focusing

on ways to make positive dollars … .” Ex. 5 at 238:7-23.

        Thus, for the reasons above, Plaintiffs cannot establish that any written communications

between Storms and Defendants demonstrate conception of the inventions of the ‘433 patent by

Storms or communication of the inventions to Defendants.

                        d.      There is no corroboration that Storms verbally communicated
                                the claimed inventions to Defendants.

        Plaintiffs also cannot prove by clear and convincing evidence that Storms orally

communicated the inventions of the ‘433 patent, as properly construed, to Defendants, including

McNamara, because they have no evidence to corroborate any such assertion. See Ethicon, 135

F.3d at 1461.

        As an initial matter, even Plaintiffs’ expert, Dr. McClellan testified that “I think it’s

unlikely that an enormous amount of pertinent information was communicated at the dinner”

where Storms and McNamara spoke in person because for “dinners like that there’s not normally

an enormous amount of information that’s passed back and forth.” Ex. 5 at 186:24-187:20.



                                                 22
                                            Appx2639
          Case: 23-1922        Document: 39-3       Page: 125      Filed: 01/02/2024




Moreover, as set forth above, because none of the written communications that Storms had with

Defendants disclose the claimed inventions of the ‘433 patent, these communications cannot

corroborate that Storms communicated the inventions of the ‘433 patent to Defendants.

       Wagner v. Ashline is instructive on this point. No. 2021-1715, 2021 WL 5353889 (Fed.

Cir. Nov. 17, 2021). In Wagner, the Federal Circuit affirmed summary judgment of no inventorship

by a purported inventor, concluding that purported corroborating evidence of a discussion between

the purported inventor and the named inventor “corroborate[d] only the undisputed fact that [the

named inventor] and [the purported inventor] met and that they discussed” other topics, but “[i]t

does not corroborate [the purported inventor]’s testimony in support of her claim of joint

inventorship.” 2021 WL 5353889, at *5. In other words, the Federal Circuit concluded that in

order for an unnamed inventor’s testimony to meet the clear and convincing evidence of proving

an inventorship claim, there must be evidence that corroborates what was actually communicated

between the purported inventor and the named inventor(s).

       Here, as a matter of law, Plaintiffs cannot prove by clear and convincing evidence that

Storms orally communicated the claimed inventions of the ‘433 patent to Defendants because they

have no corroborating evidence of what was actually communicated. Plaintiffs have not deposed

or offered testimony from any other attendees of the dinner where Storms and McNamara spoke,

and McNamara certainly does not corroborate Storms’ claim. In addition, as set forth above, none

of the written communications between Storms and McNamara corroborate that Storms possessed

or communicated the inventions of the ‘433 patent as properly construed.

       In addition, evidence in the case demonstrates that Storms did not conceive of the

inventions of the ‘433 patent, much less communicate these inventions to Defendants. Indeed, two

days after meeting McNamara, Storms texted another person he was working with, Ben Hakes,




                                               23
                                          Appx2640
            Case: 23-1922      Document: 39-3        Page: 126      Filed: 01/02/2024




and admitted “[t]he guys at Lancium are doing what we are trying to do exactly … . See Ex. 16 at

BB10004001.

       Thus, for the reasons above, Storms’ oral communications with Defendants do not establish

conception or communication of the claimed inventions of the ‘433 patent, because as a matter of

law, Storms has no clear and convincing evidence corroborating any such communication.

Likewise, Plaintiffs cannot establish that the written communications between Storms and

Defendants establish conception or communication of the claimed inventions. Accordingly,

summary judgment should be granted on Plaintiffs’ Count I that Storms is not the sole inventor of

the ‘433 patent.

       B.      Plaintiffs’ Joint Inventorship Claim Fails As A Matter Of Law Because
               Plaintiffs Cannot Meet Their Burden Of Proving Collaboration.

                   1.   Applicable Legal Principles

       The law regarding claims for correction of inventorship under 35 U.S.C. § 256 is generally

the same whether the claim is for complete substitution of inventors or addition of unnamed joint

inventors. However, for joint inventorship claims, the alleged contribution of the purported co-

inventor is compared with the subject matter of the properly construed claims to determine whether

the alleged inventor contributed in some “significant manner” to the conception of the claimed

invention. Gemstar, 383 F.3d at 1381. To meet this standard, the would-be co-inventor must

demonstrate that she/he made a contribution that “is not insignificant in quality, when that

contribution is measured against the dimension of the full invention,” as opposed to merely

explaining well-known concepts and/or the state of the art to the real inventors. Acromed Corp. v.

Sofamor Danek Group, Inc., 253 F.3d 1371, 1379 (Fed. Cir. 2001) (reversing a jury verdict of

invalidity for improper inventorship due to insufficiency of evidence).

       A would-be co-inventor must also demonstrate some element of joint behavior, such as



                                                24
                                           Appx2641
          Case: 23-1922        Document: 39-3        Page: 127      Filed: 01/02/2024




collaboration or working under common direction. See, e.g., Kimberly-Clark Corp. v. Procter &

Gamble Distributing Co., Inc., 973 F.3d 911, 917 (Fed. Cir. 1992). Stated differently, “a joint

invention is ‘a product of a collaboration between two or more persons working together to solve

the problem addressed.’” Rubin v. Gen. Hosp. Corp., No. 09-10040-DJC, 2011 WL 1625024, at

*6 (D. Mass. Apr. 28, 2011) (quoting Kimberly-Clark, 973 F.2d at 917).

                2.     Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                       Storms Collaborated With Messrs. McNamara and Cline On The
                       Claimed Inventions

       Plaintiffs’ joint inventorship claim fails because the claim is not supported by clear and

convincing evidence that there was “joint behavior” or “collaboration” between putative inventor

Storms and named inventors McNamara and Cline as to the ’433 patent’s claimed inventions. The

only communicationsʊand thus potential collaborationʊbetween Storms and any of Defendants

were: (1) a conversation during a group dinner on May 3, 2019; (2) a series of text messages

following the dinner sent from May 3 to May 9, 2019; and (3) an email that Storms sent McNamara

on May 9, 2019. See SOF ¶14; D.I. 103 at ¶¶ 32-36; D.I. 41 at ¶¶ 38, 40-41, 43, 46-50; D.I. 28 at

¶¶ 38, 40-41, 43, 46-50, Exs. C-D. But these communications, as a matter of law, cannot establish

the required collaboration.

        University of Utah v. Max-Planck-Gesellschaft Zur Foerderung Der Wissenschaften E.V.,

is instructive. 851 F.3d 1317 (Fed. Cir. 2017). In University of Utah, the putative inventor, Dr.

Bass, wrote a “mini-review” of research of others relating to RNA interference (“RNAi”) and

included her “own hypotheses about enzymatic processes that may be responsible for the RNAi

activity reported in” prior work by another, Dr. Tuschl. Id. at 1320. “It [was] undisputed that Dr.

Tuschl read Dr. Bass’ mini-review, recognized her hypothesis … and tested that hypothesis.” Id.

In addition, “Dr. Bass and Dr. Tuschl met for dinner during a conference and discussed Dr.

Tuschl’s research in relation to Dr. Bass’ hypothesis.” Id. at 1321. And based on Dr. Tuschl’s test


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                                           Appx2642
           Case: 23-1922         Document: 39-3       Page: 128      Filed: 01/02/2024




results that confirmed Dr. Bass’ hypothesis, Dr. Tuschl and his colleagues filed and received a

patent on their discovery. Id. at 1320. Based on these facts, the plaintiff filed suit seeking to add

Dr. Bass as a joint inventor on the patent-at-issue, but the district court granted summary judgment

against this claim reasoning that “there was no evidence to support a finding of collaboration

between Dr. Bass and the [named] inventors.” Id. at 1321. This was because the court found that

Dr. Bass’ mini-review paper “was already in the public domain by the time the [named] inventors

relied on it” so it “could not, on its own, support a finding of collaboration,” and the single

discussion between Dr. Bass and Dr. Tuschl “at an academic conference could not constitute the

collaboration needed to establish joint inventorship.” Id. The Federal Circuit also did not dispute

the district court’s reasoning. Id.

        The basis of Plaintiffs’ joint inventorship claim here is analogous to University of Utah and

also warrants summary judgment based on the lack of collaboration. As an initial matter, just as

the dinner conversation in University of Utah did not demonstrate collaboration, neither does

Storms and McNamara’s dinner conversation here. Indeed, although the dinner conversation in

University of Utah occurred while the named inventors’ work on the patent-at-issue was ongoing,

the dinner conversation between Storms and McNamara was the first communication they had.

Moreover, Plaintiffs admit that Storms’ conversation with McNamara occurred in front of other of

the approximately eight attendees at the May 3, 2019 dinner, which included competitors in the

Bitcoin mining field. SOF ¶11; D.I. 41 at ¶¶ 38, 40-41, 43; D.I. 28 at ¶¶ 38, 40-41, 43. Thus, this

dinner provides even less support for collaboration than the dinner in University of Utah.

        Turning to the handful of text messages between Storms and McNamara, these messages

plainly do not disclose any elements of the ‘433 patent claims, and thus do not show collaboration

on the inventions of the ‘433 patent. See D.I. 41 at ¶¶ 46-48; D.I. 28 at ¶¶ 46-48, Ex. C. Moreover,




                                                 26
                                            Appx2643
          Case: 23-1922        Document: 39-3        Page: 129      Filed: 01/02/2024




Plaintiffs do not contend otherwise. Indeed, Plaintiffs’ expert Dr. McClellan does not point to any

of these text messages in support of his opinions that Storms is an unnamed inventor of the ‘433

patent. See generally Ex. 3 at Sections VII-VIII.

       In addition, the email that Storms sent to McNamara cannot establish collaboration for

several reasons. First, one of the five attachments to the email included a drawing titled “BearBox

Automatic Miner Management System Version 1.0” that Storms also posted on BearBox’s Twitter

account on June 24, 2019ʊmore than three months before the provisional application leading to

the ‘433 patent was filed on October 28, 2019. SOF ¶¶1, 3, 19-20; Compare Ex. 10 at

BB00000092, with Ex. 11 at BB00000718. Storms testified that this Twitter account, which had

its first tweet on November 1, 2018, was “public for maybe two years or so.” See Ex. 7 at 247:8-

248:21; Ex. 11 at BB00000718. Thus, this drawing was publicly available before the filing of the

‘433 patent. See SOF ¶¶19-20. Plaintiffs, including through their expert Dr. McClellan, assert that

this publicly available drawing discloses numerous claim elements of the ‘433 patent. See, e.g.,

Ex. 3 at ¶¶ 185, 186, 188, 190, 192, 196, 200, 230, 237, 241, 244, 248, 250, 262. But just as in

University of Utah, this publicly available document cannot support a finding of collaboration.

University of Utah, 851 F.3d at 1321.

       Second, Storms admitted that three of the other five email attachments were publicly

available product specification sheets. Ex. 7 at 213:5-214:5; Ex. 10; see also SOF ¶18. Thus, these

documents also cannot support a finding of collaboration because they only disclose information

about the state of the art in the field.11 See Acromed, 253 F.3d at 1379; University of Utah, 851

F.3d at 1321.




11
   Plaintiffs also cannot establish that these documents disclose a significant contribution to the
claimed inventions.


                                                27
                                           Appx2644
           Case: 23-1922       Document: 39-3        Page: 130      Filed: 01/02/2024




       Third, although Storms testified that the only allegedly confidential information in the

email was in the fifth attachment, an Excel spreadsheet, this document also cannot support a

finding of collaboration. As an initial matter, this document contains much of the same information

as the publicly available drawing, and Dr. McClellan cites the documents as both disclosing many

of the same claim elements. See, e.g., Ex. 3 at ¶¶ 190, 196, 200, 230, 237, 241, 244, 248, 250.

Moreover, Plaintiffs’ only basis for asserting that the Excel file is confidential is a boilerplate

“confidentiality notice” at the bottom of Storms’ cover emailʊthe Excel file itself contains no

confidentiality markingʊstating that “[t]his email communication may contain private,

confidential, or legally privileged information intended for the sole use of the designated and/or

duly authorized recipient(s).” SOF ¶16; Ex. 10 at BB00000090. Storms did not have a

confidentiality or nondisclosure agreement with McNamara or any of Defendants. And Plaintiffs

admit that “Storms last communicated with McNamara on May 9, 2019 via e-mail, and after

sending that message, Storms did not hear from McNamara again.” SOF ¶13; D.I. 103 at ¶ 36.

Thus, Storms did not, and could not, have asked McNamara to treat the Excel file as confidential

after emailing it to him.

       Storms also sent the information he claims to be confidential to others. Specifically, Storms

emailed similar spreadsheets to an individual named Todd Garland. Ex. 7 at 186:17-189:12, 214:6-

12 Ex. 9. These spreadsheets include the same column headers and categories of information as

the spreadsheet sent to Mr. McNamara only from different times. Compare Ex. 9 at BB10000912,

with Ex. 10 at BB00000097. Storms admitted that he did not have a nondisclosure agreement with

Garland or Garland’s company, and Garland did not give his word to keep it confidential. Ex. 7 at

71:18-23; 188:1-189:2. Moreover, as with his email to McNamara, Plaintiffs’ only basis for

asserting that this email was confidential is the boilerplate confidentiality notice that Storms




                                                28
                                           Appx2645
           Case: 23-1922        Document: 39-3       Page: 131      Filed: 01/02/2024




included on all of his emails. Ex. 7 at 72:4-9; 188:18-21.

       But courts have found that “[a] boilerplate confidentiality statement” in an email “does not

constitute a reasonable measure to keep secrecyʊespecially when [it] use[s] the phrase ‘may

contain information that is … confidential.’” Acad. of Allergy & Asthma in Primary Care v. Quest

Diagnostics, Inc, No. 5:17-CV-1295-RCL, 2022 WL 980791, at *10 (W.D. Tex. Mar. 31, 2022)

(dismissing trade secret claim); Sortiumusa LLC v. Hunger, No. 3:11-cv-1656, 2013 WL

11730655, at *11-12 (N.D. Tex. Mar. 31, 2013) (dismissing trade secret claims and finding that a

“confidentiality statement” at the bottom of an email stating it “may contain information that is

confidential or otherwise protected from disclosure … bears no relevance, as a matter of law, as

to whether [plaintiff] took appropriate steps to safeguard its alleged trade secrets” (emphasis in

original)). And under federal patent law, an idea is considered publicly available if “given to a

member of the public without restriction.” See Pronova Biopharma Norge AS v. Teva Pharms.

USA, Inc., 549 F. App’x 934, 940 (Fed. Cir. 2013). Thus, Storms’ Excel file was also publicly

disclosed and cannot support a finding of collaboration.

       Rubin v. General Hosp. Corp., is also instructive. 523 Fed. Appx. 719 (Fed. Cir. 2013). In

Rubin, a group of researchers (the Rubin group), authored a paper identifying two specific gene

mutations that caused the disease Familial Dysautonomia (FD), and contrary to their request the

abstract of this paper was sent to another group of researchers (the Gusella group), who were also

working on identifying the cause of FD. Id. at 721. When the Gusella group filed a patent claiming

a diagnostic method for FD using these gene mutations, the Rubin group sought to be added as

joint inventors. Id. at 722. The Federal Circuit, however, affirmed summary judgment of no joint

inventorship, concluding that “the nature of this communication of information, do[es] not support

joint invention.” Id. at 723. Just as in Rubin, Storms’ transmission of documents to McNamara,




                                                29
                                           Appx2646
            Case: 23-1922         Document: 39-3     Page: 132       Filed: 01/02/2024




with no further discussion or communication, cannot support a finding of collaboration or support

a claim of joint inventorship.

       Thus, summary judgment should be granted in Defendants’ favor on Plaintiffs’ joint

inventorship claims (Count II).

                3.      Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                        Storms Made A Significant Contribution To The ‘433 Patent.

       To be named as a joint inventor of a patent, one must “contribute in some significant

manner to the conception of the invention.” Gemstar, 383 F.3d at 1381. And “[t]he general rule is

that a party alleging misjoinder or non-joinder of inventors must meet the heavy burden of proving

its case by clear and convincing evidence.” Eli Lilly, 376 F.3d at 1358. Here, as set forth above in

Section IV.A.2, Plaintiffs premise their inventorship claims on misinterpretations and

misconstructions of two key claim terms of the ‘433 patent. Indeed, Plaintiffs’ experts offer no

analysis or opinions supporting any significant contribution by Storms to the claims of the ‘433

patent as properly construed. Thus, Plaintiffs have not met and cannot meet their “heavy burden”

of proving a significant contribution to the claims of the ‘433 patent. Accordingly, summary

judgment should be granted to Defendants on Plaintiffs’ joint inventorship claim (Count II).

       C.      Plaintiffs’ Conversion Claim Is Prescribed By The One Year Statute Of
               Limitations.

       Plaintiffs’ conversion claim (Count V) is premised on Defendants’ alleged conversion of a

power arbitrage method disclosed in the documents that Storms emailed to McNamara. But

Plaintiffs’ own allegations in this case demonstrate that they knew or should have known of

Defendants’ alleged use of their purported power arbitrage method more than one year before

bringing this claim. Therefore, summary judgment should be granted for Defendants on Plaintiffs’

conversion claim because this claim is prescribed by Louisiana’s applicable one-year statute of

limitations.


                                                30
                                           Appx2647
           Case: 23-1922         Document: 39-3         Page: 133      Filed: 01/02/2024




       It is well-established that under Louisiana law, “[a] conversion action sounds in tort and is

subject to a one-year liberative prescriptive period” under Louisiana Civil Code Article 3492.12

Bihm v. Deca Systems, Inc., 226 So.3d 466, 480 (La. 2017); see also Jefferson v. Crowell, 956

So.2d 746, 749 (La. App. 2d Cir. 2007). In addition, “[a] prescriptive period will begin to run even

if the injured party does not have actual knowledge of facts that would entitle him to bring a suit

as long as there is constructive knowledge of same. Prescription commences upon whatever notice

is enough to excite attention and put the party on guard or call for inquiry.” Bihm, 226 So.2d at

480 (internal citations omitted). In other words, “[t]he prescriptive period commences on the date

the aggrieved party has actual or constructive knowledge of the facts that would entitle him to

bring suit.” Jefferson, 956 So.2d at 749.

       Here, Plaintiffs’ conversion claim is based on Defendants’ alleged use of Plaintiffs’ so-

called “power arbitrage” method, which Dr. McClellan explains is “a system that utilizes a set of

Bitcoin miners under the direction of a control system” that will “periodically determine mining

profitability” and “may either instruct some or all of the miners to mine Bitcoin or sell power back

to the grid (power arbitrage).”13 Ex. 3 at ¶ 9. This conversion claim was also first pled in Plaintiffs’

Second Amended Complaint, which was filed on February 16, 202214 after the Court dismissed



12
  The Court has previously found that Louisiana law applies to Plaintiffs’ conversion claim and
that “both sides agree” on this point. See D.I. 143.
13
   Dr. McClellan’s opening report explicitly states that “[i]n my opinion, Lancium is using
BearBox’s power arbitrage trade secrets,” and his reply reportʊissued after the Court struck
Plaintiffs’ trade secret misappropriation claimsʊclarifies that “[m]y opinions, in this report and
my opening report, are not dependent on whether the cause of action in this lawsuit is trade secret
misappropriation, which I understand is no longer at issue in this case, or conversion.” See Ex. 3
at ¶ 302; Ex. 4 at ¶ 215
14
  See D.I. 103-3 at 20-22 (providing a comparison of Plaintiffs’ newly pled conversion claim
against the previously pled conversion claim).



                                                  31
                                             Appx2648
             Case: 23-1922       Document: 39-3        Page: 134     Filed: 01/02/2024




Plaintiffs’ original conversion claim as preempted by federal patent law.15 Plaintiffs further admit

in the Second Amended Complaint that they “became aware of Defendants’ wrongful use of

BearBox’s technology on or about August 17, 2020, when they learned about the Layer1 Lawsuit”

(i.e., Lancium LLC v. Layer1 Technologies, Inc., Case No. 6:20-cv-739 (W.D. Texas) “through a

press release dated August 14, 2020.” D.I. 103 at ¶ 54; see also id. ¶ 52. And the publicly available

complaint in the Layer1 Lawsuit explains that Lancium’s technology allows “computationally

intensive activities requiring significant amounts of electricity such as Bitcoin mining” to “ceas[e]

(or reduc[e]) Bitcoin mining operations” during “times of high-priced electricity” and thereby

“receive[] the difference in value of the real time electricity versus the data center’s pre-existing

power purchase agreement price.” See Ex. 19 (Layer1 Lawsuit complaint) at ¶ 10; see also ¶¶ 8-

9, 11. In other words, the complaint in the Layer1 Lawsuit explains that Lancium’s technology can

do what Plaintiffs now allege is their purported power arbitrage method, by ceasing Bitcoin mining

operations and selling the power that would otherwise be used to mine Bitcoin, when doing so is

more profitable.

          Thus, through their knowledge of the Layer1 Lawsuit and their knowledge of the

information Storms provided to McNamara, by August 17, 2020 Plaintiffs had actual knowledge,

or at the very least constructive knowledge, of facts that would have enabled them to bring the

present claim. And because Plaintiffs had this knowledge well over a year before they pled their

conversion claim on February 16, 2022, this claim is prescribed by the statute of limitations.

          Moreover, Plaintiffs’ currently pled conversion claim does not “relate back” to the filing

of the original complaint in this case because it does not “arise[] out of the conduct, transaction,

or occurrence set forth or attempted to be set forth in the original pleading.” See Hammons v. City



15
     See D.I. 92 at 12 (recommending dismissal); D.I. 97 (adopting recommendation of D.I. 92).


                                                 32
                                             Appx2649
            Case: 23-1922        Document: 39-3         Page: 135      Filed: 01/02/2024




of Tallulah, 708 So.2d 502, 504 (La.App. 2d Cir. 1998) (finding conversion claim did not relate

back to original complaint). As pled, Plaintiffs’ current conversion claim is based upon

Defendants’ allegedly using “Bearbox’s technology” to “modify their Smart ResponseTM

software.” D.I. 103 at ¶ 87. This is entirely different than the claim pled in their original Complaint,

which did not assert any claims based on Lancium’s Smart ResponseTM software or the alleged

use of Plaintiffs’ power arbitrage method. Rather, all of the claims of the original Complaint (and

the First Amended Complaint) were based on Lancium’s alleged patenting of Plaintiffs’ invention.

See generally D.I. 1; D.I. 19. Indeed, at the hearing on Defendants’ motion to strike the trade secret

claims in the Second Amended Complaint, Magistrate Judge Burke explained that:

       “Like a key issue here is defendants say that plaintiffs were basically talking about
       the types of arbitrage methods that are referred to in the second amended complaint
       back in the original complaint. And the plaintiff is saying, No, we weren’t. No, no,
       we were talking about something else. … But I’m still struggling to understand
       what it was you were talking about in the first complaint.”

In response to this, Plaintiffs’ counsel made clear that “[f]irst of all, it had nothing to do with

energy value arbitrage methods” Ex. 22 at 22:16-23:21. And when the Court followed up,

Plaintiffs’ counsel confirmed “it didn’t have anything to do with arbitrage methods at all.” Ex. 22

at 24:1-3. As such, Plaintiffs’ conversion claim does not arise out of the same conduct pled in the

original Complaint, and thus does not “relate back” to the original Complaint.

       Accordingly, summary judgment should be granted that Plaintiffs’ conversion claim

(Count V) is prescribed by the applicable one-year statute of limitations.

       D.      Plaintiffs’ Conversion Claim Is Preempted By Federal Patent Law

       Plaintiffs’ conversion claim is based upon Defendants’ use of information in documents

that, as a matter of law, was not confidential. But because Plaintiffs’ claim seeks to restrict the use

of non-confidential information, it conflicts with federal patent law. Accordingly, the Court should

grant summary judgment that Plaintiffs’ conversion claim is preempted by federal patent law.


                                                  33
                                             Appx2650
           Case: 23-1922         Document: 39-3        Page: 136         Filed: 01/02/2024




       It is well-established that “[f]ederal law preempts state law that offers patent-like protection

to discoveries unprotected under federal patent law.” Ultra-Precision Mfg., Ltd v. Ford Motor Co.,

411 F.3d 1369, 1377-78 (Fed. Cir. 2005) (noting that “Federal Circuit law governs whether federal

patent law preempts a state law claim”) (internal quotations and citation omitted). The Supreme

Court has also explained that “[a] state law that substantially interferes with the enjoyment of an

unpatented utilitarian or design conception which has been freely disclosed by its author to the

public at large impermissibly contravenes the ultimate goal of public disclosure and use which is

the centerpiece of federal patent policy.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.

141, 156-57 (1989). Thus, “[a]bsent secrecy, state law cannot create a collateral set of rights

available as an adjunct or expansion to patent rights.” Ultra- Precision, 411 F.3d at 1379 (quoting

Waner v. Ford Motor Co., 331 F.3d 851, 856 (Fed. Cir. 2003)). Moreover, under federal patent

law, an idea is considered publicly available if “given to a member of the public without

restriction.” See Pronova Biopharma Norge AS v. Teva Pharms. USA, Inc., 549 F. App’x 934, 940

(Fed. Cir. 2013); see also Bonito Boats, 489 U.S. at 149 (under 35 U.S.C. § 102, “[o]nce an

inventor has decided to lift the veil of secrecy from his work, he must choose the protection of a

federal patent or the dedication of his idea to the public at large”).

       Plaintiffs’ Second Amended Complaint alleges that Defendants are liable for conversion

because:

        “[w]ithout Plaintiffs’ consent, Defendants intentionally and willfully assumed
       dominion and control over BearBox’s technology, including system designs,
       documents, data, and know-how, and improperly used it to modify their Smart
       ResponseTM software, and corresponding system designs, to function as reflected
       in BearBox’s system designs, documents, data, and know-how … .”

D.I. 103 at ¶ 87. Under Louisiana law, however, a claim for conversion applies only to “goods” or

“chattel.” See Quealy v. Paine, Webber, Jackson & Curtis, Inc., 475 So.2d 756, 760 (La. 1985);




                                                  34
                                             Appx2651
           Case: 23-1922        Document: 39-3        Page: 137       Filed: 01/02/2024




Dual Drilling Co. v. Mills Equip. Invs., Inc., 721 So. 2d 853, 857 (La. 1998); Dorsey v. Money

Mack Music, Inc., 304 F. Supp. 2d 858, 866 (E.D. La. 2003) (“[T]he torts of conversion and

trespass relate to interference with tangible rather than intangible property.”); Brand Coupon

Network, LLC v. Catalina Mktg. Corp., No. 11-00556, 2014 WL 6674034, at *6 (M.D. La. Nov.

24, 2014) (“[C]onversion requires unlawful interference with chattel.”) (emphasis in original).

And chattel “is deemed ‘corporeal movable’ property.” BASF Agrochemical Prods. v. Unkel, No.

05-1478, 2006 WL 3533133, at *7 (W.D. La. Dec. 7, 2006). Thus, Plaintiffs’ conversion claim is

premised on the “conversion” of information contained in electronic files that Storms emailed to

McNamara in a single email sent on May 9, 2019.16 Ex. 7 at 113:24-114:6; 212:7-10; see also D.I.

103 at ¶ 36.

       As set forth above in Section IV.B.2, although the email that Storms sent to McNamara

had several attachments, Plaintiffs only contend that one of the attachments, an Excel file,

contained confidential information. SOF ¶17. And as also set forth above in Section IV.B.2, the

only basis for Plaintiffs’ assertion that this Excel file is confidentialʊthe “confidentiality notice”

at the bottom of the cover email, which states only that “that “[t]his email communication may

contain private, confidential . . . information” (SOF ¶16; Ex. 10 at BB00000090)ʊdoes not, as a

matter of law, make it confidential. See, e.g., Acad. of Allergy & Asthma, 2022 WL 980791, at

*10; Sortiumusa, 2013 WL 11730655, at *11-12 Thus, Plaintiffs cannot establish that the allegedly

converted information was confidential.

       The Federal Circuit has also repeatedly found state law claims based on the use of non-



16
   To the extent Plaintiffs’ conversion claim is premised on Defendants’ alleged conversion of
intangible “system designs, … data, and know-how” that are not contained in a physical, tangible
property, the Court should grant summary judgment in Defendants’ favor because the claim does
not satisfy the elements of conversion and fails as a matter of law. See, e.g., Quealy, 475 So.2d at
760; Dorsey 304 F. Supp. 2d at 866.


                                                 35
                                            Appx2652
          Case: 23-1922        Document: 39-3        Page: 138      Filed: 01/02/2024




confidential information to be preempted. For example, in Ultra-Precision, the court held

plaintiff’s unjust enrichment claim, which was premised upon the defendant’s “using,

manufacturing, and selling vehicles equipped with [Ultra-Precision’s] technology” was preempted

because the idea/technology was not kept confidential and was therefore “free for all the world to

enjoy.” Id. at 1380-82. Additionally, in Waner the Federal Circuit affirmed dismissal of the

plaintiff’s unjust enrichment claim premised upon the use of his non-confidential idea because

such “ideas can only be protected under intellectual property law by the patent system.” Waner,

331 F.3d at 856–57.

       Therefore, because Plaintiffs’ conversion claim is based on the alleged use of information

that as a matter of law was not confidential, the Court should grant summary judgment that

Plaintiffs’ conversion claim (Count V) is preempted by federal patent law.

V.     CONCLUSION

       For at least the foregoing reasons, Plaintiff’s claims for correction of inventorship (Counts

I and II) and for conversion (Count V) fail as a matter of law. Accordingly, summary judgment

should be granted for Defendants on all three claims.




                                                36
                                           Appx2653
         Case: 23-1922   Document: 39-3   Page: 139      Filed: 01/02/2024




Dated: June 15, 2022                      BARNES & THORNBURG LLP

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                                     37
                                  Appx2654
             Case: 23-1922     Document: 39-3      Page: 140     Filed: 01/02/2024




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BEARBOX LLC and AUSTIN STORMS,                     )
                                                   )
                      Plaintiffs,                  )
                                                   )
       v.                                          )   C.A. No. 21-534-MN
                                                   )
LANCIUM LLC, MICHAEL T.                            )
MCNAMARA, and RAYMOND E. CLINE,                    )
JR.                                                )
                                                   )
                      Defendants.                  )

                                CERTIFICATE OF SERVICE

       I certify that on June 15, 2022, I caused a sealed copy of Defendants’ Opening Brief in

Support of their Motion for Summary Judgment and to Exclude Certain Portions of the

Opinions of Plaintiffs’ Technical Expert to be served on the following counsel of record by via

FileShare.

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                                         Appx2655
         Case: 23-1922   Document: 39-3   Page: 141     Filed: 01/02/2024




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                                      2

                                  Appx2656
             Case: 23-1922      Document: 39-3        Page: 142      Filed: 01/02/2024




communications Mr. Storms had with Mr. McNamara. D.I. 28 at ¶ 38; D.I. 41 at ¶ 38; D.I. 103 at

¶¶ 35-36.

       15.      Austin Storms has never had any oral communications with Raymond Cline. Ex.

23 at 10-11.

       16.      The May 9, 2019 email that Austin Storms sent Michael McNamara includes a

“Confidentiality Notice” that states “This email communication may contain private, confidential,

or legally privileged information intended for the sole use of the designated and/or duly authorized

recipient(s).” D.I. 28 at ¶¶ 48-49, Ex. D; D.I. 41 at ¶¶ 48-49. None of the attachments to this email

include any confidentiality marking or designation. D.I. 28 at ¶¶ 48-49, Ex. D; D.I. 41 at ¶¶ 48-49.

       17.      The documents produced by Plaintiffs with Bates numbers BB00000090-

BB00000097, are the May 9, 2019 email and its attachments that Austin Storms sent to Michael

McNamara. Ex. 10

       18.      Plaintiffs Austin Storms and BearBox LLC do not assert that the May 9, 2019 email

(BB00000090) or its attachments marked as BB00000091-BB00000096 are confidential. Ex. 7 at

217:13-23.

       19.      The drawing titled “BearBox Automatic Miner Management System Version 1.0”

in the document marked as BB00000092 was posted on the BearBox Twitter account on June 24,

2019. Ex. 10 at BB00000092; Ex. 11 at BB00000718.

       20.      The BearBox Twitter account was publicly viewable on June 24, 2019. Ex. 7 at

247:8-248:21.

IV.    BEARBOX

       21.      BearBox only built one BearBox container, which it sold for no profit. Ex. 7 at

45:18-23; 48:6-7.




                                                 4
                                            Appx2660
           Case: 23-1922        Document: 39-3           Page: 143     Filed: 01/02/2024




Basic market operations
As shown in Figure 5, ERCOT Market Operations consist of a Day-Ahead Market and an Operating
Day or Real Time Market. In the ERCOT market, ERCOT controls the dispatch of Resources via
QSEs. The QSE is the only entity that interacts with ERCOT on behalf of Generation Resources and
the LSEs for operations and wholesale settlement. These are discussed in more detail in the
following sections.

                                    Figure 5 ERCOT Market Operations




Day Ahead Market (DAM)
The Day-Ahead Market (DAM) is a voluntary, financially-binding forward energy market. The
DAM matches willing buyers and sellers. It provides a platform to hedge congestion costs in the
day-ahead of the Operating Day, and instruments to mitigate the risk of price volatility in Real-
Time9. Electric transmission networks can become congested when power flows reach the limit
on a transmission line. The market resolves and prices such congestion results by incurring costs
to alter generation in different locations10. Purchases in the DAM at a fixed price point can serve


9
 https://www.ercot.com/mktinfo/dam
10
  2020 STATE OF THE MARKET REPORT FOR THE ERCOT ELECTRICITY MARKETS, Potomac Economics, Independent
Market Monitor for ERCOT, May 2021


CONFIDENTIAL MATERIAL                                                                            13


                                             Appx2681
              Case: 23-1922        Document: 39-3        Page: 144       Filed: 01/02/2024


                                                            Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                          U.S. Patent No. 10,608,433


       [6]      Multiple methods were used to analyze the relevant technologies and items of

development, including document review and source code review.

       [7]      My source code review involved analyzing the structure and design of the Bearbox

technologies, including identifying architectural and functional elements of the Bearbox product

suite which contain technologies, protocols, and architectures or which exhibit functions,

behaviors, or structures that may infringe on corresponding aspects of the subject patent(s).

       [8]      Certain source code has been produced as printouts with Bates labeling. I reserve

the right to rely on all such printouts. I understand that certain relevant source code from

Defendants has not been produced. I reserve the right to supplement my opinions in the event that

additional source code is produced. My analysis yielded a number of observations, including

without limitation the following example high-level points. In the following, [n] denotes a claim

number of the subject patent, and “text” denotes some verbiage copied from the referenced claim

language.

       [9]      I understand that Bearbox and Austin Storms developed a system that utilizes a set

of Bitcoin miners under the direction of a control system that uses (1) various API calls to retrieve

relevant information (such as real-time and day-ahead energy prices), (2) custom PDU logic and

fan control to provide fine grain load control for the miners, and (3) custom logic to process the

information and periodically determine mining profitability. Based on conditions, the system may

either instruct some or all of the miners to mine Bitcoin or sell power to the grid (power arbitrage).

       [10]     I understand that Lancium also uses and/or sells Bitcoin mining related and power

arbitrage features under a product named Smart Response. I understand that Lancium’s Smart

Response system acts as a “Controllable Load Resource” data center which alternately mines

Bitcoin or sells energy to the grid based on conditions such as energy prices, Bitcoin pricing and

hashtag rates, and the like.

       [11]     I am a salaried employee of Texas State University and I am being compensated in

addition to my normal salary for my professional services in this case by either The Barr Group or

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RESTRICTED HIGHLYCONFIDENTIAL                                                                       2

                                               Appx2722
                Case: 23-1922      Document: 39-3          Page: 145    Filed: 01/02/2024


                                                             Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                           U.S. Patent No. 10,608,433


patent coverage under the doctrine of equivalents that would be so broad as to include the same

features that were disclaimed to distinguish the invention from the prior art during the prosecution

of the patent

V.     THE ’433 PATENT
       [43]       United States Patent No. 10,608,433 titled “METHODS AND SYSTEMS FOR

ADJUSTING POWER CONSUMPTION BASED ON A FIXED - DURATION POWER

OPTION AGREEMENT,” was filed on December 4, 2019 and issued on March 31, 2020.

       A.1.       Overview of the '433 Patent

       [44]       In general, the '433 Patent discloses example embodiments which enable a

computing system to adjust power consumption based on a power option agreement, and using

some combinations of power thresholds, time intervals, and monitored conditions. The '433 Patent

provides an overview of this aspect of the disclosure:
                 Examples relate to adjusting load power consumption based on a
                 power option agreement. A computing system may receive power
                 option data that is based on a power option agreement and specify
                 minimum power thresholds associated with time intervals . The
                 computing system may determine a performance strategy for a load
                 (e.g., set of computing systems) based on a combination of the power
                 option data and one or more monitored conditions. The performance
                 strategy may specify a power consumption target for the load for each
                 time interval such that each power consumption target is equal to or
                 greater than the minimum power threshold associated with each time
                 interval. The computing system may provide instructions the set of
                 computing systems to perform one or more computational operations
                 based on the performance strategy.

                                    ’433 patent, 1:6-25.

       A.2.       Level of Ordinary Skill in the Art

       [45]       I also have been asked to evaluate the level of ordinary skill in the art for the

purpose of reading and understanding the '433 patent. In order to make this assessment, I

considered the level of education and experience of persons of ordinary skill in the art at the time


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                                               Appx2733
                  Case: 23-1922       Document: 39-3        Page: 146      Filed: 01/02/2024


                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433


of the filing of the '433 patent. I understand that the filing date of the '433 patent is December 4,

2019.

           [46]     In my opinion, at the time of the filing of the '433 patent, one of ordinary skill in

the art should have a degree in electrical engineering, computer science, or a similar field and one

to two years of experience in the field of software or an equivalent level of experience.

           [47]     My qualifications and experience exceed those of a person having ordinary skill in

the art.

           A.3.     Claim Construction of Certain Terms in the '433 patent

           [48]     I understand that the determination of whether there is infringement involves a two-

step analysis. The first step in an infringement analysis is to determine or construe the meaning of

the terms of the asserted claims. The second step in an infringement analysis is to apply or compare

each of the asserted claims, as construed, to the accused products or to the use of the accused

products.

           [49]     I understand that claim terms by default are construed by their plain and ordinary

meanings to a person of ordinary skill in the art. For purposes of my analysis, I have applied the

plain and ordinary meaning of the claim terms. I reserve the right to supplement my report should

Lancium use a different construction, if the Court provides a construction, or the like.

VI.        OVERVIEW OF THE LANCIUM’S SMART RESPONSE SYSTEM
           [50]     I understand that Lancium uses and/or sells Bitcoin mining related and power

arbitrage services under the product name Smart Response. I understand that Lancium’s Smart

Response system acts as a “Controllable Load Resource” data center which alternately mines

Bitcoin or sells energy to the grid based on conditions such as energy prices, Bitcoin pricing and

hashtag rates, and the like, as explained in more detail below.




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                                                  Appx2734
               Case: 23-1922           Document: 39-3           Page: 147         Filed: 01/02/2024


                                                                     Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                   U.S. Patent No. 10,608,433


wherein the power option data specify: (i) a set of minimum power thresholds, and (ii) a set of

time intervals, wherein each minimum power threshold in the set of minimum power thresholds is

associated with a time interval in the set of time intervals.

        [62]      The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox systems calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price conditions. For example, the Bearbox system used

multiple time intervals, including the day-ahead hourly intervals and real-time 5-minute intervals,

each of which included an associated minimum power threshold used in periodically determining

performance strategies (i.e. every five minutes). The Bearbox system also included custom PDU

software capable of providing fine grain load control (i.e. the ability to turn on some but not all of

the miners) and also was configured to work modularly with a variety of different miners that had
different power requirements.3

        [63]      To the extent this feature is found not to be explicitly described in the Bearbox

disclosure, it is my opinion that merely ordinary skill would have been required to modify the

existing system to explicitly incorporate this feature. For example, the involvement of and

communication with a QSE in connection with power option agreements (and the data associated

with power option agreements) was well-known, conventional feature in the art at the time of the
invention.4

        [64]      I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to receiving power option data

in which minimum power thresholds at various time intervals are used to determine a performance



3
  Ex. 5, Deposition of Austin Storms, dated February 23, 2022, pp. 99-100, 290.
4
  I discussed these issues and facts with Frank McCamant by telephone on April 1, 2022, and I understand that his
report explains these concepts in additional detail. I reserve the right to supplement my report based on any
additional information that may be included in his report.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                     Appx2739
                  Case: 23-1922          Document: 39-3     Page: 148       Filed: 01/02/2024


                                                                 Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                               U.S. Patent No. 10,608,433


           [65]     Bearbox conceived of and developed technology that includes a system that,

responsive to receiving the power option data, determine a performance strategy for the set of

computing systems based on a combination of at least a portion of the power option data and at

least one condition in the set of conditions, wherein the performance strategy comprises a power

consumption target for the set of computing systems for each time interval in the set of time

intervals, wherein each power consumption target is equal to or greater than the minimum power

threshold associated with each time interval.

           [66]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 5

           [67]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to determining a performance

strategy based on the power option data and monitored conditions. Non-exhaustive examples are

listed below with reference to the current claim language. A detailed analysis of each module is

provided in the Appendix.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.



5
    Ex.5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                         21

                                                      Appx2741
              Case: 23-1922      Document: 39-3        Page: 149       Filed: 01/02/2024


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433

           2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
              information
           3. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           4. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           5. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
              shutdown, etc)
           6. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           7. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
              local market price (LMP)
           8. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.
           9. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace
           10. test_profit.py - Simulates a mining operation’s profitability
           11. test_test_test.py - Simulates a mining operation’s profitability.

               Claim 1(e): “provide instructions to the set of computing systems to perform
                  one or more computational operations based on the performance
                  strategy”

       [68]     Bearbox conceived of and developed technology that includes a system comprising

providing instructions to the set of computing systems to perform one or more computational

operations based on the performance strategy.

       [69]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox system instructed miners in accordance with the determined

performance strategy, such as enabling certain miners to mine Bitcoin. The Bearbox system also

included custom PDU software capable of providing fine grain load control (i.e. the ability to turn




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                                             Appx2742
              Case: 23-1922       Document: 39-3       Page: 150       Filed: 01/02/2024


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433


examples are listed below with reference to the current claim language. A detailed analysis of each

module is provided in the Appendix.

           1. arb_main_AEC.py - Processes marginal power price data to determine
              profitability of Bitcoin mining based on several parameters, and controls power to
              mining systems based on outcomes.
           2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
              information
           3. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
              shutdown, etc)
           4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           5. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.

       A.2.v. Claim 5

       [87]     Claim 5 is reproduced below:

               The system of claim 4, wherein the performance strategy further comprises:

               at least one power consumption target that is greater than a minimum power
                   threshold when the price of power from the power grid is below a
                   threshold price during the time interval associated with the minimum
                   power threshold.

       [88]     It is my opinion that Bearbox was in possession of each claim element of claim 5

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

       [89]     Bearbox conceived of and developed technology that includes a performance

strategy that further comprises: at least one power consumption target that is greater than a

minimum power threshold when the price of power from the power grid is below a threshold price

during the time interval associated with the minimum power threshold.
       [90]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

5 at least because the Bearbox system calculated profitability at distinct time intervals, each with
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                    28

                                             Appx2748
                  Case: 23-1922          Document: 39-3      Page: 151       Filed: 01/02/2024


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 7

           [91]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to a performance strategy

further comprises: at least one power consumption target that is greater than a minimum power

threshold when the price of power from the power grid is below a threshold price during the time

interval associated with the minimum power threshold. Non-exhaustive examples are listed below

with reference to the current claim language.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.
               2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                  kilowatt-hour.
               5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                  local market price (LMP)
               6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
                  power thresholds and manages mining system based on resulting performance
                  strategy.



7
    Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2749
              Case: 23-1922       Document: 39-3       Page: 152       Filed: 01/02/2024


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433

           7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace
           8. test_profit.py - Simulates a mining operation’s profitability
           9. test_test_test.py - Simulates a mining operation’s profitability.

       A.2.vi. Claim 6

       [92]     Claim 6 is reproduced below:

               The system of claim 1, wherein the control system is further configured to:

               receive subsequent power option data based, at least in part, on the power
                  option agreement,

               wherein the subsequent power option data specify to decrease one or more
                 minimum power thresholds of the set of minimum power thresholds.

       [93]     It is my opinion that Bearbox was in possession of each claim element of claim 6

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

       [94]     Bearbox conceived of and developed technology wherein the control system was

further capable of receiving subsequent power option data based, at least in part, on the power

option agreement, wherein the subsequent power option data specify to decrease one or more

minimum power thresholds of the set of minimum power thresholds.

       [95]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

6 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current
power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the



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                                             Appx2750
                  Case: 23-1922          Document: 39-3      Page: 153       Filed: 01/02/2024


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 8

           [96]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to receiving power option data

based on a power option agreement in which minimum power thresholds at various time intervals.

Non-exhaustive examples are listed below with reference to the current claim language. A detailed

analysis of each module is provided in the Appendix.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.
               2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                  kilowatt-hour.
               5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                  local market price (LMP)
               6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
                  power thresholds and manages mining system based on resulting performance
                  strategy.
               7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
                  Power Pool marketplace

           A.2.vii. Claim 7

           [97]     Claim 7 is reproduced below:

                    The system of claim 6, wherein the control system is further configured to:

                    responsive to receiving the subsequent power option data, modify the
                       performance strategy for the set of computing systems based on a
                       combination of at least the portion of the subsequent power option data
                       and at least one condition in the set of conditions,

8
    Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2751
                 Case: 23-1922         Document: 39-3         Page: 154        Filed: 01/02/2024


                                                                   Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                 U.S. Patent No. 10,608,433


modified performance strategy. Non-exhaustive examples are listed below with reference to the

current claim language. A detailed analysis of each module is provided in the Appendix.

                1. arb_main_AEC.py - Processes marginal power price data to determine
                   profitability of Bitcoin mining based on several parameters, and controls power to
                   mining systems based on outcomes.
                2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
                   information
                3. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
                   shutdown, etc)
                4. test_profit.py - Simulates a mining operation’s profitability
                5. test_test_test.py - Simulates a mining operation’s profitability.

          A.2.ix. Claim 9

          [106] Claim 9 is reproduced below:

                   The system of claim 1, wherein the control system is a remote master control
                      system positioned remotely from the set of computing systems.

          [107] It is my opinion that Bearbox was in possession of each claim element of claim 9

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

          [108] Bearbox conceived of and developed technology wherein the control system is a

remote master control system positioned remotely from the set of computing systems.

          [1]       The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

9 at least because the Bearbox system included individually addressable miners in communication

with a control system over IP-based networking protocols. This feature was supported by

Bearbox’s networking capabilities, which included an Ethernet interface, a 48-port switch and on-
site WAN or satellite interfaces9 and custom PDU software capable of providing fine grain load




9
    See e.g. Ex. 4, May 9, 2019 email from A. Storms to M. McNamara, at BB00000090.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                    Appx2754
                 Case: 23-1922           Document: 39-3      Page: 155       Filed: 01/02/2024


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


control (i.e. the ability to turn on some but not all of the miners) and also was configured to work
modularly with a variety of different miners that had different power requirements. 10

           [109] To the extent this feature is found not to be explicitly described in the Bearbox

disclosure, it is my opinion that merely ordinary skill would have been required to modify the

existing system to explicitly incorporate this feature. For example, using IP-based protocols for

communications between control systems physically remote from the resources under their control

has been a conventional feature of computing systems for decades.

           [110] I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to remote master control

system positioned remotely from the set of computing systems. Non-exhaustive examples are

listed below with reference to the current claim language. A detailed analysis of each module is

provided in the Appendix.

                1. arb_main_AEC.py - Processes marginal power price data to determine
                   profitability of Bitcoin mining based on several parameters, and controls power to
                   mining systems based on outcomes.
                2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
                   information
                3. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                   marginal power price (LMP)
                4. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                   marginal power price (LMP)
                5. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
                   shutdown, etc)
                6. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                   kilowatt-hour.
                7. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                   local market price (LMP)




10
     Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
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                                                       Appx2755
                 Case: 23-1922           Document: 39-3      Page: 156       Filed: 01/02/2024


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


           [129] It is my opinion that Bearbox was in possession of each claim element of claim 14

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

           [130] Bearbox conceived of and developed technology that includes a system that

determines the performance strategy for the set of computing systems such that the performance

strategy comprises: a first power consumption target for the set of computing systems for the first

time interval, wherein the first power consumption target is equal to or greater than the first

minimum power threshold; and a second power consumption target for the set of computing

systems for the second time interval, wherein the second power consumption target is equal to or

greater than the second minimum power thresholds. For example, the Bearbox system calculated

profitability could use dynamic power thresholds at multiple time intervals, such as current and

day-ahead time intervals.

           [131] The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

14 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 12

           [132] I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to determining the

performance strategy for the set of computing systems such that the performance strategy


12
     Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2761
              Case: 23-1922       Document: 39-3       Page: 157       Filed: 01/02/2024


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433


comprises: a first power consumption target for the set of computing systems for the first time

interval, wherein the first power consumption target is equal to or greater than the first minimum

power threshold; and a second power consumption target for the set of computing systems for the

second time interval, wherein the second power consumption target is equal to or greater than the

second minimum power thresholds. Non-exhaustive examples are listed below with reference to

the current claim language. A detailed analysis of each module is provided in the Appendix.

           1. arb_main_AEC.py - Processes marginal power price data to determine
              profitability of Bitcoin mining based on several parameters, and controls power to
              mining systems based on outcomes.
           2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
              local market price (LMP)
           6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.
           7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace

       A.2.xv. Claim 15

       [133] Claim 15 is reproduced below:

               The system of claim 1, wherein a total duration of the set of time intervals
                  corresponds to a twenty-four hour period.

       [134] It is my opinion that Bearbox was in possession of each claim element of claim 15

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.



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RESTRICTED HIGHLYCONFIDENTIAL                                                                    42

                                             Appx2762
               Case: 23-1922           Document: 39-3        Page: 158     Filed: 01/02/2024


                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433

                 software in a large like super structure build. It’s not specific to the
                 housing in which the machines run.
        Q.       Did you tell Mr. McNamara that?
        A.       Yes.
        Q.       What -- tell me everything you remember talking to either Mr.
                 McNamara or his CFO.
        A.       Yeah, so I talked with them about like their current physical
                 infrastructure and what they were looking at from an electrical
                 standpoint. I talked with them about … their electrical engineer they
                 said on staff who didn’t like the Digital Shovel electrical distribution
                 and why I thought it was a bad idea as well. I talked to them about
                 physical characteristics of my BearBox units and why I thought that
                 they were different than other offerings in the market, and I talked
                 with them about … some of the software that I was working on to
                 offer flexibility for those units and … their load and how they …
                 could be controlled and how you could really maximize the
                 profitability depending on the setup.
        Q.       Anything else?
        A.       There’s … a lot that goes into that and some of the ideas around kind
                 of … how the development took place … from the physical side of
                 the power distribution units to me writing the software and
                 understanding how electricity moves through the market.16

        [172] I understand that Mr. Storms also described the physical characteristics of his
BearBox and control software that Mr. Storms believed provided fine grain load control over the
mining machines within the build (i.e. the ability to turn on or off a subset of miners).17 As Mr.
Storms explained, dependent on variables such as power pricing, one could determine a strategy
for how many machines to use mining, the break-even costs and the opportunity costs of those
machines and how to calculate those values.18 In Mr. Storms’ words, his system could be used to
“maximize profitability” by determining when it’s most profitable to utilize the power to mine
Bitcoin or to sell the power back to the grid, in both the day-ahead and real-time markets.19
        [173] Mr. Storms testified that his discussions with Mr. McNamara and Lancium’s CFO
were “[e]xtremely specific”:

                 I shared with them how to design database tables for a miner
                 management system that could effectively pull in individual data from
                 individual miners that were mapped to PDUs[20] and relays within the

16
   Ex. 5, Deposition of Austin Storms, pp. 95-97.
17
   Ex. 5, Deposition of Austin Storms, pp. 99-100.
18
   Ex. 5, Deposition of Austin Storms, pp. 100-101.
19
   Ex. 5, Deposition of Austin Storms, pp. 104-105.
20
   I understand a PDU refers to a Power Distribution Unit.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                        54

                                                     Appx2774
                 Case: 23-1922     Document: 39-3       Page: 159       Filed: 01/02/2024


                                                            Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                          U.S. Patent No. 10,608,433


to the grid (depicted with green dollar signs in the middle of the diagram). The diagram indicates

that the system may periodically (such as every 5-minutes, hourly, or the like) re-evaluate the

monitored conditions and implement a performance strategy based on those conditions.
          [178] In addition, Bearbox also provided a comma-separated value (.CSV) file25 that

described various monitored conditions, including Bitcoin price, Bitcoin block height, real time

LMP day ahead LMP, an estimated network hash rate and a network difficulty. This proprietary

.CSV file also described and/or explained how to determine a generated mining revenue figure to

be expect from using power to mine Bitcoin, a real time LMP revenue figure based on selling

energy to the grid at the current real time energy price, a day ahead LMP revenue figure based on

selling energy to the grid in the future at the day ahead energy price, and a realized revenue figure

that represented the most profitable of the three other revenue figures. In some instances, the most

profitable option was to mine Bitcoin (see, e.g., row 2 and cells H2 and L2), while in other

instances, the most profitable option was to sell energy to the grid (see, e.g., row 7 and cells K7

and L7).

          A.2. My Opinions Concerning Whether the Information Provided by Bearbox to
             Lancium Disclosed The Inventions Claimed in the ’433 Patent

          [179] In my opinion, the information provided by Bearbox to Lancium would have

enabled a person of ordinary skill the art to make and use the invention recited in claims 1-20,

either by its explicit description or because it was described in such detail that only ordinary skill

was required to modify the information to arrive at the claimed inventions.

          A.3.     The Claims of the ’433 Patent

          [180] I understand claims 1, 17 and 20 are the only Asserted Claims written in

independent form.

          A.3.i. Claim 1

          [181] Claim 1 is reproduced below:


25
     Ex. 4, BB00000097.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                      57

                                              Appx2777
                  Case: 23-1922          Document: 39-3       Page: 160       Filed: 01/02/2024


                                                                   Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                 U.S. Patent No. 10,608,433

               Q. In the context you're talking about, who sells the power back to the
                  grid?
               A. Variety of different options there. It could be the generator sells the
                  power back. It could be the mining facility sells the power back. It
                  could be a different market participant depending on the ISO.
               Q. And what we've just been discussing, is that part of what you maintain
                  you talked to Mr. McNamara about regarding how load can be
                  controlled to maximize profitability?
               A. Yes
               Q. So anything else other than what we just -- so how -- in your memory,
                  how specific were you with your discussions with Mr. McNamara and
                  his CFO?
               A. Extremely specific.
               Q. What do you mean by that?
               A. I -- I shared with them how to design database tables for a miner
                  management system that could effectively pull in individual data from
                  individual miners that were mapped to PDUs and relays within the
                  build to determine what the break-even cost is there, and then the
                  power distribution unit and control system could at the same time
                  toggle relays on or off or send a command to the miner to, you know,
                  power on or power off or stop mining or change the mode which it's
                  operating depending upon the power and price and things of that
                  nature.
               Q. And you did -- you did all of this over dinner?
               A. Yeah. Almost like huddled up at the end of the table, yeah.
               Q. Did anybody else hear these conversations?
               A. Not to my knowledge, no.64

           A.3.     Lancium is using Bearbox’s power arbitrage trade secrets

           [302] In my opinion, Lancium is using Bearbox’s power arbitrage trade secrets.

           [303] It is my understanding that, in an email dated Fri, 16 Aug 2019, Mr. McNamara

wrote the following: “As of today, we have a fixed price power contract with Calpine at Thomas

Road for ATC power at~$34/MWh. This is cool. We now have two revenue sources: Bitcoin
mining and selling power back to grid.”65 Based on this statement, I understand that this was the

first such instance of Lancium engaging in power arbitrage of this nature.


64
     Ex. 5, Deposition of Austin Storms, pp. 104-106.
65
     Ex. 10, PX041, LANCIUM00033064.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                        Appx2810
         Case: 23-1922   Document: 39-3     Page: 161    Filed: 01/02/2024



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  BEARBOX LLC AND AUSTIN               §
  STORMS,                              §
           Plaintiffs,                 §
                                       §
  v.                                   §
                                       §    CIVIL ACTION 1:21-cv-00534-MN-CJB
  LANCIUM LLC, MICHAEL T.              §
  MCNAMARA,                            §
                                       §
  AND RAYMOND E. CLINE, JR.,           §
           Defendants.



                  Reply Expert Report of Dr. Stan McClellan


                                May 20, 2022


          (SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
                 RESTRICTED HIGHLY CONFIDENTIAL)




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RESTRICTED HIGHLYCONFIDENTIAL


                                   Appx2827
              Case: 23-1922       Document: 39-3        Page: 162      Filed: 01/02/2024

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
               provide instructions to the set of computing systems to perform one or more
                  computational operations based on the performance strategy.

       [22]     It is my opinion that McNamara and Cline were not in possession of each claim

element of claim 1 of the of the ’433 patent at least as of May 1, 2019. The sub-sections below

provide additional detail concerning the basis for my opinion.

               Claim 1(b): “a control system configured to: monitor a set of conditions;”

       [23]     In paragraph 114, Dr. Ehsani alleges that ’632 Application teaches cryptocurrency

prices as an economic consideration. I disagree. While the ’632 Application does mention

cryptocurrency mining as a possible use of its computing systems, it nowhere describes monitoring

cryptocurrency prices.

               Claim 1(c): “receive power option data based, at least in part, on a power
                  option agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein each
                  minimum power threshold in the set of minimum power thresholds is
                  associated with a time interval in the set of time intervals”

       [24]     In paragraph 116, Dr. Ehsani refers to Lancium’s supposed “flash of insight” in

which Cline and McNamara conceived of this aspect of claim 1. I note that this supposed “flash

of insight” occurred August 27, 2019, nearly four months after Lancium received Storms

information. I also note that this “flash of insight” appears to simply be repeating what MP2

representatives had told Lancium a few hours earlier that day. Ex. 6, LANCIUM00033240.

       [25]     As I explained in my Initial Report, the systems conceived of and/or developed by

Bearbox and communicated to Lancium satisfy this aspect of claim 1 at least because the Bearbox

systems calculated profitability at distinct time intervals, each with an associated power threshold,

such as comparing mining profitability based on, inter alia, current power usage and energy price

conditions on the one hand with profitability based, inter alia, on expected future power usage and

energy price conditions. For example, the Bearbox system used multiple time intervals, including

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                                              Appx2840
               Case: 23-1922          Document: 39-3           Page: 163         Filed: 01/02/2024

                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433
the day-ahead hourly intervals and real-time 5-minute intervals, each of which included an

associated minimum power threshold used in periodically determining performance strategies (i.e.

every five minutes). The Bearbox system also included custom PDU software capable of

providing fine grain load control (i.e. the ability to turn on some but not all of the miners) and also

was configured to work modularly with a variety of different miners that had different power

requirements.1

        [26]     In my opinion, the Lancium system did not consider multiple time intervals with

associated power thresholds, as exemplified by the Lancium system described in the ’632

Application (described above), until after its communications with Storms.

        [27]     In addition, I also explained that, to the extent this feature is found not to be

explicitly described in the Bearbox disclosure, it is my opinion that merely ordinary skill would

have been required to explicitly incorporate this feature. For example, the involvement of and

communication with a QSE in connection with power option agreements (and the data associated

with power option agreements) was well-known, conventional feature in the art at the time of the

invention.2 Dr. Ehsani appears to agree with me to the extent he states that McNamara and Cline

were familiar with these well-known principles.

                 Claim 1(d): responsive to receiving the power option data, determine a
                    performance strategy for the set of computing systems based on a
                    combination of at least a portion of the power option data and at least one
                    condition in the set of conditions, wherein the performance strategy
                    comprises a power consumption target for the set of computing systems
                    for each time interval in the set of time intervals, wherein each power
                    consumption target is equal to or greater than the minimum power
                    threshold associated with each time interval”



1
  Ex. 7, Deposition of Austin Storms, dated February 23, 2022, pp. 99-100, 290.
2
  I discussed these issues and facts with Frank McCamant by telephone on April 1, 2022, and I have now since
reviewed his report and my opinions have not changed. I reserve the right to supplement my report based on any
additional information that may be included in his supplemental report.

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                                                    Appx2841
              Case: 23-1922       Document: 39-3        Page: 164       Filed: 01/02/2024

                                                         Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                       U.S. Patent No. 10,608,433
       [77]      In my experience writing code and simulations, a system designer will typically

make many assumptions about real-world variables in order to test other aspects of the system. For

example, in simulating a process that utilizes energy, one may assume an endless supply of power

so that other aspects, such as logic simulating a real-time profitability determination and the like,

can be tested more specifically. As the software is eventually released into a real-world application,

those assumed variables may be updated in the software to account for the real-world environment

in which the software operates. Based on my experience writing software, it is my opinion that a

POSA would understand that Mr. Storms’ simulation assumed an unlimited amount of power to

test his profitability determination algorithm, and that (1) any real-world system will necessarily

need to account for power availability and (2) replacing Mr. Storms’ assumed power availability

with data from an ISO or QSE was a well-known, conventional capability that would have required

merely ordinary skill to implement.

       [78]      While Dr. Ehsani eventually discusses the profitability spreadsheet in paragraphs

185-187, he again oversimplifies the document, implying that a POSA would not be ability to

decipher the process embodied in the spreadsheet. For example, Dr. Ehsani alleges that “The so-

called .CSV file is nothing more than a hard-coded Excel spreadsheet—meaning that it shows

values only. The document contains no source code, no mathematical formulas, no explicit logic,

no methodology, and, other than the respective column headings, the document contains no

description of any of the values or where those values came from.” Yet, Cline contradicts this

implication, as he had no issues deciphering the methodology embodied in the spreadsheet:

       Q. And Column L, it says, "Realized revenue."
          Do you see that?
       A. Yes.
       Q. Do you know what that means?

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                                              Appx2856
              Case: 23-1922       Document: 39-3        Page: 165       Filed: 01/02/2024

                                                         Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                       U.S. Patent No. 10,608,433
again conflates minute details of the simulation Storm built with the full breadth of the capabilities

of which the system both described in the various documents and embodied in the simulation serve

as proof of concept. A POSA would understand that are a finite number of sources of power (e.g.

grid power and behind-the-meter power), and that any of these limited sources would predictably

provide the power required to operate the system.

       [83]     In paragraph 196, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline

               Claim 1(b): “a control system configured to: monitor a set of conditions;”

       [84]     In paragraph 198, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline.

               Claim 1(c): “receive power option data based, at least in part, on a power
                  option agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein each
                  minimum power threshold in the set of minimum power thresholds is
                  associated with a time interval in the set of time intervals”

       [85]     In paragraph 195, Dr. Ehsani alleges that because Bearbox’s system diagram shows

behind the meter power, “There is no indication of grid connection or grid power.” Dr. Ehsani

again conflates minute details of the simulation Storm built with the full breadth of the capabilities

of which the system both described in the various documents and embodied in the simulation serve

as proof of concept. A POSA would understand that are a finite number of sources of power (e.g.

grid power and behind-the-meter power), and that any of these limited sources would predictably

provide the power required to operate the system.

       [86]     In paragraph 200, Dr. Ehsani alleges that I fundamentally misunderstand the claim.

I disagree as the plain and ordinary meaning of the language supports the positions set forth in my




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                                              Appx2858
               Case: 23-1922       Document: 39-3       Page: 166      Filed: 01/02/2024

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
Initial Report. Additionally, and as noted above, the Lancium system did not consider multiple

time intervals with associated power thresholds until after its communications with Storms.

       [87]      In paragraph 201, Dr. Ehsani again conflates minute details of the simulation Storm

built with the full breadth of the capabilities of which the system both described in the various

documents and embodied in the simulation serve as proof of concept

       [88]      In paragraph 202, Dr. Ehsani’ criticizes Mr. Storm’s for not meeting ERCOT CLR

requirements, but I note that the claim does not recite ERCOT CLR certification.

       [89]      In paragraph 203, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline.

                Claim 1(d): responsive to receiving the power option data, determine a
                   performance strategy for the set of computing systems based on a
                   combination of at least a portion of the power option data and at least one
                   condition in the set of conditions, wherein the performance strategy
                   comprises a power consumption target for the set of computing systems
                   for each time interval in the set of time intervals, wherein each power
                   consumption target is equal to or greater than the minimum power
                   threshold associated with each time interval”

       [90]      In paragraph 205, Dr. Ehsani restates his arguments relating to power option

agreements and the data associated therewith. I disagree with this statement for the reasons set

forth above.

       [91]      In paragraph 206, Dr. Ehsani criticizes Storms for acknowledging that certain

aspects of the invention, such as Bitcoin mining, retrieving energy price and availability data, are

conventional aspects of the art. I disagree that this acknowledgement by Storms implies a lack of

contribution. All inventions utilize and build-upon well-known, conventional technologies.

       [92]      In paragraphs 206 and 207, Dr. Ehsani mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline. I also disagree with his

analysis for the reasons I disagree with his analysis in paragraph 117 of his report.

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                                              Appx2859
              Case: 23-1922       Document: 39-3        Page: 167      Filed: 01/02/2024

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
       [249] In paragraph 112, Mr. Baer states “None of the 11 identified source code files

determine a performance strategy comprising a power consumption target for any time intervals

where the power consumption target is equal to or greater than a minimum power threshold for a

specific time interval and that is received by the system.” I disagree for the reasons stated in my

Initial Report. In addition, as noted above, in paragraph 104, Mr. Baer acknowledges that the

system operates on a five minute interval. As a result, when a decision is made to turn on a miner(s)

by the Bearbox software, the system operates at the energy level reflected in the kW_load variable

for a 5-minute interval.

               Claim 1(e): “provide instructions to the set of computing systems to perform
                  one or more computational operations based on the performance
                  strategy”

       [250] In paragraphs 113 and 114, Mr. Baer indicates that his analysis of this limitation

is limited to the source code only, and not the entirety of the evidence supporting Storms’

conception.

       [251] In paragraph 115, Mr. Baer restates his arguments relating to element 1(d), which

I disagree with for the reasons states above.

       [252] In paragraph 116, Mr. Baer restates his arguments set forth in paragraph 102. I

disagree with his analysis for the reasons set forth above in my response to paragraph 102.

       [253] In paragraph 117, Mr. Baer misleadingly cites Mr. Storms testimony in conflating

minute details of the simulation Storm built with the full breadth of the capabilities of which the

system both described in the various documents and embodied in the simulation serve as proof of

concept. Mr. Storms actual testimony stated that he did conceive of the relevant functionality:

       Q. Had you written code that would tell the
         miners that they must maintain five megawatts of load and
         could not drop below that regardless of what the price of
         power was?

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                                                Appx2899
             Case: 23-1922        Document: 39-3        Page: 168      Filed: 01/02/2024

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
         A. Yeah, so the system's definitely capable of
         doing that. I would say that the miners themselves
         aren't instructed to maintain a certain amount of load.
         The total build is, right.
       Q. But had you written -- had you written code
         to ensure that the total build would, in fact, maintain
          that amount of load?
       A. Yeah, I definitely -- I conceived of that at
         the time as it relates to, you know, buying power from
         various entities, and the system's capable of doing that
         because of how I architected it…


Ex. 7, Storms Dep. at 171:12-172:2

       [254] In addition, as noted above, in paragraph 104, Mr. Baer acknowledges that the

system operates on a five minute interval. As a result, when a decision is made to turn on a miner(s)

by the Bearbox software, the system operates at the energy level reflected in the kW_load variable

for a 5-minute interval.

       [255] In paragraph 119, Mr. Baer again conflates minute details of the simulation Storm

built with the full breadth of the capabilities of which the system both described in the various

documents and embodied in the simulation serve as proof of concept in alleging that the Bearbox

source code did not allow for turning individual miners on and/or off. I disagree for the reasons

stated above.

       [256] In paragraph 120, Mr. Baer states “to the extent turning all relays of connected

PDUs on or off together (and thus turning all connected computers, such as Bitcoin miners on or

off together) could be considered a “performance strategy” it is not a performance strategy as that

term is used in the claims of the ‘433 patent and is not a performance strategy to maintain a power

consumption target that is equal to or greater than a specified minimum power threshold for a

specific time period.” Mr. Baer again conflates minute details of the simulation Storm built with

the full breadth of the capabilities of which the system both described in the various documents


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                                              Appx2900
     Case: 23-1922                 Document: 39-3                 Page: 169        Filed: 01/02/2024

                                                        Page 70                                                          Page 72
 1         Q. Was it a nondisclosure agreement or was it             1   them were confidential?
 2    something else?                                                2       A. Yes.
 3         A. I believe it was a nondisclosure agreement.            3       Q. Why? What's the basis?
 4         Q. Did you have a nondisclosure agreement with            4       A. The basis for that confidentiality is the
 5    GlidePath?                                                     5   footer I include in the e-mails and the understanding
 6         A. I believe so.                                          6   between two parties.
 7         Q. Do you know at that time was GlidePath also            7       Q. So that footer is included on all your
 8    working with a company called BuySellAds?                      8   e-mails, isn't it?
 9         A. I don't believe they were.                             9       A. Yes.
10         Q. Did you ever work with BuySellAds?                    10       Q. So other than the footer on the e-mail did
11         A. Yes.                                                  11   you have any other basis for believing your
12         Q. What -- what -- what was the nature of your           12   communications with the BuySellAd guys at this time were
13    relationship with BuySellAds?                                 13   confidential?
14         A. I was a contractor.                                   14       A. Other -- other than the -- I guess the verbal
15         Q. When was that?                                        15   understanding that those communications were confidential
16         A. In late 2019 through I guess like mid 2020.           16   and the e-mail footer, no.
17    It was -- it was part of the -- it was the original           17       Q. Maybe -- maybe I missed something, but I
18    entity that Great American Mining spun out of.                18   thought you said that at this time you hadn't talked to
19         Q. Okay. Prior to actually becoming a                    19   them, that it was just e-mail communication?
20    consultant for them did you have communications with          20       A. I met Todd who's the CEO of BuySellAds
21    them?                                                         21   briefly at the Fidelity summit, but that was the only
22         A. I believe so, yes.                                    22   conversation I'd had with him at the time.
23         Q. What did those communications relate to?              23       Q. Had you said anything to him before then?
24         A. They related to certain things surrounding            24       A. I don't believe so.


                                                        Page 71                                                          Page 73
 1    the BearBox technology.                                        1        Q. What did you and Todd talk about at the
 2        Q. What -- what specific things do you remember            2   Fidelity conference?
 3    that those communications related to?                          3        A. We -- we talked about BearBox containers.
 4        A. I -- I don't remember specific things. I                4        Q. What did you tell him about them?
 5    imagine some high level -- high level descriptions of          5        A. Bunch of different ways I thought they could
 6    what the BearBox technology was, what it could be used         6   be utilized for, you know, stranded, essentially stranded
 7    for and -- and the like.                                       7   energy assets and -- and monetizing those.
 8        Q. Do you think you had specific conversations             8        Q. And what's Todd's last name?
 9    with them but you just don't remember or do you think the      9        A. Garland.
10    conversations were high level?                                10        Q. Garland. When did you speak to Todd about
11        A. I don't believe I had any conversations with           11   that?
12    them.                                                         12        A. It was during the day at the conference when
13        Q. I mean e-mail as well. I don't just mean               13   I met him.
14    conversations.                                                14        Q. How long did you talk to him?
15        A. Oh, no, yeah, I -- I don't recall. There               15        A. Maybe 15 minutes.
16    could have been some specifics, but, again, I'd have to       16        Q. Did he tell you at that time he was going to
17    review some of that stuff.                                    17   keep the information confidential?
18        Q. Did you have a nondisclosure agreement with            18        A. I don't recall.
19    the BuySellAd guys when you were having the -- having the     19        Q. Did you ask him to?
20    e-mail exchanges with them that at least right now were       20        A. I don't -- I don't think at that time -- the
21    characterized as a high level?                                21   answer's no.
22        A. I don't believe that I had a nondisclosure             22        Q. So was the Fidelity conference -- was it a
23    agreement with them at the time.                              23   one-day conference or was it longer?
24        Q. Did you understand your conversations with             24        A. I believe it was a one-day summit.


                                                                                         19 (Pages 70 to 73)
                                                     Appx2939
     Case: 23-1922                 Document: 39-3              Page: 170         Filed: 01/02/2024

                                                    Page 186                                                      Page 188
 1        Q. What makes it confidential?                          1      Q. Was there an NDA at this time in place
 2        A. That it wasn't published non-confidential.           2   between you and he?
 3    I'm not sure I understand the question.                     3      A. There was not.
 4        Q. Well, I just -- just wondering, you know, if         4      Q. Was there an NDA between GlidePath and Mr.
 5    there's something specific about it that you believe        5   Garland?
 6    makes it confidential?                                      6      A. I don't believe so.
 7        A. I would say it's -- it's confidential because        7      Q. Then why are you sending it to him?
 8    it wasn't published in an open source forum. It's           8      A. Because this was information that I -- I did
 9    something that resided in my machine.                       9   myself.
10        Q. What is Github, G-I-T-H-U-B?                        10      Q. Okay.
11        A. It's a version control mechanism.                   11      A. Yeah, none of the information in these
12        Q. For software?                                       12   spreadsheets was provided to me by GlidePath, and I had
13        A. Correct.                                            13   the same information for, you know, every other pricing
14        Q. Is Github public or private?                        14   node.
15        A. It can be either.                                   15      Q. You just chose to use GlidePath nodes?
16        Q. Can be either.                                      16      A. Yep. Those are the ones that I had the most
17            I'll mark Exhibit 51. So the Todd at               17   complete modeling set for.
18    todd@buysellads, is that Todd Garland?                     18      Q. Okay. Did you have any agreement with Mr.
19        A. Correct.                                            19   Garland to keep this confidential?
20        Q. And why are you sending Todd Garland this           20      A. Nothing besides his word and the
21    information?                                               21   confidentiality notice at the bottom of this e-mail.
22        A. Which information?                                  22      Q. Did he give you his word he was going to keep
23        Q. The information in the attachment.                  23   it confidential?
24        A. This is information to verify some of the           24      A. Not explicitly.


                                                    Page 187                                                      Page 189
 1    calculations around what the BearBox system could           1       Q. So no?
 2    potentially do.                                             2       A. No would be the correct answer there, yeah.
 3        Q. And why are you sending it to Todd Garland?          3       Q. So I'm trying to figure out if this -- if the
 4        A. Oh, so I sent it to Todd Garland because they        4   columns on the data here, the headings are basically the
 5    were interested in pursuing cheap power and something       5   same headings as the previous headings on the
 6    that I believe I communicated to him at the Fidelity        6   spreadsheets you sent out to Mr. Hakes. The version I
 7    summit was that I had a way to do that via BearBox.         7   have here is kind of crunched together. Yours might be
 8        Q. So this is a follow-up from that summit?             8   horizontal. It might be better.
 9        A. Um-hum.                                              9       A. Yeah, there are -- there are a few
10        Q. And what is Exelon on this data?                    10   differences. I reorganized some of the columns to make
11        A. Exelon is the specific pricing nodes within         11   it flow better, but the columns and the data are the
12    the -- within the Southwest Power Pool.                    12   same.
13        Q. And this is for the GlidePath wind farm, the        13       Q. Okay. I hand you what I'll mark as Exhibit
14    Exelon sites?                                              14   52. So this looks like a further follow-up to your
15        A. Yes.                                                15   conversation with Mr. Garland?
16        Q. How do I tell the difference between Exelon 4       16       A. Yes.
17    data, Exelon 2, Exelon 7?                                  17       Q. And why are you sending him this information?
18        A. They're different CSV files.                        18       A. Because he wasn't -- he wasn't educated
19        Q. How do I tell that from this spreadsheet?           19   enough in the Bitcoin mining and power space to
20        A. You can't tell it from the printouts. You           20   understand how some of these -- some of these
21    would have to tell it from the file itself.                21   calculations in this Excel spreadsheet were done.
22        Q. Okay. Do you consider the information sent          22       Q. And so let's talk about the upper black box
23    to Mr. Garland to be confidential?                         23   code here first.
24        A. I do.                                               24       A. Um-hum.


                                                                                48 (Pages 186 to 189)
                                                     Appx2945
     Case: 23-1922                      Document: 39-3           Page: 171          Filed: 01/02/2024

                                                    Page 190                                                            Page 192
 1          Q. So that's Python code for calculating                1   settlement locations to prove that it is more profitable
 2    get_breakeven_usdollar_perkilowatthour?                       2   to mine Bitcoin than sell the power to the grid most of
 3          A. Yes.                                                 3   the time.
 4          Q. And what -- this is part of your Python code,        4      Q. And so the modeling that you're doing here is
 5    I take it?                                                    5   basically using the price information of power and
 6          A. It is.                                               6   calculating whether it's cheaper to mine -- whether the
 7          Q. Is this, again, this code that was running on        7   cost of power is above the cost of mining or below the
 8    your model on the system in your apartment or is              8   cost of mining or is it more complex than that?
 9    this -- was running somewhere else?                           9      A. Ask the question one more time.
10          A. Correct, in my apartment.                           10      Q. Yeah, let me see if I can phrase it better.
11          Q. Okay. What -- what specific code is -- code         11          So when you're calculating -- I'll just ask
12    file is this running in, do you remember, is this part       12   it off the data here. When you're calculating the data
13    of?                                                          13   in the columns here, what is the -- what is the column
14          A. There's -- there's a bunch of different code        14   that you're looking at to determine whether it's more
15    files that this snipet runs in.                              15   profitable to mine or to not mine?
16          Q. And which -- can you identify them for me?          16      A. The comparison would be between the day-ahead
17          A. Exelon 10_11, all those Exelon files, the           17   LMP revenue column, the real-time LMP revenue column and
18    Dennis Logic, new gen, basically anywhere that you would     18   the mining revenue column.
19    have to calculate a break-even U.S. dollar cost per          19      Q. And so if the mining revenue column is
20    kilowatt hour for a miner.                                   20   greater, it makes more sense to mine?
21          Q. Okay. And then what's the -- what's the             21      A. Correct, and that -- and that should
22    second box down here represent?                              22   represent itself in the realized revenue column.
23          A. It was a terrible attempt by me to give a           23      Q. And if it's cheaper not to mine, then that
24    fully amortized cost for five minutes -- five-minute         24   would be represented in the day-ahead LMP and the


                                                    Page 191                                                            Page 193
 1    revenue. I'm not an accountant. It wasn't -- it didn't        1   real-time LMP columns?
 2    work well.                                                    2       A. If it's cheaper not to mine. Can you ask
 3          Q. Okay. So I noticed Ben Hakes isn't included          3   that one more time?
 4    on this. Why is Mr. Hakes not included in these e-mails?      4       Q. Well, so if I understand correctly, if it's
 5          A. I didn't have any reason to include Ben in           5   more profitable to mine, it's reflected in the mining
 6    these e-mails.                                                6   revenue column?
 7          Q. I hand you one more here. This is                    7       A. Well, the mining revenue column is always
 8    Defendants' Exhibit 53. So can you tell me what Exhibit       8   reflecting the mining revenue given the power.
 9    53 is?                                                        9       Q. Yeah, I'm sorry. So if -- if it's more
10          A. It's an e-mail from me to the GlidePath guys        10   profitable to mine, you compare -- you compare the mining
11    and Ben Hakes.                                               11   revenue column with what columns to make that
12          Q. And why are you sending this to the GlidePath       12   determination?
13    guys and Ben Hakes?                                          13       A. The day-ahead LMP rev and the real-time LMP
14          A. Because I told them I was going to the              14   rev.
15    conference/summit and that I would give them an update       15       Q. And so if the mining revenue's greater, it's
16    based on information that I learned at the summit.           16   more profitable to mine?
17          Q. Is this -- is this -- I haven't gone through        17       A. Correct.
18    it and done a complete comparison, but is this basically     18       Q. And if the mining revenue is less, then it
19    the same type of data that you sent to Mr. Garland at        19   doesn't make sense to mine?
20    BuySellAds the day -- on the 3rd?                            20       A. Correct.
21          A. Yes, it does look similar.                          21       Q. And then in the context of where the mining
22          Q. What -- what's the purpose of sending this to       22   revenue column is less, what did your model contemplate
23    GlidePath?                                                   23   doing at that point?
24          A. To send them the modeling data and these            24       A. The model contemplates selling that amount of


                                                                                    49 (Pages 190 to 193)
                                                     Appx2946
     Case: 23-1922                   Document: 39-3                Page: 172          Filed: 01/02/2024

                                                        Page 246                                                         Page 248
 1          A. Yeah, interested is like so many varying               1   account in totality was to communicate to the general
 2    levels, right.                                                  2   public what I was working on.
 3          Q. So what -- what did they say to you about --           3         Q. Okay. So it was available to the general
 4    after you got -- after your conversation -- well, what          4   public and then it was not, is that -- am I understanding
 5    did you tell them?                                              5   you correctly?
 6          A. I told like how -- how my system worked. I             6         A. You are, yes.
 7    told them how I communicated it to McNamara and the             7         Q. Okay. And if you look at the first page,
 8    Lancium CFO at the dinner. I told them that I had e-mail        8   Page 717, it says: "Casually pitch the idea of using
 9    correspondence going back and forth and text message            9   Bitcoin mining as load as a service to a PM at Entergy
10    correspondence as well and that I believe that what they       10   over the last year." Do you see that?
11    were suing or getting sued for by Lancium was something        11         A. Yeah.
12    that I taught McNamara and told him how to do in great         12         Q. Who is that?
13    detail.                                                        13         A. I don't remember his name. I met him at a
14          Q. What did they respond?                                14   Mardi Gras event -- at a young life event at the -- it
15          A. I guess they didn't really respond. They              15   might be Avenue Pub. I want to say Charles Avenue. I
16    just asked for me to send them a few things.                   16   know he's a PM for Entergy but that's about it.
17          Q. And you sent them those things?                       17         Q. Okay. And so the stuff on this Twitter was
18          A. Yeah.                                                 18   public for a long time; is that fair, and then it was
19          Q. Was it one conversation or more than one              19   not?
20    conversation?                                                  20         A. Yeah, it was -- it was public for maybe two
21          A. Just one conversation.                                21   years or so.
22          Q. Let me mark this as Exhibit 67. And is this           22         Q. Okay. So let me mark Exhibit 69 which is
23    what you sent them, Exhibit 67?                                23   BEARBOX1 through 43. So maybe just to save time here I
24          A. Yes, it appears so.                                   24   would -- just trying to figure out sort of what all of


                                                        Page 247                                                         Page 249
 1          Q. And you're aware -- after this -- they                 1   these different pictures are. There's pictures of
 2    received this information do you know what they did with        2   different things, and maybe if we just go one at a time
 3    it?                                                             3   by Bates number and you just tell me quickly what it's a
 4          A. I don't know what they did with it.                    4   picture of, and then I'll stop and ask you questions if
 5          Q. And you're aware they ultimately settled the           5   something else comes up.
 6    case with Lancium, aren't you?                                  6          A. Sounds good.
 7          A. I'm aware of the settlement, yes, sir.                 7          Q. Okay. So let's start with Page 1.
 8          Q. I'll mark Defendants' Exhibit 68. Can you              8          A. Page 1 is a picture of a single miner running
 9    just identify Exhibit 68?                                       9   in my apartment that's connected to a 120-volt circuit to
10          A. Exhibit 68 is a printout of the BearBox               10   the wall. There's an early relay controller called a
11    Twitter account.                                               11   Sanesmart 16 channel. There's a 25 amp solid state
12          Q. And that's -- these tweets are created by             12   relay, the white part on the stool. Then there's a large
13    you?                                                           13   white box on the stool that is an AC to DC inverter that
14          A. Yes.                                                  14   applies voltage to a coil.
15          Q. What's the purpose of this Twitter account?           15          Q. Can you tell sort of what the date is in this
16          A. To communicate things that BearBox as a               16   picture just from looking at it roughly or not?
17    company was working on and have presence within Twitter.       17          A. I can't. I think we produced metadata with
18          Q. Just to the general public?                           18   these picture.
19          A. Yeah, at the time it was locked but previous          19          Q. Yeah. I'm just trying to figure out where in
20    to that it was not.                                            20   the process of creating the model in your apartment this
21          Q. You say "at the time it was locked."                  21   is.
22          A. At the time of this printout the Twitter              22          A. Oh, this is really early. That's -- that's
23    account was in private mode, so it wouldn't have been to       23   the first relay controller and solid state relay that I
24    the general public, but the purpose of the Twitter             24   bought. The solid state relay got like super hot with


                                                                                     63 (Pages 246 to 249)
                                                          Appx2950
              Case: 23-1922               Document: 39-3            Page: 173          Filed: 01/02/2024




   Message
   From:           Austin Storms [austin@bearbox.io]
   on behalf of    Austin Storms <austin@bearbox.io> [austin@bearbox.io]
   Sent:           5/3/2019 2:51:35 PM
   To:             todd@buysellads.com
   Subject:        Fwd: EXELON DATA MODELING DUMP 2
   Attachments:    EXELON4.csv; ATT00002.bin; EXELON?_8.csv; ATT00004.bin; EXELON5_6.csv; ATT00006.bin; EXELON_HPWl.csv;
                   ATT00008.bin; EXELON10_11.csv; ATTOOOlO.bin; EXELON9.csv; ATT00012.bin


   See attached.


   Begin forwarded message:

   From: Austin Storms <austin@bearbox. io>
   Date: May 3, 2019 at 12: 15:58 PM EDT
   To: Austin Storms <austin@bearbox.io>
   Cc: Ben Hakes <ben@paretoadvisors.com>
   Subject: EXELON DATA MODELING DUM.P 2

   See attached.


   Austin M. Storms
   BearBox, LLC
   611 O' Keefe Avenue
   New Orleans, LA 701 13
   austin@bearbox.io

  CONFIDENTJALITY NOTJCE: This email communication may contain private, confidential, or legally
  privileged infom1ation intended for the sole use of the designated and/or duly authorized recipient(s). If you are
  not the intended recipient or have received this email in error, please notify the sender immediately by email
  and permanently delete all copies of this emajl including all attachments without reading them. If you are the
  intended recipient, secure the contents in a manner that conforms to all applicable state and/or foderal
  requirements related to privacy and confidentiality of such information.




                                                                                                              EXHIBIT
                                                                                                       I i)         -2)- J




HIGHLY CONFIDENTIAL - ATTORNEYS ' EYES ONLY                                                                        8810000911




                                                        Appx2963
            Case: 23-1922       Document: 39-3     Page: 174   Filed: 01/02/2024




                      FILE PRODUCED NATIVELY




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         B810000912




                                             Appx2964
           datetime block_height network_ diff est_network_hashrate BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
            17:54.4     574204    6.35303E+12        5.38327E+13   5320.85       0.0051274      0.0037112            0.0737773           0.1586418         0.1148245    2.2484294    2.2484294
            22:57.3     574204    6.35303E+12        5.38327E+13   5320.01       0.0051274      0.0047409            0.0737656           0.1586418         0.1466834    2.2480744    2.2480744
            28:00.S     574204    6.35303E+12        5.38327E+13   5319.51       0.0051274      0 .0044381           0.0737587           0 .1586418        0.1373148    2.2478631    2.2478631
            33:03.6     574204    6.35303E+12        5.38327E+13   5321.94       0.0051274      0.0035711            0.0737924           0 .1586418        0.1104898       2.24889      2.24889
            38:06.6     574205    6.35303E+12        5.30839E+l3   5321.95       0.0051274      0.0020195            0.0748335           0.1586418         0.0624833    2.2806172    2.2806172
            43:09.6     574205    6.35303E+l2        5.30839E+13   5326.19       0.0051274      0.0006489            0.0748931           0.1586418          0.020077    2.2824342    2.2824342
            48:12.6     5 74206   6.35303E+12        5.44532E+13   5326.23       0.0051274      0.0036433            0.0730105           0.1586418         0.1127237    2.2250598    2.2250598
            53:15.7     574206    6.35303E+12        5.44532E+13   5327.84       0.0051274      0.0056932            0 .0730325          0.1586418         0.1761476    2.2257324    2.2257324
            58:18.9     574207    6.35303E+12        5.39845E+13    5327.8       0.0051274     -0.0005791              0.073666          0.1586418        -0.0179174    2.2450369    2.2450369
            03:21.8     574207    6.35303E+12        5.39845E+13    5327.2       0.0003049      0.0011538            0.0736577           0 .0094336        0.0356986     2.244784     2.244784
            08:24.9     574208    6.35303E+12        5.34662E+13   5325.01       0.0003049     -0.0046871            0.0743412           0.0094336        -0.1450189    2.2656139    2.2656139
                                                                                                                                                                                                  Case: 23-1922




            13:28.6     574209    6.35303E+l2        5.33477E+13   5325.01       0.0003049      -0.009641            0.0745063           0.0094336        -0.2982925    2.2706452    2.2706452
            18:31.5     574209    6.35303E+12        5.33477E+13   5321.01       0.0003049     -0.0003526            0.0744503           0 .0094336       -0.0109094    2.2689395    2.2689395
            23:35.0     574210    6.35303E+12        5.36221E+13   5327.95       0.0003049     -0.0001515              0.074166          0.0094336        -0.0046874    2.2602762    2.2602762
            28:38.3     574212    6.35303E+12        5.54528E+13   5325.19       0.0003049     -0.0193232            0.0716803           0.0094336        -0.5978598     2.184522     2.184522
            33:41.4     574212    6.35303E+l2        5.54528E+l3   5323.36       0.0003049     -0.0316161            0.0716557           0.0094336        -0.9782021    2.1837713    2.1837713
            38:44.4     574215    6.35303E+l2        5.58834E+l3    5323.1       0.0003049     -0.0307121            0.0711001           0.0094336        -0.9502324    2.1668382    2.1668382
            43:47.3     574215    6.35303E+12        5.58834E+13    5323.1       0.0003049     -0.0298462            0.0711001           0.0094336        -0.9234414    2.1668382    2.1668382
            48:50.3     574215    6.35303E+12        5.58834E+13   5325.88       0.0003049     -0.0268598            0.0711372           0.0094336        -0.8310422    2.1679698    2.1679698
            53:53.3     574215    6.35303E+l2        5.58834E+13   5326.72       0.0003049     -0.0306503            0.0711484           0.0094336        -0.9483203    2.1683117    2.1683117
            58:56.4     574216    6.35303E+12        5.54406E+13   5326.69       0.0003049     -0.0316255            0.0717163           0.0094336         -0.978493    2.1856184    2.1856184
            03:59.3     574216    6.35303E+12        5.54406E+13   5330.34      -0.0001867     -0.0309598            0.0717654          -0.0057765        -0.9578962     2.187116     2.187116
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            09:02.8     574219    6.35303E+12        5.59245E+13   5330.78      -0.0001867     -0.0034559            0.0711504          -0.0057765        -0.1069255    2.1683719    2.1683719
            14:05.9     574220    6.35303E+12        5.59914E+13   5329.45      -0 .0001867    -0.0195392            0.0710476          -0.0057765        -0.6045428    2.1652392    2.1652392
            19:08.9     574220    6.35303E+12        5.59914E+13   5343.74      -0.0001867     -0.0179458            0.0712381          -0.0057765        -0.5552431    2.1710449    2.1710449




Appx2965
            24:11.9     574223    6.35303E+l2        5.60912E+13    5334.1      -0.0001867      -0.027899            0.0709831          -0.0057765        -0.8631951    2.1632744    2.1632744
            29:14.9     574226    6.35303E+l2        5.60441E+13    5330.7      -0.0001867      -0.030306            0.0709974          -0.0057765        -0.9376676    2.1637101    2.1637101
            34:17.9     574226    6.35303E+l2        5.60441E+13   5333.77      -0.0001867     -0.0264455            0 .0710383         -0 .0057765       -0.8182238    2.1649562    2.1649562
            39:21.0     574227    6.35303E+12        5.56725E+l3   5332.07      -0.0001867     -0.0197591            0.0714897          -0.0057765        -0.6113466    2.1787132    2.1787132
            44:24.0     574227    6.35303E+l2        5.56725E+13   5339.99      -0.0001867     -0.0202167            0.0715959          -0 .0057765       -0.6255047    2.1819493    2.1819493
                                                                                                                                                                                                  Page: 175




            49:27.4     574228    6.35303E+12        5.52451E+l3   5343.15      -0.0001867     -0.0198226            0.0721925          -0.0057765        -0.6133112    2.2001303    2.2001303
            54:30.S     574229    6.35303E+12         5.5892E+13   5338.61      -0.0001867     -0.0294808            0.0712963          -0.0057765         -0.912136    2.1728179    2.1728179
            59:33.7     574229    6.35303E+12         5.5892E+13    5336.4      -0.0001867     -0.0238324            0.0712668          -0.0057765        -0.7373745    2.1719184    2.1719184
            04:36.7     574229    6.35303E+l2         5.5892E+13   5340.73      -0.0002365     -0.0191566            0.0713246          -0.0073173        -0.5927052    2.1736808    2.1736808
            09:39.8     574229    6.35303E+l2         5.5892E+l3   5341.69      -0.0002365     -0.0309356            0.0713374          -0.0073173        -0.9571475    2.1740715    2.1740715
            14:43.1     574230    6.35303E+l2        5.53347E+l3   5347.99      -0.0002365      -0.030382            0 .0721408         -0.0073173        -0.9400191    2.1985565    2.1985565
            19:46.4     574230    6.35303E+l2        5.53347E+13   5348.14      -0.0002365     -0.0302146            0.0721428          -0.0073173        -0.9348397    2.1986182    2.1986182
            24:49.4     574231    6.35303E+12        5.49411E+13   5341.24      -0.0002365     -0.0278795              0.072566         -0.0073173        -0.8625917     2.211515     2.211515
            29:53.0     574231    6.35303E+12        5.49411E+13   5342.72      -0.0002365     -0.0280598            0.0725861          -0.0073173        -0.8681702    2.2121278    2.2121278
            34:56.1     574232    6.35303E+l2        5.47061E+13   5349.99      -0.0002365     -0.0264476            0.0729971          -0.0073173        -0.8182887    2.2246529    2.2246529
            39:59.3     574232    6.35303E+12        5.47061E+13   5346.06      -0.0002365     -0.0271937            0.0729435          -0.0073173        -0.8413731    2.2230187    2.2230187
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            45:02.9     574232    6.35303E+l2        5.47061E+13   5350.69      -0.0002365     -0.0271939            0.0730067          -0.0073173        -0.8413793     2.224944     2.224944
            50:06.0     574232    6.35303E+12        5.47061E+13   5358.36      -0.0002365     -0.0287285            0 .0731113         -0.0073173        -0 .8888598   2.2281334    2.2281334
            55:09.1     574232    6.35303E+12        5.47061E+13   5358.38      -0.0002365     -0.0279997            0.0731116          -0.0073173        -0 .8663107   2.2281417    2.2281417
            00:12.7     574232    6.35303E+12        5.47061E+13   5374.99       0.0021778     -0.0258886            0.0733382           0 .0673811       -0.8009933    2.2350485    2.2350485
            05:15.7     574233    6.35303E+12        5.35475E+l3   5380.56       0.0021778     -0.0030487            0.0750026           0.0673811        -0.0943268    2.2857722    2.2857722
           10:18.8   574233   6.35303E+l2   5.35475E+l3     5358.81   0.0021778   -0.0011696    0 .0746994   0.0673811   -0.0361874     2.2765324    2.2765324
           15:21.8   574233   6.35303E+l2   5.35475E+l3     5362.05   0.0021778   -0.0011696    0.0747446    0.0673811   -0.0361874     2.2779088    2.2779088
           20:24.8   574233   6.35303E+l2   5.35475E+l3     5360.02   0.0021778   -0.0182287    0.0747163    0.0673811     -0.563996    2.2770464    2.2770464
           25:28.4   574234   6.35303E+12   5.31615E+13     5359.43   0.0021778   -0.0150284    0.0752505    0.0673811   -0.4649787     2.2933275    2.2933275
           30:31.4   574234   6.35303E+12   5.31615E+13     5349.43   0.0021778   -0.0150284    0.0751101    0.0673811   -0.4649787     2.2890484    2.2890484
           35:34.9   574234   6.35303E+12   5.31615E+13     5344.78   0.0021778   -0.0164614    0.0750448    0.0673811   -0.5093157     2.2870587    2.2870587
           40:37.9   574236   6.35303E+12   5.29706E+l3      5350.2   0.0021778   ·0.0316425    0.0753917    0.0673811   ·0.9790189     2.2976295    2.2976295
           45:40.9   574237   6.35303E+12   5.26741E+13     5349.03   0.0021778   -0.0303346    0.0757995    0.0673811   ·0.9385525     2.3100592    2.3100592
           50:43.9   574238   6.35303E+12     5.2719E+13    5355.31   0.0021778   -0.0059234    0.0758238    0.0673811       -0.18327   2.3107995    2.3107995
           55:46.8   574238   6.35303E+12     5.2719E+13    5349.01   0.0021778   ·0.0018265    0.0757346    0.0673811   ·0.0565119      2.308081     2.308081
           00:49.8   574239   6.35303E+12   5.28168E+13     5350.18    0.011704   ·0.0315837    0.0756109    0.3621218   ·0.9771997     2.3043114    2.3043114
           05:52.7   574239   6.35303E+l2   5.28168E+13     5349.09    0.011704   -0.0304342    0.0755955    0.3621218   ·0.9416341      2.303842     2.303842
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           10:55.6   574240   6.35303E+12   5.25658E+13     5348.27    0.011704   -0.0002699    0.0759448    0.3621218   -0.0083507      2.314487     2.314487
           15:58.4   574243   6.35303E+l2   5.35108E+13     5354.35    0.011704    0.0001733    0.0746885    0.3621218    0.0053619         2.2762       2.2762
           21:01.3   574245   6.35303E+12   5.38531E+13     5358.66    0.011704    0.0007385    0.0742735    0.3621218    0.0228492     2.2635505    2.2635505
           26:04.2   574246   6.35303E+12   5.41667E+13     5357.51    0.011704   -0.0035407    0.0738276    0.3621218   -0.1095493     2.2499632    2.2499632
           31:07.4   574246   6.35303E+l2   5.41667£+13     5361.77    0.011704   -0.0018346    0.0738863    0.3621218   -0.0567625     2.2517522    2.2517522
           36:10.S   574246   6.35303E+12   5.41667E+l3     5361.98    0.011704    0.0045642    0.0738892    0.3621218    0.1412163     2.2518404    2.2518404
           41:13.6   574246   6.35303E+l2   5.41667E+l3     5366.22    0.011704   ·0.0158533    0.0739476    0.3621218   -0.4905011     2.2536211    2.2536211
           46:16.7   574248   6.35303E+l2   5.41479E+13     5365.01    0.011704   ·0.0018765    0.0739567    0.3621218   ·0.0580589     2.2538956    2.2538956
           51:19.6   574251   6.35303E+l2   5.52479E+13     5360.99    0.011704      0.001301   0.0724298    0.3621218    0.0402529     2.2073645    2.2073645
           56:22.6   574251   6.35303£+12   5.52479E+13      5356.l    0.011704    0.0012559    0.0723638    0.3621218    0.0388575     2.2053511    2.2053511
           01:25.7   574252   6.35303E+l2   5 .50584E+l3    5358.27   0.0165726    0.0046048    0.0726423    0.5127562    0.1424725     2.2138386    2.2138386
                                                                                                                                                                  Document: 39-3




           06:29.7   574252   6.35303E+12   5.50584E+13     5360.85   0.0165726      0.157986   0.0726772    0.5127562    4.8880868     2.2149045    4.8880868
           11:34.4   574254   6.35303E+12   5.55733E+13     5360.76   0.0165726    0.0130504    0.0720027    0.5127562    0.4037794     2.1943466    2.1943466
           16:37.S   574255   6.35303E+l2     5.5978E+l3    5358.19   0.0165726    0.0094017    0.0714478    0.5127562    0.2908886     2.1774367    2.1774367




Appx2966
           21:40.6   574256   6.35303E+12   5.57331E+13     5364.52   0.0165726    0.0100556    0.0718465    0.5127562    0.3111203     2.1895872    2.1895872
           26:43.8   574257   6.35303E+12   5.59531E+l3     5368.93   0.0165726    0.0078173    0.0716229    0.5127562    0.2418673      2.182771     2.182771
           31:46.9   574257   6.35303E+12   5.59531E+l3     5369.94   0.0165726    0.0063222    0.0716363    0.5127562    0.1956089     2.1831816    2.1831816
           36:49.8   574257   6.35303E+12   5.59531E+l3     5368.01   0.0165726    0.0062178    0.0716106    0.5127562    0.1923787      2.182397     2.182397
           41:53.7   574258   6.35303E+12   5.61961E+ 13    5363.48   0.0165726     0.007283    0.0712408    0.5127562      0.225336    2.1711281    2.1711281
                                                                                                                                                                  Page: 176




           46:56.9   574258   6.35303E+l2   5.61961E+ 13    5363.48   0.0165726    0.0070341    0.0712408    0.5127562    0.2176351     2.1711281    2.1711281
           52:00.0   574258   6.35303E+l2   5.61961E+13     5367.12   0.0165726    0.0072728    0.0712892    0.5127562    0.2250204     2.1726015    2.1726015
           57:06.7   574258   6.35303E+12   5.61961E+l3     5368.74   0.0165726    0.0087738    0.0713107    0.5127562    0.2714614     2.1732573    2.1732573
           02:09.6   574258   6.35303E+l2   5.61961E+13     5363.48   0.0168443     0.009364    0.0712408    0.5211626    0.2897222     2.1711281    2.1711281
           07:12.8   574258   6.35303E+l2   5.61961E+ 13    5360.86   0.0168443     0.013432     0.071206    0.5211626    0.4155861     2.1700675    2.1700675
           12:16.3   574260   6.35303E+12   5.46276E+l3     5360.85   0.0168443    0.0108808    0.0732504    0.5211626      0.336652    2.2323717    2.2323717
           17:19.2   574260   6.35303E+l2   5.46276E+13     5368.73   0.0168443    0.0083528    0.0733581    0.5211626    0.2584356     2.2356531    2.2356531
           22:22.2   574260   6.35303£+12   5.46276E+l3      5367.1   0.0168443    0 .0079968   0.0733358    0.5211626      0.247421    2.2349743    2.2349743
           27:25.3   574260   6.35303E+12   5.46276E+l3     5367.89   0.0168443    0.0067041    0.0733466    0.5211626    0.2074249     2.2353033    2.2353033
           32:28.2   574261   6.35303£+12   5.36607E+ 13    5369.99   0.0168443    0.0077119    0.0746974    0.5211626    0.2386062     2.2764693    2.2764693
           37:31.2   574261   6.35303£+12   5.36607E+13     5367.41   0.0168443     0.007023    0.0746615    0.5211626    0.2172916     2.2753756    2.2753756
                                                                                                                                                                  Filed: 01/02/2024




           42:34.3   574261   6.35303E+l2   5.36607E+13     5361.03   0.0168443    0.0080277    0.0745727    0.5211626      0.248377    2.2726709    2.2726709
           47:37.2   574261   6.35303£+12   5 .36607E +13   5361.94   0.0168443    0.0080701    0.0745854    0.5211626    0.2496889     2.2730567    2.2730567
           52:40.2   574261   6.35303E+12   5.36607E+l3     5373.41   0.0168443    0.0102078    0.0747449    0.5211626    0.3158293     2.2779191    2.2779191
           57:43.1   574263   6.35303E+12   5.26165E+13     5380.52   0.0168443    0.0081298    0.0763292    0.5211626      0.251536    2.3262005    2.3262005
           02:46.1   574266   6.35303E+12   5.51716E+13     5372.23   0.0186731    0.0076622    0.0726821    0.5777457    0.2370685      2.215053     2.215053
           07:49.0   574268 6.35303E+l2     5.60115E+13    5366.01   0.0186731   0.0072848    0.0715093     0.5777457   0.2253917 2.1793098   2.1793098
           12:51.9   574269 6.35303E+12     5.58958E+13    5350.76   0.0186731     0.008065   0.0714536     0.5777457   0.2495311 2.1776143   2.1776143
           17:54.9   574270 6.35303E+l2       5.6144E+13   5352.52   0.0186731   0.0075466    0.0711611     0.5777457   0.2334918 2.1686995   2.1686995
           22:57.9   574271 6.35303E+12       5.6095E+13   5356.14   0.0186731     0.007405   0.0712715     0.5777457   0.2291107 2.172064     2.172064
           28:01.0   574271 6.35303E+12       5.6095E+13   5350.02   0.0186731   0.0072809    0.0711901     0.5777457    0.225271 2.1695821   2.1695821
           33:04.1   574271 6.35303E+12       5.6095E+13    5354.6   0.0186731   0.0074885      0.071251    0.5777457   0.2316942 2.1714394   2.1714394
           38:07.2   574273 6.35303E+12     5.53104E+ 13   5354.48   0.0186731   0.0079015    0.0722601     0.5777457   0.2444724 2.2021917   2.2021917
           43:10.6   574274 6.35303E+l2     5.53441E+13    5355.03   0.0186731   0.0099941    0.0722236     0.5777457   0.3092175 2.2010786   2.2010786
           48:13.7   574274 6.35303E+12     5.53441E+13    5354.14   0.0186731   0.0113173    0.0722116     0.5777457   0.3501573 2.2007128   2.2007128
           53:17.4   574274 6.35303E+12     5.53441E+13    5355.18   0.0186731   0.0164817    0.0722256     0.5777457   0.5099438 2.2011403   2.2011403
           58:20.3   574274 6.35303E+l2     5.53441E+ 13   5369.19   0.0186731   0.0138726    0.0724146     0.5777457   0.4292182 2.2068988   2.2068988
           03:23.5   574274 6.35303E+l2     5.53441E+13    5370.66   0.0212675   0.0091036    0.0724344     0.6580165   0.2816654 2.207503     2.207503
                                                                                                                                                          Case: 23-1922




           08:26.5   574274 6.35303E+l2     5.53441E+l3    5369.11   0.0212675   0.0082747    0.0724135     0.6580165   0.2560192 2.2068659   2.2068659
           13:29.7   574274 6.35303E+l2     5.53441E+ 13   5363.09   0.0212675   0.0151147    0.0723323     0.6580165   0.4676488 2.2043915   2.2043915
           18:32.7   574275 6.35303E+l2     5.36343E+13    5365.75   0.0212675   0.0155968    0.0746751     0.6580165    0.482565 2.2757902   2.2757902
           23:35.6   574275 6.35303E+l2     5.36343E+13    5369.99   0.0212675   0.0157182    0.0747341     0.6580165   0.4863211 2.2775885   2.2775885
           28:38.4   574275 6.35303E+l2     5.36343E+ 13   5367.99   0.0212675   0 .0155447   0.0747063     0.6580165    0.480953 2.2767402   2.2767402
           33:41.8   574277 6.35303E+12     5.50501E+13    5371.77   0.0212675   0.0198338    0.0728363     0.6580165   0.6136578 2.2197521   2.2197521
           38:45.1   574279 6.35303E+12     5.54528E+13    5384.78   0.0212675   0.0190493    0.0724824     0.6580165   0.5893853 2.2089672   2.2089672
           43:48.1   574281 6.35303E+12     5.67946E+ 13   5379.99   0.0212675   0.0170259    0.0707071     0.6580165   0.5267813 2.1548622   2.1548622
           48:51.0   574281 6.35303E+l2     5.67946E+ 13   5377.85   0.0212675   0 .0169016     0.070679    0.6580165   0.5229355 2.154005     2.154005
           53:54.3   5 74282 6.35303E+12      5.6096E+13   5375.53   0.0212675   0.0131463    0.0715283     0.6580165   0.4067465 2.1798898   2.1798898
           58:57.4   574282 6.35303E+12       5.6096E+13   5379.99   0.0212675   0 .0178311   0.0715877     0.6580165   0.5516942 2.1816984   2.1816984
                                                                                                                                                          Document: 39-3




           04:00.6   574283 6.35303E+12     5.56063E+13    5387.53   0.0232187   0.0178063    0.0723193     0.7183866   0.5509269 2.2039945   2.2039945
           09:05.0   574283 6.35303E+l2     5.56063E+13    5405,85   0.0232187   0.0198195    0.0725652     0.7183866   0.6132153 2.211489     2.211489
           14:08.3   574283 6.35303E+12     S.56063E+13    5409.86   0.0232187     0.019659     0 .072619   0.7183866   0.6082495 2.2131295   2.2131295




Appx2967
           19:11.6   574284 6.35303E+12     S.64188E+13    5401.19   0.0232187     0.020979   0.0714585     0.7183866   0.6490903 2.1777626   2.1777626
           24:14.7   574284 6.35303E+12     5.64188E+13     5401.3   0.0232187   0.0205583        0.07146   0.7183866   0.6360738 2.1778069   2.1778069
           29:17.8   574285 6.35303E+l2     S.57835E+13    5408.19   0.0232187   0.0200525      0.072366    0.7183866   0.6204244 2.2054203   2.2054203
           34:20.7   574285 6.35303E+12     5.57835E+13    5406.02   0.0232187   0.0204614      0.072337    0.7183866   0.6330757 2.2045354   2.2045354
           39:23.6   574285 6.35303E+12     5.57835E+13    5400.59   0.0232187   0.0195542    0.0722643     0.7183866   0.6050069 2.202321     2.202321
                                                                                                                                                          Page: 177




           44:26.7   574285 6.35303E+l2     5.57835E+13    5401.93   0.0232187   0 .0203561   0 .0722823    0.7183866   0.6298177 2.2028675   2.2028675
           49:29.7   574285 6.35303E+l2     5.57835E+13    5404.01   0.0232187   0.0200873    0.0723101     0.7183866   0.6215011 2.2037157   2.2037157
           54:32.7   574285 6.35303E+12     5.57835E+l3    5401.27   0.0232187   0.0203132    0.0722734     0.7183866   0.6284904 2.2025983   2.2025983
           59:36.0   574285 6.35303E+12     5.57835E+13    5405.56   0.0232187   0 .0202868   0.0723309     0.7183866   0.6276736 2.2043478   2.2043478
           04:39.2   574285 6.35303E+12     5.57835E+13    5407.94   0.0243161   0.0203594    0.0723627     0.7523401   0.6299198 2.2053183   2.2053183
           09:42.2   574286 6.35303E+l2     5.36818E+13    5415.78   0.0243161   0 .0205197   0 .0753047    0.7523401   0.6348795 2.2949778   2.2949778
           14:45.4   574287 6.35303E+l2     5.50908E+13    5406.57   0.0243161   0.0204524    0.0732539     0.7523401   0.6327973 2.2324797   2.2324797
           19:48.6   574287 6.35303E+12     5.50908E+ 13   5390.94   0.0243161   0.0204571    0.0730422     0.7523401   0.6329427 2.2260258   2.2260258
           24:51.7   574288 6.35303E+12       5.6446E+13   5374.99   0.0243161   0.0204895    0.0710776     0.7523401   0.6339451 2.1661531   2.1661531
           29:54.9   574288 6.35303E+l2       5.6446E+l3   5391.07   0.0243161     0.020504   0.0712902     0.7523401   0.6343938 2.1726335   2.1726335
           34:58.3   574289 6.35303E+12     5 .61643E+13   5386.28   0.0243161   0.0215335    0 .0715842    0.7523401   0.6662465 2.1815923   2.1815923
                                                                                                                                                          Filed: 01/02/2024




           40:02.0   5 74289 6.35303E+ 12   5.61643E+13    5381.99   0.0243161   0.0216111    0.0715272     0.7523401   0.6686474 2.1798548   2.1798548
           45:05.1   574289 6.35303E+12     5.61643E+13    5375.06   0.0243161   0.0210446    0.0714351     0.7523401   0.6511199 2.1770479   2.1770479
           50:08.2   574290 6.35303E+12     5.56905E+13    5379.99   0.0243161   0.0216184    0.0721089     0.7523401   0.6688733 2.1975834   2.1975834
           55:11.2   574292 6.35303E+12     5.59818E+13    5380.89   0.0243161    0.021687    0.0717456     0.7523401   0.6709958 2.1865119   2.1865119
           00:14.3   574294 6.35303E+l2     5.66874E+13    5378.02   0.0257744   0.0216429    0.0708148     0.7974599   0.6696313 2.1581456   2.1581456
           05:17.2   574295    6.35303E+l2    5.71185E+13    5388.44   0.0257744   0.021 2776    0.0704165    0.7974599    0.6583289 2.1460054     2.1460054
           10:20.9   574296    6.35303E+12    5.69506E+13    5391.26   0.0257744   0.0214204      0.070661    0.7974599    0.6627472 2.1534583     2.1534583
           15:24.1   574298    6.35303E+12    5.77593E+13    5389.31   0.0257744   0 .0214204    0 .0696465   0.7974599    0.6627472 2.1225393     2.1225393
           20:27.3   574298    6.35303E+ 12   5.77593E+13    5388.39   0.0257744   0 .0220102    0.0696346    0.7974599    0.6809956 2.122177       2.122177
           25:31.0   574298    6.35303E+12    5.77593E+13    5393.64   0.0257744    0.025403     0 .0697024   0.7974599    0.7859688 2.1242446     2.1242446
           30:34.5   574299    6.35303E+12    5.69012E+l3     5395.3   0.0257744   0.0261091     0.0707755    0.7974599    0 .8078156 2.1569462    2.1569462
           35:39.5   574301    6.35303E+12      5.7613E+13   5391.27   0.0257744   0.0834465     0.0698488    0.7974599    2.5818347 2.1287047     2.5818347
           40:44.8   574301    6.35303E+l2      5.7613E+13   5390.99   0.0257744   0.2182033     0.0698452    0.7974599    6.7512101 2.1285942     6.7512101
           45:49.0   574302    6.35303E+12    5.77583E+l3    5394.98   0.0257744       0.15508    0.069721    0.7974599    4 .7981752 2.1248099    4.7981752
           50:52.9   574302    6.35303E+12    5.77583E+13     5395.4   0.0257744   0 .1766657    0.0697264    0.7974599    5.4660368 2.1249753     5.4660368
           55:56.9   574304    6.35303E+ 12     5.7411E+13   5395.01   0.0257744    0.174439     0.0701432    0.7974599    5.3971427 2.1376776     5.3971427
           01:01.0   574305    6.35303E+12      5.8471E+13   5392.45   0.0279426   0.2174554     0 .0688389    0.864544    6.7280701 2.0979265     6.7280701
                                                                                                                                                                Case: 23-1922




           06:05.1   574305    6.35303E+12      5.8471E+13    5393.6   0.0279426   0.0374936     0.0688536     0.864544     1.160052 2.0983739     2.0983739
           11:09.9   574305    6.35303E+l2      5.8471E+13   5393.59   0.0279426   0.0279332     0.0688534     0 .864544   0.8642532     2.09837      2.09837
           16:13.3   574307    6.35303E+12    5.89967E+13     5393.1   0.0279426   0.0249637     0.0682337     0.864544    0.7723769 2.0794831     2.0794831
           21:16.3   574309    6.35303E+12    6.00748E+13    5397.01   0.0279426    0.025771     0.0670578     0.864544    0 .7973547 2.0436461    2.0436461
           26:19.2   574310    6.35303E+12    6.02983E+13    5396.18   0.0279426    0.025585      0.066799     0.864544    0.7915999 2.035759       2.035759
           31:22.5   574311    6.35303E+l2    6.01255E+13    5399.99   0.0279426   0.0297997     0.0670382     0.864544    0.9220027 2.0430488     2.0430488
           36:25.4   574311    6.35303E+12    6.01255E+13    5402.65   0.0279426   0.0297908     0.0670712     0.864544    0.9217274 2.0440552     2.0440552
           41:28.4   574312    6.35303E+12    5.99055E+13    5397.01   0.0279426   0.0298367     0.0672472     0 .864544   0.9231475 2.0494202     2.0494202
           46:31.4   574312    6.35303E+12    5.99055E+13    5395.01   0.0279426   0.0256849     0.0672223     0 .864544   0.7946908 2.0486608     2.0486608
           51:34.4   574315    6.35303E+1 2   5.97623E+13    5393.25   0.0279426   0.0284134     0.0673615     0 .864544   0.8791106 2.0529008     2.0529008
           56:37.4   574315    6.35303£+12    5.97623E+13    5390.48   0.0279426    0.025946     0.0673269     0 .864544   0.8027692 2.0518464     2.0518464
                                                                                                                                                                Document: 39-3




           01:41.6   574315    6.35303E+12    5.97623E+13     5386.7   0.0296022    0.210997     0.0672796    0.9158921    6.5282472 2.0504076     6.5282472
           06:46.0   574317    6.35303E+12    6.04051E+13    5387.76   0.0296022   0.0271557     0 .0665768   0.9158921    0.8401974 2.0289892     2.0289892
           11:50.0   574319    6.35303E+12      6.0775E+13   5392.75   0.0296022   0.2243785     0.0662328    0.9158921    6.9422708 2.0185049     6.9422708




Appx2968
           16:54.3   574320    6.35303E+12    6.21737E+13    5393.01   0.0296022   0.0486987      0.064746    0.9158921    1.5067378 1.9731924     1.9731924
           21:59.4   574320    6.35303E+12    6 .21737E+13   5399.78   0.0296022   0.0370626     0.0648273    0.9158921    1.1467168 1.9756694     1.9756694
           27:02.3   574320    6.35303E+12    6.21737£+13    5404.34   0.0296022   0.0303724      0.064882    0.9158921    0.9397221 1.9773378     1.9773378
           32:05.3   574321    6.35303E+12    6.17749E+l3    5403.12   0.0296022   0.0280097     0.0652861    0.9158921    0.8666201 1.989654       1.989654
           37:08.3   574321    6.35303E+l2    6.17749E+13    5402.68   0.0296022   0.0278751     0.0652808    0.9158921    0.8624556 1.989492       1.989492
                                                                                                                                                                Page: 178




           42:11.3   574321    6.35303E+12    6.17749£+13    5409.99   0.0296022       0.02741   0.0653692    0.9158921    0.8480654 1.9921839     1.9921839
           47:14.3   574321    6.35303E+12    6.17749E+13    5409.99   0.0296022    0.027605     0 .0653692   0.9158921    0.8540987 1.9921839     1.9921839
           52:17.2   574321    6.35303E+l2    6.17749E+13     5413.5   0.0296022   0.0276334     0.0654116    0.9158921    0.8549774 1.9934764     1.9934764
           57:20.0   574321    6.35303£+12    6.17749E+13    5407.13   0.0296022   0.0265193     0.0653346    0.9158921    0.8205071 1.9911307     1.9911307
           02:23.3   574321    6.35303E+12    6.17749E+13    5393.15   0.0289028   0.0265406     0.0651657    0.8942526    0.8211662 1.9859827     1.9859827
           07:26.3   574321    6.35303E+12    6.17749£+13     5395.3   0.0289028    0.026646     0.0651917    0.8942526    0.8244272 1.9867744     1.9867744
           12:29.4   574321    6.35303E+12    6.17749E+13    5397.72   0.0289028   0.0263766     0.0652209    0.8942526     0 .816092 1.9876655    1.9876655
           17:32.5   574321    6.35303£+12    6.17749E+13    5399.98   0.0289028   0.0264515     0.0652482    0.8942526    0.8184094 1.9884978     1.9884978
           22:35.6   574321    6.35303E+12    6.17749£+13    5394.06   0.0289028   0.0265902     0.0651767    0.8942526    0.8227008 1.9863178     1.9863178
           27:38.6   574321    6.35303E+12    6.17749E+13     5393.9   0.0289028    0.026498     0.0651747    0.8942526    0.8198481 1.9862589     1.9862589
           32:41.7   574322    6.35303E+12      5.8824£+13   5396.06   0.0289028   0.0264345     0.0684716    0.8942526    0.8178834 2.086735       2.086735
           37:45.1   5 74322   6.35303E+12      5.8824E+13   5392.94   0.0289028   0.0257328     0.0684321    0.8942526    0.7.961728 2.0855284    2.0855284
                                                                                                                                                                Filed: 01/02/2024




           42:48.3   574322    6.35303E+12      5.8824£+13   5392.23   0.0289028   0.0270329      0.068423    0.8942526    0.8363979 2.0852539     2.0852539
           47:51.7   574323    6.35303E+12    5.85421E+13    5397.35   0.0289028    0.026317     0.0688178    0.8942526     0.814248 2.097283       2.097283
           52:54.6   574323    6.35303E+12    5.85421E+13    5406.09   0.0289028       0.02719   0 .0689292   0.8942526    0.8412586 2.1006792     2.1006792
           57:58.1   574326    6.35303E+12    5 .98016E+13   5402.76   0.0289028   0 .0299238    0.0674359    0.8942526    0.9258424 2.0551695     2.0551695
           03:01.0   574326 6.35303E+12   5.98016E+13    5405.16   0.0298595    0.0354935    0.0674658   0.9238529   1.0981689 2.0560824     2.0560824
           08:04.2   574326 6.35303E+l2   5.98016E+13    5400.27   0.0298595    0.0283365    0.0674048   0.9238529   0.8767313 2.0542223     2.0542223
           13:10.1   574327 6.35303E+12   5.96067E+13    5403.01   0.0298595    0.0272184    0.0676595   0.9238529   0.8421373 2.0619836     2.0619836
           18:13.1   574327 6.35303E+12   5.96067E+ 13   5402.55   0.0298595    0 .0254796   0.0676537   0.9238529   0.7883388 2.061808       2.061808
           23:16.5   574328 6.35303E+12   5.96752E+13    5405.49   0.0298595      0.026922   0.0676129   0.9238529   0.8329667 2.0605642     2.0605642
           28:19.6   574328 6.35303E+l2   5.96752E+13    5407.99   0.0298595    0.0266884    0.0676442   0.9238529   0.8257391 2.0615172     2.0615172
           33:22.8   574329 6.35303E+12   5.94855E+13    5414.16   0.0298595    0.0268196    0.0679373   0.9238529   0.8297984 2.0704516     2.0704516
           38:26.4   574330 6.35303E+12   5.97035E+13    5414.16   0.0298595    0.0268326    0.0676893   0.9238529   0,8302006 2.0628912     2.0628912
           43:29.6   574331 6.35303E+12   5.96567E+13    5411.77   0.0298595    0.0255719    0.0677124   0.9238529   0.7911946 2.0635973     2.0635973
           48:32.6   574332 6.35303E+l2   5.93593E+13    5409.61   0.0298595    0.0266704    0.0680245   0.9238529   0.8251822 2.0731087     2.0731087
           53:36.1   574333 6.35303E+12    5.9734E+13    5404.43   0.0298595    0.0266612    0.0675331   0.9238529   0.8248975 2.0581326     2.0581326
           58:39.0   574334 6.35303E+12   5.92562E+13    5401.16   0.0298595    0.0269553    0.0680365   0.9238529     0.833997 2.0734727    2.0734727
                                                                                                                                                          Case: 23-1922




           03:42.1   574335 6.35303E+12    5.9018E+13     5401.4    0.028602    0.0279105    0.0683141   0.8849459   0.8635509 2.0819329     2.0819329
           08:45.2   574335 6.35303E+l2    5.9018E+13    5400.05    0.028602    0.0267242     0.068297   0.8849459   0.8268467 2.0814126     2.0814126
           13:48.8   574337 6.35303E+12   6.04407E+13    5403.81    0.028602    0.0267657    0.0667358   0.8849459   0.8281308 2.0338321     2.0338321
           18:51.7   574338 6.35303E+l2   6.00814E+l3     5403.9    0.028602     0.026525     0.067136   0.8849459   0.8206835 2.0460298     2.0460298
           23:55.0   574341 6.35303E+l2   6.05704E+13    5404.02    0.028602     0.026048    0.0665954   0.8849459   0.8059251 2.0295562     2.0295562
           28:58.6   574342 6.35303E+12    6.0482E+13    5406.89    0 .028602   0.0265109    0.0667282   0.8849459   0.8202472 2.0336015     2.0336015
           34:01.7   574343 6.35303E+12   5.99395E+l3    5402.19    0 .028602   0.0255512    0.0672736   0.8849459   0.7905541 2.0502238     2.0502238
           39:04.8   574343 6.35303E+12   5.99395E+13    5399.98    0.028602    0.0262086    0.0672461   0.8849459   0.8108941 2.0493851     2.0493851
           44:07.8   574344 6.35303E+12   5.95861E+13    5399.01    0 .028602   0.0260242    0.0676328   0.8849459   0.8051887 2.0611697     2.0611697
           49:11.2   574344 6.35303E+12   5.95861E+13    5394.85    0 .028602   0.0266401    0.0675807   0.8849459   0.8242447 2.0595816     2.0595816
           54:14.4   574344 6.35303E+l2   5.95861E+13    5401.23    0.028602    0.0260209    0.0676606   0.8849459   0.8050866 2.0620172     2.0620172
                                                                                                                                                          Document: 39-3




           59:17.3   574344 6.35303E+12   5.95861E+l3    5398.44    0.028602    0.0262469    0.0676256   0.8849459   0.8120791 2.0609521     2.0609521
           04:21.4   574346 6.35303E+12   5.84022E+13    5394.51   0.0275993    0.2233023    0.0689463   0.8539223   6.9089732 2.1012014     6.9089732
           09:27.4   574347 6.35303E+12   5.86008E+13     5390.6   0.0275993    0.0264187    0.0686629   0.8539223   0.8173946 2.0925629     2.0925629




Appx2969
           14:30.5   574347 6.35303E+12   5.86008E+13    5397.94   0.0275993    0.0265111    0.0687564   0.8539223   0.8202534 2.0954122     2.0954122
           19:33.5   574348 6.35303E+l2   5.87322E+13    5396.99   0.0275993    0 .0266306   0.0685905   0.8539223   0.8239508 2.0903567     2.0903567
           24:36.5   574348 6.35303E+l2   5.87322E+13    5396.21   0.0275993     0.026318    0.0685806   0.8539223   0.8142789 2.0900545     2.0900545
           29:41.0   574349 6.35303E+12   5.84595E+13    5396.31   0.0275993    0.2222834    0.0689017   0.8539223   6.8774484 2.0998406     6.8774484
           34:45.8   574350 6.35303E+12   5.91267E+13    5395.07   0.0275993    0.0360184    0.0681086   0.8539223   1.1144093     2.07567      2.07567
                                                                                                                                                          Page: 179




           39:49.9   574350 6.35303E+12   5.91267E+13    5395.47   0.0275993     0.026792    0.0681136   0.8539223   0.8289445 2.0758239     2.0758239
           44:54.1   574351 6.35303E+l2   5.92508E+13    5395.05   0.0275993    0.0245607    0.0679657   0.8539223   0 .7599081 2.0713145    2.0713145
           49:58.3   574351 6.35303E+12   5.92508E+13    5393.06   0.0275993    0.0251914    0.0679406   0.8539223   0.7794219 2.0705505     2.0705505
           55:03.7   574351 6.35303E+l2   5.92508E+13    5391.73   0.0275993    0.0244349    0.0679238   0.8539223   0.7560158 2.0700399     2.0700399
           00:06.8   574351 6.35303E+l2   5.92508E+l3    5391.02   0.0287438    0.0246767    0.0679149   0.8893332   0.7634971 2.0697673     2.0697673
           05:09.8   574351 6.35303E+12   5.92508E+13    5365.12   0.0287438    0.0247456    0.0675886   0.8893332   0.7656289 2.0598235     2.0598235
           10:12.8   574351 6.35303E+12   5.92508E+13    5371.89   0.0287438    0.0222708    0.0676739   0.8893332   0.6890586 2.0624227     2.0624227
           15:16.2   574351 6.35303E+12   5.92508E+13     5379.7   0.0287438    0.0239242    0.0677723   0.8893332   0.7402147 2.0654212     2.0654212
           20:19.5   574353 6.35303E+12   5.95341E+13     5378.3   0.0287438    0.0226519    0.0674322   0.8893332   0.7008498 2.0550568     2.0550568
           25:22.4   574353 6.35303E+12   5.95341E+13    5381.03   0.0287438    0.0245188    0.0674664   0.8893332   0.7586117 2.0560999     2.0560999
           30:25.5   574353 6.35303E+12   5.95341E+l3    5392.25   0.0287438     0.024939    0.0676071   0.8893332   0.7716127 2.0603871     2.0603871
                                                                                                                                                          Filed: 01/02/2024




           35:29.0   574353 6.35303E+l2   5.95341E+13    5394.16   0.0287438    0.0248882     0.067631   0.8893332   0.7700409 2.0611169     2.0611169
           40:32.2   574353 6.35303E+12   5.95341E+l3    5399.99   0.0287438    0.0245715    0.0677041   0.8893332   0.7602422 2.0633446     2.0633446
           45:35.1   574355 6.35303E+12   6.01266E+13    5396.88   0.0287438    0.0230276    0.0669983   0.8893332   0.7124739 2.0418346     2.0418346
           50:38.3   574356 6.35303E+l2   6.01278E+13    5394.77   0.0287438    0.0244562    0.0669709   0.8893332   0.7566748 2.0409989     2.0409989
           55:42.0   574356 6.35303E+l2   6.01278E+13     5402.4   0.0287438    0.0216672    0.0670656   0.8893332   0.6703832 2.0438855     2.0438855
           00:45.1    574357    6.35303E+12    5.98782E+13    5408.98   0.0349099   0.0215159    0.0674272    1.0801123    0.6657019   2.0549051   2.0549051
           05:48.5    574357    6.35303E+12    5.98782E+13    5415.88   0.0349099     0.021311   0.0675132    1.0801123    0.6593623   2.0575264   2.0575264
           10:51.8    574359    6.35303E+ 12   5.99023E+l3    5413.47   0.0349099   0.0215195      0.067456   1.0801123    0.6658133   2.0557835   2.0557835
           15:54.9    574359    6.35303E+l2    5.99023E+13    5409.99   0.0349099   0.0216145    0.0674127    1.0801123    0.6687526   2.0544619   2.0544619
           20:57.9    574360    6.35303E+l2     6.0023E+13    5408.83   0.0349099   0.0224358    0.0672626    1.0801123    0.6941637    2.049888    2.049888
           26:01.1    574360    6.35303E+l2     6.0023E+13    5402.81   0.0349099   0.0221931    0.0671877    1.0801123    0.6866545   2.0476064   2.0476064
           31:04.4    574361    6.35303E+l2    5.95038E+l3    5407.93   0.0349099     0.024178   0.0678382    1.0801123    0.7480673   2.0674304   2.0674304
           36:08.0    574361    6.35303E+12    5.95038E+l3    5411.14   0.0349099   0.0353979    0.0678785    1.0801123     1.095211   2.0686576   2.0686576
           41:11.6    574362    6.35303E+l2    5.87448E+13    5422.09   0.0349099   0.0235493    0.0688946    1.0801123    0.7286153   2.0996263   2.0996263
           46:14.8    574362    6.35303E+l2    5.87448E+13    5435.74   0.0349099   0.0221814    0.0690681    1.0801123    0.6862925   2.1049121   2.1049121
           51:17.9    574362    6.35303E+12    5.87448E+13    5435.55   0.0349099   0.0237741    0.0690657    1.0801123    0.7355707   2.1048385   2.1048385
           56:21.6    574363    6.35303E+12    5.80502E+13    5427.15   0.0349099     0.032206   0.0697841    1.0801123    0.9964536   2.1267343   2.1267343
                                                                                                                                                               Case: 23-1922




           01:24.7    574363    6.35303E+l2    5.80502E+13     5428.1   0.0262015   0.0475413    0.0697964    0.8106744    1.4709278   2.1271066   2.1271066
           06:27.9    574364    6.35303E+12    5.78645E+13    5441.31   0.0262015   0.0428348    0.0701907    0.8106744    1.3253087   2.1391255   2.1391255
           11:31.0    574364    6.35303E+l2    5.78645E+l3    5428.95   0.0262015   0.0240965    0.0700313    0.8106744    0.7455457   2.1342664   2.1342664
           16:33.9    574367    6.35303E+l2    5.84533E+13    5433.35   0.0262015   0.0244572      0.069382   0.8106744    0.7567058   2.1144803   2.1144803
           21:38.4    574367    6.35303E+l2    5.84533E+l3    5439.23   0.0262015     0.022965   0.0694571    0.8106744    0.7105371   2.1167686   2.1167686
           26:41.8    574368    6.35303E+l2    5.81378E+13    5433.99   0.0262015   0.0212901    0.0697668    0.8106744    0.6587157   2.1262058   2.1262058
           31:45.4    574368    6.35303E+12    5.81378E+13    5446.09   0.0262015   0.0209848    0.0699221    0.8106744    0.6492697   2.1309403   2.1309403
           36:48.4    574369    6.35303E+12     5.7527E+13    5440.51   0.0262015   0.0204925    0.0705922    0.8106744     0.634038   2.1513595   2.1513595
           41:51 .9   574370    6.35303E+12    5.73316E+13    5442.44   0.0262015   0.0198587    0.0708579    0.8106744    0.6144282   2.1594579   2.1594579
           46:55.1    574370    6.35303E+12    5.73316E+13    5449.99   0.0262015   0.0197845    0.0709562    0.8106744    0.6121324   2.1624536   2.1624536
           51:58.4    574370    6.35303E+12    5.73316E+13    5458.76   0.0262015   0.0194401    0.0710704    0.8106744    0.6014767   2.1659334   2.1659334
                                                                                                                                                               Document: 39-3




           57:01.5    574373    6.35303E+l2    5.75391E+13    5466.97   0.0262015   0.0197032    0.0709205    0.8106744     0.609617   2.1613669   2.1613669
           02:05.0    574373    6.35303E+l2    5.75391E+13    5466.18   0.0202338   0.0193913    0.0709103    0.6260338    0.5999668   2.1610546   2.1610546
           07:08.3    574373    6.35303E+12    5.75391E+13     5468.2   0.0202338   0.0191518    0.0709365    0.6260338    0.5925567   2.1618532   2.1618532




Appx2970
           12:11.9    574374    6.35303E+l2    5.70787E+l3    5462.25   0.0202338   0.0195416    0.0714308    0.6260338    0.6046171   2.1769189   2.1769189
           17:14.8    574375    6.35303E+12    5.67247E+l3    5457.72   0.0202338   0.0192754      0.071817   0.6260338    0.5963809   2.1886876   2.1886876
           22:17.9    574376    6.35303E+12    5.68162E+13    5459.27   0.0202338   0.02121 99   0.0717217    0.6260338    0.6565437    2.185782    2.185782
           27:21.2    574376    6.35303E+12    5.68162E+13    5455.91   0.0202338   0.0193854    0.0716775    0.6260338    0.5997843   2.1844367   2.1844367
           32:24.1    574377    6.35303E+12    5.63276E+13    5454.55   0.0202338   0.0196209    0.0722814    0.6260338    0.6070706   2.2028394   2.2028394
                                                                                                                                                               Page: 180




           37:27.2    574377    6.35303E+12    5.63276E+l3    5461.19   0.0202338   0.0218394    0.0723693    0.6260338     0.675711    2.205521    2.205521
           42:30.2    5 74377   6.35303E+12    5.63276E+13     5464.3   0.0202338   0.0211972    0.0724106    0.6260338    0.6558414    2.206777    2.206777
           47:33.3    574378    6.35303E+l2    5.65074E+l3    5471.12   0.0202338   0.0212136    0.0722702    0.6260338    0.6563488   2.2024995   2.2024995
           52:36.4    574378    6.35303E+l2    5.65074E+ l3    5465.8   0.0202338   0.0207927    0.0721999    0 .6260338   0.6433261   2.2003578   2.2003578
           57:39.3    574378    6.35303E+12    5.65074E+13    5467.45   0.0202338   0.0196864    0.0722217    0.6260338    0.6090972   2.2010221   2.2010221
           03:12.6    574383    6.35303E+l2    5.72964E+13    5476.66   0.0174418   0.0187668    0.0713471    0.5396493    0.5806448   2.1743674   2.1743674
           08:16.0    574384    6.35303E+12    5.65611E+13    5472.78   0.0174418   0.0187175    0.0722235    0.5396493    0.5791195   2.2010766   2.2010766
           13:19.1    574384    6.35303E+12    5.65611E+13    5477.51   0.0174418   0.0187832    0.0722859    0.5396493    0.5811522   2.2029789   2.2029789
           18:22.2    574384    6.35303E+l2    5.65611E+13    5475.27   0.0174418   0.0184439    0 .0722564   0.5396493    0.5706543    2.202078    2.202078
           23:25.4    574384    6.35303E+l2    5.65611E+13    5485.01   0.0174418   0.0182748    0.0723849    0.5396493    0.5654223   2.2059953   2.2059953
           28:28.7    574385    6.35303E+12    5.52675E+13    5483.01   0.0174418   0.0178749    0.0740521    0.5396493    0.5530494   2.2568058   2.2568058
           33:31.7    574386    6.35303E+12     5.5002E+13    5486.59   0.0174418   0.0182033    0.0744582    0.5396493
                                                                                                                                                               Filed: 01/02/2024




                                                                                                                           0.5632101   2.2691808   2.2691808
           38:35.5    574386    6.35303E+l 2    5.5002E+13     5489.7   0.0174418   0.0186322    0 .0745004   0.5396493    0.5764803    2.270467    2.270467
           43:38.3    574387    6.35303E+12     5.4816E+l3    5485.01   0.0174418   0.0182313    0.0746893    0.5396493    0.5640764   2.2762247   2.2762247
           48:41.2    574387    6.35303E+12     5.4816E+13    5494.56   0.0174418   0 .0183895   0.0748194    0.5396493    0.5689711   2.2801879   2.2801879
           53:45.0    574387    6.35303E+l2     5.4816E+13    5496.86   0.0174418   0 .0183358   0 .0748507   0.5396493    0.5673097   2.2811424   2.2811424
           58:48.0   574388   6.35303E+12    5.41076E+13     5491.71   0.0174418   0.0183548     0.0757595    0.5396493   0.5678975    2.3088405    2.3088405
           03:51.1   574388   6.35303E+l2    5.41076E+13     5493.27   0.0165491   0.0183691     0 .0757811   0.5120292      0.56834   2.3094963    2.3094963
           08:54.1   574388   6.35303E+l2    5.41076E+13     5497.61   0.0165491   0.0183647     0.0758409    0.5120292   0.5682038     2.311321     2.311321
           13:57.4   574390   6.35303E+l2    5.36713E+l3     5491.93   0.0165491   0.0183673     0 .0763785   0.5120292   0.5682843    2.3277048    2.3277048
           19:00.7   574393   6.35303E+l2     S.4543E+13     5502.77   0.0165491   0.0188417     0.0753062    0.5120292   0.5829622    2.2950255    2.2950255
           24:04.5   574393   6.35303E+l2      5.4543E+13    5525.72   0.0165491   0.0193995     0.0756203    0.5120292   0.6002205    2.3045972    2.3045972
           29:07.6   574393   6.35303E+12      5.4543E+13    5538.58   0.0165491   0.0193609     0.0757963    0.5120292   0.5990262    2.3099607    2.3099607
           34:10.9   574393   6.35303E+12      5.4543E+l3    5548.77   0.0165491     0.019547    0.0759358    0.5120292   0.6047842    2.3142106    2.3142106
           39:14.1   574394   6.35303E+12    5.38779E+ 13    5544.99   0.0165491   0.0195134     0.0768207    0.5120292   0.6037446    2.3411795    2.3411795
           44:17.1   574395   6.35303E+12    5.S3825E+13     5512.91   0.0165491   0.0198083     0.0743014    0.5120292   0.6128688    2.2644017    2.2644017
           49:20.1   574395   6.35303E+12    5.53825E+13     5524.53   0.0165491   0 .0195319      0.074458   0.5120292    0.604317    2.2691746    2.2691746
           54:23.3   574395   6.35303 E+12   5.53825E+ 13     5525.3   0.0165491       0.01959   0.0744684    0.5120292   0.6061146    2.2694909    2.2694909
                                                                                                                                                                 Case: 23-1922




           59:26.3   574395   6.35303E+12    5.53825E+l3     5519.06   0.0165491   0 .0192502    0.0743843    0.5120292   0.5956012    2.2669278    2.2669278
           04:29.4   574395   6.35303E+l2    5.53825E+13      5533.7   0.0172292   0.0192508     0.0745816    0.5330714   0.5956198    2.2729411    2.2729411
           09:32.4   574395   6.35303E+l2    5.53825E+13     5530.29   0.0172292   0.0191812     0 .0745356   0.5330714   0.5934663    2.2715405    2.2715405
           14:35.9   574396   6.35303E+12    5.44713E+13     5534.64   0.0172292   0.0190064     0.0758421    0.5330714    0.588058    2.3113551    2.3113551
           19:39.0   574396   6.35303E+12    5.44713E+l3     5544.31   0.0172292   0.0189667     0.0759746    0.5330714   0.5868297    2.3153934    2.3153934
           24:42.S   574396   6.35303E+12    5.44713E+l3     5549.76   0.0172292   0.0190067     0.0760493    0.5330714   0.5880673    2.3176694    2.3176694
           29:46.0   574397   6.35303E+12    5.38389E+13     5535.92   0.0172292   0.0190806     0.0767506    0.5330714   0.5903538    2.3390422    2.3390422
           34:48.9   574397   6.35303E+12    5.38389E+13     5548.11   0.0172292   0.0187167     0.0769196    0.5330714   0.5790947    2.3441927    2.3441927
           39:52.5   574397   6.35303E+12    5 .38389E +13   5576.84   0.0172292   0.0189742     0.0773179    0.5330714   0.5870617    2.3563317    2.3563317
           44:55.6   574397   6.35303E+l2    5 .38389E+ 13   5588.49   0.0172292   0.0188554     0.0774794    0.5330714   0.5833861    2.3612541    2.3612541
           49:58.8   574397   6.35303E+12    5.38389E+ 13    5580.14   0.0172292   0.0189482     0.0773636    0.5330714   0.5862573    2.3577261    2.3577261
                                                                                                                                                                 Document: 39-3




           55:01.8   574397   6.35303E+12    5.38389E+13     5586.36   0.0172292   0.0194129     0.0774499    0.5330714   0.6006351    2.3603541    2.3603541
           00:05.2   574398   6.35303E+12    5.24135E+13     5582.24   0,0174125   0 .0194554    0.0794975    0.5387428   0.6019501     2.422758     2.422758
           05:09.1   574399   6.35303E+12    5.22154E+13     5575.01   0.0174125   0.0197929     0.0796957    0.5387428   0.6123923    2.4287994    2.4287994




Appx2971
           10:12.1   574400   6.35303E+12    5.19602E+13     5555.62   0.0174125   0.0199592     0 .0798086   0.5387428   0.6175376    2.4322397    2.4322397
           15:15.6   574400   6.35303E+12    5.19602E+l3     5578.34   0.0174125   0.0198711       0.080135   0.5387428   0.6148118    2.4421865    2.4421865
           20:18.5   574400   6.35303E+l2    5.19602E+13     5579.19   0.0174125   0.0198617     0.0801472    0.5387428    0.614521    2.4425586    2.4425586
           25:21.5   574401   6.35303E+12    5.14241E+13     5571.72   0.0174125   0.0200228     0 .0808744   0.5387428   0.6195054    2.4647197    2.4647197
           30:24.5   574401   6.35303E+l2    5.14241E+13     5570.27   0.0174125   0.0199827     0.0808533    0.5387428   0.6182647    2.4640783    2.4640783
                                                                                                                                                                 Page: 181




           35:27.4   574402   6.35303E+12    5.15991E+13     5586.79   0.0174125   0.0207606       0.080818   0.5387428    0.64 2333   2.4630024    2.4630024
           40:30.4   574403   6.35303E+12    5.16659E+13     5618.48   0.0174125   0.0202218     0.0811714    0.5387428   0.6256625    2.4737726    2.4737726
           45:33.7   574404   6.35303E+12    5.22163E+13     5610.56   0.0174125   0.0221828     0.0802027    0.5387428   0.6863358     2.444248     2.444248
           50:36.6   574405   6.35303E+12    5.26766E+13     5659.03   0.0174125   0.0202739     0.0801886    0.5387428   0.6272745    2.4438195    2.4438195
           55:39.S   574406   6.35303E+12    5.44332E+13     5660.39   0.0174125   0.0201747     0.0776194    0.5387428   0.6242052     2.365522     2.365522
           00:42.4   574407   6.35303E+12    5.44179E+l3     5674.28   0.0182174   0.0190667     0.0778319    0.5636464   0.5899237    2.3719968    2.3719968
           05:45.2   574408   6.35303E+l2    5.43366E+l3     5665.31   0.0182174   0.0196886     0.0778251    0.5636464   0.6091653    2.3717894    2.3717894
           10:47.9   574408   6.35303E+l2    5.43366E+13     5669.02   0.0182174   0 .0199558      0.077876   0.5636464   0.6174325    2.3733426    2.3733426
           15:50.8   574409   6.35303E+12    5.45039E+13     5707.81   0.0182174   0.0201714     0.0781682    0.5636464   0.6241031    2.3822461    2.3822461
           20:53.8   574409   6.35303E+12    5.45039E+13     5687.02   0.0182174   0 .0225138    0.0778835    0.5636464    0.696577    2.3735691    2.3735691
           25:56.9   574410   6.35303E+12     5.4739E+13      5681.9   0.0182174   0.0207126     0.0774792    0.5636464   0.6408478    2.3612479    2.3612479
                                                                                                                                                                 Filed: 01/02/2024




           36:03.0   574410   6.35303E+12     5.4739E+13     5722.07   0.0182174   0.0216808     0.0780269    0.5636464    0.670804    2.3779415    2.3779415
           41:06.3   574410   6.35303E+12     5.4739E+13     5722.31   0.0182174   0 .0214058    0.0780302    0.5636464   0.6622955    2.3780413    2.3780413
           46:09.6   574410   6.35303E+12     5.4739E+l3     5758.38   0.0182174   0.0229584     0.0785221    0.5636464   0.7103329     2.393031     2.393031
           51:12.9   574410   6.35303E+l2     5.4739E+l3     5752.53   0.0182174   0.0234792     0.0784423    0.5636464   0.7264464    2.3905999    2.3905999
           01:18.1   574412   6.35303E+12    5.33495E+13     5778.34   0.0231716    0 .024996    0.0808465    0.7169293   0.7733762       2.46387      2.46387
           06:21.2    574412 6.35303E+l2    5.33495E+l3    5720.48   0.0231716    0.0224302       0.080037   0.7169293   0.6939904    2.4391986    2.4391986
           11:24.7    574412 6.35303E+12    5.33495E+13    5706.21   0.0231716    0.0232405     0.0798373    0.7169293   0.7190611    2.4331139    2.4331139
           16:27.6    5 74413 6.35303E+12   5.25253E+13    5710.17   0.0231716    0.0234349     0.0811462    0.7169293   0.7250758    2.4730049    2.4730049
           21:30.3    574413 6.35303E+12    5.25253E+13     5738.9   0.0231716    0.0220916     0.0815545    0.7169293   0.6835141    2.4854476    2.4854476
           26:33.4    574413 6.35303E+12    5.25253E+l3    5729.99   0.0231716    0.0254117     0.0814279    0.7169293     0.786238   2.4815887    2.4815887
           31:36.2    574414 6.35303E+12    5.19701E+13    5734.45   0.0231716    0.0252112     0.0823619    0.7169293   0.7800345    2.5100531    2.5100531
           36:39.1    574414 6.35303E+12    5.19701E+13    5744.82   0.0231716      0.025471    0.0825108    0.7169293   0.7880727    2.5145922    2.5145922
           41:41.9    574416 6.35303E+12    5.19215E+13    5727.38   0.0231716    0.0253676     0.0823374    0.7169293   0.7848735     2.509306     2.509306
           46:44.7    574418 6.35303E+12    5.19586E+13    5734.35   0 .0231716       0.02236   0.0823788    0.7169293   0.6918184     2.510567     2.510567
           51:47.4    574420 6.35303E+12    5.25895E+ 13    5719.9   0.0231716    0.0361412     0.0811854    0.7169293   1.1182087    2.4741988    2.4741988
           56:50.2    574421 6.35303E+12    5.25734E+ 13   5661.86   0.0231716    0.0233862     0.0803862    0.7169293     0.723569   2.4498404    2.4498404
           01:53.1    574421 6.35303E+12    5.25734E+13    5685.95   0.0265606    0.0218135     0.0807282     0.821785   0.6749097    2.4602639    2.4602639
                                                                                                                                                                Case: 23-1922




           06:56.0    574423 6.35303E+12    5.29406E+13    5678.18   0.0265606    0.0217023     0.0800587     0.821785   0.6714692    2.4398604    2.4398604
           11:59.2    574424 6.35303E+12    5.28202E+13    5698.16   0.0265606    0.0217781     0.0805235     0.821785   0.6738144    2.4540273    2.4540273
           17:02.4    574424 6.35303E+12    5.28202E+13    5677.65   0.0265606      0.028073    0.0802337     0.821785   0.8685786    2.4451943    2.4451943
           22:05.3    574426 6.35303E+12    5.30049E+13    5685.84   0.0265606    0.0482239     0.0800695     0.821785   1.4920475    2.4401892    2.4401892
           27:09.9    574426 6.35303E+12    5.30049E+13    5681.85   0.0265606    0.2355911     0.0800133     0.821785   7.2891886    2.4384768    7.2891886
           32:14.0    574427 6.35303E+l2    5.28466E+13    5686.85   0.0265606    0.2281308     0.0803235     0.821785     7.058367   2.4479317     7.058367
           37:18.6    574427 6.35303E+12    5.28466E+13    5693.47   0.0265606    0.0487972       0.080417    0.821785   1.5097854    2.4507813    2.4507813
           42:21.3    574428 6.35303E+12     5.2354E+13     5717.6   0.0265606    0.0277079     0.0815177     0.821785   0.8572824    2.4843261    2.4843261
           47:24.0    574428 6.35303E+12     5.2354E+13    5722.32   0.0265606    0.0280138       0.081585    0.821785     0.866747   2.4863769    2.4863769
           52:27.1    574428 6.35303E+12     5.2354E+13    5715.88   0.0265606      0.028221    0.0814932     0.821785   0.8731577    2.4835787    2.4835787
           57:29.7    574429 6.35303E+12    5.15634E+13    5701.89   0.0265606      0.023821    0.0825403     0.821785   0.7370217    2.5154886    2.5154886
                                                                                                                                                                Document: 39-3




           02:32.4    574429 6.35303E+12    5.15634E+13    5701.69   0.0272743    0.0223137     0.0825374    0.8438668   0.6903859    2.5154004    2.5154004
           0 7:35.2   574429 6.35303E+12    5.15634E+13    5712.55   0.0272743    0.0230727     0.0826946    0.8438668   0.7138693    2.5201914    2.5201914
           12:38.1    574430 6.35303E+12    5.12815E+13    5715.02   0.0272743    0.0232288       0.083185   0.8438668   0.7186991    2.5351378    2.5351378




Appx2972
           17:41.8    574430 6.35303E+12    5.12815E+13     5703.4   0.0272743    0.0235449     0.0830159    0.8438668   0.7284792    2.5299833    2.5299833
           22:44.7    574430 6.35303E+12    5.12815E+13    5712.82   0.0272743    0.0235528       0.083153   0,8438668   0.7287236    2.5341619    2.5341619
           27:47.6    574430 6.35303E+12    5.12815E+13    5729.59   0.0272743    0.0236272     0 ,0833971   0.8438668   0.7310256     2.541601     2.541601
           32:50.4    574430 6.35303E+12    5.12815E+13    5736.47   0.0272743    0 .0244433    0.0834972    0.8438668   0. 7562757   2.5446529    2.5446529
           37:53.2    574430 6.35303E+12    5.12815E+ 13    5731.9   0.0272743    0.0241428     0 .0834307   0.8438668   0.7469782    2.5426257    2.5426257
                                                                                                                                                                Page: 182




           42:56.3    574430 6.35303E+l2    5.12815E+13    5735.01   0.0272743    0.0245142      0.083476    0,8438668   0.7584693    2.5440052    2.5440052
           47:59.3    574430 6.35303E+12    5.12815E+13    5723.33   0.0272743    0.0472294       0.083306   0,8438668   1.4612776    2.5388241    2.5388241
           53:02.1    574432 6.35303E+12    4.99455E+13    5721.98   0.0272743    0.0283038     0.0855142    0.8438668   0.8757196    2.6061222    2.6061222
           58:05.1    574432 6.35303E+12    4.99455E+13    5706.12   0.0272743      0.047005    0.0852772    0.8438668   1.4543347    2.5988986    2.5988986
           03:08.1    574433 6.35303E+12    4.98413E+ 13   5717.92   0.0273348    0.0264519     0,0856321    0.8457387   0.8184218    2.6097152    2.6097152
           08:11.2    574435 6.35303E+12    4.97656E+13    5722.49   0.0273348    0.0235867      0.085831    0.8457387   0.7297725    2.6157766    2.6157766
           13:14.2    574435 6.35303E+12    4.97656E+l3    5731.99   0.0273348     0.024523     0.0859735    0.8457387   0.7587416    2.6201191    2.6201191
           18:17.4    574437 6.35303E+12    4.98823E+ 13   5729.41   0.0273348     0.027012     0.0857336    0.8457387   0.8357513       2.61281      2.61281
           23:20,3    574438 6.35303E+12     4 .9928E+13   5727.98   0.0273348    0.0259483     0.0856339    0.8457387   0.8028404    2.6097702    2.6097702
           28:23.3    574438 6.35303E+12     4.9928E+13    5745.01   0.0273348    0.0476807     0.0858885    0.8457387   1.4752409    2.6175294    2.6175294
           33:26.3    574441 6.35303E+12    5.04581E+ 13    5733.7   0.0273348    0 .0268104    0.0848189    0.8457387   0.8295138    2.5849309    2.5849309
           38:29.1    574441 6.35303E+l2    5.04581E+13    5748.11   0.0273348
                                                                                                                                                                Filed: 01/02/2024




                                                                                  0.0266035      0.085032    0.8457387   0.8231123    2.5914274    2.5914274
           43:31.9    574442 6.35303E+12    5.28842E+ 13   5748.47   0.0273348    0.0478517     0.0811362    0.8457387   1.4805316    2.4726991    2.4726991
           48:35.1    574442 6.35303E+l2    5.28842E+13    5745.69   0.0273348    0.0342983      0.081097    0.8457387   1.0611894    2.4715033    2.4715033
           53:37.9    574442 6.35303E+l2    5.28842E+13    5748.13   0.0273348    0.0264623     0.0811314    0.8457387   0 .8187436   2.4725529    2.4725529
           58:40.9    574443 6.35303E+12    5.28228E+13    5739.99   0.0273348    0.0253293     0.0811107    0.8457387   0.7836885    2.4719226    2.4719226
           03 :44.2   574443 6.35303E+12    5.28228E+13    5735.16   0.0298497    0.0255622    0.0810425    0.9235497    0.7908945    2.4698426   2.4698426
           08:47.3    574443 6.35303E+l2    5.28228E+13    5746.65   0.0298497    0.0244251    0.0812048    0.9235497    0.7557126    2.4747908   2.4747908
           13:50.S    574443 6.35303E+12    5.28228E+13    5760.39   0.0298497    0.0246582     0 .081399   0.9235497    0.7629247    2.4807079   2.4807079
           18:53.S    574443 6.35303E+12    5.28228E+l3     5759.7   0.0298497    0.0249722    0.0813893    0.9235497    0.7726399    2.4804107   2.4804107
           23:57.3    574444 6.35303E+12    5.21447E+13    5763.19   0.0298497    0 .0248231   0.0824975    0 .9235497   0.7680267    2.5141848   2.5141848
           29:00.1    574445 6.35303E+12    5.19166E+ 13   5756.99   0.0298497    0.0277305    0.0827709    0.9235497    0.8579817    2.5225189   2.5225189
           34:03.0    574446 6.35303E+12    5.17083E+13    5752.55   0.0298497    0.0341344    0.0830402    0.9235497    1.0561183    2.5307244   2.5307244
           44:08.1    574446 6.35303E+12    5.17083E+13    5759.01   0.0298497      0.026299   0.0831334    0.9235497    0 .8136911   2.5335664   2.5335664
           49:11.1    574447 6.35303E+12    5.14685E+13    5756.94   0.0298497    0.0264755    0.0834907    0.9235497      0.819152   2.5444543   2.5444543
           54:14.3    574448 6.35303E+12    5.19511E+13    5733.43   0.0298497    0.0263969    0.0823773    0.9235497    0.8167201    2.5105227   2.5105227
           59:17.3    574448 6.35303E+l2    5.19511E+l3    5719.45   0.0298497    0.0296594    0.0821764    0.9235497    0.9176618    2.5044012   2.5044012
           04:20.5    574448 6.35303E+l2    5.19511E+l3    5694.51   0.0289776    0.0266675    0.0818181    0.8965669    0.8250925    2.4934806   2.4934806
                                                                                                                                                              Case: 23-1922




           09:23.7    574449 6.35303E+12    5.17328E+13    5699.65   0.0289776    0.0248567    0 .0822376   0.8965669    0.7690663    2.5062642   2.5062642
           14:27.2    574450 6.35303E+12    5.16724E+13    5715.01   0.0289776    0.0254265    0.0825556    0.8965669    0.7866959    2.5159564   2.5159564
           19:30 .0   574450 6.35303E+12    5.16724E+13    5715.01   0.0289776    0 .0257899   0 .0825556   0.8965669    0.7979395    2.5159564   2.5159564
           24:33.5    574450 6.35303E+l2    5.16724E+l3    5711.26   0.0289776    0.0254494    0.0825014    0.8965669    0.7874044    2.5143055   2.5143055
           29:36.5    574450 6.35303E+l2    5.16724E+13    5720.49   0.0289776    0.0255463    0.0826348    0.8965669    0.7904025    2.5183689   2.5183689
           34:39.6    574450 6.35303E+12    5.16724E+13    5725.31   0.0289776    0.0252955    0.0827044    0.8965669    0.7826428    2.5204908   2.5204908
           39:42.4    574452 6.35303E+l 2   5.09821E+l3    5725.01   0.0289776    0.0258846    0.0838198    0.8965669    0.8008695    2.5544843   2.5544843
           44:46.8    574454 6.35303E+12    5.11925E+13    5714.05   0.0289776    0.0259942    0.0833155    0.8965669    0.8042605    2.5391139   2.5391139
           49:49.8    574454 6.35303E+12    5.11925E+13    5706.05   0.0289776    0.0248507    0.0831988    0.8965669    0.7688807     2.535559    2.535559
           54:52.5    574454 6.35303E+12    5.11925E+13    5709.99   0.0289776    0.0240952    0.0832563    0.8965669    0.7455055    2.5373098   2.5373098
           59:55.4    574454 6.35303E+12    5.1192SE+13    5714.98   0.0289776    0 .0237491     0.083329   0.8965669    0.7347972    2.5395272   2.5395272
                                                                                                                                                              Document: 39-3




           04:58.3    574454 6 .35303E+12   5.11925E+13    5715.01   0.0314491    0.0249024    0.0833295    0.9730352    o.7704803    2.5395405   2.5395405
           10:01.4    574454 6.35303E+l2    5.11925E+l3    5705.02   0 .0314491   0.0238843    0.0831838    0.9730352    0.7389802    2.5351013   2.5351013




Appx2973
                                                                                                                                                              Page: 183
                                                                                                                                                              Filed: 01/02/2024
            Case: 23-1922       Document: 39-3     Page: 184   Filed: 01/02/2024




HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         BB10000913




                                             Appx2974
            Case: 23-1922      Document: 39-3      Page: 185   Filed: 01/02/2024




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HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         8810000914




                                             Appx2975
           datetime block_height network_diff est_network_hashrate BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
             20:03.1     574204 6.35303£+12          5.38327£+13    5320.02      0.0062116     0.0053108             0 .0737658         0.1921869         0.1643162 2.2480786    2.2480786
             25:07.0     574204 6.35303£+12          5.38327E+13    5320.01      0.0062116     0.0063954             0 .0737656         0.1921869         0.1978737 2.2480744    2.2480744
             30:10.6     574204 6.35303E+12          5.38327£+13    5319.98      0.0062116     0.0064769             0.0737652          0.1921869         0.2003953 2.2480617    2.2480617
             35:13.6     574205 6.35303E+12          5.30839E+13    5325.25      0.0062116     0.0050178             0.0748799          0.1921869         0.1552507 2.2820313    2.2820313
             40:16.4     574205 6.35303E+12          5.30839E+13    5321.94      0.0062116     0.0038182             0 .0748333         0.1921869         0.1181351 2.2806129    2.2806129
             45:19.2     574206 6.35303E+l2          5.44532E+13    5326.51      0.0062116     0.0054266             0 .0730143         0.1921869           0.167899 2.2251767   2.2251767
             50:22.3     574206 6.35303E+l2          5.44532E+13    5326.54      0.0062116     0.0076717             0.0730147          0.1921869         0.2373624 2.2251893    2.2251893
             55:26.0     574207 6.35303E+12          5.39845E+13    5328.24      0.0062116     0 .0011776            0.0736721          0.1921869         0 .0364349 2.2452223   2.2452223
             00:29.0     574207 6.35303E+12          5.39845E+ 13   5325.77      0.0011643     0.0027475             0.0736379          0.0360234         0.0850077 2.2441815    2.2441815
             05:31.8     574208 6.35303E+l2          5.34662E+l3    5325.77      0.0011643    -0.0033173             0.0743518          0.0360234        -0 .1026373 2.2659373   2.2659373
             10:34.6     574208 6.35303E+12          5.34662E+13    5325.01      0.0011643      -0.008352            0.0743412          0.0360234        -0.2584109 2.2656139    2.2656139
                                                                                                                                                                                              Case: 23-1922




             15:37.4     574209 6.35303E+12          5.33477E+13    5321.01      0.0011643     0.0010002             0.0744503          0.0360234         0.0309462 2.2689395    2.2689395
             20:40.3     574209 6.35303E+12          5.33477E+13    5321.01      0.0011643       0.001 291           0.0744503          0.0360234         0 .0399435 2.2689395   2.2689395
             25:43.5     574210 6.35303E+12          5.36221E+ 13   5326.26      0.0011643    -0.0191129             0.0741425          0.0360234        -0.5913531 2.2595592    2.2595592
             30:46.5     574212 6.35303E+12          5.54528E+13    5327 .73     0.0011643    -0.0318014             0.0717145          0.0360234        -0.9839353 2.1855639    2.1855639
             35:49.4     574213 6.35303E+12          5.51131E+13    5321.02      0.0011643    -0.0309552             0.0720657          0.0360234        -0.9577539 2.1962672    2.1962672
             40:52.8     574215 6.35303E+l2          5.58834E+13     5323.1      0.0011643    -0.0303368             0 .0711001         0.0360234        -0.9386206 2.1668382    2.1668382
             45:56.2     574215 6.35303E+12          5.58834E+ 13    5323.1      0.0011643    -0.0268603             0.0711001          0.0360234        -0.8310577 2.1668382    2.1668382
             50:59.1     574215 6.35303E+l2          5.58834E+ 13   5326.69      0.0011643    -0.0314096               0.071148         0.0360234          -0.971813 2.1682995   2.1682995
             56:02.0     574215 6.35303E+12          5.58834E+13    5326.69      0.0011643    -0.0323434               0.071148         0.0360234        -1.0007048 2.1682995    2.1682995
             01:05.0     574216 6.35303£+12          5.54406E+l3    5328.81      0.0005329    -0.0313858             0.0717448          0.0164879        -0.9710767 2.1864882    2.1864882
             06:08.0     574216 6.35303E+12          5.54406E+l3    5330.34      0.0005329    -0.0029529             0.0717654          0 .0164879       -0.0913627 2.187116      2.187116
                                                                                                                                                                                              Document: 39-3




             11:11.1     574219 6.35303E+12          5.59245£+13    5326.73      0.0005329    -0.01 91457            0.0710963          0 .0164879         -0.592368 2.1667245   2.1667245
             16:14.0     574220 6.35303E+l2          5.59914E+ 13   5332.99      0.0005329      -0.017496            0.0710948          0 .0164879       -0.5413262 2.1666774    2.1666774,
             21:16.9     574220 6.35303E+1 2         5.59914E+13    5343.69      0.0005329    -0.0277353             0.0712374          0.0164879        -0.8581302 2.1710246    2.1710246




Appx2976
             26:20.3     574225 6.35303£+12          5.59876E+13     5336.9      0.0005329    -0.0303035             0.0711518          0.0164879        -0.9375903 2.1684142    2.1684142
             31:23.1     574226 6.35303E+12          5.60441E+l3    5333.74      0.0005329    -0.0262667             0.0710379          0.0164879        -0.8126917 2.1649441    2.1649441
             36:26.0     574227 6.35303E+l2          5.56725E+13    5331.57      0.0005329    -0.0192771              0.071483          0.0164879        -0.5964335 2.1785089    2.1785089
             41 :28.9    574227 6.35303E+12          5.56725E+l3    5332.07      0.0005329    -0.0198472             0.0714897          0 .0164879       -0.6140724 2.1787132    2.1787132
             46:31.8     574227 6.35303E+12          5.56725E+13    5343 .43     0.0005329    -0.0195084              0.071642          0.0164879        -0.6035899 2.1833549    2.1833549
                                                                                                                                                                                              Page: 186




             51:34.6     574228 6.35303E+l2          5.52451E+13    5343.99      0.0005329    -0.0293344             0.0722038          0.0164879        -0.9076063 2.2004762    2.2004762
             56:37.6     574229 6.35303E+12           5.5892E+13    5328.81      0.0005329    -0.0236519             0.0711654          0.0164879        -0.7317898 2.1688293    2.1688293
             01:40.7     574229 6.35303E+l2           5.5892E+l3    5339.09      0.0004335    -0.0187133             0.0713027          0.0134125        -0.5789895 2.1730133    2.1730133
             06:43.9     574229 6.35303E+l2           5.5892E+l3    5341.16      0.0004335    -0.0309148             0.0713303          0.0134125        -0.9565039 2.1738558    2.1738558
             11:46.8     574230 6.35303E+l 2         5.53347E+13    5346.19      0.0004335    -0.0303946             0.0721165          0 .0134125       -0.9404089 2.1978165    2.1978165
             16:50.5     574230 6.35303E+l 2         5.53347E+13    5351.52      0.0004335    -0.0303078             0.0721884          0 .0134125       -0.9377233 2.2000077    2.2000077
             21:53.4     574231 6.35303E+l2          5.49411E+13    5346.91      0.0004335    -0.0281596             0.0726431          0.0134125         -0.871258 2.2138627    2.2138627
             26:56.3     574231 6.35303E+12          5.49411E+l3    5345.36      0.0004335    -0.0283143              0.072622          0.0134125        -0 .8760444 2.2132209   2.2132209
             31:59.3     574231 6.35303E+12          5.49411E+l3    5345.35      0.0004335    -0.0270691             0.0726219          0.0134125         -0.837518 2.2132168    2.2132168
             37:02.5     574232 6.35303£+12          5.47061E+l3    5343.98      0.0004335    -0.0275323             0.0729151          0.0134125        -0.8518494 2.2221538    2.2221538
             42:05.7     574232 6.35303E+12          5.47061E+13    5350.73      0.0004335    -0.0275121             0.0730072          0.0134125        -0.8512244 2.2249606    2.2249606
             47:08.6     574232 6.35303E+l2          5.4706lf+13    5364.94
                                                                                                                                                                                              Filed: 01/02/2024




                                                                                 0.0004335    -0.0290109             0.0732011          0.0134125        -0.8975972 2.2308695    2.2308695
             52:11.S     574232 6.35303E+l2          5.47061E+13    5358.68      0.0004335    -0.0282604             0.0731157          0.0134125        -0.8743768 2.2282664    2.2282664
             57:14.5     574232 6.35303E+l2          5.47061E+13    5363.38      0 .0004335   -0.0265346             0.0731798          0.0134125        -0 .8209805 2.2302208   2.2302208
             02:17.5     574233 6.35303E+12          5.35475E+l3    5374.99      0.0030406       -0.02651             0.074925          0.0940762        -0.8202194 2.283406      2.283406
             07:20.4     574233 6.35303£+12          5.35475E+13    5371.65      0.0030406    -0.0027186             0.0748784          0.0940762        -0.0841135 2.2819871    2.2819871
           12:23.4   574233 6.35303E+12   5.35475E+13     5364.6   0.0030406   -0.0006889   0.0747801    0.0940762    -0.0213146    2.2789921    2.2789921
           17:26.7   574233 6.35303E+12   5.35475E+13    5366.68   0.0030406   -0.0182862   0.0748091    0.0940762     -0.565775    2.2798757    2.2798757
           22:29.S   574234 6.35303E+l2   5.31615E+13    5358.76   0.0030406   -0.0018507   0.0752411    0.0940762    -0.0572607    2.2930408    2.2930408
           27:32.4   574234 6.35303E+12   5.31615E+13    5358.18   0.0030406   -0.0146632    0.075233    0.0940762    -0.4536794    2.2927926    2.2927926
           32:35.2   574234 6.35303E+12   5.31615E+13    5349.69   0.0030406   -0.0031882   0.0751138    0.0940762    -0.0986429    2.2891597    2.2891597
           37:38.0   574235 6.35303E+12   5.26774E+l3    5347.97   0.0030406   -0.0160738   0.0757796    0.0940762    -0.4973234    2.3094528    2.3094528
           42:41.4   574236 6.35303E+12   5.29706E+13    5347.88   0.0030406   -0.0316489    0.075359    0 .0940762    -0.979217    2.2966332    2.2966332
           47:44.2   574237 6.35303E+12   5.26741E+13    5352.24   0.0030406   -0.0302898    0.075845    0.0940762    -0.9371664    2.3114455    2.3114455
           52:47.1   574238 6.35303E+12    5.2719E+l3    5350.15   0.0030406   -0.0052788   0.0757508    0.0940762    -0.1633261     2.308573     2.308573
           57:50.1   574238 6.35303E+l2    5.2719E+13    5357.76   0.0030406   -0.0014966   0.0758585    0.0940762    -0.0463048    2.3118566    2.3118566
           02:52.9   574239 6.35303E+12   5.28168E+13    5351.07   0.0126546   -0.0319016   0.0756235    0.3915333    -0.9870355    2.3046947    2.3046947
           07:55.6   574240 6.35303E+12   5.25658E+13    5350.11   0.0126546   -0.0306567    0,075971    0.3915333    -0.9485183    2.3152833    2.3152833
                                                                                                                                                             Case: 23-1922




           12:58.4   574243 6.35303E+12   5.35108E+13    5352.35   0.0126546    0.0001377   0.0746606    0.3915333     0.0042604    2.2753498    2.2753498
           18:01.2   574243 6.35303E+12   5.35108E+13    5353.74   0.0126546    0.0004942      0.07468   0.3915333     0.0152905    2.2759407    2.2759407
           23:04.0   574245 6.35303E+l2   5.38531E+13     5358.7   0.0126546    0.0010492    0.074274    0.3915333     0.0324622    2.2635674    2.2635674
           28:07.3   574246 6.35303E+12   5.41667E+l3    5358.74   0.0126546   -0.0032429   0.0738446    0.3915333    -0.1003353    2.2504 797   2.2504797
           33:10.6   574246 6.35303E+12   5.41667E+13    5361.99   0.0126546   -0.0011916   0.0738894    0.3915333    -0.0368681    2.2518446    2.2518446
           38:13.3   574246 6.35303E+12   5.41667E+13    5364.93   0.0126546    0.0049583   0.0739299    0.3915333     0.1534098    2.2530793    2.2530793
           43:16.3   574247 6.35303E+12   5.37144E+13    5365.93   0.0126546    -0.015444   0.0745663    0.3915333    -0.4778374    2.2724742    2.2724742
           48:19.S   574249 6.35303E+12   5.43573E+13    5360.33   0.0126546   -0.0011564   0.0736074    0.3915333     -0.035779    2.2432526    2.2432526
           53:23.3   574251 6.35303E+l2   5.52479E+l3    5359.19   0.0126546    0.0020084   0.0724055    0.3915333     0.0621399    2.2066234    2.2066234
           58:26.4   574252 6.35303E+l2   5.50584E+l3    5358.28   0.0126546    0.0019878   0.0726424    0.3915333     0.0615025    2.2138427    2.2138427
           03:29.4   574252 6.35303E+l2   5.50584E+13    5362.38    0.017578    0.0053492    0.072698    0.5438633     0.1655042    2.2155367    2.2155367
                                                                                                                                                             Document: 39-3




           08:33.3   574253 6.35303E+l2   5.55506E+13    5362.51    0.017578    0.1607356   0.0720555    0.5438633     4.9731595     2.195957    4.9731595
           13:36.3   574254 6.35303E+l2   5.55733E+13    5360.24    0.017578    0.0139422   0.0719957    0.5438633     0.4313717    2.1941337    2.1941337
           18:39.2   574255 6.35303E+l2    5.5978E+13    5358.19    0.017578    0.0102406   0.0714478    0.5438633     0.3168442    2.1774367    2.1774367




Appx2977
           23:42.2   574257 6.35303E+l2   5.59531E+13    5367.35    0.017578    0.0108684   0.0716018    0.5438633     0.3362683    2.1821286    2.1821286
           28:45.1   574257 6.35303E+l2   5.59531E+l3    5368.93    0.017578    0.0086102   0.0716229    0.5438633     0.2663996     2.182771     2.182771
           33:48.1   574257 6.35303E+12   5.59531E+13    5368.01    0.017578    0.0070868   0.0716106    0.5438633     0 .2192656    2.182397     2.182397
           38:50.8   574258 6.35303E+l2   5.61961E+13    5368.01    0.017578    0.0070146    0.071301    0.5438633     0.2170317    2.1729618    2.1729618
           43:53.8   574258 6.35303E+12   5.61961E+13    5363.48    0.017578    0.0081289   0.0712408    0.5438633     0.2515082    2.1711281    2.1711281
                                                                                                                                                             Page: 187




           48:56.8   574258 6.35303E+12   5.61961E+l3    5363.48    0.017578    0.0078774   0.0712408    0.5438633     0.2437268    2.1711281    2.1711281
           54:03.4   574258 6.35303E+l2   5.61961E+l3    5369.24    0.017578    0.0081243   0.0713173    0.5438633     0.2513658    2.1734597    2.1734597
           59:06.3   574258 6.35303E+12   5.61961£+13     5368.9    0.017578    0.0096472   0.0713128    0.5438633     0.2984844    2.1733221    2.1733221
           04:09.1   574258 6.35303£+12   5.61961E+13    5360.85   0.0179993    0.0101763   0 .0712059   0.5568983     0.3148547    2.1700634    2.1700634
           09:12.1   574258 6.35303E+12   5.61961£+13    5360.96   0.0179993    0.0142381   0.0712073    0.5568983     0.4405268     2.170108     2.170108
           14:15.0   574260 6.35303E+l2   5.46276E+l3    5364.69   0.0179993    0.0117745   0.0733029    0.5568983       0.364303   2.2339708    2.2339708
           19:18.4   574260 6.35303E+12   5.46276E+ 13   5368.72   0.0179993    0.0091782   0 .0733579   0.5568983     0.2839735    2.2356489    2.2356489
           24:21.3   574260 6.35303E+l2   5.46276E+13    5366.48   0.0179993     0.008879   0.0733273    0.5568983     0.274 7163   2.2347162    2.2347162
           29:24.2   574260 6.35303E+l2   5.46276E+13    5367.76   0.0179993    0.0077838   0.0733448    0.5568983     0.2408308    2.2352492    2.2352492
           34:27.1   574261 6.35303E+12   5.36607E+13    5366.92   0.0179993    0.0086752   0.0746547    0.5568983     0.2684107    2.2751678    2.2751678
           39:30.1   574261 6.35303£+12   5.36607E+13    5366.01   0.0179993    0.0080915     0.074642   0.5568983       0.250351   2.2747821    2.2747821
                                                                                                                                                             Filed: 01/02/2024




           44:33.0   574261 6.35303£+12   5.36607E+13    5364.41   0.0179993    0.0090579   0.0746197    0.5568983     0.2802514    2.2741038    2.2741038
           49:35.8   574261 6.35303£+12   5.36607£+13     5364.3   0.0179993    0.0089835   0.0746182    0.5568983     0.2779495    2.2740572    2.2740572
           54:38.7   574261 6.35303E+12   5.36607E+13    5377.85   0.0179993    0.0111079   0.0748067    0.5568983     0.3436784    2.2798013    2.2798013
           59:41.4   574264 6.35303£+12   5.43564£+13    5373.51   0.0179993    0.0091005   0.0737896    0.5568983     0.2815695    2.2488057    2.2488057
           04:44.3   574267 6.35303E+12   5.54387E+ 13   5366.58   0.0197454    0.0086523   0 .0722558   0.6109227     0.2677022    2.2020604    2.2020604
           09:47.0    574268 6.35303E+12   5.60115E+13    5357.31   0.0197454     0.008352   0.0713933    0.6109227    0.2584109 2.1757765    2.1757765
           14:50.2    574269 6.35303E+l2   5.58958E+13    5342.94   0.0197454   0.0091438    0.0713492    0.6109227    0.2829092 2.1744317    2.1744317
           19:53.4    574270 6.35303E+l2     5.6144E+13   5354.22   0.0197454   0.0085778    0.0711837    0.6109227    0.2653971 2.1693883    2.1693883
           24:56.4    574271 6.35303E+l2     5.6095E+l3   5356.83   0.0197454   0.0083666    0.0712807    0.6109227    0.2588626 2.1723438    2.1723438
           29:59.3    574271 6.35303E+12     5.6095E+l3   5351.83   0.0197454   0.0082673    0.0712142    0.6109227    0.2557903 2.1703161    2.1703161
           35:02.8    574272 6.35303E+12   5.54087E+13    5355.01   0.0197454   0.0084139    0.0721391    0.6109227    0.2603261 2.1985034    2.1985034
           40:06.4    574273 6.35303E+12   5.53104E+l3    5355.83   0.0197454   0.0088342    0.0722783    0.6109227    0.2733301 2.2027469    2.2027469
           45:09.3    574274 6.35303E+l2   5.53441E+l3    5354.54   0.0197454   0.0108837      0.072217   0 .6109227   0.3367417 2.2008772    2.2008772
           50:12.2    574274 6.35303E+12   5.53441E+13    5352.64   0.0197454   0.0122486    0.0721913    0.6109227    0.3789717 2.2000962    2.2000962
           55:15.6    574274 6.35303E+12   5.53441E+13    5355.99   0.0197454   0.0149968    0.0722365    0.6109227      0.464001 2.2014732   2.2014732
           00:19.1    574274 6.35303E+12   5.53441E+13    5375.12   0.0222325   0.0101231    0.0724945    0 .6878735   0.3132087 2.2093362    2.2093362
           05:21.9    574274 6.35303E+12   5.53441E+l3    5371.63   0.0222325   0.0092988    0.0724475    0.6878735    0.2877049 2.2079017    2.2079017
                                                                                                                                                           Case: 23-1922




           10:25.1    574274 6.35303E+12   5.53441E+l3    5367.35   0.0222325   0.0159435    0.0723897    0.6878735    0.4932919 2.2061425    2.2061425
           15:27.9    574274 6.35303E+l2   5.53441E+13    5362.88   0.0222325   0.0163429    0.0723295    0.6878735    0.5056493 2.2043052    2.2043052
           20:30.7    574275 6.35303E+l2   5.36343£+13       5367   0.0222325   0.0162985    0.0746925    0.6878735    0.5042756 2.2763203    2.2763203
           25:33.4    574275 6.35303E+l2   5.36343E+13    5371.56   0.0222325   0.0160846    0.0747559    0.6878735    0.4976575 2.2782544    2.2782544
           30:36.1    574276 6.35303E+12      5.309E+l3   5370.52   0.0222325   0.0202582    0.0755079    0.6878735    0.6267887 2.3011697    2.3011697
           35:39.0    574278 6.35303E+12   5.49235£+13    5373.23   0.0222325   0.0194913    0.0730239    0.6878735    0.6030608 2.2254696    2.2254696
           40:41.9    574281 6.35303E+12   5.67946£+13    5385.74   0.0222325   0.0175595    0.0707827    0.6878735    0.5432909 2.1571652    2.1571652
           45:45.1    574281 6.35303E+l2   5.67946E+l3    5380.67   0.0222325   0.0174214     0.070716    0.6878735    0.5390181 2.1551345    2.1551345
           50:48.4    574281 6.35303E+l2   5.67946£+13    5377.85   0.0222325   0.0137409     0.070679    0.6878735    0.4251434 2.154005      2.154005
           55:51.4    574282 6.35303E+12    5.6096E+13    5376.85   0.0222325   0.0182958    0.0715459    0.6878735    0.5660721 2.1804251    2.1804251
           00:54.6    574282 6.35303E+l2    5.6096E+13    5379.99   0.0242054   0.0181581    0.0715877    0.7489151    0.5618116 2.1816984    2.1816984
                                                                                                                                                           Document: 39-3




           05:57.8    574283 6.35303E+12   5.56063E+13    5400.03   0.0242054   0.0202376    0.0724871    0.7489151    0.6261513 2.2091081    2.2091081
           11:00.8    574283 6.35303£+12   5.56063E+13    5401.02   0.0242054   0.0201139    0.0725003    0.7489151    0.6223241 2.2095131    2.2095131
           16:04.4    574283 6.35303E+12   5.56063E+13    5410.51   0.0242054   0.0214443    0.0726277    0.7489151    0.6634866 2.2133954    2.2133954




Appx2978
           21:08.0    574284 6.35303E+12   5.64188E+ 13   5401.01   0.0242054   0.0210331    0.0714561    0.7489151    0.6507641    2.17769      2.17769
           26:11.4    574284 6.35303E+l2   5.64188E+13    5401.31   0.0242054   0.0205184    0.0714601    0.7489151    0.6348393 2.1778109    2.1778109
           31:14.5    574285 6.35303E+12   5.57835E+l3    5409.35   0.0242054   0.0209267    0.0723816    0.7489151    0.6474721 2.2058933    2.2058933
           36:17.4    574285 6.35303E+l2   5.57835E+13     5396.6   0.0242054   0.0200056     0.072211    0.7489151    0.6189733 2.2006939    2.2006939
           41:20.3    574285 6.35303E+12   5.57835E+13    5405.56   0.0242054   0.0208363    0.0723309    0.7489151    0.6446751 2.2043478    2.2043478
                                                                                                                                                           Page: 188




           46:23.1    574285 6.35303E+l2   5.57835£+13     5401.1   0.0242054    0.020561    0.0722712    0.7489151    0.6361573 2.202529      2.202529
           51:26.0    574285 6.35303E+l2   5.57835E+13    5400.14   0.0242054   0 .0208137   0.0722583    0.7489151    0.6439759 2.2021375    2.2021375
           56:29.0    574285 6.35303E+l2   5.57835E+l3    5401.59   0.0242054    0.020787    0.0722777    0.7489151    0.6431498 2.2027288    2.2027288
           01:32.2    574285 6.35303E+l2   5.57835E+l3    5405.56   0.0252561    0.020855    0.0723309    0.7814237    0.6452537 2.2043478    2.2043478
           06:35.5    574285 6.35303E+l2   5.57835£+13    5409.65   0.0252561   0 .0210312   0.0723856    0.7814237    0.6507053 2.2060156    2.2060156
           11:38.4    574286 6.35303E+12   5.36818E+l3    5410.84   0.0252561   0.0209883     0.075236    0.7814237     0.649378 2.2928844    2.2928844
           16:41.6    574287 6.35303E+l2   5.50908E+l3    5403.01   0.0252561   0.0209925    0.0732057    0.7814237     0.649508 2.2310097    2.2310097
           21:44. 7   574288 6.35303E+l2    5.6446E+l3    5380.86   0.0252561   0.0210373    0.0711552    0.7814237    0.6508941 2.1685188    2.1685188
           26:47.7    574288 6.35303E+l2    5.6446E+l3    5384.99   0.0252561   0.0210425    0.0712098    0.7814237     0.651055 2.1701832    2.1701832
           31:50.7    574289 6.35303E+12   5.61643E+l3    5388.52   0.0252561    0.022109     0.071614    0.7814237    0.6840525 2.1824996    2.1824996
           36:53.9    574289 6.35303£+12   5.61643E+13    5385.01   0.0252561   0.0221868    0.0715673    0.7814237    0.6864596 2.1810779    2.1810779
                                                                                                                                                           Filed: 01/02/2024




           41:57.0    574289 6.35303£+12   5.61643E+13    5382.53   0.0252561   0.0216043    0.0715343    0.7814237     0.668437 2.1800735    2.1800735
           47:00.1    574289 6.35303E+12   5.61643E+13    5379.16   0.0252561   0.0221915    0.0714896    0.7814237     0.686605 2.1787085    2.1787085
           52:03.4    574292 6.35303£+12   5.59818E+13    5379.99   0.0252561   0.0222715    0.0717336    0.7814237    0.6890802 2.1861462    2.1861462
           57:06.3    574293 6.35303E+l2   5.63654E+13    5381.68   0.0252561   0.0222386    0.0712679    0.7814237    0.6880623 2.1719525    2.1719525
           02:09.5    574294 6.35303E+l2   5.66874E+13    5378.04   0.0264225   0.0216911    0.0708151    0.8175122    0.6711226 2.1581537    2.1581537
           07:12.4   574295 6.35303E+12     5.71185E+l3     5388.44   0.0264225   0.0218905    0.0704165    0 .8175122    0.6772921     2.1460054   2.1460054
           12:15.4   574296 6.35303E+l2     5.69506E+13     5391.26   0.0264225   0.0220556      0.070661   0.8175122     0.6824003     2.1534583   2.1534583
           17:18.3   574298 6.35303E+l2     5.77593E+13     5388.44   0.0264225   0.0244837    0.0696352    0.8175122     0.7575257     2.1221966   2.1221966
           22:21.3   574298 6.35303E+l2     5.77593E+13     5392.01   0.0264225   0.0226768    0.0696814    0.8175122     0.7016202     2.1236027   2.1236027
           27:24.6   574298 6.35303E+12     5.77593E+13     5397.27   0.0264225   0.0261908    0.0697494    0.8175122     0.8103434     2.1256743   2.1256743
           32:27.7   574300 6.35303E+12     5.74492E+13      5392.2   0.0264225   0.0269438       0.07006   0.8175122     0.8336412     2.1351406   2.1351406
           37:31.8   574301 6.35303E+12      5.7613E+13     5391.27   0.0264225   0.0860346    0.0698488    0.8175122     2.6619105     2.1287047   2.6619105
           42:35.9   574301 6.35303E+l2      5.7613E+13     5391.55   0.0264225   0.2246863    0.0698524    0.8175122     6.9517941     2.1288153   6.9517941
           47:40.3   574302 6.35303E+12     5.77583E+13     5397.52   0.0264225   0.1597185    0.0697538    0.8175122     4.9416904     2.1258102   4,9416904
           52:44.3   574302 6.35303E+12     5.77583E+13     5396.44   0.0264225   0.1817049    0.0697399    0.8175122     5.6219496     2.1253849   5.6219496
           57:48.1   574305 6.35303E+12      5.8471E+l3     5390.94   0.0264225   0.1794976    0.0688196    0.8175122     5.5536557      2.097339   5.5536557
           02:52.0   574305 6.35303E+l2      5.8471E+l3     5391.58   0.0287826   0.2238323    0.0688278    0.8905336     6.9253714      2.097588   6.9253714
                                                                                                                                                                Case: 23-1922




           07:55.1   574305 6.35303E+l2      5.8471E+13     5393.02   0.0287826   0.0385992    0.0688461    0.8905336     1.1942592     2.0981483   2.0981483
           12:58.1   574306 6.35303E+12     5.85526E+l3     5393.03   0.0287826   0.0287708    0.0687504    0.8905336     0 .8901686    2.0952297   2.0952297
           18:01.0   574309 6.35303E+12     6.00748E+13     5395.99   0.0287826   0.0257429    0.0670451    0.8905336     0 .7964853    2.0432598   2.0432598
           23:03.8   574309 6.35303E+12     6.00748E+l3     5395.98   0.0287826      0.02657     0.067045   0 .8905336    0.8220758      2.043256    2.043256
           28:06.6   574310 6.35303E+l2     6.02983E+l3     5397.49   0.0287826   0.0264104    0.0668152    0.8905336     0.8171378     2.0362532   2.0362532
           33:09.8   574311 6.35303E+l2     6.01255E+l3     5398.95   0.0287826   0.0307645    0.0670253    0.8905336     0.9518536     2.0426553   2.0426553
           38:13.1   574312 6.35303E+l2     5.99055E+l3     5397.51   0.0287826   0.0307598    0.0672535    0.8905336     0.9517082     2.0496101   2.0496101
           43:15.9   574312 6.35303£+12     5.99055E+l3     5396.26   0.0287826   0.0308105    0.0672379    0.8905336     0.9532769     2.0491354   2.0491354
           48:18.6   574314 6.35303£+12     5.98595E+l3      5395.6   0.0287826   0.0265074    0.0672813    0 .8905336      0.820139    2.0504592   2.0504592
           53:21.7   574315 6.35303E+l2     5.97623E+l3     5391.83   0.0287826    0.029322    0.0673437    0.8905336     0 .9072227    2.0523603   2.0523603
           58:24.3   574315 6.35303E+12     5.97623E+13     5389.24   0.0287826   0.0267833    0.0673114    0.8905336     0.8286753     2.0513744   2.0513744
                                                                                                                                                                Document: 39-3




           03:28.3   574317 6.35303E+12     6.04051E+l3     5387.74   0.0305043   0.2178286    0.0665766     0.943803     6.7396169     2.0289816   6.7396169
           08:31.2   574317 6.35303E+l2     6.04051E+13     5389.07   0.0305043   0.0280361      0.066593    0.943803     0 .8674369    2.0294825   2.0294825
           13:35.6   574320 6.35303E+l2     6.21737E+13     5394.18   0.0305043    0.231619       0.06476    0.943803     7.1662919     1.9736205   7.1662919




Appx2979
           18:38.5   574320 6.35303E+ 12    6.21737E+13     5398.38   0.0305043   0.0502744    0.0648105     0.943803     1.5554899     1.9751572   1.9751572
           23:41.4   574320 6.35303E+l2     6.21737E+l3      5403.1   0.0305043   0.0382162    0.0648671      0.943803    1.1824092     1.9768841   1.9768841
           28:44.2   574320 6.35303E+l2     6.21737E+l3     5406.31   0.0305043   0.0313252    0 .0649057     0.943803    0.9692017     1.9780586   1.9780586
           33:47.2   574321 6.35303E+12     6.17749E+13     5402,68   0.0305043   0.0288967    0.0652808      0.943803    0 .8940639     1.989492    1.989492
           38:49.7   5 74321 6.35303E +12   6.17749E+13     5407.64   0.0305043   0.0287713    0.0653408      0.943803      0 .890184   1.9913185   1.9913185
                                                                                                                                                                Page: 189




           43:52.5   574321 6.35303E+l2     6.17749E+l3      5407.6   0.0305043   0.0282878    0.0653403      0 .943803   0.8752245     1.9913038   1.9913038
           48:55.3   574321 6.35303E+12     6.17749E+13     5409.48   0.0305043   0.0284715      0.065363     0 .943803   0 .8809082    1.9919961   1.9919961
           53:58.0   574321 6.35303E+l2     6.l 7749E+ 13   5414.01   0.0305043   0.0284908    0.0654177      0 .943803   0.8815054     1.9936642   1.9936642
           59:00,7   574321 6.35303E+12     6.17749E+l3     5398.73   0.0305043   0.0273469    0.0652331      0 .943803   0.8461131     1.9880375   1.9880375
           04:04.0   574321 6.35303E+l2     6.17749E+l3     5392.99   0.0297972   0.0273754    0.0651637    0.9219254     0.8469949     1.9859238   1.9859238
           09:06.9   574321 6.35303E+12     6.17749E+13     5391.48   0.0297972   0.0274988    0.0651455    0.9219254     0.8508129     1.9853677   1.9853677
           14:10.1   574321 6.35303E+12     6.17749E+l3     5395.84   0.0297972   0.0272488    0.0651982    0.9219254     0.8430779     1.9869732   1.9869732
           19:13.1   574321 6.35303E+12     6.17749E+13     5394.88   0.0297972   0.0273184    0.0651866    0.9219254     0.8452313     1.9866197   1.9866197
           24:16.0   574321 6.35303E+l2     6.17749E+13     5394.01   0.0297972   0.0274422    0.0651761    0.9219254     0.8490617     1.9862994   1.9862994
           29:18.8   574321 6.35303E+12     6.17749E+13     5393.45   0.0297972   0.0273455    0.0651693    0.9219254     0.8460698     1.9860931   1.9860931
           34:22.0   574322 6.35303E+12      5.8824E+13     5392.88   0.0297972   0.0272903    0.0684313    0.9219254     0.8443619     2.0855052   2.0855052
                                                                                                                                                                Filed: 01/02/2024




           39:25.3   574322 6.35303E+l2      5.8824E+13     5394.38   0.0297972   0.0265887    0.0684503    0.9219254     0.8226544     2.0860853   2.0860853
           44:28.3   574323 6.35303E+l2     5.85421E+13     5392.66   0.0297972    0.027943      0.068758   0.9219254     0.8645564     2.0954606   2.0954606
           49:31.3   574323 6.35303E+l2     5.85421E+l3     5399.52   0.0297972   0.0271998    0.0688454    0.9219254     0.8415618     2.0981263   2.0981263
           54:34.1   574324 6.35303E+12     5.81584E+13     5403.19   0.0297972   0.0281051    0.0693467    0.9219254     0.8695718     2.1134037   2.1134037
           59:37.0   574326 6.35303E+12     5.98016E+13     5404.52   0.0297972   0.0309303    0.0674579    0.9219254     0.9569835      2.055839    2.055839
           04:39.8   574326 6.35303[+12   5.98016[+13    5400.73   0.0307976    0.0366302     0.0674106    0.9528777   1.1333384 2.0543973   2.0543973
           14:45.4   574327 6.35303[+12   5.96067[+13    5402.51   0.0307976    0.0281076     0.0676532    0.9528777   0.8696491 2.0617928   2.0617928
           19:48.1   574328 6.35303[+12   5.96752E+13    5405.01   0.0307976    0.0263111     0.0676069    0.9528777   0.8140654 2.0603812   2.0603812
           24:52.0   574328 6.35303[+12   5.96752[+13    5405.56   0.0307976    0.0278043     0.0676138    0.9528777    0.860265 2.0605909   2.0605909
           29:55.2   574328 6.35303[+12   5.96752[+13    5413.98   0.0307976    0.0275948     0.0677191    0.9528777   0.8537831 2.0638005   2.0638005
           34:58.7   574329 6.35303[+12   5.94855[+13    5414.16   0.0307976    0.0277464     0.0679373    0.9528777   0.8584736 2.0704516   2.0704516
           40:01.7   574330 6.35303E+12   5.97035E+13    5414.01   0.0307976    0.0277264     0.0676874    0.9528777   0.8578548 2.0628341   2.0628341
           50:08.1   574333 6.35303E+l2    5.9734E+13    5408.31   0.0307976    0.0275529     0.0675816    0.9528777   0.8524867 2.0596102   2.0596102
           55:11.1   574333 6.35303E+12    5.9734E+13    5400.01   0.0307976    0.0275835     0.0674779    0.9528777   0.8534335 2.0564494   2.0564494
           00:14.4   574334 6.35303E+12   5.92562E+13    5403.11   0.0296508    0.0278574       0.068061   0.9173958    0.861908 2.0742213   2.0742213
           05:17.4   574335 6.35303E+12    5.9018E+l3    5400.72   0.0296508    0.0288549     0.0683055    0.9173958   0.8927706 2.0816708   2.0816708
           10:20.4   574337 6.35303E+12   6.04407E+13    5401.43   0.0296508    0.0276696     0.0667064    0.9173958   0.8560974 2.0329364   2.0329364
                                                                                                                                                         Case: 23-1922




           15:23.6   574337 6.35303[+12   6.04407[+13    5403.84   0.0296508    0.0274339     0.0667361    0.9173958   0.8488049 2.0338434   2.0338434
           20:26.4   574340 6.35303E+l2   6.01388E+13    5404.02   0.0296508    0.0269979     0 .0670734   0.9173958    0.835315 2.044123     2.044123
           25:29.5   574342 6.35303[+12    6.0482E+13    5407.99   0.0296508    0.0274831     0.0667418    0.9173958   0.8503271 2.0340152   2.0340152
           30:32.3   574342 6.35303[+12    6.0482E+l3    5405.55   0.0296508    0.0264784     0.0667116    0.9173958   0.8192417 2.0330975   2.0330975
           35:35.1   574343 6.35303[+12   5.99395E+13    5400.01   0.0296508    0.0271096     0.0672465    0.9173958    0.838771 2.0493965   2.0493965
           40:37.9   574343 6.35303E+l2   5.99395E+13    5399.02   0.0296508    0.0269728     0.0672341    0.9173958   0.8345384 2.0490207   2.0490207
           50:43.2   574344 6.35303E+12   5.95861E+13    5394.85   0.0296508    0.0269754     0.0675807    0.9173958   0.8346189 2.0595816   2.0595816
           55:45.9   574344 6.35303E+12   5.95861E+13    5398.35   0.0296508      0.027175    0.0676245    0.9173958   0.8407945 2.0609177   2.0609177
           00:50.4   574345 6.35303E+12   5.83668E+13    5398.44   0.0287107    0.2314886     0.0690384    0.8883091   7.1622573 2.1040074   7.1622573
           05:53.3   574346 6.35303E+12   5.84022[+13    5394.51   0.0287107    0 .0273792    0.0689463    0.8883091   0.8471124 2.1012014   2.1012014
           10:57.2   574347 6.35303E+12   5.86008E+l3    5396.65   0.0287107    0.0274463     0.0687399    0.8883091   0.8491885 2.0949115   2.0949115
                                                                                                                                                         Document: 39-3




           16:00.2   574347 6.35303E+12   5.86008E+13    5399.98   0.0287107    0.0276066     0.0687824    0.8883091   0.8541482 2.0962041   2.0962041
           21:03.3   574348 6.35303E+12   5.87322[+13     5397.6   0.0287107    0.0272933     0.0685982    0.8883091   0.8444547 2.0905929   2.0905929
           26:08.2   574348 6.35303E+l2   5.87322E+13    5396.94   0.0287107    0.2304047     0.0685898    0.8883091   7.1287214 2.0903373   7.1287214




Appx2980
           31:11.2   574349 6.35303E+l2   5.84595E+13    5395.06   0.0287107    0.0373191     0.0688857    0.8883091    1.154653 2.0993542   2.0993542
           36:14.1   574350 6.35303[+12   5.91267E+l3     5395.1   0.0287107    0.0277184     0.0681089    0.8883091   0.8576073 2.0756815   2.0756815
           41:17.0   574350 6.35303E+l2   5.91267E+13    5395.85   0.0287107    0.0254041     0.0681184    0.8883091   0.7860029 2.0759701   2.0759701
           46:19.8   574351 6.35303E+12   5.92508[+13    5395.02   0.0287107    0.0261363     0.0679653    0.8883091   0.8086571 2.071303     2.071303
           51:22.9   574351 6.35303E+l2   5.92508[+13    5393.06   0.0287107    0.0253255     0.0679406    0.8883091    0.783571 2.0705505   2.0705505
                                                                                                                                                         Page: 190




           01:28.4   574351 6.35303E+l2   5.92508E+13    5390.01   0.0299929        0.02562   0.0679022    0.9279803   0.7926828 2.0693795   2.0693795
           06:31.2   574351 6.35303E+12   5.92508[+13    5374.44   0.0299929    0 .0230599     0.067706    0.9279803   0.7134733 2.0634017   2.0634017
           11:34.1   574351 6.35303E+12   5.92508E+13    5371.81   0.0299929    0.0231322     0.0676729    0.9279803   0.7157103 2 .062392    2.062392
           16:37.1   574352 6.35303E+12   5.79249[+13     5372.6   0.0299929    0 .0247667    0.0692321    0.9279803   0.7662817 2.1099115   2.1099115
           26:42.4   574353 6.35303E+12   5.95341E+l3    5384.99   0.0299929    0.0253659     0.0675161    0.9279803   0.7848209 2.0576131   2.0576131
           31:45.3   574353 6.35303[+12   5.95341E+13    5393.61   0.0299929     0.025794     0.0676241    0.9279803   0.7980664 2.0609068   2.0609068
           41:50.8   574353 6.35303E+12   5.95341E+13    5401.49   0.0299929    0.0254275     0.0677229    0.9279803   0.7867268 2.0639177   2.0639177
           46:53.9   574356 6.35303E+l2   6.01278E+l3    5393.39   0.0299929     0.023825     0.0669538    0.9279803   0.7371455 2.0404768   2.0404768
           51:57.5   574356 6.35303E+12   6.01278E +13    5401.9   0.0299929    0.0253189     0.0670594    0.9279803   0.7833668 2.0436963   2.0436963
           57:00.7   574357 6.35303E+12   5.98782E+13    5404.01   0.0299929    0.0224156     0.0673653    0.9279803   0.6935387 2.0530169   2.0530169
           02:03.8   574357 6.35303[+12   5.98782E+13    5410.44    0.036492    0.0222551     0.0674454    1.1290625   0.6885728 2.0554597   2.0554597
           07:07.6   574357 6.35303E+12   5.98782E+13    5413.48    0.036492
                                                                                                                                                         Filed: 01/02/2024




                                                                                0.0220381     0.0674833    1.1290625   0.6818588 2.0566147   2.0566147
           12:11.1   574359 6.35303E+12   5.99023E+l3    5412.99    0 .036492   0.0222681     0.0674501    1.1290625    0.688975 2.0556012   2.0556012
           17:14.5   574360 6.35303E+12    6.0023E+13    5413.64    0.036492    0.0223594     0.0673224    1.1290625   0.6917998 2.0517109   2.0517109
           22:17.6   574360 6.35303E+12    6.0023E+13    5409.57    0.036492    0.0232117     0.0672718    1.1290625     0.71817 2.0501684   2.0501684
           27:20.8   574360 6.35303E+12    6.0023E+13     5403.2    0.036492     0.022951     0.0671926    1.1290625   0.7101039 2.0477543   2.0477543
           32:24.8    574361    6.35303E+12   5.95038E+13   5409.65     0.036492   0.0250046    0.0678598    1.1290625    0.7736423     2.068088    2.068088
           37:27.9    574361    6.35303E+12   5.95038E+13   5414.99     0.036492   0.0365942    0.0679268    1.1290625    1.1322245    2.0701294   2.0701294
           42:31.0    574362    6.35303E+12   5.87448E+13   5422.88     0.036492   0.0243161    0.0689047    1.1290625    0.7523401    2.0999322   2.0999322
           47:34 .5   574362    6.35303E+12   5.87448E+13   5432.58     0.036492   0.0229003    0 .0690279   1.1290625    0.7085353    2.1036884   2.1036884
           52:37.7    574362    6.35303E+12   5.87448E+13   5428.01     0.036492   0.0245215    0.0689699    1.1290625    0.7586952    2.1019188   2.1019188
           57:42.1    574363    6.35303E+12   5.80502E+13   5427.15     0.036492   0.0332235    0.0697841    1.1290625    1.0279351    2.1267343   2.1267343
           02:45.1    574364    6.35303E+l2   5.78645E+13   5427.23    0.0274366   0.0490236    0.0700091    0 .8488884   1.5167902    2.1335902   2.1335902
           07:48.2    574364    6.35303E+12   5.78645E+13   5441.99    0.0274366   0.0440935    0 .0701995   0.8488884    1.3642529    2.1393928   2.1393928
           12:51.1    574365    6.35303E+12   5.73396E+13   5428.97    0.0274366   0.0247736    0.0706726    0.8488884    0.7664952    2.1538115   2.1538115
           17:54.2    574367    6.35303E+12   5.84533E+13   5439.06    0.0274366   0.0251483      0.069455   0.8488884    0.7780884    2.1167024   2.1167024
           22:58.5    574367    6.35303E+12   5.84533E+13   5434.48    0.0274366   0.0235975    0.0693965    0.8488884    0.7301067    2.1149201   2.1149201
           28:01.7    574368    6.35303E+l2   5.81378E+l3    5438.3    0.0274366   0.0218651    0.0698221    0.8488884    0.6765062    2.1278923   2.1278923
                                                                                                                                                               Case: 23-1922




           33:04.7    574368    6.35303E+12   5.81378E+13   5439.66    0.0274366   0 .0215412   0.0698396    0.8488884    0.6664847    2.1284244   2.1284244
           38:08.0    574369    6.35303E+l2    5.7527E+13   5442.57    0.0274366    0.021035    0.0706189    0.8488884    0.6508229    2.1521741   2.1521741
           43:11.1    5 74370   6.35303E+12   5.73316E+13   5444.99    0.0274366   0.0203824    0.0708911    0.8488884    0.6306315    2.1604697   2.1604697
           48:14.4    574370    6.35303E+12   5.73316E+13   5471.73    0.0274366   0.0203027    0.0712392    0.8488884    0.6281655    2.1710796   2.1710796
           53:17.3    574370    6.35303E+12   5.73316E+13   5469.28    0.0274366   0.0199351    0.0712073    0.8488884      0.616792   2.1701075   2.1701075
           58:21.3    574373    6.35303E+12   5.75391E+l3   5468.81    0.0274366   0.0202047    0.0709444    0.8488884    0.6251334    2.1620944   2.1620944
           03:24.3    5 74373   6.35303E+12   5.75391E+l3   5471.06    0.0211425   0.0198863    0.0709736      0.654149   0.6152821    2.1629839   2.1629839
           08:27.3    574374    6.35303E+12   5.70787E+13   5464.23    0.0211425   0.0196411    0.0714567     0 .654149   0.6076956     2.177708    2.177708
           13:30.2    5 74374   6.35303E+12   5.70787E+13   5456.01    0.0211425   0.0200366    0.0713492     0.654149    0 ,6199324   2.1744321   2.1744321
           18:33.0    574375    6.35303E+12   5.67247E+13   5460.16    0.0211425   0.0197672    0.0718491     0.654149    0.6115972    2.1896661   2.1896661
           23:35.9    574376    6.35303E+l2   5.68162E+13   5459.27    0.0211425   0.0218005    0.0717217     0.654149    0.6745075     2.185782    2.185782
                                                                                                                                                               Document: 39-3




           28:38.8    574376    6.35303E+12   5.68162E+13   5454.55    0.0211425   0.0198778    0.0716596     0.654149    0.6150191    2.1838922   2.1838922
           33:41.8    574377    6.35303E+12   5.63276E+13   5458.01    0.0211425   0.0200894    0.0723272     0 .654149    0.621566    2.2042367   2.2042367
           38:44.5    574377    6.35303E+12   5.63276E+13    5466.4    0.0211425   0.0223136    0.0724384     0.654149    0.6903828    2.2076251   2.2076251




Appx2981
           43:47.4    574377    6.35303E+12   5.63276E+l3   5465 .31   0.0211425   0.0216094    0.0724239     0 .654149   0 .6685948   2.2071849   2.2071849
           53:53.8    574378    6.35303E+12   5.65074E+13    5467.7    0.0211425   0.0211707      0.072225    0.654149    0.6550215    2.2011227   2.2011227
           58:56.5    574379    6.35303E+12   5.75462£+13    5464.7    0.0211425   0.0200281    0.0708824     0.654149    0 .6196694   2.1602037   2.1602037
           04:31.5    574384    6.35303£+12   5.65611E+13   5475 .86   0.0182998   0.0190671    0.0722642    0.5661958    0.5899361    2.2023153   2.2023153
           09:34.6    574384    6.35303E+12   5.65611E+13   5473.44    0.0182998   0.0190221    0.0722322    0.5661958    0.5885438     2.201342    2.201342
                                                                                                                                                               Page: 191




           19:40.1    574384    6.35303E+12   5.65611£+13   5478.95    0.0182998   0.0187179    0.0723049    0.5661958    0.5791318    2.2035581   2.2035581
           24:43.3    574384    6.35303£+12   5.65611£+13   5485.86    0.0182998   0.0185384    0.0723961    0.5661958    0.5735781    2.2063372   2.2063372
           29:46.2    574385    6.35303£+12   5.52675£+13   5483.01    0.0182998   0.0181898    0.0740521    0.5661958    0.5627924    2.2568058   2.2568058
           34:49.1    574386    6.35303£+12    5.5002E+13   5487.88    0.0182998    0.018495    0.0744757    0.5661958    0.5722353    2.2697143   2.2697143
           39:52.0    574387    6.35303E+12    5.4816£+13    5489.7    0.0182998   0.0189422    0 .0747532   0.5661958    0.5860717     2.278171    2.278171
           44:54.7    574387    6.35303£+12    5.4816£+13   5485.01    0.0182998   0.0185212    0 .0746893   0.5661958    0.5730459    2.2762247   2.2762247
           49:57.6    574387    6.35303£+12    5.4816E+13    5494.4    0.0182998   0.0186646    0.0748172    0.5661958    0.5774827    2.2801215   2.2801215
           55:00.6    574387    6.35303£+12    5.4816E+13   5492.41    0.0182998   0.0186275    0.0747901    0.5661958    0.5763349    2.2792957   2.2792957
           00:04.1    574388    6.35303E+12   5.41076E+13   5491.83    0.0173139    0.018643    0.0757612    0.5356921    0.5768144    2.3088909   2.3088909
           05:07.1    574388    6.35303E+12   5.41076E+13   5492.55    0.0173139   0.0186361    0 .0757711   0.5356921    0.5766009    2.3091936   2.3091936
           10:10.2    574388    6.35303E+12   5.41076E+13   5499.47    0.0173139   0.0186041    0.0758666    0.5356921    0.5756109    2.3121029   2.3121029
           15:13.2    5 74390   6.35303E+12   5.36713E+13   5499.81    0.0173139   0.0185912    0.0764881
                                                                                                                                                               Filed: 01/02/2024




                                                                                                             0.5356921    0.5752117    2.3310446   2.3310446
           20:16.0    574393    6.35303E+12    5.4543E+13   5532.69    0.0173139   0.0190842    0.0757157    0.5356921    0.5904651    2.3075042   2.3075042
           30:21.8    574393    6.35303E+12    5.4543E+13   5536.93    0.0173139   0.0198275    0.0757737    0.5356921    0 .6134629   2.3092726   2.3092726
           35:25.0    574393    6.35303E+l2    5.4543E+13   5564.48    0.0173139    0.019795    0.0761508    0.5356921    0.6124573    2.3207628   2.3207628
           40:28.0    574394    6.35303E+12   5.38779E+13   5538.44    0.0173139    0.020088    0.0767299    0.5356921    0.6215227    2.3384139   2.3384139
           45:31.1    574395   6.35303E+12    5.53825E+13    5520.08    0.0173139   0.0197988      0.074398   0.5356921   0.6125749    2.2673468    2.2673468
           50:33.9    574395   6.35303E+l2    5.53825E+l3    5520.48    0.0173139   0.0198422    0.0744034    0.5356921   0.6139177    2.2675111    2.2675111
           55:36.8    574395   6.35303E+12    5.53825E+13    5515.98    0.0173139   0.0194883    0.0743428    0.5356921    0.602968    2.2656627    2.2656627
           00:39.8    574395   6.35303E+12    5.53825E+13    5518.69    0.0179626    0.019462    0.0743793    0.5557628   0.6021543    2.2667759    2.2667759
           05:43.2    574395   6.35303E+l2    5.53825E+13    5531.68    0.0179626   0.0194192    0.0745544    0.5557628      0.60083   2.2721114    2.2721114
           10:46.2    574395   6.35303E+12    5.53825E+13    5530.89    0.0179626   0.0192349    0.0745437    0.5557628   0.5951278    2.2717869    2.2717869
           15:49.8    574396   6.35303E+12    5.44713E+13     5541.2    0.0179626   0.0191897      0.075932   0.5557628   0.5937293    2.3140947    2.3140947
           20:52.7    574396   6.35303E+l2    5.44713E+13    5544,69    0.0179626   0.0191963    0.0759798    0.5557628   0.5939335    2.3155521    2.3155521
           25:55.6    574396   6.35303E+12    5.44713E+13    5552.98    0.0179626   0.0192925    0.0760934    0.5557628      0.59691   2.3190142    2.3190142
           30:58.6    574397   6.35303E+l2    5.38389E+13    5536.99    0.0179626   0.0189288    0.0767654    0.5557628   0.5856571    2.3394943    2.3394943
           36:02.2    574397   6.35303E+l2    5 .38389E+13   5549.99    0.0179626   0.0191736    0.0769456    0.5557628   0.5932312    2.3449871    2.3449871
           41:05.2    574397   6.35303E+12    S.38389E+13    5578.73    0.0179626    0.019072    0.0773441    0.5557628   0.5900877    2.3571303    2.3571303
                                                                                                                                                                 Case: 23-1922




           46:08.4    574397   6.35303E+12    5.38389E+13    5587.27    0.0179626   0.0191605    0.0774625    0.5557628   0.5928259    2.3607386    2.3607386
           51:11.5    574397   6.35303E+12    5.38389E+13    5577.62    0.0179626    0.019671    0.0773287    0.5557628   0.6086207    2.3566613    2.3566613
           56:14.6    574397   6.35303E+l2    5.38389E+13    5578.43    0.0179626    0.019726    0.0773399    0.5557628   0.6103224    2.3570036    2.3570036
           01:18.0    574398   6.35303E+l2    5.24135E+l3    5585.77    0.0181708    0.020031    0.0795478    0.5622046   0.6197591       2.42429      2.42429
           06:21.5    574399   6.35303E+l2    5.22154E+13    5570.36    0.0181708   0.0201913    0.0796293    0.5622046   0.6247188    2.4267736    2.4267736
           11:24.3    574400   6.35303E+12    5.19602E+13     5563 .2   0.0181708   0.0200017    0.0799175    0.5622046   0.6188526    2.4355582    2.4355582
           16:27.3    574400   6.35303E+12    5 .19602E+13   5579.23    0.0181708   0.0200965    0.0801478    0.5622046   0.6217857    2.4425761    2.4425761
           21 :30.3   574400   6.35303E+12    5 .19602E+13   5571.91    0.0181708   0.0200908    0 .0800426   0.5622046   0.6216094    2.4393714    2.4393714
           26:33.2    574401   6.35303E+l2    5.14241E+13    5570.27    0.0181708   0.0202515    0.0808533    0.5622046   0.6265814    2.4640783    2.4640783
           31:36.5    574402   6.3530 3E+12   5.15991E+l3    5562.53    0.0181708   0.0202163    0.0804671    0.5622046   0.6254923    2.4523071    2.4523071
           36:39.4    574402   6.35303E+12    5 .15991E+13   5598.28    0.0181708   0.0209438    0 .0809843   0.5622046   0.6480012    2.4680679    2.4680679
                                                                                                                                                                 Document: 39-3




           41:42.1    574404   6.35303E+12    5.22163E+13    5622.51    0.0181708   0 .0204391   0.0803735    0.5622046   0.6323858    2.4494541    2.4494541
           46:45.3    574405   6.35303E+12    5.26766E+13    5610.46    0.0181708    0.022443    0.0795004    0.5622046   0.6943864    2.4228448    2.4228448
           51:48.2    574406   6.35303E+12    5.44332E+13    5697.34    0.0181708   0 .0205015   0.0781261    0.5622046   0.6343164    2.3809636    2.3809636




Appx2982
           56:50.9    574407   6.35303E+12    5.44179E+13    5660.07    0.0181708    0.020423      0.077637   0.5622046   0.6318876    2.3660567    2.3660567
           06:56.4    574408   6.35303E+12    5.43366E+13    5661.93    0.0189944   0.0199466    0 .0777787   0.5876867   0,6171478    2.3703744    2.3703744
           11:59.9    574409   6.35303E+l2    5.45039E+13     5688.4    0.0189944   0 .0202274   0 .0779024   0.5876867   0.6258358    2.3741451    2.3741451
           17:03.3    574409   6.35303E+12    5.45039E+l3    5705.82    0.0189944   0.0204858    0.0781409    0.5876867   0.6338307    2.3814156    2.3814156
           22:06.7    574409   6.35303E+12    5.45039E+13    5684.26    0.0189944   0.0228673    0.0778457    0.5876867   0.7075143    2.3724172    2.3724172
                                                                                                                                                                 Page: 192




           27 :09.6   574410   6.35303E+12      5.4739E+13   5675 .94   0.0189944   0 .0210179   0.0773979    0.5876867   0.6502938    2.3587711    2.3587711
           32:12.9    574410   6.35303E+l2      5.4739E+13    5704.8    0.0189944   0.0219318    0 .0777915   0.5876867   0.6785699    2.3707646    2.3707646
           37:15.9    574410   6.35303E+12      5.4739E+13   5701.98    0.0189944   0.0220176     0.077753    0.5876867   0.6812245    2.3695926    2.3695926
           42:18.6    574410   6.35303E+12      5.4739E+13   5732.34    0.0189944   0.0217753     0.078167    0.5876867   0.6737278    2.3822095    2.3822095
           47:21.8    574410   6.35303E+12      5.4739E+13   5753.01    0.0189944   0.0233293    0 .0784489   0.5876867   0.7218085    2.3907994    2.3907994
           52:25.1    574410   6.35303E+12      5.4739E+13   5756.81    0.0189944   0.0238745    0.0785007    0.5876867    0 .738677   2.3923786    2.3923786
           57:27.9    574412   6.35303E+12    5.33495E+13    5791.51    0.0189944   0.0451717    0.0810308    0.5876867   1.3976124    2.4694857    2.4694857
           02:31.0    574412   6.35303E+12    5.33495E+13    5778.34    0.0239869   0.0254874    0.0808465    0.7421547   0.7885802       2.46387      2.46387
           07:34.0    574412   6.35303E+12    5.33495E+13     5695.4    0.0239869   0.0228529    0.0796861    0.7421547   0.7070687    2.4285046    2.4285046
           12:36.8    574412   6.35303E+12    5.33495E+l3    5717.23    0.0239869   0.0236822    0.0799915    0.7421547   0.7327273    2.4378128    2.4378128
           22:41.7    574413   6.35303E+12    5.25253E+13    5730.11    0.0239869   0.0225552    0.0814296    0.7421547   0.6978579    2.4816407    2.4816407
                                                                                                                                                                 Filed: 01/02/2024




           27:44.8    574413   6.3530 3E+12   5.25253E+13    5715.55    0.0239869   0.0259265    0 .0812227   0.7421547   0.8021659     2.475335     2.475335
           32:47.7    574414   6.35303E+l2    5.19701E+13    5734.99    0.0239869    0.025733    0 .0823697   0.7421547    0.796179    2.5102894    2.5102894
           37:50.9    574414   6.35303E+12    5.19701E+13    5743.05    0.0239869   0.0260107    0.0824854    0.7421547   0.8047711    2.5138174    2.5138174
           42:53.7    574416   6.35303 E+12   5.19215E+13    5725.93    0.0239869   0.0259129    0.0823165    0.7421547   0.8017451    2.5086707    2.5086707
           47:56.S    574419   6.35303E+12       5.263E+13   5733.81    0.0239869   0.0228376    0 .0813201   0.7421547   0.7065953    2.4783037    2.4783037
           52:59.1    574420   6.35303E+12    5.25895E+13   5 702.24   0.0239869     0,0369356   0.0809348   0.7421547    1.1427875     2.4665598    2.4665598
           58:01,8    574421   6.35303E+12    5.25734E+13   5674.41    0.0239869     0.0239106   0.0805643   0.7421547     0.739794     2.4552707    2.4552707
           03:04.8    574422   6.35303E+12     5.2543E+13   5686,55    0.0273845     0.0222843   0.0807834   0 .8472764   0.6894762     2.4619458    2.4619458
           08:08.0    574424   6.35303E+12    5.28202E+13   5686.98    0.0273845      0.022201   0.0803655   0.8472764    0.6868989     2.4492125    2.4492125
           13:10.8    574424   6.35303E+12    5.28202E+13   5696.24    0.0273845     0.0222756   0.0804964   0.8472764    0.6892071     2.4532005    2.4532005
           18:13.9    574424   6.35303E+ 12   5.28202E+13   5678.52    0.0273845     0.0287661    0,080246   0.8472764    0.8900231      2.445569     2.445569
           23:16.6    574426   6.35303E+12    5.30049E+13   5680.01    0.0273845     0.0495148   0.0799874   0.8472764    1.5319879     2.4376872    2.4376872
           28:20.7    574427   6.35303E+12    5.28466E+13   5679.28    0.0273845     0.2410973   0.0802166   0.8472764    7.4595505     2.4446732    7.4595505
           33:24.6    574427   6.35303E+l2    5.28466E+13   5698.99    0.0273845     0.2334656    0.080495   0.8472764    7.2234257     2.4531574    7.2234257
           38:27.3    574427   6.35303E+l2    5.28466E+13   5702.85    0 .0273845    0.0497981   0.0805495   0 .8472764   1.5407532      2.454819     2.454819
           43:30.1    574428   6.35303E+l2     5.2354E+13     5722.4   0.0273845     0.0284052   0.0815862   0.8472764    0,8788569     2.4864117    2.4864117
           48:33.4    574428   6.35303E+12     5.2354E+13   5723.27    0.0273845     0.0286907   0,0815986   0 .84(2764   0.8876903     2.4867897    2.4867897
                                                                                                                                                                  Case: 23-1922




           53:36.4    574428   6.35303E+12     5.2354E+13   5711,78    0,0273845     0.0289323   0.0814347   0.8472764    0 .8951654    2.4817972    2.4817972
           58:39.1    574429   6.35303E+12    5.15634E+13   5700.85    0.0273845     0.0244206   0.0825252   0 .8472764   0.7555734     2.5150298    2.5150298
           03:41.9    574429   6.35303E+12    5.15634E+13   5699,99    0.0280847      0.022925   0.0825128   0.8689406    0.7092995     2.5146504    2.5146504
           08:44.7    574429   6.35303E+12    5.15634E+l3   5715.88    0.0280847     0.0237192   0.0827428   0.8689406     0.733872     2.5216605    2.5216605
           13:47.4    574430   6.35303E+l2    5.12815E+13     5716.7   0.0280847     0.0238876   0.0832095   0.8689406    0.7390823     2.5358831    2.5358831
           18:50.2    574430   6.35303E+l2    5.12815E+13   5707.94    0.0280847     0,0242522   0.0830819   0 .8689406   0.7503631     2.5319972    2.5319972
           23:53.1    574430   6.35303E+l2    5.12815E+l3   5728.45    0.0280847      0.024234   0,0833805   0 .8689406        0.7498   2.5410953    2.5410953
           28:55.9    574430   6.35303E+12    5.12815E+13   5736.02    0.0280847     0.0243241   0.0834907   0 .8689406   0 .7525877    2.5444533    2.5444533
           33:59.1    574430   6.35303E+l2    5.12815E+l3   5740.86    0.0280847     0.0252158   0.0835611   0.8689406    0.7801769     2.5466002    2.5466002
           44:04.4    574430   6.35303E+12    5.12815E+13     5732.1   0 .0280847    0.0252418   0,0834336   0.8689406    0,7809813     2.5427144    2.5427144
           49:07.5    574431   6.35303E+12    4.97074E+13     5725,7   0.0280847     0.0487379   0.0859796   0.8689406    1.5079506     2.6203068    2.6203068
                                                                                                                                                                  Document: 39-3




           54:10.5    574432   6.35303E+l2    4.99455E+13   5720,02    0.0280847     0.0292058   0.0854849   0 .8689406   0.9036275     2.6052295    2.6052295
           59:14.1    574432   6.35303E+12    4.99455E+13   5706,01    0.0280847     0.0484988   0,0852755   0 .8689406   1.5005529     2.5988485    2.5988485
           04 :17.2   574433   6.35303E+12    4.98413E+l3   5720.99        0.02809   0.0273041   0.0856781   0 .8691046   0,8447889     2.6111164    2.6111164




Appx2983
           09:20.1    574435   6.35303E+l2    4.97656E+13   5725.87        0.02809   0.0243389   0.0858817   0 .8691046   0.7530456     2.6173216    2.6173216
           14:23.0    574435   6.35303E+l2    4.97656E+13   5733.32        0.02809   0.0253075   0.0859934   0.8691046    0 .7830141     2.620727     2.620727
           19:26.3    574437   6.35303E+l2    4.98823E+13   5729.99        0.02809   0.0279034   0.0857423   0.8691046    0 ,8633312    2.6130745    2.6130745
           24:29.2    574438   6.35303E+12     4.9928E+13   5727.98        0.02809   0.0267925   0.0856339   0.8691046        0.82896   2.6097702    2.6097702
           29:32.2    574439   6.35303E+12    4.96328E+13   5746.56        0.02809   0.0491793   0.0864226   0.8691046    1.5216075     2.6338056    2.6338056
                                                                                                                                                                  Page: 193




           34:35.1    574441   6.35303E+12    5.04581E+13   5735.82        0.02809   0.0276204   0.0848502   0,8691046    0.8545752     2.5858866    2.5858866
           39:38.1    574441   6.35303E+12    5.04581E+13   5745.02        0.02809   0.0274064   0.0849863   0.8691046      0,847954    2.5900343    2.5900343
           44:40.9    574442   6.35303E+12    5.28842E+l3   5751.06        0.02809   0.0493127   0.0811728   0.8691046    1.5257349     2.4738132    2.4738132
           49:44.5    574442   6.35303E+12    5.28842E+l3   5741.52        0.02809   0.0353384   0.0810381   0.8691046    1.0933701     2.4697096    2.4697096
           54:47.4    574442   6.35303E+12    5.28842E+13   5741.39        0.02809    0.027241   0.0810363   0.8691046    0.8428365     2.4696537    2.4696537
           59:50.5    574443   6.35303E+12    5.28228E+13   5739.18        0.02809   0.0260944   0.0810993   0.8691046    0 .8073607    2.4715738    2.4715738
           04:53.3    574443   6.35303E+12    5.28228E+13   5735.16    0.0306575     0.0263345   0.0810425   0 .9485431   0 .8147894    2.4698426    2.4698426
           09:56.1    574443   6.35303E+12    5.28228E+13   5753.15    0.0306575     0.0251812   0.0812967   0.9485431    0 .7791063       2.47759      2.47759
           14:59.6    574443   6.35303E+12    5.28228E+13   5760.65    0.0306575     0.0254094   0.0814027   0.9485431    0.7861668     2.4808199    2.4808199
           20:02.9    574443   6.35303E+12    5.28228E+13   5758.01    0.0306575     0.0257154   0.0813654   0.9485431    0.7956345     2.4796829    2.4796829
           25:05.9    574444   6.35303E+12    5.21447E+l3   5763.51    0.0306575     0.0255742   0.0825021   0 .9485431   0.7912657     2.5143244    2.5143244
                                                                                                                                                                  Filed: 01/02/2024




           30:08.6    574445   6.35303E+12    5.19166E+l3   5760.01    0.0306575     0.0285722   0.0828144   0.9485431    0.8840239     2.5238421    2.5238421
           35:11.4    574446   6.35303E+12    5.17083E+l3     5750,9   0,0306575     0.0351964   0.0830164   0.9485431    1.0889766     2.5299985    2.5299985
           40:15.1    574446   6.35303E+1Z    5.17083E+13   5762.47    0.0306575     0.0283874   0.0831834   0.9485431    0 .8783062    2.5350885    2.5350885
           45:17.8    574446   6.35303E+1 2   5.17083E+13   5753.72    0.0306575      0.027278   0.0830571   0.9485431    0.8439813     2.5312392    2.5312392
           50:20.6    574448   6.35303E+12    5.19511E+l3   5754.06    0.0306575     0.0271803   0.0826737   0.9485431    0 .8409585    2.5195561    2.5195561
           55:23.5    574448   6.35303E+12   5.19511E+13    5719.38    0.0306575    0.030583    0.0821754    0.9485431     0.946238   2.5043706   2.5043706
           00:26.7    574448   6.35303E+12   5.19511E+13    5721.44    0.0298141   0.0274938      0.082205   0.9224483   0 .8506582   2.5052726   2.5052726
           05:29.8    574448   6.35303E+12   5.19511E+ 13   5706.98    0.0298141    0.025617    0 .0819973   0.9224483      o.79259   2.4989409   2.4989409
           10:32.8    574449   6.35303E+12   5.17328E+13    5701.52    0.0298141   0.0262028    0.0822646    0.9224483   0.8107146    2.5070865   2.5070865
           15:35.6    574450   6.35303E+12   5.16724E+13    5720.36    0.0298141   0.0265338    0.0826329    0.9224483   0.8209558    2.5183117   2.5183117
           20:38.2    574450   6.35303E+12   5.16724E+13     5715.9    0.0298141   0.0262195    0.0825685    0.9224483   0.8112313    2.5163482   2.5163482
           25:41 .0   574450   6.35303E+l2   5.16724E+13    5710.01    0.0298141   0.0263037    0.0824834    0.9224483   0.8138365    2.5137552   2.5137552
           30:43.8    574450   6.35303E+12   5.16724E+13    5720.01    0.0298141      0.02601   0.0826278    0.9224483   0.8047494    2.5181576   2.5181576
           35:46.6    574450   6.35303E+l2   5.16724E+13    5725.31    0.0298141    0.026584    0.0827044    0.9224483    0.822509    2.5204908   2.5204908
           40:49.3    574452   6.35303E+12   5.09821E+13    5714 .39   0.0298141   0.0267055    0.0836643    0.9224483   0.8262682    2.5497457   2.5497457
           45:52.2    574454   6.35303E+l2   5.11925E+13    5720.01    0.0298141   0.0254888    0 .0834024   0.9224483   0.7886235    2.5417623   2.5417623
           50:55.0    574454   6.35303E+l2   5.11925E+13    5704.48    0.0298141   0.0247314    0.0831759    0.9224483   0.7651895    2.5348614   2.5348614
                                                                                                                                                              Case: 23-1922




           55 :58.0   574454   6.35303E+l2   5.11925E+13    5713.35    0.0298141   0.0244232    0.0833053    0.9224483   0.7556538    2.5388029   2.5388029
           01:00.9    574454   6.35303E+l2   5.11925E+l3    5714.69    0.0322754   0.0256095    0.0833248    0.9986009   0.7923579    2.5393983   2.5393983
           06:03.7    574454   6.35303E+12   5.11925E+13    5710.33    0.0322754    0.024586    0.0832612    0.9986009   0.7606908    2.5374609   2.5374609
           11:06.7    574454   6.35303E+12   5.11925E+13    5705.52    0.0322754   0.0249145    0.0831911    0.9986009   0.7708546    2.5353235   2.5353235
                                                                                                                                                              Document: 39-3




Appx2984
                                                                                                                                                              Page: 194
                                                                                                                                                              Filed: 01/02/2024
            Case: 23-1922      Document: 39-3      Page: 195   Filed: 01/02/2024




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            Case: 23-1922       Document: 39-3     Page: 196   Filed: 01/02/2024




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HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         BB10000916




                                             Appx2986
           datetime block_height network_diff est_network_hashrate BTC_price day_ahead_LMP real_time_LMP breakeven_ mining_cost day_a head_LMP _rev real_time_LMP _rev mining_rev realized_rev
            19:54.2      574204 6.35303E+12            5.38327E+l3 5320.43           0.00578      0.004853           0.0737715            0.1788332           0.1501518 2.2482519 2.248252
             24:57.5     574204 6.35303E+12            5.38327E+13 5320.01           0.00578     0.0059132           0.0737656            0.1788332           0.1829544 2.2480744 2.248074
            30:00.6      574204 6.35303E+12            5.38327E+13 5319.98           0.00578     0.0058605           0.0737652            0.1788332           0.1813239 2.2480617 2.248062
            35:04.1      574205 6.35303E+l2            5.30839E+l3 5323.01           0.00578     0.0046039           0.0748484            0.1788332           0.1424447 2.2810714 2.281071
            40:07.2      574205 6.35303E+l2            5.30839E+13 5321.94           0.00578     0.0032873           0.0748333            0.1788332           0.1017091 2.2806129 2.280613
            45:10.6      574206 6.35303E+12            5.44532E+ 13 5326.51          0.00578     0.0019272           0.0730143            0.1788332           0.0596276 2.2251767 2.225177
            50:13.5      574206 6.35303E+12            5.44532E+13 5326.54           0.00578     0.0070844           0.0730147            0.1788332           0.2191913 2.2251893 2.225189
             55:16.9     574207 6.35303E+12            5.39845E+l3 5328.24           0.00578     0.0006523           0.0736721            0.1788332           0.0201822 2.2452223 2.245222
            00:20.2      574207 6.35303E+l2            5.39845E+13 5325.77        0.0008315      0.0022674           0.0736379            0.0257266           0.0701534 2.2441815 2.244182
            05:23.2      574208 6.35303E+l2            5.34662E+ 13 5325.77       0.0008315    -0.0037312            0.0743518            0.0257266          -0.1154433 2.2659373 2.265937
             10:26.1     574208 6.35303E+ 12           5.34662E+13 5325.01        0.0008315    -0.0087112            0.0743412            0.0257266          -0.2695245 2.2656139 2.265614
             15:29.1     574209 6.35303E+ 12           5.33477E+l3 5321.31        0.0008315      0.0006042           0.0744545            0.0257266           0.0186939 2.2690675 2.269068
                                                                                                                                                                                                 Case: 23-1922




             20:32.0     574209 6.35303EH2             5.33477E+13   5321.01      0.0008315      0.0008759           0.0744503            0.0257266           0.0271003 2.2689395 2.26894
             25:36.1     574210 6.35303E+12            5.36221E+l3 5326.26        0.0008315    -0.0192181            0.0741425            0.0257266           -0.594608 2.2595592 2.259559
            30:39.1      574212 6.35303E+12            5.54528E+l3 5327.73        0.0008315    -0.0318283            0.0717145            0.0257266          -0.9847676 2.1855639 2.185564
            35:42.2      574213 6.35303E+l2            5.51131E+l3 5321.02        0.0008315    -0.0308899            0.0720657            0.0257266          -0.9557335 2.1962672 2.196267
            40:45.0      574215 6.35303E+12            5.58834E+ 13   5323.1      0.0008315    -0.0302146            0.0711001            0.0257266          -0.9348397 2.1668382 2.166838
            45:47.9      574215 6.35303E+12            5.58834E+l3    5323.1      0.0008315    -0.0268742            0.0711001            0.0257266          -0.8314877 2.1668382 2.166838
            50:51.0      574215 6.35303E+l2            5.58834E+13 5326.69        0.0008315    -0.0311753              0.071148           0.0257266          -0.9645638 2.1682995    2.1683
            55:53.8      574215 6.35303E+12            5.58834E+13 5326.69        0.0008315    -0.0321213              0.071148           0.0257266           -0.993833 2.1682995    2.1683
            00:56.7      574216 6.35303E+l2            5.54406E+13 5328.81        0.0002678    -0.0312479            0.0717448            0.0082857             -0,96681 2.1864882 2.186488
            06:00.2      574216 6.35303E+12            5.54406E+13 5330.34        0.0002678    -0.0031224            0.0717654            0.0082857          -0.0966071 2.187116 2.187116
            11:03.3      574219 6.35303E+l2            5.59245E+l3 5326.73        0.0002678    -0.0192773            0.0710963            0.0082857          -0.5964397 2.1667245 2.166725
             16:06.7     574220 6.35303E+12            5.59914E+13 5330.77        0.0002678    -0.0176475            0.0710652            0.0082857         -0.5460137 2.1657754 2.165775
                                                                                                                                                                                                 Document: 39-3




             21:09.7     574220 6.35303E+12            5.59914E+l3 5343.69        0.0002678    -0.0277873            0.0712374            0.0082857          -0.8597391 2.1710246 2.171025
             26:12.7     574225 6.35303E+12            5.59876E+l3    5336.9      0.0002678      -0.030291           0.0711518            0.0082857         -0.9372035 2.1684142 2.168414
            31:15.7      574226 6.35303E+12            5.60441E+l3 5333.74        0.0002678    -0.0263247            0.0710379            0.0082857         -0.8144862 2.1649441 2.164944




Appx2987
            36:18.6      574227 6.35303E+12            5.56725E+13 5331.57        0.0002678    -0.0194362              0.071483           0.0082857           -0.601356 2.1785089 2.178509
            41:21.5      574227 6.35303E+12            5.56725E+13 5332.07        0.0002678    ·0.0199701            0.0714897            0.0082857          -0.6178749 2.1787132 2.178713
            46:24.4      574227 6.35303E+12            5.56725E+13 5343.99        0.0002678    -0.0196127            0.0716495            0.0082857         -0.6068169 2.1835838 2.183584
            51:27.4      574228 6.35303E+l2            5.52451E+l3 5343.99        0.0002678    -0.0293809            0.0722038            0.0082857           ·0.909045 2.2004762 2.200476
            56:30.6      574229 6.35303E+12             5.5892E+l3 5328.81        0.0002678    -0.0237092            0.0711654            0.0082857         ·0.7335626 2.1688293 2.168829
                                                                                                                                                                                                 Page: 197




            01:33.6      574229 6.35303E+l2             5.5892E+13 5339.09        0.0001906    -0.0188617            0.0713027            0.0058972           -0.583581 2.1730133 2.173013
            06:36.6      574229 6.35303E+l2             5.5892E+13 5341.16        0.0001906    -0.0309174            0 .0713303           0.0058972         ·0.9565844 2.1738558 2.173856
            11:39.5      574230 6.35303E+l2            5.53347E+13 5346.19        0.0001906    · 0.0303878           0.072 1165           0.0058972         ·0.9401985 2.1978165 2.197817
             16:43.0     574230 6.35303E+l2            5.53347E+13 5351.52        0.0001906    -0.0302747            0.0721884            0.0058972         -0.9366992 2.2000077 2.200008
             21:45,9     574231 6.35303E+12            5.49411E+l3 5348.15        0.0001906    ·0.0280594            0.0726599            0 .0058972        -0.8681578 2.2143761 2.214376
             26:48.7     574231 6.35303E+l2            5.49411E+13 5345.36        0.0001906    -0.0282238              0.072622           0.0058972         -0.8732444 2.2132209 2.213221
            31:52.1      574231 6.35303E+l2            5.49411E+l3 5345.35        0.0001906    -0.0268535            0.0726219            0.0058972         -0.8308473 2.2132168 2.213217
            36:55.6      574232 6.35303E+12            5.47061E+13 5345.57        0.0001906    -0.0274178            0.0729368            0.0058972         -0.8483067 2.222815 2.222815
            41:58.8      574232 6.35303E+l2            5.47061E+l3 5346.06        0.0001906    -0.0274027            0.0729435            0.0058972         -0.8478395 2.2230187 2.223019
            47:01.8      574232 6.35303E+l2            5.47061E+13 5364.94        0.0001906      -0.028909           0.0732011            0.0058972         -0.8944445 2.2308695 2.23087
            52:04.7      574232 6.35303E+l2            5.47061E+13 5358.68        0.0001906      -0.028169           0.0731157            0.0058972         ·0.8715489 2.2282664 2.228266
            57:07.9      574232 6.35303E+l2            5.47061E+l3   5363.38      0.0001906    -0.0263077            0.0731798            0.0058972         -0.8139602 2.2302208 2.230221
                                                                                                                                                                                                 Filed: 01/02/2024




            02:11.0      574233 6.35303E+ 12           5.35475E+l3   5374.99       0.002727    ·0.0263014              0.074925           0.0843734         -0.8137653 2.283406 2.283406
            07:14.0      574233 6.35303E+l2            5.35475E+13 5371.65         0.002727    -0.0028313            0.0748784            0.0843734         -0.0876004 2.2819871 2.281987
            12:17.0      574233 6.35303E+l2            5.35475E+13    5364.6       0.002727    -0.0008554            0.0747801            0.0843734         -0.0264661 2.2789921 2.278992
            17:20.3      574233 6.35303E+l2            5.35475[+13 5366.68         0.002727    -0.0182652            0.0748091            0.0843734         -0.5651253 2.2798757 2.279876
            22:23.4      574234 6.35303E+l2            5.31615E+l3 5358,76         0.002727    -0.0019519            0.0752411            0.0843734         -0.0603918 2.2930408 2.293041
           27:26.4    574234 6.35303f+12    5.31615E+13    5358.18      0.002727   -0.0147848      0.075233   0.0843734    -0.4574417 2.2927926 2.292793
           32:29.3    574234 6.35303E+l2    5.31615E+l3    5349.69      0.002727   -0.0033411     0.0751138   0.0843734    -0.1033736 2.2891597 2.28916
           37:32.1    574235 6.35303E.+12   5.26774E+l3    5347.97      0.002727     -0.016204    0.0757796   0.0843734    -0.5013518 2.3094528 2.309453
           42:35.1    574236 6.35303E+12    5.29706E+13    5347.88      0.002727     -0.031637     0.075359   0.0843734    -0 .9788488 2.2966332 2.296633
           47:38.0    574237 6.35303E+12    5.26741E+13    5352.24      0.002727   -0.0303036      0.075845   0 .0843734   -0.9375934 2.3114455 2.311446
           52:40.8    574238 6.35303E+12      5.2719E+l3   5350.15      0.002727   -0.0054995     0.0757508   0 .0843734   -0.1701545 2.308573 2.308573
           57:43.7    574238 6.35303E+ 12     5.2719E+13   5357.76      0.002727   -0.0016084     0.0758585   0.0843734    -0.0497639 2.3118566 2.311857
           02:46.6    574239 6.35303E+12    5.28168E+l3    5351.07    0.0122937    -0 .0317924    0.0756235   0.3803671    -0.9836569 2.3046947 2.304695
           07:49.3    574240 6.35303E+ 12   5.25658E+13    5350.11    0.0122937    -0.0305799      0.075971   0.3803671    -0.9461421 2.3152833 2.315283
           12:52.7    574242 6.35303E+l2    5.34165E+l3    5352.35    0.0122937       -2.70E-06   0.0747924   0.3803671      -8.35E-05 2.2793657 2.279366
           17:55.6    574243 6.35303E+ 12   5.35108E+l3    5355.51    0.0122937     0 .0003845    0.0747047   0.3803671     0.0118964 2.2766932 2.276693
           22:58.3    574245 6.35303E+12    5.38531E+l3     5358. 7   0.0122937       0.000944     0.074274   0.3803671     0.0292074 2.2635674 2.263567
           28:01.2    574246 6.35303E+12    5.41667E+13    5358.74    0.0122937    -0.0033438     0.0738446   0.3803671    -0.1034572 2.2504797 2.25048
                                                                                                                                                            Case: 23-1922




           33:04.2    574246 6.35303E+l2    5.41667E+13    5361.99    0.0122937     ·0.001393     0.0738894   0.3803671    -0.0430994 2.25184 46 2.251845
           38:07.1    574246 6.35303E+l2    5.41667E+l3    5364.93    0.0122937     0.0048462     0.0739299   0.3803671     0.1499414 2.2530793 2.253079
           43:10.0    574247 6.35303E+ 12   5.37144E+13    5365.93    0.0122937    -0.0155818     0.0745663   0.3803671    -0.4821009 2.2724742 2.272474
           48:12.9    574249 6.35303E+ 12   5.43573E+13    5360.33    0.0122937    -0.0014069     0.0736074   0.3803671    -0.0435295 2.2432526 2.243253
           53:15.7    574251 6.35303E+12    5.52479E+l3    5359.19    0.0122937     0.0018241     0.0724055   0.3803671     0.0564377 2.2066234 2.206623
           58:18.7    574252 6.35303E+ 12   5.50584E+13    5357.99    0.0122937     0.0017661     0.0726385   0.3803671     0.0546431 2.2137229 2.213723
           03:21.9    574252 6.35303E+ 12   5.50584E+13    5360.64    0.0171962     0.0051394     0.0726744   0.5320504      0.159013 2.2148178 2.214818
           08:26.1    574253 6.35303E+12    5.55506E+ 13   5362.51    0.0171962     0.1603687     0.0720555   0.5320504     4.9618076 2.195957 4.961808
           13:29.5    574254 6.35303E+12    5.55733E+13    5360.24    0.0171962         0.01377   0.0719957   0.5320504     0.4260438 2.1941337 2.194134
           18:32.5    574255 6.35303E+12     5.5978E+l3    5358.19    0 .0171962    0.0100579     0.0714478   0.5320504     0.3111914 2.1774367 2.177437
           23 :35.5   574257 6.35303E+l2    5.59531E+13    5367.35    0.0171962     0.0107012     0.0716018   0.5320504     0.3310951 2.1821286 2.182129
           28:38.4    574257 6.35303E+l2    5.59531E+l3    5368.93    0.0171962     0.0084507     0.0716229   0.5320504     0.2614647 2.182771 2.182771
                                                                                                                                                            Document: 39-3




           33:41.3    574257 6.35303E+12    5.59531E+13    5368.01    0.0171962     0.0069194     0.0716106   0.5320504     0.2140862 2.182397 2.182397
           38:44.2    574258 6.35303E+l2    5.61961E+l3    5368.01    0.0171962     0 .0068217     0.071301   0 .5320504    0.2110634 2.1729618 2.172962
           43:47.2    574258 6.35303E+12    5.61961E+13    5363.48    0.0171962     0 .0079017    0.0712408   0.5320504     0.2444786 2.1711281 2.171128




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           48:50.1    574258 6.35303E+12    5.61961E+l3    5363.48    0 .0171962    0.0076457     0.0712408   0.5320504      0.236558 2.1711281 2.171128
           53:56.7    574258 6.35303E+l2    5.61961E+l3    5368.74    0.0171962     0.0078845     0.0713107   0.5320504     0.2439464 2.1732573 2.173257
           58:59.6    574258 6.35303E+12    5.61961E+l3     5368.9    0.0171962     0.0094093     0.0713128   0.5320504     0.2911237 2.1733221 2.173322
           04:02.6    574258 6.35303E+12    5.61961E+l3    5360.85    0.0175577     0 .0099461    0.0712059   0.5432352     0.3077323 2.1700634 2.170063
           09:05.6    574258 6.35303E+12    5.61961E+13    5360.96    0.0175577     0.0140156     0.0712073   0 .5432352    0.4336427 2.170108 2.170108
                                                                                                                                                            Page: 198




           14:08.7    574260 6.35303E+12    5.46276E+13    5364.69    0.0175577     0.0115262     0.0733029   0 .5432352    0.3566206 2.2339708 2.233971
           19:11.6    574260 6.35303E+12    5.46276E+l3    5368.72    0.0175577     0.0089289     0.0733579   0.5432352     0.2762602 2.2356489 2.235649
           24:14.7    574260 6.35303E+12    5.46276E+l3    5366.48    0.0175577     0.0086263     0.0733273   0.5432352     0.2668977 2.2347162 2.234716
           29:17.6    574260 6.35303E+12    5.46276E+l3    5367.76    0.0175577       0.007468    0.0733448   0 .5432352    0.2310599 2.2352492 2.235249
           34:20.8    574261 6.35303E+l2    5.36607E+13    5366.92    0.0175577     0.0084062     0.0746547   0.5432352     0.2600878 2.2751678 2.275168
           39:2.3.6   574261 6.35303E+12    5.36607E+13    5366.01    0.0175577       0.007763     0.074642   0.5432352     0.2401872 2.2747821 2.274782
           44:26.5    574261 6.35303E+12    5.36607E+13    5364.41    0.0175577     0.0087491     0.0746197   0.5432352     0.2706972 2.2741038 2.274104
           49:29.5    574261 6.35303E+12    5.36607E+13     5364.3    0.0175577     0.0087159     0.0746182   0 .5432352    0.2696699 2.2740572 2.274057
           54:32.3    574261 6.35303E+12    5.36607E+13    5377.85    0.0175577     0.0108497     0.0748067   0 .5432352    0.3356897 2.2798013 2.279801
           59:35.3    574264 6.35303E+l2    5.43564E+l3    5373.82    0.0175577       0.008836    0.0737939   0 .5432352    0.2733858 2.2489354 2.248935
           04:38.l    574267 6.35303E+12    5.54387E+13    5366.58    0.0193084     0.0083686     0.0722558   0.5974019     0.2589245 2.2020604 2.20206
           09:40.9    574268 6.35303E+12    5.60115E+13    5356.55    0.0193084     0.0080606     0.0713832   0.5974019      0.249395 2.1754678 2.175468
                                                                                                                                                            Filed: 01/02/2024




           14:43.6    574269 6.35303E+12    5.58958E+13    5342.94    0.0193084     0.0088646     0.0713492   0.5974019     0.2742707 2.1744317 2.174432
           19:46.6    574270 6.35303E+12     5.6144E+13    5354.22    0.0193084     0.0082941     0.0711837   0.5974019     0.2566195 2.1693883 2.169388
           24:49.9    574271 6.35303E+12     5.6095E+13    5356.83    0.0193084     0.0080762     0.0712807   0.5974019     0.2498776 2.1723438 2.172344
           29:52.8    574271 6.35303E+l2     5.6095E+13    5351.83    0.0193084     0.0079524     0.0712142   0.5974019     0.2460473 2.1703161 2.170316
           34:55.7    574272 6.35303E+12    5.54087E+l3    5355.01    0.0193084     0.0081254     0.0721391   0 .5974019    0.2513999 2.1985034 2.198503
           39:58.5    574273 6.35303EH2      5.53104E+13    5355.83   0.0193084    0.0085607    0.0722783    0.5974019    0.2648681 2.2027469 2.202747
           45:01.9    574274 6.35303EH2      5.53441E+l3    5354.54   0.0193084    0.0106324     0.072217    0.5974019    0.3289665 2.2008772 2.200877
           50:05.0    574274 6.35303E+12     5.53441E+13    5352.64   0.0193084    0.0119823    0.0721913    0.5974019    0.3707324 2.2000962 2.200096
           55:07.9    574274 6.35303E+l2     5.53441E+l3    5355.99   0.0193084    0.0171955    0.0722365    0.5974019    0.5320288 2.2014732 2.201473
           00:10.9    574274 6.35303E+12     5.53441E+l3    5375.12    0 .021824    0.014679    0.0724945    0.6752346    0.4541683 2.2093362 2.209336
           05:13.9    574274 6.35303E+12     5.53441E+13    5371.63    0.021824    0.0098275    0.0724475    0.6752346    0.3040628 2.2079017 2.207902
           10:17.8    574274 6.35303E+l2     5.53441E+l3    5366,65    0.021824    0.0157044    0.0723803    0.6752346    0.4858941 2.2058548 2.205855
           15:20.8    574274 6.35303E+l 2    5.53441E+13    5362.88    0.021824    0.0161219    0.0723295    0.6752346    0.4988116 2.2043052 2.204305
           20:23.7    574275 6.35303E+l2     5.36343E+l3       5367    0.021824     0,016142    0.0746925    0.6752346    0.4994335 2.2763203 2.27632
           25:26.5    574275 6.35303E+ 12    5.36343E+13    5371.56    0.021824    0.0159439    0.0747559    0.6752346    0.4933043 2.2782544 2.278254
           30:29.4    574276 6.35303E+12        5.309E+l3   5370.52    0.021824    0.0201562    0.0755079    0.6752346    0.6236328 2.3011697 2.30117
           35:32.1    574278 6.35303E+12     5.49235E+13    5373.23    0.021824    0,0193584    0.0730239    0.6752346    0.5989489 2.2254696 2.22547
           40:35.0    574281 6.35303E+12     5.67946E+l3    5385.74    0.021824    0.0173956    0.0707827    0.6752346    0.5382199 2.1571652 2.157165
                                                                                                                                                           Case: 23-1922




           45:37.8    574281 6.35303E+12     5.67946E+13    5380.67    0.021824    0.0172587     0.070716    0.6752346    0.5339842 2.1551345 2.155135
           50:40.6    574281 6.35303E+12     5.67946E+l3    5377.85    0.021824    0.0135506     0.070679    0 .6752346   0.4192556 2.154005 2.154005
           55:43.6    574282 6.35303E+12       5.6096£+13   5376.85    0.021824    0.0181589    0.0715459    0.6752346    0.5618364 2.1804251 2.180425
           00:46.5    574282 6.35303E+12       5.6096E+l3   5379.99   0.0237731    0.0180514    0.0715877    0 .7355397   0.5585103 2.1816984 2.181698
           05:49,7    574283 6.35303E+12     5.56063E+13    5400.03   0.0237731    0.0201106    0.0724871    0.7355397      0 .622222 2.2091081 2.209108
           10:52.9    5 74283 6.35303E+ 12   5.56063E+13    5401.02   0.0237731    0.0199693    0.0725003    0.7355397    0.6178501 2.2095131 2.209513
           15:55.8    574283 6.35303E+12     5.56063EH3     5411.08   0.0237731    0.0212877    0.0726354    0.7355397    0 .6586414 2.2136286 2.213629
           20:59.8    574284 6.35303E+12     5.64188E+13    5401.02   0.0237731    0.0208648    0.0714563    0.7355397    0.6455569 2.177694 2.177694
           26:03.1    574284 6.35303E+12     5.64188E+13    5401.31   0.0237731    0.0203588    0.0714601    0.7355397    0.6299013 2.1778109 2.177811
           31:06.6    574285 6.35303E+l2     5.57835E+l3    5409.35   0.0237731    0.0207637    0.0723816    0.7355397    0.6424289 2.2058933 2.205893
           36:09.6    574285 6.35303E+l2     5.57835E+!3     5396.6   0.0237731    0.0198566     0.072211    0.7355397    0 .6143632 2.2006939 2.200694
           41:12.5    574285 6.35303E+12     5.57835£+13    5405.56   0.0237731    0.0206568    0.0723309    0.7355397    0.6391214 2.2043478 2.204348
                                                                                                                                                           Document: 39-3




           46:15.4    574285 6.35303E+l2     5.57835E+l3     5401.1   0.0237731    0.0203991    0.0722712    0.7355397    0.6311482 2.202529 2.202529
           51:18.8    574285 6.35303E+l2     5.57835E+13    5400.14   0.0237731    0.0206351    0.0722583    0.7355397        0.63845 2.2021375 2.202138
           56:21.7    574285 6.35303E+12     5.57835[+13    5401.59   0.0237731    0.0206066    0.0722777    0.7355397    0.6375682 2.2027288 2.202729




Appx2989
           01:25.2    574285 6.35303E+12     5.57835E+13    5405.56   0.0248369    0.0206776    0.0723309    0.7684537    0.6397649 2.2043478 2.204348
           06:28.3    574285 6.35303E+l2     5.57835E+13    5409.65   0.0248369    0.0208352    0.0723856    0.7684537    0.6446411 2.2060156 2.206016
           11:31.3    574286 6.35303E+12     5.36818E+13    5410.84   0.0248369    0.0207924     0.075236    0.7684537    0.6433169 2.2928844 2.292884
           16:34. 7   574287 6.35303E+ 12    5.50908E+13    5403.01   0.0248369     0 .020789   0.0732057    0.7684537    0.6432117 2.2310097 2.23101
           21:38.0    574287 6.35303E+12     5.50908E+l3    5380.86   0.0248369    0,0208418    0.0729056    0.7684537    0.6448453 2.2218635 2.221864
                                                                                                                                                           Page: 199




           26:41.1    574288 6.35303E+l2       5.6446E+13   5384.99   0.0248369    0.0208444    0.0712098    0.7684537    0.6449257 2.1701832 2.170183
           31:44.2    574289 6.35303E+ 12    5.61643E+13    5388.52   0.0248369    0.0219035     0.071614    0.7684537    0,6776943 2.1824996     2.1825
           36:47.6    574289 6.35303E+12     5 .61643E+l3   5385.01   0.0248369    0.0219719    0.0715673    0.7684537    0.6798106 2.1810779 2.181078
           41:50.8    574289 6.35303E+l2     5.61643E+13    5382.53   0.0248369    0.0214093    0.0715343    0.7684537    0.6624037 2.18007 35 2.180074
           46:53.8    574289 6.35303E+l2     5.61643E+13    5379.16   0.0248369    0.0219768    0.0714896    0.7684537    0.6799622 2.1787085 2.178709
           51:56.9    574292 6.35303E+12     5.59818E+l3    5379.99   0.0248369    0.0220687    0.0717336    0.7684537    0.6828056 2.1861462 2.186146
           57:00.0    574293 6.35303E+l2     5.63654E+13    5381.68   0.0248369    0.0220272    0,0712679    0.7684537    0.6815216 2.1719525 2.171953
           02:02.8    574294 6.35303E+l2     5.66874E+l3    5378.04    0.026102    0.0214717    0.0708151    0.8075959    0.6643344 2.1581537 2.158154
           07:05.8    574295 6.35303E+12     5. 71185E+13   5388.44    0.026102    0.0216698    0.0704165    0.8075959    0.6704636 2.1460054 2.146005
           12:09.0    574296 6.35303E+l2     5.69506E+13    5391.26    0.026102    0.0218279     0.070661    0.8075959    0.6753552 2.1534583 2.153458
           17:12.0    574298 6.35303E+l2     5.77593E+l3    5388.44    0.026102    0.0242173    0.0696352    0.8075959    0.7492833 2.1221966 2.122197
           22:15.5    574298 6.35303E+12     5 .77593E+l3   5392.01    0.026102    0.0224338    0.0696814    0.8075959    0.6941018 2.1236027 2.123603
                                                                                                                                                           Filed: 01/02/2024




           27:18.5    574298 6.35303E+l2     5.77593E+l3    5397.27    0.026102    0.0259045    0.0697494    0.8075959    0.8014852 2.1256743 2.125674
           32:21.8    574300 6.35303E+l2     5.74492E+l3     5392.2    0.026102    0.0266314       0.07006   0.8075959    0.8239755 2.1351406 2.135141
           37:25.9    574301 6.35303E+l2       5.7613E+l3   5391.27    0.026102    0.0850755    0.0698488    0.8075959      2.632236 2.1287047 2.632236
           42:30.2    574301 6.35303E+l2       5.7613E+l3   5391.55    0.026102    0.2222933    0.0698524    0.8075959    6.8777547 2.1288153 6.877755
           47:34.8    574302 6.35303E+12     5.77583E+l3    5397.52    0.026102    0.1579206    0.0697538    0.8075959    4.8860634 2.1258102 4.886063
           52:39.0   574302 6.35303E+12   5.77583E+13    5396.44     0.026102   0.1798101   0.0697399    0.8075959   5.5633245 2.1253849 5.563325
           57:42.9   574305 6.35303E+l2     5.8471E+l3   5390.94     0.026102   0.1776521   0.0688196    0.8075959    5.496556 2.097339 5.496556
           02:47.4   574305 6.35303[+12     5.8471E+l3   5391.58   0.0283817    0.2214449   0.0688278    0.8781298   6.8515052 2.097588 6.851505
           07:50.3   574305 6.35303[+12     5.8471E+l3   5393.02   0.0283817    0.0381924   0.0688461    0.8781298   1.1816729 2.0981483 2.098148
           12:53.3   574306 6.35303E+l2   5.85526E+l3    5393.03   0.0283817    0.0284554   0.0687504    0.8781298   0.8804101 2.0952297 2.09523
           17:56.2   574309 6.35303[+12   6.00748[+13    5395.99   0.0283817    0.0254553   0.0670451    0.8781298     0.787587 2.0432598 2.04326
           22:59.6   574309 6.35303E+12   6.00748E+13    5395.98   0.0283817    0.0262791    0.067045    0.8781298   0.8130754 2.043256 2.043256
           28:03.3   574310 6.35303E+12   6.02983[+13    5397.49   0.0283817    0.0261018   0.0668152    0.8781298   0.8075897 2.0362532 2.036253
           33:06.3   574311 6.35303E+l2   6.01255E+13    5398.95   0.0283817    0.0304073   0.0670253    0.8781298   0.9408019 2.0426553 2.042655
           38:09.3   574312 6.35303E+l2   5.99055[+13    5397.51   0.0283817    0.0304044   0.0672535    0.8781298   0.9407121 2.0496101 2.04961
           43:12.3   574312 6.35303E+12   5.99055E+13    5396.26   0.0283817    0.0304455   0.0672379    0.8781298   0.9419838 2.0491354 2.049135
           48:15.1   574314 6.35303E+l2   5.98595[+13     5395.6   0.0283817    0.0262044   0.0672813    0.8781298   0.8107641 2.0504592 2.050459
           53:18.0   574315 6.35303E+l2   5.97623E+13    5391.83   0.0283817    0.0289928   0.0673437    0.8781298   0.8970372 2.0523603 2.05236
                                                                                                                                                     Case: 23-1922




           58:21.0   574315 6.35303E+l2   5.97623E+13    5389.24   0.0283817    0.0264685   0.0673114    0.8781298   0.8189354 2.0513744 2.051374
           03:26.0   574317 6.35303E+12   6.04051E+13    5387.74   0.0300741    0.2152297   0.0665766    0.9304927   6.6592069 2.0289816 6.659207
           08:29.4   574317 6.35303E+12   6.04051E+13    5389.07   0.0300741    0.0276958    0.066593    0.9304927   0.8569081 2.0294825 2.029483
           13:33.7   574320 6.35303E+l2   6.21737[+13    5394.18   0.0300741     0.228944      0.06476   0.9304927   7.0835274 1.9736205 7.083527
           18:36.6   574320 6.35303E+l2   6.21737[+13    5398.38   0.0300741     0.049694   0.0648105    0.9304927   1.5375324 1.9751572 1.975157
           23:39.6   574320 6.35303E+12   6.21737E+13     5403.1   0.0300741    0.0377784   0.0648671    0.9304927   1.1688637 1.9768841 1.976884
           28:42.4   574320 6.35303E+12   6.21737[+13    5406.31   0.0300741    0.0309783   0.0649057    0.9304927   0.9584686 1.9780586 1.978059
           33:45.1   574321 6.35303[+12   6.17749E+13    5402.68   0.0300741    0.D285783   0.0652808    0.9304927   0.8842126 1.989492 1.989492
           38:48.0   574321 6.35303[+12   6.17749E+13    5407.64   0.0300741     0.028437   0.0653408    0.9304927   0.8798408 1.9913185 1.991319
           43:51.4   574321 6.35303E+12   6.17749[+13     5407.6   0.0300741    0.0279646   0.0653403    0.9304927   0.8652247 1.9913038 1.991304
           48:54.4   574321 6.35303E+12   6.17749[+13    5409.48   0.0300741    0.0281608    0.065363    0.9304927   0.8712952 1.9919961 1.991996
           53:57.3   574321 6.35303E+l2   6.17749[+13    5414.01   0.0300741    0.0281735   0.0654177    0.9304927   0.8716881 1.9936642 1.993664
                                                                                                                                                     Document: 39-3




           59:00.1   574321 6.35303E+12   6.17749E+13    5398.73   0.0300741    0.0270448   0.0652331    0.9304927   0.8367661 1.9880375 1.988038
           04:03.7   574321 6.35303E+l2   6.17749E+13    5392.99   0.0293844    0.0270641   0.0651637    0.9091533   0.8373633 1.9859238 1.985924
           09:06.9   574321 6.35303E+l2   6.17749E+l3    5391.48   0.0293844     0.027187   0.0651455    0.9091533   0.8411658 1.9853677 1.985368




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           14:10.4   574321 6.35303E+12   6.17749E+13    5395.84   0.0293844    0.0269481   0.0651982    0.9091533   0.8337742 1.9869732 1.986973
           19:13.3   574321 6.35303E+l2   6.17749E+l3    5394.88   0.0293844    0.0270086   0.0651866    0.9091533   0.8356461 1.9866197 1.98662
           24:16.5   574321 6.35303E+l2   6.17749E+l3    5394.01   0.0293844     0.027136   0.0651761    0.9091533   0.8395878 1.9862994 1.986299
           29:19.7   574321 6.35303E+12   6.17749E+13    5393,45   0.0293844    0.0270192   0.0651693    0.9091533    0.835974 1.9860931 1.986093
           34:22.8   574322 6.35303E+l2    5.8824E+l3    5392.88   0.0293844    0.0269702   0.0684313    0.9091533    0.834458 2.085505 2 2.085505
                                                                                                                                                     Page: 200




           39:26.1   574322 6.35303E+l2    5.8824E+13    5394.38   0.0293844    0.0262735   0.0684503    0.9091533   0.8129021 2.0860853 2.086085
           44:29.0   574323 6.35303E+12   5.85421E+l3    5392.66   0.0293844    0.0276092    0.068758    0.9091533   0.8542286 2.0954606 2.095461
           49:31.9   574323 6.35303E+l2   5.85421E+13    5399.52   0.0293844    0.0268734   0.0688454    0.9091533    0.831463 2.0981263 2.098126
           54:34.7   574324 6.35303E+12   5.81584E+l3    5403.19   0.0293844    0.0277725   0.0693467    0.9091533   0.8592812 2.1134037 2.113404
           59:37.5   574326 6.35303E+12   5.98016E+l3    5404.52   0.0293844    0.0305521   0.0674579    0.9091533    0.945282 2.055839 2.055839
           04:40.2   574326 6.35303E+l2   5.98016E+13    5400.73   0.0303728    0.0361938   0.0674106    0.9397344   1.1198362 2.0543973 2.054397
           09:43.0   574327 6.35303E+12   5.96067E+13    5400.79   0.0303728    0.0289272   0.0676317    0.9397344   0.8950076 2.0611364 2.061136
           14:45.8   574327 6.35303[+12   5.96067[+13    5402.51   0.0303728    0.0277593   0.0676532    0.9397344   0.8588727 2.0617928 2.061793
           19:48.6   574328 6.35303E+12   5.96752E+13    5405.01   0.0303728    0.0260079   0.0676069    0.9397344   0.8046844 2.0603812 2.060381
           24:53.1   574328 6.35303E+12   5.96752E+13    5405.56   0.0303728     0.027473   0.0676138    0.9397344   0.8500146 2.0605909 2.060591
           29:56.2   574328 6.35303E+l2   5.96752E+13    5413.98   0.0303728    0.0272669   0.0677191    0.9397344   0.8436379 2.0638005 2.063801
           34:59.4   574329 6.35303E+l2   5.94855[+13    5414.16   0.0303728     0.027398   0.0679373    0.9397344   0.8476941 2.0704516 2.070452
                                                                                                                                                     Filed: 01/02/2024




           40:02.3   574330 6.35303[+12   5.97035[+13    5414.01   0.0303728    0.0273913   0.0676874    0.9397344   0.8474868 2.0628341 2.062834
           45:05.1   574331 6.35303E+12   5.96567E+13    5411.51   0.0303728    0.0260921   0.0677092    0.9397344   0.8072896 2.0634981 2.063498
           50:08.5   574333 6.35303E+12    5.9734E+13    5408.31   0.0303728    0.0272287   0.0675816    0.9397344    0.842456 2.0596102 2.05961
           55:11.1   574333 6.35303E+l2    5.9734E+l3    5400.01   0.0303728    0.0272351   0.0674779    0.9397344    0.842654 2.0564494 2.056449
           05:16.6   574335 6.35303E+l2    5.9018E+13    5400.72   0.0292151    0.0284932   0.0683055    0.9039152   0.8815796 2.0816708 2.081671
           10:20.2   574337 6.35303£+12     6.04407E+13    5401.43   0.0292151    0.0273247    0.0667064      0.9039152    0.8454262 2.0329364 2.032936
           15:23.2   574337 6.35303£+12     6 .04407£+13   5403.84   0.0292151    0.0270874    0.0667361      0.9039152    0.8380842 2.0338434 2.033843
           20:26.3   574340 6.35303£+12     6.01388£+ 13   5404.02   0.0292151    0.0266421    0.0670734      0.9039152    0.8243066 2 .044123 2.044123
           30:31.9   574342 6.35303£+ 12      6.0482E+13   5405.55   0.0292151    0.0261271    0.0667116      0.9039152    0.8083725 2.0330975 2.033098
           35:34.8   574343 6.35303£+12     5 .99395£+13   5400.01   0.0292151    0.0267626    0.0672465      0.9039152    0.8280348 2.0493965 2.049397
           40:37.9   574343 6.35303£+12     5.99395£+13    5399,02   0 .0292151   0.0266166    0.0672341      0.9039152    0.8235176 2.0490207 2.049021
           45:41.0   574344 6.35303£+12     5 .95861£+13   5399.01   0.0292151    0.0272594    0.0676328      0.9039152    0.8434058 2.0611697 2.06117
           50:43.8   574344 6.35303£+12     5.95861£+13    5394.85   0.0292151    0.0266036    0.0675807      0.9039152    0.8231154 2.0595816 2.059582
           55:46.S   574344 6.35303E+12     5.95861£+13    5398.35   0.0292151    0 .0268144   0.0676245      0.9039152    0.8296375 2.0609177 2.060918
           00:51.0   574345 6.35303£+12     5.83668E+l3    5398.44   0.0282594    0.2283316    0.0690384      0.8743458    7.0645797 2.1040074 7.06458
           05:53.8   574346 6.35303£+12     5.84022E+l3    5394.51   0.0282594    0.0270103    0.0689463      0.8743458    0.8356987 2.1012014 2.101201
           10:57.1   574347 6.35303£+12     5.86008E+ 13   5396.65   0.0282594    0.0270877    0.0687399      0.8743458    0.8380934 2.0949115 2.094912
           16:00.S   574347 6.35303£+ 12    5.86008£+13    5399.98   0.0282594    0 .0272394   0.0687824      0.8743458     0.842787 2.0962041 2.096204
                                                                                                                                                           Case: 23-1922




           21:03.5   574348 6.35303E+12     5.87322E+l3     5397.6   0.0282594    0 .0269131   0.0685982      0.8743458    0.8326913 2.0905929 2.090593
           26:07.8   5 74348 6.35303£+ 12   5.87322E+ 13   5396.94   0.0282594    0 .2272329   0.0685898      0.8743458    7.0305859 2.0903373 7.030586
           31:11.2   574349 6.35303E+12     5.84595E+ 13   5395.06   0.0282594    0.0368119    0.0688857      0 .8743458   1.1389602 2.0993542 2.099354
           36:14.2   574350 6.35303£+12     5.91267E+l3    5396.77   0.0282594    0.0273647        0 .06813   0.8743458    0.8466638 2.0763241 2.076324
           41:17.0   574350 6.35303£+12     5.91267£+13    5395.88   0.0 282594   0.0250754    0 .0681188     0 .8743458   0.7758329 2.0759816 2.075982
           46:20.3   574351 6.35303£+ 12    5.92508E+13     5395.8   0.0282594    0.0257701    0 .0679751     0.8743458    0.7973269 2.0716025 2.071603
           51:23.3   574351 6.35303£+12     5.92508E+13    5393.06   0.0282594    0.0249811    0.0679406      0.8743458    0.7729152 2.0705505 2.070551
           56:25.9   574351 6,35303£+12     5.92508E+13    5391.33   0.0282594    0.0252147    0.0679188      0.8743458    0.7801428 2.0698863 2.069886
           01:28.7   574351 6.35303E+12     5.92508E+l3    5390.01   0.0294875    0.0252863    0.0679022      0.9123433    0. 7823581 2.0693795 2.06938
           06:31.8   574351 6.35303£+12     5.92508E+13    5374.44   0.0294875    0.0227695      0.067706     0.9123433    o. 7044883 2.0634017 2.063402
           11:34,6   574351 6.35303£+12     5.92508E+l3    5371.81   0.0294875    0.0228204    0.0676729      0.9123433    0.7060632 2.062392 2.062392
           16:37.4   574352 6.35303£+ 12    5. 79249£+13    5372.6   0.0294875      0.024445   0.0692321      0 .9123433   0.7563283 2.1099115 2.109912
                                                                                                                                                           Document: 39-3




           21:40.3   574353 6.35303E+12     5.95341£+13    5377.77   0.0294875    0.0231413    0.0674255      0.9123433    0.7159918 2.0548543 2.054854
           26:43.1   574353 6.35303£+12     5.95341£+13    5384.99   0.0294875    0.0250495    0.0675161      0 .9123433   0.7750315 2.0576131 2.057613
           31:45.9   574353 6.35303E+l2     5.95341£+13    5393.61   0.0294875    0.0254698    0.0676241      0.9123433    0.7880356 2.0609068 2.060907




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           36:48.6   574353 6.35303E+12     5.95341£+13    5395.02   0.0294875    0.0254096    0.0676418      0.9123433     0.786173 2.0614455 2.061446
           41:51.5   574353 6.35303E+12     5.95341£+13    5401.49   0.0294875    0.0250828    0 .0677229     0.9123433    0.7760618 2.0639177 2.063918
           46:55.3   574356 6.35303E+12     6.01278£+13    5393.39   0.0294875    0.0235193    0.0669538      0.9123433    0.7276871 2.0404768 2.040477
           51:58.7   574356 6.35303£+12     6.01278£+13     5401.9   0.0294875    0.0249891    0.0670594      0.9123433    0.7731628 2.0436963 2.043696
           57:01.6   574357 6.35303E+l2     5.98782£+13    5404.01   0.0294875    0.0221317    0.0673653      0.9123433    0.6847548 2.0530169 2.053017
                                                                                                                                                           Page: 201




           02:04.6   574357 6.35303E+l2     5.98782E+l3    5410.44   0.0358722      0.021966   0.0674454      1.1098859     0.679628 2.0554597 2.05546
           07:08.5   574357 6.35303£+12     5.98782£+13    5413.48   0.0358722    0.0217579    0.0674833      1.1098859    0.6731894 2.0566147 2.056615
           12:11.9   574359 6.35303E+l2     5.99023E+13    5412.99   0.0358722    0.0219837    0.0674501      1.1098859    0,6801757 2.0556012 2.055601
           17:15.2   574360 6.35303£+12       6.0023£+13   5413.64   0.0358722    0.0220791    0.0673224      1.1098859    0.6831274 2.0517109 2.051711
           22:18.3   574360 6.35303£+12       6.0023E+l3   5409.57   0.0358722    0.0229158    0.0672718      1.1098859    0.7090149 2.0501684 2.050168
           27:22.6   574360 6.35303£+12       6.0023E+l3    5403.2   0.0358722    0.0226755    0.0671926      1.1098859       0.70158 2.0477543 2.047754
           32:25.6   574361 6.35303£+12     5.95038E+13    5409.65   0.0358722    0.0247112    0.0678598      1.1098859    0.7645645 2.068088 2.068088
           37:29.5   574361 6.35303£+12     5.95038E+13    5414.99   0.0358722    0.0361625    0.0679268      1.1098859    1.1188678 2.0701294 2.070129
           42:32.7   574362 6.35303E+l2     5.87448E+13    5422.88   0.0358722    0.0240264    0.0689047      1.1098859    0. 7433768 2.0999322 2.099932
           47:36.4   574362 6.35303£+12     5.87448E+13    5432.58   0.0358722    0.0226338    0.0690279      1.1098859    0.7002898 2.1036884 2.103688
           52:39.7   574362 6.35303£+12     5.87448E+13    5428.01   0.0358722    0.0242397    0.0689699      1.1098859    0.7499763 2.1019188 2.101919
           57:42,7   574363 6.35303E+12     5.80502E+13    5427.15   0.0358722      0.032838   0.0697841      1.1098859    1.0160077 2.1267343 2.126734
                                                                                                                                                           Filed: 01/02/2024




           02:45.9   574364 6.35303£+12     5.78645E+13    5427.23   0.0269724      0.048486   0.0700091      0.8345261    1.5001568 2.1335902 2.13359
           07:49.0   574364 6.35303E+12     5.78645£+13    5441.99   0.0269724    0.0436141    0.0701995      0.8345261    1.3494203 2.1393928 2.139393
           12:51.9   574365 6.35303E+ 12    5.73396E+13    5428.97   0.0269724    0.0245126    0.0706726      0.8345261    0.7584198 2.1538115 2.153812
           17:54.9   574367 6.35303E+l2     5.84533E+l3    5439.06   0.0269724    0.0248829      0.069455     0.8345261    0.7698769 2.1167024 2.116702
           22:58.1   574367 6.35303E+l2     5.84533E+13    5434.48   0.0269724      0.023353   0.0693965      0.8345261    0.7225418 2.1149201 2.11492
           28:01.3    574368 6.35303E+12   5.81378E+ 13     5438.3   0.0269724    0.0216344    0.0698221    0.8345261   0.6693683 2.1278923 2.127892
           33:04.7    574368 6.35303E+12   5.81378E+ 13    5439.66   0.0269724    0.0213325    0.0698396    0.8345261   0.6600276 2.1284244 2.128424
           38:08.1    574369 6.35303E+l2     5.7527E+l3    5442.57   0.0269724    0.0208171    0.0706189    0.8345261   0.6440811 2.1521741 2.152174
           43:11.1    574370 6.35303E+l2   5.73316E+13     5444.99   0.0269724    0.0201683    0.0708911    0.8345261   0.6240072 2.1604697 2.16047
           48:14.1    574370 6.35303E+l2   5.73316E+l3     5466.35   0.0269724    0.0200828    0.0711692    0.8345261   0.6213618 2.1689449 2.168945
           53:17.4    574370 6.35303E+12   5.73316E+l3     5469.28   0.0269724    0.0197299    0.0712073    0.8345261   0.6104431 2.1701075 2.170108
           58:20.4    574373 6.35303E+12   5.75391E+ 13    5468.81   0.0269724    0.0200014    0.0709444    0.8345261   0.6188433 2.1620944 2.162094
           03:23.6    574373 6.35303E+l2   5.75391E+l3     5471.06   0.0207906    0.0196896    0.0709736    0.6432612   0.6091962 2.1629839 2.162984
           08:26.7    574374 6.35303E+12   5.70787E+13     5464.23   0.0207906    0.0194455    0.0714567    0.6432612   0.6016438 2.177708 2.177708
           13:29.7    574374 6.35303E+l2   5.70787E+l3     5456.01   0.0207906    0.01982.43   0.0713492    0.6432612   0.6133638 2.1744321 2.174432
           23:35.9    574376 6.35303E+l2   5.68162E+l3     5459.27   0.0207906    0.0215706    0.0717217    0.6432612   0.6673944 2.185782 2.185782
           28:38.8    574376 6.35303E+12   5.68162E+l3     5454.55   0.0207906    0.0196633    0.0716596    0.6432612   0.6083825 2.1838922 2.183892
           38:44.6    574377 6.35303E+l2   5.63276E+l3      5466.4   0.0207906    0.0221114    0.0724384    0.6432612   0.6841267 2.2076251 2.207625
                                                                                                                                                        Case: 23-1922




           43:47.3    574377 6.35303E+l2   5.63276E+ 13    5465.31   0.0207906    0.0214445    0.0724239    0.6432612   0.6634928 2.2071849 2.207185
           48:50.6    574378 6.35303E+l2   5.65074E+13     5471.97   0.0207906    0.0214515    0.0722814    0.6432612   0.6637094 2.2028417 2.202842
           53:53.3    574378 6.35303E+12   5.65074E+l3      5467.7   0.0207906    0.0210118     0.072225    0.6432612   0.6501051 2.2011227 2.201123
           58:56.2    574379 6.35303E+l2   5.75462E+l3      5464.7   0.0207906     0.019883    0.0708824    0.6432612      0.61518 2.1602037 2.160204
           04:31 .8   574384 6.35303E+l2   5.65611E+l3     5475.86      0.01793   0.0189255    0.0722642    0.5547542    0.585555 2.2023153 2.202315
           09:34.9    574384 6.35303E+l2   5.6561 lE+ 13   5473.44      0.01793   0.0188962    0.0722322    0.5547542   0.5846484 2.201342 2.201342
           14:37.8    574384 6.35303E+l2   5.65611E+ 13    5475.01      0.01793    0.018951    0.072252.9   0.5547542   0.5863439 2.2019735 2.201974
           19:40.7    574384 6.35303E+12   5.65611E+l3     5478.95      0.01793   0.0186057    0.0723049    0.5547542   0.5756604 2.2035581 2.203558
           24:43.7    574384 6.35303E+l2   5.65611E+13     5485.86      0.01793   0.0184337    0.0723961    0.5547542   0.5703387 2.2063372 2.206337
           29:46.4    574385 6.35303E+l2   5.52675E+13     5483.01      0.01793   0.0180784    0.0740521    0.5547542   0.5593457 2.2568058 2.256806
           34:49.2    574386 6.35303E+l2    5.5002E+l3     5487.88      0.01793   0.0183673    0.0744757    0.5547542   0.5682843 2.2697143 2.269714
           39:52.0    574387 6.35303E+l2    5.4816E+l3      5489.7      0.01793   0.0188157    0.0747532    0.5547542   0.5821578 2.278171 2.278171
                                                                                                                                                        Document: 39-3




           44:55.2    574387 6.35303E+l2    5.4816E+l3     5485.01      0.01793   0.0183954    0.0746893    0.5547542   0.5691537 2.2762247 2.276225
           49:58.0    574387 6.35303E+l2    5.4816E+ 13     5494.4      0.01793   0.0185406    0.0748172    0.5547542   0.5736462 2.2801215 2.280122
           55:00.7    574387 6.35303E+l2    5.4816E+ 13    5492.41      0.01793    0.018494    0.0747901    0.5547542   0.5722044 2.2792957 2.279296




Appx2992
           00:04.0    574388 6.35303E+l2   5.41076E+13     5491.83   0.0169796    0,0185045    0.0757612    0.5253488   0.5725292 2.3088909 2.308891
           05:07.0    574388 6.35303E+l2   5.41076E+ 13     5492.5   0.0169796    0.0185003    0.0757704    0.5253488   0.5723993 2.3091726 2.309173
           10:10.3    574388 6.35303E+l2   5.41076E+l3     5499.47   0.0169796    0.0184926    0.0758666    0.5253488    0.572161 2.3121029 2.312103
           15:13.1    574390 6.35303E+l2   5.36713E+13     5499.81   0.0169796    0.0184921    0.0764881    0.5253488   0.5721456 2.3310446 2.331045
           20:15.9    574393 6.35303E+l2    5.4543E+13     5532.69   0.0169796    0.0189826    0.0757157    0.5253488   0.5873216 2.3075042 2.307504
                                                                                                                                                        Page: 202




           25:19.0    574393 6.35303E+12    5.4543E+l3     5532.49   0.0169796    0.0194997     0.075713    0.5253488   0.6033207 2.3074208 2.307421
           30:22.4    574393 6.35303E+l2    5.4543E+13     5536.93   0.0169796       0.01969   0.0757737    0.5253488   0.6092086 2.3092726 2.309273
           35:25.7    574393 6.35303E+12    5.4543E+l3     5564.48   0.0169796    0.0196471    0.0761508    0.5253488   0.6078813 2.3207628 2.320763
           40:28.5    574394 6.35303E+l2   5.38779E+l3     5538.44   0.0169796    0.0199408    0.0767299    0.5253488   0.6169684 2.3384139 2.338414
           45:31.4    574395 6.35303E+l2   5.53825E+ 13    5520.08   0.0169796    0.0196539     0.074398    0.5253488   0.6080917 2.2673468 2.267347
           50:34.1    574395 6.35303E+l2   5.53825E+l3     5520.48   0.0169796    0.0197095    0.0744034    0.5253488   0.6098119 2.2675111 2.267511
           55:37.0    574395 6.35303E+l2   5.53825E+13     5515.98   0.0169796    0.0193539    0.0743428    0.5253488   0.5988097 2.2656627 2.265663
           00:39.8    574395 6.35303E+12   5.53825E+13     5518.69   0.0176483    0.0193487    0.0743793    0.5460384   0.5986488 2.2667759 2.266776
           05:43.2    574395 6.35303E+l2   5.53825E+13     5531.68   0.0176483    0.0192845    0.0745544    0.5460384   0.5966624 2.2721114 2.272111
           10:46.2    574395 6.35303E+l2   5.53825E+l3      5528.2   0.0176483    0.0191026    0.0745075    0.5460384   0.5910344 2.270682 2.270682
           15:49.5    574396 6.35303E+l2   5.44713E+13      5541.2   0.0176483    0.0190542     0.075932    0.5460384   0.5895369 2.3140947 2.314095
           20:52.5    574396 6.35303E+12   5.44713E+13     5544.69   0.0176483    0.0190808    0.0759798    0.5460384     0.59036 2.3155521 2.315552
                                                                                                                                                        Filed: 01/02/2024




           25:55.5    574396 6.35303E+12   5.44713E+l3     5552.98   0.0176483     0.019178    0.0760934    0.5460384   0.5933673 2.3190142 2.319014
           30:59.2    574397 6.35303E+12   5.38389E+13     5536.99   0.0176483     0.018807    0.0767654    0.5460384   0.5818886 2.3394943 2.339494
           41:05.7    574397 6.35303E+l2   5.38389E+13     5578.73   0.0176483    0.0189594    0.0773441    0.5460384   0.5866038 2.3571303 2.35713
           46:09.1    574397 6.35303E+12   5.38389E+l3     5587.27   0.0176483    0.0190541    0.0774625    0.5460384   0.5895339 2.3607386 2.360739
           51:12.8    574397 6.35303E+12   5.38389E+13     5577.62   0.0176483    0.0195343    0.0773287    0.5460384   0.6043912 2.3566613 2.356661
           56:15.8    574397 6.35303E+l2    5.38389E+13     5578.43   0.0176483    0.0195897     0.0773399   0.5460384   0.6061053 2.3570036 2.357004
           01:18.8    574398 6.35303E+12    5.24135E+13     5585.77   0.0178528    0.0199086     0.0795478   0.5523656   0.6159721      2.42429 2.42429
           06:21. 7   574399 6.35303E+12    5.22154E+l3     5570.36   0.0178528    0.0200685     0.0796293   0.5523656   0.6209194 2.4267736 2.426774
           11:24.5    574400 6.35303E+12    5.19602E+13      5563.2   0.0178528    0.0198898     0.0799175   0.5523656   0.6153904 2.4355582 2.435558
           16:27.7    574400 6.35303E+l2    5.19602E+l3     5579.23   0.0178528    0.0199775     0.0801478   0.5523656   0.6181039 2.4425761 2.442576
           21 :30.9   574400 6.35303E+l2    5.19602E+13     5571.91   0.0178528    0.0199738     0.0800426   0.5523656   0.6179894 2.4393714 2.439371
           26:33.7    574401 6.35303E+l2    5.14241E+l3     5570.27   0.0178528    0.0201313     0.0808533   0.5523656   0.6228624 2.4640783 2.464078
           31:36.6    574402 6.35303E+12    5.15991E+l3     5562.53   0.0178528    0.0200901     0.0804671   0.5523656   0.6215877 2.4523071 2.452307
           36:39.5    574402 6.35303E+12    5.15991E+13     5598.28   0.0178528    0 .0208431    0.0809843   0.5523656   0.6448855 2.4680679 2.468068
           41:42.6    574404 6.35303E+ 12   5.22163E+l3     5622.51   0.0178528    0 .0203289    0.0803735   0.5523656   0.6289762 2.4494541 2.449454
           46:45.4    574405 6.35303E+l2    5.26766E+ 13    5610.46   0.0178528    0.0223107     0.0795004   0.5523656   0.6902931 2.4228448 2.422845
           51:48.0    574406 6.35303E+l2    5.44332E+ 13    5697.34   0 .0178528   0.0203729     0.0781261   0.5523656   0.6303375 2.3809636 2.380964
           56:51.2    574407 6.35303E+l2    5.44179E+l3     5660.07   0.0178528    0.0202985      0.077637   0.5523656   0.6280356 2.3660567 2.366057
                                                                                                                                                          Case: 23-1922




           01:53.8    574407 6.35303E+ 12   S.44179E+13     5667.78    0 .018673    0 .019187    0.0777427   0.5777426   0.5936458 2.3692797 2.36928
           06:56.8    574408 6.35303E+12.   5.43366E+l3     5661.93    0.018673    0.0198179     0.0777787   0.5777426   0.6131658 2.3703744 2.370374
           11:59.7    574409 6.35303E+12    5.45039E+13      5688.4    0.018673    0.0201109     0.0779024   0.5777426   0.6222312 2.3741451 2.374145
           17:02.5    574409 6.35303E+12.   5.45039E+13     5705.82    0.018673    0.0203436     0.0781409   0.5777426     0.629431 2.3814156 2.381416
           22:05.5    574409 6.35303E+ 12   5.45039E+l3     5684.26    0.018673    0.0227072     0.0778457   0.5777426   0 .7025608 2.3724172 2.372417
           27:08.6    574410 6.35303E+ 12     5.4739E+l3    5675.94    0.018673     0.020882     0.0773979   0.5777426   0.6460891 2.3587711 2.358771
           32:12.0    574410 6.35303E+12      5.4739E+l3     5704.8    0.018673    0.0217919     0.0777915   0.5777426   0 .6742414 2.3707646 2.370765
           37:15.1    574410 6.35303E+12      5.4739E+13    5701.98    0.018673    0.0218761      0.077753   0.5777426   0.6768465 2.3695926 2 .369593
           42:18.0    574410 6.35303E+12      5.4739E+l3    5732.34    0.018673    0.0216156      0.078167   0.5777426   0.6687867 2.3822095 2.38221
           47:21.3    574410 6.35303E+12      5.4739E+13    5753.01    0.018673    0.0231724     0.0784489   0.5777426   0.7169541 2.3907994 2.390799
           52:24.4    574410 6.35303E+ 12     5.4739E+13    5756.81    0.018673    0.0236957     0.0785007   0.5777426     0.733145 2.3923786 2.392379
           07:33.5    574412 6.35303E+12    5.33495E+13      5695.4   0.0236366    0.0226621     0.0796861   0.7313164   0.7011654 2.4285046 2.428505
                                                                                                                                                          Document: 39-3




           12:36.5    574412 6.35303E+ 12   5 .33495E+13    5717.23   0.0236366    0.0234957     0.0799915   0.7313164     0. 726957 2.4378128 2.437813
           17:39.6    574413 6.35303E+12    5 .25253E+l3    5714.11   0.0236366    0.0236965     0.0812022   0.7313164   0.7331697 2.4747113 2.474711
           22:42.4    574413 6.35303E+12    5.25253E+l3     5730.11   0.0236366    0.0223574     0.0814296   0.7313164     0.691738 2.4816407 2.481641




Appx2993
           27:45.2    574413 6.35303E+l2    5.25253E+l3     5715.55   0.0236366    0.0257048     0.0812227   0.7313164   0.7953065 2.475335 2.475335
           32:48.0    574414 6.35303E+12    5.19701E+l3     5734.99   0.0236366    0.0255095     0.0823697   0.7313164   0.7892639 2.5102894 2.510289
           37:50.7    574414 6.35303E+l2    5.19701E+13     5743.05   0.0236366    0.0257825     0.0824854   0.7313164   0.7977106 2.5138174 2.513817
           47:55.8    574419 6.35303E+12        5.263E+13   5733.81   0.0236366    0.0226332     0.0813201   0.7313164   0.7002712 2.4783037 2.478304
           52:58.6    574420 6.35303E+l2    5 .25895E+13    5702.24   0.0236366    0.0365861     0.0809348   0.7313164   1.1319739 2.4665598 2.46656
                                                                                                                                                          Page: 203




           03:05.l    574422 6.35303E+l2      5.2543E+l3    5687,09   0.0270381    0.0220677      0.080791   0.8365588   0 .6827746 2.4621796 2.46218
           08:08.3    574424 6.35303E+12    5.28202E+l3     5689.31   0.0270381     0.021979     0.0803985   0.8365588   0.6800303 2.4502159 2.450216
           13:11.1    574424 6.35303E+12    5.28202E+13     5696.24   0.0270381    0.0220696     0.0804964   0.8365588   0.6828334 2.4532005 2.453201
           18:13.9    574424 6.35303E+l2    5 .28202E+13    5678.52   0.0270381    0.0284763      0.080246   0.8365588   0.8810567 2.445569 2.445569
           23:16.6    574426 6.35303E+12    5.30049E+l3     5680.01   0.0270381    0.0489843     0.0799874   0.8365588   1.5155742 2.4376872 2.437687
           28:21.0    574427 6.35303E+12    5 .28466E+13    5679.28   0.0270381    0.2387125     0.0802166   0.8365588   7.3857647 2.4446732 7.385765
           33:25.0    574427 6.35303E+12    5.28466E+13     5698.99   0.0270381    0.2311826      0.080495   0.8365588   7.1527896 2.4531574 7.15279
           38:27.9    574427 6.35303E+12    5 .28466E+ 13   5702.85   0.0270381    0.0493653     0.0805495   0.8365588   1.5273624 2.454819 2.454819
           43:31.1    574428 6.35303E+12      5.2354E+l3     5722.4   0.0270381    0 .0281258    0.0815862   0.8365588   0 .8702123 2.4864117 2.486412
           48:33.8    574428 6.35303E+12      5.2354E+l3    5716.73   0.0270381    0.0284039     0.0815053   0.8365588   0.8788167 2.483948 2.483948
           53:36.7    574428 6.35303E+12      5.2354E+13    5711.78   0.0270381        0.02865   0.0814347   0.8365588     0.886431 2.4817972 2.481797
           58:39.3    574429 6.35303E+l2    5 .15634E+l3    5700.85   0 .0270381   0.0241868     0.0825252   0.8365588   0.7483396 2.5150298 2.51503
                                                                                                                                                          Filed: 01/02/2024




           03:42.5    574429 6.35303E+12    5.15634E+13     5699.99   0.0277604    0.0226736     0.0825128   0.8589068   0. 7015212 2.5146504 2.51465
           08:45.2    574429 6.35303E+l2    5.15634E+l3     5715.88   0.0277604    0.0234588     0.0827428   0.8589068   0. 7258153 2.5216605 2.521661
           13:48.0    574430 6.35303E+l2    5.12815E+l3      5716.7   0 .0277604   0.0236299     0.0832095   0.8589068   0.7311091 2.5358831 2.535883
           18:51.3    574430 6.35303E+l2    5 .12815E+l3    5707.94   0.0277604    0.0239638     0.0830819   0.8589068      0 .74144 2.5319972 2.531997
           23:54.2    574430 6.35303E+12    5 .12815E+13    5728.45   0.0277604    0.0239508     0.0833805   0.8589068   0.7410378 2.5410953 2.541095
           28:57.1   574430 6.35303E+12   5.12815E+l3    5736.02   0.0277604   0.0240308    0.0834907    0.8589068     0.743513 2.5444533 2.544453
           33:59.8   574430 6.35303E+12   5.12815E+l3    5740.86   0.0277604   0.0248987    0.0835611    0.8589068   0. 7703658 2.5466002    2.5466
           39:02.8   574430 6.35303E+l2   5.12815E+l3    5735.65   0.0277604      0.02456   0.0834853    0.8589068   0.7598864 2.5442891 2.544289
           44:05.8   574430 6.35303E+l2   5.12815E+13     5732.1   0.0277604   0.0249204    0.0834336    0.8589068   0. 7710372 2.5427144 2.542714
           49:08.6   574431 6.35303E+12   4.97074E+13     5725.7   0.0277604   0.0480883    0.0859796    0.8589068     1.487852 2.6203068 2.620307
           54:11.5   574432 6.35303E+l2   4.99455E+13    5720.02   0.0277604   0.0288004    0.0854849    0.8589068   0.8910844 2.6052295 2.60523
           59:14.4   574432 6.35303E+l2   4.99455E+l3    5706.01   0.0277604   0.0478212    0.0852755    0.8589068   1.4795879 2.5988485 2.598849
           04:17.3   574433 6.35303E+l2   4.98413E•l3    5720.99    0.027778   0.0269386    0.0856781    0.8594513   0.8334803 2.6111164 2.611116
           09:20.0   574435 6.35303E+l2   4.97656E+l3    5725.87    0.027778   0.0240209    0.0858817    0.8594513   0.7432066 2.6173216 2.617322
           14:23.2   574435 6.35303E+l2   4.97656E+13    5733.32    0.027778   0.0249794    0.0859934    0.8594513   0.7728626 2.62072.7 2.620727
           19:26.0   574437 6.35303E+l2   4.98823E+13    5729.99    0.027778   0.0275281    0.0857423    0.8594513   0.8517194 2.6130745 2.613075
           29:31.7   574439 6.35303E+12   4.96328E+l3    5746.56    0.027778   0.0485069    0.0864226    0.8594513   1.5008035 2.6338056 2.633806
           34:35.2   574441 6.35303E+l2   5.04581E+l3    5735.82    0.027778   0.0272909    0.0848502    0.8594513   0.8443804 2.5858866 2.585887
                                                                                                                                                      Case: 23-1922




           39:38.2   574441 6.35303E+l2   5.04581E+l3    5745.02    0.027778   0.0271114    0.0849863    0.8594513   0.8388267 2.5900343 2.590034
           44:40.9   574442 6.35303E+l2   5.28842E+l3    5751.06    0.027778   0.0487904    0.0811728    0.8594513     1.509575 2.4738132 2.473813
           54:46.1   574442 6.35303E+l2   5.28842E+ 13   5741.39    0.027778   0.0269661    0.0810363    0.8594513   0.8343311 2.469653 7 2.469654
           59:49.2   574443 6.35303E+l2   5.28228E+ l3   5739.18    0.027778   0.0258253    0.0810993    0.8594513   0.7990348 2.4715738 2.471574
           04:52.0   574443 6.35303E+l2   5.28228E+l3    5735.16   0.0303126   0.0260635    0.0810425    0.9378718   0.8064047 2.4698426 2.469843
           09:54.9   574443 6.35303E+l2   5.28228E+13    5753.15   0.0303126   0.0249105    0.0812967    0.9378718   0.7707309     2.47759 2.47759
           14:57.9   574443 6.35303E+l2   5.28228E+l3    5760.65   0.0303126   0.0251299    0.0814027    0.9378718   0.7775191 2.4808199 2.48082
           20:00.9   574443 6.35303E+l2   5.28228E+ 13   5758.01   0.0303126   0.0254432    0.0813654    0.9378718   0.7872126 2.4796829 2.479683
           30:06.6   574445 6.35303E+l2   5.19166E+l3    5760.01   0.0303126   0.02.82726   0.0828144    0.9378718   0.8747542 2.5238421 2.523842
           35:09.9   574446 6.35303E+l2   5.17083E+13     5750.9   0.0303126   0.0348358    0.0830164    0.9378718   1.0778197 2.5299985 2.529999
           40:13.0   574446 6.35303E+l2   5.17083E+l3    5762.47   0.0303126   0.0280725    0.0831834    0.9378718   0.8685632 2.5350885 2.535089
           45:15.9   574446 6.35303E+l2   5.17083E+l3    5753.72   0.0303126    0.026982    0.0830571    0.9378718   0.8348231 2.5312392 2.531239
                                                                                                                                                      Document: 39-3




           50:18.7   574448 6.35303E+l2   5.19511E+l3    5754.06   0.0303126   0.0268925    0.0826737    0.9378718    0.832054 2.5195561 2.519556
           00:24.0   574448 6.35303E+l2   5.19511E+13    5721.44   0.0294253   0.0271858     0.082205    0.9104188   0.8411287 2.5052726 2.505273
           05:27.0   574448 6.35303E+l2   5.19511E+13    5706.98   0.0294253   0.0253359    0.0819973    0.9104188   0.7838927 2.4989409 2.498941




Appx2994
           10:30.3   574449 6.35303E+l2   5.17328[+13    5701.52   0.0294253   0.0259191    0.0822646    0.9104188    0.801937 2.5070865 2.507087
           15:33.5   574450 6.35303E+12   5.16724E+13    5720.36   0.0294253   0.0262614    0.0826329    0.9104188   0.8125277 2.5183117 2.518312
           20:36.3   574450 6.35303E+l2   5.16724E+l3     5715.9   0.0294253   0.0259411    0.0825685    0.9104188   0.8026176 2.5163482 2.516348
           25:39.3   574450 6.35303E+l2   5.16724[+13    5710.01   0.0294253      0.02602   0.0824834    0.9104188   0.8050588 2.5137552 2.513755
           30:42.6   574450 6.35303E+l2   5.16724[+13    5720.01   0.0294253   0.0257416    0.0826278    0.9104188   0.7964451 2.5181576 2.513158
                                                                                                                                                      Page: 204




           35:45.4   574450 6.35303E+12   5.16724[+13    5725.31   0.0294253   0.0263149    0.0827044    0.9104188    0.814183 2.5204908 2.520491
           40:48.2   574452 6.35303[+12   5.09821[+13    5714.39   0.0294253   0.0264506    0.0836643    0.9104188   0.8183816 2.5497457 2.549746
           45:51.1   574454 6.35303E+12   5.11925[+13    5720.01   0.0294253   0.0252602    0.0834024    0.9104188   0.7815506 2.5417623 2.541762
           50:54.1   574454 6.35303[•12   5.11925E+l3    5704.48   0.0294253   0.0244985    0.0831759    0.9104188   0.7579836 2.5348614 2.534861
           55:57.1   574454 6.35303[•12   5.11925E+13    5713.35   0.0294253   0.0241693    0.0833053    0.9104188   0.7477981 2.5388029 2.538803
           00:59.9   574454 6.35303E•l2   5.11925E+B     5714.69   0.0318592   0.0253433    0.0833248    0.9857236   0.7841217 2.5393983 2.539398
           06:03.5   574454 6.35303[+12   5,11925[+13    5710.33   0.0318592   0.0243257    0.0832.612   0.9857236   0.7526372 2.5374609 2.537461
           11:07.4   574454 6.35303E+l2   5.11925E+13    5705.52   0.0318592   0.0246413    0.0831911    0.9857236   0.7624018 2.5353235 2.535324
                                                                                                                                                      Filed: 01/02/2024
             Case: 23-1922        Document: 39-3      Page: 205   Filed: 01/02/2024




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            Case: 23-1922       Document: 39-3     Page: 206   Filed: 01/02/2024




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HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         B810000918




                                             Appx2996
           datetime block_height network_diff est_network_hashrate BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost day_ahead_LMP_rev real_time_LMP_rev mining_rev realized_rev
            22:20.9     574204    6.35303E+12        5.38327E+13     5320.02    0.0054942      0.0058423             0.0737658          0.1699905         0.1807608   2.2480786    2.2480786
            27:24.1     574204    6.35303E+12        5.38327E+13     5320.01    0.0054942      0.0062269             0.0737656          0.1699905         0.1926603   2.2480744    2.2480744
            32:27.2     574204    6.35303E+12        5.38327E+13     5321.94    0.0054942      0.0045157             0.0737924          0.1699905         0.1397158      2.24889      2.24889
            37:30.3     574205    6.35303E+12        5.30839E+13     5321.95    0.0054942      0.0035338             0.0748335          0.1699905         0.1093358   2.2806172    2.2806172
            42:33.3     574205    6.35303E+12        5.30839E+13     5326.19    0.0054942       0.002277             0.0748931          0.1699905         0.0704504   2.2824342    2.2824342
            47:36.1     574206    6.35303E+l2        5.44532E+ 13    5328.27    0.0054942      0.0051513             0.0730384          0.1699905         0.1593812    2.225912     2.225912
            52:39.2     574206    6.35303E+12        5.44532E+13     5328.65    0.0054942      0.0072185             0.0730436          0.1699905         0.2233404   2.2260707    2.2260707
            57:42.1     574207    6.35303E+l2        5.39845E+13     5327.68    0.0054942      0.0010915             0.0736643          0.1699905          0.033771   2.2449863    2.2449863
            02:45.4     574207    6.35303E+12        5.39845E+l3     5327.22    0.0007072      0.0026959              0.073658          0.0218808         0.0834111   2.2447925    2.2447925
            07:48.3     574208    6.35303E+12        5.34662E+13     5325.01    0.0007072     -0.0034108             0.0743412          0.0218808        -0.1055302   2.2656139    2.2656139
            12:51.5     574208    6.35303E+12        5.34662E+13     5325.01    0.0007072     -0.0088288             0.0743412          0.0218808        -0.2731631   2.2656139    2.2656139
                                                                                                                                                                                                Case: 23-1922




            17:54.3     5 74209   6.35303E+12        5.33477E+13     5321.01    0.0007072      0.0005301             0.0744503          0.0218808         0.0164013   2.2689395    2.2689395
            22:57.3     574209    6.35303E+12        5.33477E+13     5327.95    0.0007072      0.0007828             0.0745474          0.0218808         0.0242198   2.2718988    2.2718988
            28:01.3     574211    6.35303E+l2        5.42133E+13     5325.19    0.0007072     -0.0182739             0.0733191          0.0218808        -0.5653945   2.2344662    2.2344662
            33:04.8     574212    6.35303E+l2        5.54528E+l3     5323.43    0,0007072     -0.0301375             0.0716566          0.0218808        -0.9324543       2.1838       2.1838
            38:07.8     5 74214   6.35303E+12            5.533E+13   5323.35    0.0007072     -0.0305618             0.0718145          0.0218808        -0.9455821   2.1886119    2,1886119
            43:10.7     5 74215   6.35303E+12        5.58834E+13      5323.1    0.0007072     -0.0284827             0.0711001          0.0218808        -0.8812547   2.1668382    2.1668382
            48:13.5     574215    6.35303E+l2        5.58834E+l3     5326.55    0.0007072     -0.0254853             0.0711461          0.0218808        -0.7885152   2.1682425    2.1682425
            53:16.6     5 74215   6.35303E+12        5.58834E+13      5328.3    0.0007072     -0.0291736             0.0711695          0.0218808        -0.9026312   2.1689549    2.1689549
            58:19.3     574216    6.35303E+12        5.54406E+13     5326.69    0.0007072     -0.0300521             0.0717163          0.0218808         -0.929812   2.1856184    2.1856184
            03:22.6     574216    6.35303E+12        5 .54406E+13    5330.35    0.0001184     -0.0293821             0.0717656          0.0036633        -0.9090822   2.1871201    2.1871201
            08:25.6     574218    6.35303E+12        5 .58377E+13    5330.78    0.0001184     -0.0030017              0.071261          0.0036633        -0.0928726   2.1717421    2.1717421
                                                                                                                                                                                                Document: 39-3




            13:28.5     574220    6.35303E+12        5.59914E+13     5329.45    0.0001184     -0.0183569             0.0710476          0.0036633        -0.5679625   2.1652392    2.1652392
            18:31.4     574220    6.35303E+l2        5.59914E+13     5348.41    0.0001184     -0.0168349             0.0713003          0.0036633        -0.5208718   2.1729422    2.1729422
            23:34.2     574223    6.35303E+12        5.60912E+13     5338.35    0.0001184     -0.0262408             0.0710397          0.0036633        -0.8118904    2.164998     2.164998




Appx2997
            28:37.1     574226    6.35303E+12        5.60441E+13     5328.39    0.0001184     -0.0286978             0.0709666          0.0036633        -0.8879099   2.1627725    2.1627725
            33:39.9     574226    6.35303E+12        5.60441E+13      5333.1    0.0001184     -0.0249271             0.0710294          0.0036633        -0.7712445   2.1646843    2.1646843
            38:43.2     574227    6.35303E+12        5.56725E+13     5332.07    0.0001184     -0.0184168             0.0714897          0.0036633        -0.5698158   2.1787132    2.1787132
            43:45.9     574227    6.35303E+12        5.56725E+13     5339.02    0.0001184     -0.0190364             0.0715829          0.0036633        -0.5889862    2.181553     2.181553
            48:49.2     574228    6.35303E+12        5.52451E+13     5343.15    0.0001184     -0.0188272             0.0721925          0.0036633        -0.5825136   2.2001303    2.2001303
                                                                                                                                                                                                Page: 207




            53:52.1     574229    6.35303E+12         5.5892E+l3     5338.61    0.0001184     -0.0278877             0.0712963          0.0036633        -0.8628454   2.1728179    2.1728179
            58:55.4     574229    6.35303E+12         5.5892E+13     5336.51    0.0001184     -0.0228802             0.0712682          0.0036633        -0.7079134   2.1719632    2.1719632
            03:58.2     574229    6.35303E+12         5.5892E+13     5340.15      4.90E-06     -0.018324             0.0713168          0.0001516        -0.5669446   2.1734447    2.1734447
            09:01.3     574229    6.35303E+12         5.5892E+13     5341.69      4.90E-06    -0.0302504             0.0713374          0.0001516        -0.9359474   2.1740715    2.1740715
            14:04.8     574230    6.35303E+12        5.53347E+13      5346.1      4.90E-06    -0.0297233             0.0721153          0.0001516        -0.9196389   2.1977795    2.1977795
            19:07.8     574230    6.35303E+12        5.53347E+ 13    5347.19      4.90E-06    -0.0295915                0.07213         0.0001516         -0.915561   2.1982276    2.1982276
            24:10.8     574231    6.35303E+l2        5.49411E+l3     5341.77      4 .90E-06   -0.0275611             0.0725732          0.0001516        -0.8527404   2.2117345    2.2117345
            29:13.7     574231    6.35303E+12        5.49411E+13     5342.48      4.90E-06    -0.0276163             0.0725829          0.0001516        -0.8544483   2.2120284    2.2120284
            34:16.7     574232    6.35303E+12        5.47061E+13     5349.99      4.90E-06    -0.0261726             0.0729971          0.0001516        -0.8097802   2.2246529    2.2246529
            39:19.5     574232    6.35303E+12        5.47061E+13     5346.06      4.90E-06    -0.0268168             0.0729435          0.0001516        -0.8297118   2.2230187    2.2230187
            44:22.9     574232    6.35303E+12        5.47061E+13     5350.69      4.90E-06     -0.027105             0.0730067          0.0001516        -0.8386287    2.224944     2.224944
                                                                                                                                                                                                Filed: 01/02/2024




            49:25.9     574232    6.35303E+12        5.47061E+l3     5361.36      4.90E-06    -0.0282087             0.0731523          0.0001516        -0.8727772   2.2293808    2.2293808
            54:28.5     574232    6.35303E+l2        5.47061E+13     5358.36      4.90E-06    -0.0275544             0.0731113          0.0001516        -0.8525331   2.2281334    2.2281334
            59:31.3     574232    6.35303E+12        5.47061E+13     5369.47      4.90E-06     -0.025414             0.0732629          0.0001516        -0.7863092   2.2327532    2.2327532
            04:34.2     574233    6.35303E+l2        5.35475E+13     5382.49    0.0022439     -0.0254873             0.0750295          0.0694263        -0.7885771   2.2865921    2.2865921
            09:37.0     574233    6.35303E+12        5.35475E+13     5358.81    0.0022439     -0.0031512             0.0746994          0.0694263        -0.0974981   2.2765324    2.2765324
           14:39.6   574233 6.35303E+12    5.35475E+13    5359.15   0.0022439   -0.0011741     0.0747042    0.0694263    -0.0363267    2.2766768   2.2766768
           19:42.4   574233 6.35303E+12    5.35475E+13    5359.66   0.0022439   -0.0181019     0.0747113    0.0694263    -0.5600728    2.2768935   2.2768935
           24:45.0   574234 6.35303E+12    5.31615E+13    5358.18   0.0022439   -0.0021049      0.075233    0.0694263    -0.0651256    2.2927926   2.2927926
           29:47.7   574234 6.35303E+12    5 .31615E+13   5351.99   0.0022439   -0.0142703     0.0751461    0.0694263    -0.4415231    2.2901439   2.2901439
           34:50.4   574234 6.35303E+12    5.31615E+13    5344.84   0.0022439     -0.003526    0.0750457    0.0694263    -0.1090944    2.2870844   2.2870844
           39:53.2   574236 6.35303E+12    5.29706E+13    5349.94   0.0022439   -0.0156274      0.075388    0.0694263    -0.4835118    2.2975179   2.2975179
           44:56.S   574237 6.35303E+12    5.26741E+13    5348.56   0.0022439   -0.0298903     0.0757929    0.0694263    -0.9248059    2.3098563   2.3098563
           49:59.5   574238 6.35303E+12      5.2719E+13   5357.05   0.0022439   -0 .0286539    0.0758485    0.0694263    -0.8865517    2.3115503   2.3115503
           55:02.4   574238 6.35303E+12      5.2719E+13   5351.76   0.0022439       -0.00581   0.0757736    0.0694263    -0.1797614    2.3092677   2.3092677
           00:05.4   574239 6.35303E+12    5.28168E+13    5350.18   0.0110575   -0.0017958     0.0756109     0.342119    -0.0555621    2.3043114   2.3043114
           05:08.0   574239 6.35303E+12    5.28168E+13    5347.41   0.0110575   -0.02967 19    0.0755718     0.342119    -0.9180486    2.3031184   2.3031184
           10:10.8   574240 6.35303E+12    5.25658E+13    5348.27   0.0110575   -0.0286608     0.0759448     0.342119    -0.8867652     2.314487    2.314487
                                                                                                                                                               Case: 23-1922




           15:13.5   574243 6.35303E+l2    5.35108E+13    5354.34   0.0110575     -0.000324    0.0746884     0.342119    -0.0100246    2.2761958   2.2761958
           20:16.2   574245 6.35303E+l2    5.38531E+13    5358.41   0.0110575    0 .0006207       0.07427    0.342119     0.0192045    2.2634449   2.2634449
           25:18.9   574245 6.35303E+l2    5.38531E+13    5356.02   0.0110575   -0.0034312     0.0742369     0.342119    -0.1061613    2.2624353   2.2624353
           30:21.7   574246 6.35303E+l2    5.41667E+13    5359.34   0.0110575     -0.001958    0.0738528     0 .342119   -0.0605805    2.2507317   2.2507317
           35:24.4   574246 6.35303E+12    5.41667E+13    5361.98   0.0110575    0.0041538     0.0738892     0 .342119    0.1285186    2.2518404   2.2518404
           40:27.4   574246 6.35303E+l2    5.41667E+13    5366.53   0.0110575   -0.0150598     0.0739519     0.342119    -0.4659502    2.2537513   2.2537513
           45:30.2   574248 6.35303E+12    5.41479E+13    5365.93   0.0110575   -0.0019635     0.0739693     0 .342119   -0.0607507    2.2542821   2.2542821
           50:33.1   574251 6.35303E+l2    5.52479E+13    5359.19   0.0110575    0 .0009998    0.0724055     0.342119     0.0309338    2.2066234   2.2066234
           55:35.9   574251 6.35303E+12    5.52479E+13    5360.66   0.0110575    0.0009997     0.0724254     0.342119     0.0309307    2.2072286   2.2072286
           00:38.6   574252 6.35303E+12    5.50584E+13    5358.27   0.0155437      0.004066    0.0726423    0.4809221       0.125802   2.2138386   2.2138386
           05:43.2   574252 6.35303E+12    5.S0584E+13    5360.85   0.0155437    0.1479624     0.0726772    0.4809221     4 .5779567   2.2149045   4.5779567
                                                                                                                                                               Document: 39-3




           10:46.3   574253 6.35303E+12    5.55506E+13    5361.66   0.0155437      0.012018    0.0720441    0.4809221     0.3718369    2.1956089   2.1956089
           15:49.2   574255 6.35303E+12     5.5978E+13    5358.19   0.0155437    0.0085462     0.0714478    0.4809221     0.2644194    2.1774367   2.1774367
           20:52.2   574256 6.35303E+12    5.57331E+13    5364.52   0.0155437    0.0091729     0.0718465    0.4809221     0.2838095    2.1895872   2.1895872




Appx2998
           25:55.1   574257 6.35303E+l2    5.59531E+13    5368.93   0.0155437    0.0070653     0.0716229    0.4809221     0.2186004     2.182771    2.182771
           30:57.9   574257 6.35303E+l2    5.59531E+13    5369.93   0.0155437    0.0057038     0.0716362    0.4809221     0.1764756    2.1831776   2.1831776
           36:00.9   574257 6.35303E+l2    5.59531E+13    5368.01   0.0155437    0.0056384     0.0716106    0.4809221     0.1744521     2.182397    2.182397
           41:04.6   574258 6.35303E+12    5.61961E+13    5363.48   0.0155437    0.0066693     0.0712408    0.4809221     0.2063481    2.1711281   2.1711281
           46:07.7   574258 6.35303E+l2    5.61961E+13    5363.48   0.0155437    0.0064452     0.0712408    0.4809221     0.1994145    2.1711281   2.1711281
                                                                                                                                                               Page: 208




           51:10.7   574258 6.35303E+12    5.61961E+13    5363.48   0.0155437      0.006606    0.0712408    0.4809221     0.2043896    2.1711281   2.1711281
           56:17.1   574258 6.35303E+12    5.61961E+13    5368.91   0.0155437    0.0080226     0.0713129    0.4809221     0 .2482192   2.1733261   2.1733261
           01:19.9   574258 6.35303E+1 2   5.61961E+ 13   5365.45   0.0157861    0.0085946      0.071267    0.4884219     0.2659169    2.1719255   2.1719255
           06:22.6   574258 6.35303E+12    5.61961E+13    5361.34   0.0157861    0 .01 24213   0.0712124    0.4884219      0.384315    2.1702618   2.1702618
           11:25.7   574259 6.35303E+12     5.4583E+13    5360.85   0.0157861    0.0100146     0.0733103    0.4884219     0.3098517    2.2341966   2.2341966
           16:28.4   574260 6.35303E+12    5.46276E+13    5368.73   0.0157861      0.007654    0.0733581    0.4884219     0.2368148    2.2356531   2.2356531
           21:31.1   574260 6.35303E+l2    5.46276E+13    5368.72   0.0157861    0.0073542     0.0733579    0.4884219     0.2275389    2.2356489   2.2356489
           26:34.2   574260 6.35303E+l2    5.46276E+13    5367,86   0.0157861    0.0065783     0.0733462    0.4884219     0.2035326    2.2352908   2.2352908
           31:37.2   574260 6.35303£+12    5.46276E+13    5369.51   0.0157861    0.0072755     0.0733687    0.4884219      0.225104    2.2359779   2.2359779
           36:43.9   574261 6.35303E+l2    5.36607E+l3    5367.41   0.0157861    0.0067775     0.0746615    0.4884219     0.2096959    2.2753756   2.2753756
           41:47.1   574261 6.35303E+l2    5.36607E+l3    5361.03   0.0157861    0.0075486     0.0745727    0.4884219     0.2335537    2.2726709   2.2726709
           46:49.9   574261 6.35303E+l2    5.36607E+13    5363.23   0.0157861
                                                                                                                                                               Filed: 01/02/2024




                                                                                   0.007421    0.0746033    0.4884219     0.2296057    2.2736036   2.2736036
           51:52.9   574261 6.35303E+12    5.36607E+l3    5367.99   0.0157861    0.0094254     0.0746695    0.4884219     0.2916219    2.2756214   2.2756214
           56:56.1   574262 6.35303E+l2    5.24328E+13    5378.51   0.0157861    0.0074337      0.076568    0.4884219     0.2299987    2.3334773   2.3334773
           01:58.9   574266 6.35303E+12    5.51716E+13    5368.99   0.0175072    0.0070568     0.0726383    0.5416728     0.2183374    2.2137171   2.2137171
           07:01.5   574268 6.35303E+l2    5,60115E+13    5366.55   0.0175072    0.0067409     0.0715165    0.5416728     0.2085634    2.1795291   2.1795291
           12:04.4    574269   6.35303E+l2    5 .58958E+ 13   5356.64    0.0175072   0.0075027    0.0715322    0.5416728   0.2321335    2.1800073   2.1800073
           17:07.9    574270   6.35303E+12      5.6144E+13    5353.05    0.0175072   0.0070444    0.0711682    0.5416728   0.2179537    2.1689142   2.1689142
           22:10.7    574271   6.35303E+l2      5.6095E+13    5352.41    0.0175072   0.0068769    0.0712219    0.5416728   0.2127713    2.1705513   2.1705513
           27:13.7    574271   6.35303E+12      5.6095E+l3    5350.73    0.0175072   0.0068185    0.0711995    0.5416728   0.2109644    2.1698701   2.1698701
           32:17.1    574271   6.35303E+l2      5 .6095E+l3   5352.02    0.0175072   0.0070024    0.0712167    0.5416728   0.2166543    2.1703932   2.1703932
           37:20.0    574273   6.35303E+12    5.53104E+13      5353.7    0.0175072   0.0074003    0.0722496    0.5416728   0.2289653    2.2018709   2.2018709
           42:23.0    574273   6.35303E+12    5.53104E+13      5354.2    0.0175072   0.0093641    0.0722563    0.5416728   0.2897253    2.2020766   2.2020766
           47:25.7    574274   6.35303E+12    5.53441E+l3     5354.14    0.0175072   0.0106524    0.0722116    0.5416728   0.3295853    2.2007128   2.2007128
           52:29.0    574274   6.35303E+12    5.53441E+l3     5355.15    0.0175072   0.0155577    0.0722252    0.5416728   0.4813552    2.2011279   2.2011279
           57:31.7    574274   6.35303E+12    5.53441E+l3     5366.51    0.0175072   0.0134928    0.0723784    0.5416728   0.4174672    2.2057972   2.2057972
           02:34.7    574274   6.35303E+12    5.53441E+l3     5367.34    0.0201513   0.0088181    0.0723896    0.6234812    0.272832    2.2061384   2.2061384
           07:37.6    574274   6.35303E+12    5.53441E+13     5369.11    0.0201513   0.0080448    0.0724135    0.6234812   0.2489061    2.2068659   2.2068659
                                                                                                                                                                Case: 23-1922




           12:40.5    574274   6.35303E+12    5.53441E+ 13    5361.12    0.0201513   0.0141938    0.0723057    0.6234812   0.4391562    2,2035818   2.2035818
           17:43.1    574274   6.35303E+l2    5.53441E+l3     5366.11    0.0201513   0.0148287      0.072373   0.6234812       0.4588   2.2056328   2.2056328
           22:45.8    574275   6.35303E+l2    5.36343E+ 13    5369.98    0.0201513   0.0148955    0.0747339    0.6234812   0.4608668    2.2775843   2.2775843
           27:48.5    574275   6.35303E+l2    5.36343E+l3     5368.01    0.0201513   0.0147788    0.0747065    0.6234812   0.4572561    2.2767487   2.2767487
           32:51.2    574277   6.35303E+12    5.50501E+13     5373 94    0.0201513   0.0189124    0 .0728657   0.6234812   0.5851497    2.2206488   2.2206488
           37:54.0    574279   6.35303E+12    5.54528E+ 13    5377.71    0.0201513   0.0181814    0.0723873    0.6234812   0.5625325    2.2060669   2.2060669
           42:56.7    574281   6.35303E+l2    5.67946E+13     5384.52    0.0201513    0.016267    0.0707666    0.6234812    0.503301    2.1566766   2.1566766
           47:59.4    574281   6.35303E+12    5.67946E+l3     5380.73    0.0201513   0.0160892    0.0707168    0.6234812   0.4977998    2.1551586   2.1551586
           53:02.7    574282   6.35303E+l2      5.6096E+13    5375.54    0.0201513   0.0124623    0.0715284    0.6234812   0.3855836    2.1798939   2.1798939
           58:06.1    574282   6.35303E+12      5.6096E+13    5378.27    0.0201513   0.0169571    0.0715648    0.6234812   0.5246527    2.1810009   2.1810009
           03:10.1    574283   6.35303E+l2    5.56063E+13      5389.1    0.0221974   0.0169284    0.0723403    0.6867876   0.5237647    2.2046367   2.2046367
                                                                                                                                                                Document: 39-3




           08:13.3    574283   6.35303E+12    5.56063E+ 13     5401.6    0.0221974   0 .0188882   0 .0725081   0.6867876   0.5844009    2.2097504   2.2097504
           13:16.S    574283   6.35303E+12    5.56063E+l3     5411.61    0.0221974   0 ,0187623   0.0726425    0.6867876   0.5805056    2.2138454   2.2138454
           18:19.3    574284   6.35303E+12    5.64188E+13     5399.02    0.0221974   0.0199987    0 .0714298   0.6867876   0.6187598    2.1768876   2.1768876




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           23:22.1    574284   6.35303E+12    5.64188E+ 13     5401.6    0.0221974   0.0195923    0.0714639    0.6867876   0.6061858    2.1779279   2.1779279
           28:25.0    574284   6.35303E+12    5.64188E+ 13    5405.99    0.0221974   0.0190804     0.071522    0.6867876   0.5903476    2.1796979   2.1796979
           33:27.8    574285   6.35303E+12    5.57835E+13     5406.94    0.0221974   0 .0194306   0.0723493    0.6867876   0.6011828    2.2049105   2.2049105
           38:30.5    574285   6.35303E+12    5.57835E+13     5401.12    0.0221974   0.0186435    0.0722714    0.6867876   0.5768299    2.2025372   2.2025372
           43:34.1    574285   6.35303E+12    5.57835E+13     5404.01    0.0221974   0.0194016    0.0723101    0.6867876   0.6002855    2.2037157   2.2037157
                                                                                                                                                                Page: 209




           48:36.8    574285   6.35303E+12    5.S7835E+13     5404.26    0.0221974   0 .0191729   0.0723135    0.6867876   0.5932095    2.2038176   2.2038176
           53:39.9    574285   6.35303E+12    5.57835E+13     5400.01    0.0221974   0.0194297    0 .0722566   0.6867876   0.6011549    2.2020845   2.2020845
           03:46.2    574285   6.35303E+l2    5.57835E+13      5405 .7   0.0234026   0.0195553    0 .0723327   0.7240764    0.605041    2.2044049   2.2044049
           08:49.1    574286   6.35303E+l2    5 .36818E+13    5416.95    0.0234026   0 .0197148   0.0753209    0.7240764   0.6099759    2.2954736   2.2954736
           13:52.7    574287   6.35303E+l2    5 .50908E+13     5406.6    0.0234026   0.0197013    0 .0732543   0.7240764   0.6095582    2.2324921   2.2324921
           18:55.9    574287   6.35303E+l2    5 .50908E+13    5394.62    0.0234026   0 .0196918    0.073092    0.7240764   0.6092643    2.2275453   2.2275453
           23:59.1    574288   6.35303E+12      5.6446E+l3    5372.85    0.0234026   0.0197114    0.0710493    0.7240764   0.6098707    2.1652907   2.1652907
           29:02.3    574288   6.35303E+l2      5.6446E+13    5385.99    0.0234026   0 .0197446    0 .071223   0.7240764   0.6108979    2.1705862   2.1705862
           34:05.2    574289   6.35303E+12    5.61643E+l3     5382.26    0.0234026   0.0207871    0.0715308    0.7240764   0.6431529    2.1799641   2.1799641
           39:08.3    574289   6.35303E+l 2   5 .61643E+13    5380.01    0.0234026   0 .0209181   0.0715009    0.7240764    0.647206    2.1790528   2.1790528
           44:11.8    574289   6.35303E+12    5.61643E+l3     5375.01    0.0234026   0 .0204072   0.0714344    0.7240764   0.6313988    2.1770277   2.1770277
                                                                                                                                                                Filed: 01/02/2024




           49:15 .0   574290   6.35303E+l2    5.56905E+l3     5379.99    0.0234026    0.020967    0.0721089    0.7240764    0.648719    2.1975834   2.1975834
           54:18.0    574292   6.35303E+12    5.59818E+13     5380.19    0.0234026   0.0210779    0 .0717363   0.7240764   0.6521502    2.1862275   2.1862275
           59:20.8    574293   6.35303E+12    5.63654E+ 13    5377.35    0.0234026   0.0210797    0.071 2105   0.7240764   0.6522059    2.1702049   2.1702049
           09:26.9    574295   6.35303E+l2    5. 71185E+ 13   5388.44     0.024677   0.0208048    0.0704165    0.7635064   0.6437005    2.1460054   2.1460054
           14:29.9    574298   6.35303E+12    5 .77593E+13    5389.19     0.024677   0.0209776    0.0696449    0.7635064   0.6490469     2.122492    2.122492
           19:32.9   574298 6.35303E+12   5.77593E+l3     5388.39     0.024677    0.0233134     0 .0696346   0.7635064   0.7213166     2.122177      2.122177
           24:36.5   574298 6.35303E+l2   5.77593£+13     5391.23     0 .024677   0.0216334     0.0696713    0.7635064   0.6693374    2.1232955    2.1232955
           29:39.5   574298 6.35303E+12   5.77593E+13     5399.68    0.024677     0 .0249963    0.0697805    0.7635064   0.7733855    2.1266234    2.1266234
           34:42.6   574300 6.35303E+12   5.74492£+13     5391.27    0.024677         0.02573   0.0700479    0.7635064   0.7960862    2.1347724    2.1347724
           39:48.1   574301 6.35303E+12    5.7613£+13     5391.51    0 .024677    0.0821753     0.0698519    0.7635064   2.5425038    2.1287995    2.5425038
           44:52.l   574302 6.35303E+12   5.77583E+l3     5394.15    0.024677     0.2145119     0.0697103    0.7635064   6.6369982     2.124483    6.6369982
           49:55.9   574302 6.35303E+l2   5.77583£+13     5395.41    0.024677     0.1523162     0.0697265    0.7635064   4.7126632    2.1249792    4.7126632
           54:59.6   574304 6.35303E+12    5.7411E+l3     5395.02    0.024677     0.1730318     0.0701433    0.7635064   5.3536039    2.1376815    5.3536039
           00:04.8   574305 6.35303E+l2    5.8471£+13     5392.07   0.0272334     0.1708133       0.068834   0.8426014   5.2849635    2.0977787    5.2849635
           05:08.7   574305 6.35303E+l2    5.8471E+l3     5393.61   0.0272334     0.2130182     0.0688537    0.8426014   6.5907831    2.0983778    6.5907831
           10:11.7   574305 6.35303E+l2    5.8471£+13     5393.59   0.0272334         0.03673   0.0688534    0.8426014   1.1364262       2.09837      2.09837
           20:17.3   574309 6.35303£+12   6.00748E+l3     5397.01   0.0272334     0.0252878     0.0670578    0.8426014   0.7824045    2.0436461    2.0436461
                                                                                                                                                                Case: 23-1922




           25:20.4   574309 6.35303E+l2   6.00748£+13     5396.19   0.0272334         0.02513   0.0670476    0.8426014   0.7775222    2.0433356    2.0433356
           30:23.2   574310 6.35303£+12   6.02983E+l3     5397.48   0.0272334       0.029264    0.0668151    0.8426014   0.9054282    2.0362495    2.0362495
           35:25.9   574311 6.35303E+l2   6.01255E+13     5402.84   0.0272334     0.0292724     0.0670736    0.8426014   0.9056881     2.044127      2.044127
           40:29.3   574312 6.35303E+l2   5.99055£+13     5397.41   0.0272334     0.0293249     0.0672522    0.8426014   0.9073124    2.0495721    2.0495721
           45:32.2   574312 6.35303E+l2   5.99055E+13     5395.01   0.0272334     0.0252257     0.0672223    0.8426014   0.7804832    2.0486608    2.0486608
           50:35.3   574314 6.35303£+12   5.98595£+13     5392.41   0.0272334         0.02791   0.0672416    0.8426014   0.8635354    2.0492469    2.0492469
           55:38.1   574315 6.35303E+l2   5.97623E+13     5391.82   0.0272334       0.025482    0.0673436    0.8426014   0.7884131    2.0523565    2.0523565
           00:42.4   574315 6.35303E+12   5.97623£+13      5387.9   0.0290471     0.2072917     0.0672946    0.8987173   6.4136052    2.0508644    6.4136052
           05:45.3   574317 6.35303£+12   6.04051E+13     5388.49   0 .0290471    0.0266619     0.0665859    0.8987173   0.8249192    2.0292641    2.0292641
           10:49.2   574319 6.35303E+l2    6.0775E+13     5387.98   0.0290471     0.2202776     0.0661742    0.8987173   6.8153889    2.0167195    6.8153889
           20:54.S   574320 6.35303E+l2   6.21737£+13     5399.05   0.0290471     0.0363805     0.0648185    0.8987173   1.1256127    1.9754023    1.9754023
                                                                                                                                                                Document: 39-3




           25:57.3   574320 6.35303E+l2   6.21737E+13     5405.74   0.0290471     0.0298668     0.0648988    0.8987173   0.9240788       1.97785      1.97785
           31:00.3   574321 6.35303E+12   6.17749£+13     5405.41   0.0290471       0.027565    0.0653138    0.8987173   0.8528611    1.9904973    1.9904973
           36:03.1   574321 6.35303£+12   6.17749E+l3     5401.49   0.0290471     0.0274552     0.0652665    0.8987173   0.8494639    1.9890538    1.9890538




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           41:06.0   574321 6.35303£+12   6.17749£+13     5409.99   0.0290471     0.0270176     0.0653692    0.8987173   0.8359245    1.9921839    1.9921839
           46:08.7   574321 6.35303£+12   6.17749E+13      5408.8   0.0290471     0.0271924     0.0653548    0.8987173   0.8413329    1.9917457    1.9917457
           51:11.6   574321 6.35303E+l2   6.17749£+13     5412.57   0.0290471     0.0272177     0.0654003    0.8987173   0.8421156    1.9931339    1.9931339
           56:14.3   574321 6.35303£+12   6.17749E+l3     5407.34   0.0290471     0.0261354     0.0653371    0.8987173   0.8086293     1.991208     1.991208
           01:17.2   574321 6.35303E+l2   6.17749E+13     5400.73   0.0285414     0.0261745     0.0652573    0.8830709    0.809839    1.9887739    1.9887739
                                                                                                                                                                Page: 210




           06:20.9   574321 6.35303E+l2   6.17749E+l3      5395.3   0.0285414     0.0262962     0.0651917    0.8830709   0.8136044    1.9867744    1.9867744
           11:24.4   574321 6.35303£+12   6.l 7749E+ 13   5397.81   0.0285414     0.0260871      0 .065222   0.8830709   0.8071349    1.9876987    1.9876987
           16:27.4   574321 6.35303E+l2   6.17749E+l3     5397.93   0.0285414      0.026146     0.0652234    0.8830709   0.8089572    1.9877429    1.9877429
           21:30.3   574321 6.35303E+12   6.17749E+13     5392.62   0.0285414     0.0262574     0.0651593    0.8830709    0 .812404   1.9857875    1.9857875
           26:33.0   574321 6.35303£+12   6.17749E+13     5393.89   0.0285414     0.0261514     0.0651746    0.8830709   0.8091243    1.9862552    1.9862552
           31:35.8   574322 6.35303E+12    5.8824£+13     5396.27   0.0285414     0 ,0261091    0.0684743    0.8830709   0.8078156    2.0868162    2.0868162
           36:38.8   574322 6.35303E+l2    5.8824£+13      5393.1   0.0285414     0.0254329     0 .0684341   0.8830709   0.7868939    2.0855903    2.0855903
           41:41.8   574322 6.35303£+12    5.8824£+13      5393.7   0.0285414     0 .0267382    0.0684417    0.8830709   0.8272799    2.0858223    2,0858223
           46:44.7   574323 6.35303E+l2   5.85421£+13     5398.48   0.0285414     0.0260142     0.0688322    0.8830709   0.8048793    2.0977221    2.0977221
           51:47.6   574323 6.35303E+12   5.85421E+ 13    5406.39   0.0285414     0.0268842      0.068933    0.8830709   0.8317971    2.1007958    2.1007958
           56:50.6   574324 6.35303E+12   5.81584£+ 13    5403.98   0.0285414     0.0295804     0 .0693569   0.8830709   0.9152176    2.1137127    2.1137127
           01:53.4   574326 6.35303E+l2   5.98016E+ 13    5406.62    0.029578     0 .0350032    0.0674841    0.9151433    1.082999    2.0566378    2.0566378
                                                                                                                                                                Filed: 01/02/2024




           06:56.4   574326 6.35303£+12   5.98016£+ 13    5402.77    0.029578      0.028005      0.067436    0.9151433   0.8664747    2.0551 733   2.0551733
           11:59.3   574327 6.35303E+l2   5.96067£+13     5401.77    0.029578     0.0268725      0.067644    0.9151433   0.8314352    2.0615104    2.0615104
           17:02.0   574327 6.35303[+12   5.96067£+13     5403.81    0.029578     0.0251518     0 .0676695   0.9151433   0.7781967    2.0622889    2.0622889
           22:04.9   574328 6.35303E+12   5.96752E+13     5405.43    0.029578     0.0265695     0.0676122    0.9151433   0.8220603    2.0605413    2.0605413
           27:08.1   574328 6.35303E+12     5.96752E+13    5405.62    0.029578   0.0263765    0.0676145    0.9151433   0.8160889 2.0606137    2.0606137
           32:11.0   574329 6.35303E+12     5.94855E+13    5414.16    0.029578   0.0265315    0.0679373    0.9151433   0.8208846 2.0704516    2.0704516
           37:14.1   574330 6.35303E+12     5.97035E+13    5414.16    0.029578   0.0264993    0.0676893    0.9151433   0.8198883 2.0628912    2.0628912
           52:22.4   574333 6.35303E+12       5.9734E+13   5406.27    0.029578   0.0263688    0.0675561    0.9151433   0.8158507 2.0588333    2.0588333
           02:28.0   574334 6.35303E+12     5.92562E+13    5400.02    0.028458   0.0275794    0.0680221    0.8804905   0.8533066 2.0730351    2.0730351
           07:31.0   574335 6.35303E+12      5.9018E+13    5400.05    0.028458   0.0264065      0.068297   0.8804905   0.8170171 2.0814126    2.0814126
           12:34.3   574337 6.35303E+12     6.04407E+13    5403.81    0.028458   0.0264328    0.0667358    0.8804905   0.8178308 2.0338321    2.0338321
           17:37.3   574338 6.35303E+l2     6.00814E+ 13    5403.9    0.028458   0.0262088      0.067136   0.8804905   0.8109003 2.0460298    2.0460298
           22:40.4   574340 6.35303E+12     6.01388E+ 13   5404.53    0.028458   0.0258082    0.0670798    0.8804905   0.7985057 2.0443159    2.0443159
           27:43.7   574342 6.35303E+l2      6.0482E+l3    5405.01    0.028458   0 .0262698     0.066705   0.8804905   0.8127876 2.0328944    2.0328944
           32:46.8   574342 6.35303E+12      6.0482E+l3    5405.02    0.028458   0.0252935    0.0667051    0.8804905   0.7825809 2.0328982    2.0328982
           37:49.9   574343 6.35303E+12     5.99395E+13    5399.97    0.028458      0.02589     0.067246   0.8804905   0.8010366 2.0493813    2.0493813
                                                                                                                                                          Case: 23-1922




           42:52.7   574344 6.35303E+12     5.95861E+13    5399.01    0.028458   0.0257766    0.0676328    0.8804905    0 .797528 2.0611697   2.0611697
           47:55.6   574344 6.35303E+12     5.95861E+13    5399.01    0.028458   0.0264346    0.0676328    0.8804905   0.8178865 2.0611697    2.0611697
           58:00.7   574344 6.35303E+12     5.95861E+l3    5398.35    0.028458   0.0259627    0.0676245    0.8804905   0.8032859 2.0609177    2.0609177
           03:05.1   574346 6.35303E+12     5.84022E+13    5395.14   0.0276119   0.2213191    0.0689544    0.8543122    6.847613 2.1014468     6.847613
           08:08.7   574347 6.35303E+12     5.86008E+13    5392.22   0.0276119   0.0261815    0.0686835    0.8543122   0.8100556 2.0931918    2.0931918
           23:17.2   574348 6.35303E+12     5.87322E+13    5396.18   0.0276119   0.0261474    0.0685802    0.8543122   0.8090006 2.0900429    2.0900429
           28:21.2   574349 6.35303E+12     5.84595E+13    5396.23   0.0276119    0.220695    0.0689007    0.8543122   6.8283033 2.0998095    6.8283033
           33:24,2   574349 6.35303E+12     5.84595E+l3    5395.06   0.0276119   0.0357404    0.0688857    0.8543122    1.105808 2.0993542    2.0993542
           38:27.1   574350 6.35303E+l2     5.91267E+13    5395.03   0.0276119   0.0265231    0.0681081    0.8543122   0.8206247 2.0756546    2.0756546
           43:30.0   574351 6.35303E+l2     5.92508E+l3    5395.02   0.0276119    0.024313    0.0679653    0.8543122   0.7522442 2.071303      2.071303
           48:32.9   574351 6.35303E+l2     5.92508E+13    5394.15   0.0276119   0.0250697    0.0679543    0.8543122   0.7756565 2.070969      2.070969
                                                                                                                                                          Document: 39-3




           53:35.7   574351 6.35303E+l2     5.92508E+13    5390.52   0.0276119   0.0242897    0.0679086    0.8543122   0.7515233 2.0695753    2.0695753
           58:38.6   574351 6.35303E+12     5.92508E+l3     5391.4   0.0276119   0.0244875    0.0679197    0.854312i   0.7576432 2.0699132    2.0699132
           03:41.5   574351 6.35303E+l2     5.92508E+13    5383.02   0.0288024   0.0245448    0.0678141    0.8911463   0.7594161 2.0666958    2.0666958




Appx3001
           08:44.3   574351 6.35303E+12     5.92508E+13    5371.99   0.0288024   0.0220851    0 .0676752   0.8911463    0.683313 2.0624611    2.0624611
           13:47.2   574351 6.35303E.+12    5.92508E+l3    5376.84   0.0288024   0.0221515    0.0677362    0.8911463   0.6853674 2.0643232    2.0643232
           18:50.0   574353 6.35303E+l2     5.95341E+13    5372.72   0.0288024   0.0237019    0.0673622    0.8911463   0.7333368 2.0529247    2.0529247
           23:53.2   574353 6.35303E+l2     5.95341E+13    5379.06   0.0288024   0.0224086    0.0674417    0.8911463   0.6933221 2.0553472    2.0553472
           28:56.2   574353 6.35303E+12     5.95341E+13    5386.27   0.0288024   0.0242596    0.0675321    0.8911463    0.750592 2.0581021    2.0581021
                                                                                                                                                          Page: 211




           33:59.0   574353 6.35303E+l2     5.95341E+13    5393.51   0.0288024   0.0246517    0.0676229    0.8911463   0.7627236 2.0608686    2.0608686
           39:01.9   574353 6.35303E+12     5.95341E+13    5397.98   0.0288024    0.024574    0.0676789    0.8911463   0.7603196 2.0625766    2.0625766
           44:04.8   574354 6.35303E+12     5.92005E+13    5401.73   0.0288024    0.024264    0 .0681077   0.8911463   0.7507282 2.0756429    2.0756429
           49:08.S   574356 6.35303E+12     6.01278E+13    5395.44   0.0288024   0.0227333    0.0669792    0.8911463   0.7033683 2.0412523    2.0412523
           54:11.6   574356 6.35303[+12     6.01278E+13    5400.19   0.0288024   0.0241575    0.0670382    0.8911463   0.7474331 2.0430494    2.0430494
           59:14.8   574357 6.35303E+12     5.98782E+13    5407.34   0.0288024   0.0213869    0.0674068    0.8911463   0.6617107 2.054282      2.054282
           04:17.8   574357 6.35303[+12     5.98782E+ 13   5412.65   0.0349955   0.0212221      0.067473   1.0827608   0.6566118 2.0562993    2.0562993
           09:21.0   574358 6.35303E.+12    5.94067E+l3    5412.99   0.0349955   0.0210166    0.0680127    1.0827608   0.6502536 2.0727494    2.0727494
           14:24.8   574359 6.35303[+12     5.99023E+13    5410.59   0.0349955   0.0212588    0.0674202    1.0827608   0.6577473 2.0546898    2.0546898
           24:31.9   574360 6.35303E+12      6.0023E+13    5404.27   0.0349955   0.0221652    0.0672059    1.0827608   0.6857913 2.0481598    2.0481598
           29:35.1   574361 6.35303E+l2     5.95038E+l3    5406.99   0.0349955   0.0219022    0 .0678264   1.0827608   0.6776541 2 .0670711   2.0670711
           34:38.4   574361 6.35303E+l2
                                                                                                                                                          Filed: 01/02/2024




                                            5.95038E+ 13   5410.01   0.0349955   0.0238654    0.0678643    1.0827608   0.7383955 2.0682256    2.0682256
           39:41.8   574361 6.35303E+l2     5.95038E+ 13   5424.76   0.0349955   0.0349014    0.0680493    1.0827608   1.0798493 2.0738645    2.0738645
           44:45.3   5 74362 6.35303E +12   5.87448E+13    5432.99   0.0349955   0.0231509    0 .0690331   1.0827608   0.7162888 2.1038472    2.1038472
           49:48.4   5 74362 6.35303E +12   5.87448E+13    5431.52   0.0349955   0.0217775    0.0690145    1.0827608   0.6737959 2.103278      2.103278
           54:51.6   574363 6.35303E+l2     5.80502E+13    5426.35   0.0349955   0.0233238    0.0697738    1.0827608   0.7216384 2.1264208    2.1264208
           59:54.6    574363   6.35303E+12    5.80502E+13    5426.04   0.0349955    0.0316189    0 .0697699   1.0827608    0.9782888   2.1262994   2.1262994
           10:00.2    574364   6.35303E+l2    5.78645E+13    5442.45     0.026266   0.0418451    0.0702054       0.81267   1.2946874   2.1395736   2.1395736
           20:06.7    574367   6.35303E+l2    5.84533E+13    5443.24     0.026266   0.0238876    0.0695083       0.81267   0.7390823   2.1183292   2.1183292
           25:10.0    574368   6.35303£+12    5.81378E+13    5430.99     0.026266   0.0224401    0.0697283       0.81267   0.6942967    2.125032    2.125032
           30:13.1    574368   6.35303£+12    5.81378E+13    5447.49     0.026266   0.0208024    0.0699401       0.81267   0.6436263   2.1314881   2.1314881
           35:16.2    574369   6.35303E+12     5.7527E+13    5441.28     0.026266   0.0204883    0.0706021       0.81267    0.633908    2.151664    2.151664
           40:20.4    574369   6.35303£+12     5.7527E+13    5444.99     0.026266   0 .0193386   0.0706503       0.81267   0.5983363    2.153131    2.153131
           45:23.4    574370   6.35303E+l2    5.73316E+13    5445.99     0.026266   0.0193386    0.0709041       0.81267   0.5983363   2.1608665   2.1608665
           50:26.5    574370   6.35303E+l2    5.73316E+13    5466.65     0.026266   0 .0188979   0.0711731       0.81267    0.584701    2.169064    2.169064
           55:29.S    574372   6.35303£+12      5.7029E+13   5473.18     0.026266   0.0188979    0.0716362       0.81267    0.584701   2.1831762   2.1831762
           00:32.4    574373   6.35303E+l2    5.75391E+13     5470.2   0.0201854    0.0187891    0.0709624    0.6245363    0.5813348   2.1626439   2.1626439
           05:35.4    574373   6.35303E+12    5.75391E+13    5471.01   0.0201854    0.0185387    0.0709729    0.6245363    0.5735874   2.1629641   2.1629641
                                                                                                                                                               Case: 23-1922




           15 :40.8   574374   6.35303E+l2    5.70787E+l3    5460.95   0.0201854    0.0185472    0.0714138    0.6245363    0.5738504   2.1764008   2.1764008
           25:46.4    574376   6.35303£+12    5.68162E+l3     5458.6   0.0201854    0.0186796    0.0717129    0.6245363    0.5779468   2.1855137   2.1855137
           35:51.9    574377   6.35303£+12    5.63276E+13    5460.02   0.0201854    0.0210142    0.0723538    0.6245363    0.6501793   2.2050485   2.2050485
           40:54.8    574377   6.35303£+12    5.63276E+13    5466.78   0.0201854    0.0203564    0.0724434    0.6245363     0.629827   2.2077785   2.2077785
           45:57.7    574378   6.35303E+12    5.65074E+13    5473.24   0.0201854    0.0203336    0.0722982    0.6245363    0.6291216   2.2033529   2.2033529
           51:01.0    574378   6.35303£+ 12   5.65074E+ 13   5471.65   0.0201854    0.0199115    0.0722772    0.6245363    0.6160618   2.2027129   2.2027129
           56:04.1    574378   6.35303E+12    5.65074E+13    5469.64   0.0201854    0.0188807    0.0722507    0.6245363    0.5841689   2.2019037   2.2019037
           01:36.7    574383   6.35303E+12    5.72964E+13    5478.36     0.017735   0.0180056    0 .0713693   0.5487209    0.5570933   2.1750424   2.1750424
           06:39.8    574384   6.35303 E+12   5.65611E+13    5470.62     0.017735   0.0179751     0.072195    0.5487209    0.5561496   2.2002079   2.2002079
           11:42.7    574384   6.35303£+12    5.65611E+ 13   5479.43     0.017735     0.018023   0.0723113    0.5487209    0.5576316   2.2037511   2.2037511
           16:45.6    574384   6.35303£+12    5.65611E+13    5474.09     0.017735   0.0177163    0.0722408    0.5487209    0.5481423   2.2016035   2.2016035
                                                                                                                                                               Document: 39-3




           21:48.3    574384   6.35303£+12    5.65611E+13    5484.78     0.017735   0.0175711    0.0723819    0.5487209    0.5436498   2.2059028   2.2059028
           26:51.4    574384   6.35303E+12    5.65611E+13    5487.23     0.017735   0.0172277    0 .0724142   0.5487209     0.533025   2.2068882   2.2068882
           31:54.2    574385   6.35303E+12    5.52675E+l3    5489.21     0.017735   0 .0175138   0.0741359    0.5487209     0.541877   2.2593577   2.2593577




Appx3002
           36:57.2    574386   6.35303E+l2      5.5002E+13   5489.86     0.017735   0 .0178899   0.0745026    0.5487209    0.5535135   2.2705332   2.2705332
           47:03.0    574387   6.35303£+12     5.4816E+13    5496.27     0.017735   0.0176629    0.0748427    0.5487209    0.5464901   2.2808975   2.2808975
           52:06.0    574387   6.35303E+l2      5.4816E+13   5491.99     0.017735   0 .0176411   0.0747844    0.5487209    0.5458156   2.2791214   2.2791214
           57:08.7    574388   6.35303£+12    5.41076E+13    5492.11     0.017735   0.0176457    0.0757651    0.5487209     0.545958   2.3090086   2.3090086
           02:11.8    574388   6.35303£+12    5.41076£+13    5492.89   0.0168293    0.0176283    0.0757758    0.5206985    0.5454196   2.3093366   2.3093366
                                                                                                                                                               Page: 212




           07:15.3    574388   6.35303£+12    5.41076E+13    5495.29   0.0168293    0.0176447    0.0758089    0.5206985     0.545927   2.3103456   2.3103456
           12:18.3    574389   6.35303£+12    5.34819E+ 13   5494.94   0.0168293    0.0176619     0 .076691   0.5206985    0.5464592   2.3372263   2.3372263
           17:21.0    574392   6.35303£+12    5.44667E+l3    5498.94   0.0168293    0.0181464    0.0753591    0.5206985    0.5614496   2.2966372   2.2966372
           22:23.8    574393   6.35303E+12     5.4543E+13    5516.61   0.0168293    0.0186975    0.0754956    0.5206985    0.5785006   2.3007978   2.3007978
           27:27.0    574393   6.35303£+12      5.4543E+13   5541.73   0.0168293    0.0186527    0 .0758394   0.5206985    0.5771145   2.3112745   2.3112745
           32:29.9    574393   6.35303£+12     5.4543E+13    5543.62   0.0168293    0.0188333    0.0758653    0.5206985    0.5827023   2.3120627   2.3120627
           37:33.5    574394   6.35303£+12    5.38779£+13    5540.34   0.0168293    0.0187852    0.0767563    0.5206985    0.5812141   2.3392162   2.3392162
           42:36.4    574394   6.35303£+12    5.38779E+13    5499.34   0.0168293    0.0191027    0.0761882    0.5206985    0.5910375   2.3219053   2.3219053
           47:39.2    574395   6.35303£+12    5.53825£+13    5524.89   0.0168293    0 .0188485   0.0744629    0.5206985    0.5831726   2.2693225   2.2693225
           52:42.0    574395   6.35303£+12    5.53825£+13    5516.19   0.0168293    0 .0188647   0.0743456    0.5206985    0.5836738    2.265749    2.265749
           57:44.9    574395   6.35303£+12    5.53825£+13    5519.38   0.0168293    0.0185184    0.0743886    0.5206985    0.5729593   2.2670593   2.2670593
                                                                                                                                                               Filed: 01/02/2024




           02:47.9    574395   6.35303£+12    5.53825£+13    5528.44   0.0175068    0.0184732    0 .0745107   0.5416604    0.5715608   2.2707806   2.2707806
           07 :50.8   574395   6.35303£+12    5 .53825E+13   5533.27   0.0175068    0.0184058    0.0745758    0.5416604    0.5694755   2.2727645   2.2727645
           12:53.8    574396   6.35303£+12    5.44713£+13    5531.02   0.0175068    0 .0182413   0 .0757925   0.5416604    0.5643858   2.3098433   2.3098433
           17:56.8    574396   6.35303£+12    5.44713E+13    5545.02   0.0175068    0.0181908    0.0759843    0.5416604    0.5628234   2.3156899   2.3156899
           22:59.7    574396   6.35303£+12    5.44713E+13    5547.84   0 .0175068     0.018208   0.0760229    0.5416604    0.5633555   2.3168676   2.3168676
           28:03.3   574397 6.35303E+l2    5 .38389E+13    5554.01    0.0175068   0 .0183035    0.0770014     0.5416604   0.5663103 2.3466856      2.3466856
           33:06.2   574397 6.35303E+12    5.38389E+13     5549.85    0.0175068   0.0179475     0.0769437     0.5416604   0.5552957 2.3449279      2.3449279
           38:09.0   574397 6.35303E+12    5.38389E+13      5562.7    0.0175068   0.0181763     0.0771218     0.5416604   0.5623747 2.3503573      2.3503573
           43:11.9   574397 6.35303E+l2    5.38389E+13     5576.66    0.0175068   0.0180946     0.0773154     0.5416604   0.5598469 2.3562557      2.3562557
           48:15.5   574397 6.35303E+12    5.38389E+13     5591.65    0.0175068   0.0182001     0.0775232     0.5416604   0.5631111 2.3625893      2.3625893
           53:18.6   574397 6.35303E+12    5.38389E+13     5576.07    0.0175068   0.0186904     0.0773072     0.5416604     0.5 78281 2.3560064    2.3560064
           58:21.9   5 74398 6.35303E+12   5.24135E+13     5579.93    0.0175068   0.0187504     0.0794646     0.5416604   0.5801374 2.4217554      2.4217554
           03:24.7   574399 6.35303E+12    5.22154E+13     5582.01    0.0177324   0.0190536     0.0797958     0.5486405   0.5895184 2.431849        2.431849
           08:28.1   574399 6.35303E+12    5.22154E+13     5562.69    0.0177324   0.0191988     0.0795196     0.5486405   0.5940109 2.4234321      2.4234321
           13:30.8   574400 6.35303E+12    5.19602E+13     5575.84    0.0177324   0.0190126     0.0800991     0.5486405   0.5882498 2.441092        2.441092
           18:33.6   574400 6.35303E+12    5.19602E+13     5579.19    0.0177324     0.019119    0.0801472     0.5486405   0.5915419 2.4425586      2.4425586
           23:36.6   574401 6.35303E+12    5.14241E+13     5571.19    0.0177324       0.01914   0.0808667     0.5486405   0.5921916 2.4644852      2.4644852
                                                                                                                                                                Case: 23-1922




           28:39.9   574401 6.35303E+12    5.14241E+l3     5570.27    0.0177324   0.0192996     0.0808533     0.5486405   0.5971296 2.4640783      2.4640783
           33:43.3   574402 6.35303E+12    5.15991E+13     5576.77    0.0177324   0.0192744     0.0806731     0.5486405   0.5963499 2.458585        2.458585
           38:46.1   574403 6.35303E+l2    5.16659E+13     5613.91    0.0177324   0.0199884     0.0811054     0.5486405   0.6184411 2.4717605      2.4717605
           43:49.0   574404 6.35303E+l2    5.22163E+13     5628.79    0.0177324   0.0195167     0.0804633     0.5486405   0.6038467      2.45219      2.45219
           48:51.9   574405 6.35303E+12    5.26766E+13     5629.74    0.0177324   0.0214372     0.0797736     0.5486405     0.663267 2.4311707     2.4311707
           53:54.6   574406 6.35303E+12    5 .44332E+ 13   5687.49    0.0177324   0.0195852       0.077991    0.5486405   0.6059661 2.3768473      2.3768473
           58:57.5   574407 6.35303E+12    5.44179E+13     5665.95    0.0177324   0.0195061     0.0777176     0.5486405   0.6035187 2.3685147      2.3685147
           04:00.3   574407 6.35303E+l2    5.44179E+13     5670.39    0.0185341   0.0184448     0.0777785     0.5734451   0.5706821 2.3703707      2.3703707
           09:03.2   574408 6.35303E+12    5 .43366E+13    5671.73    0.0185341   0.0190636     0.0779133     0.5734451   0.5898278 2.3744772      2.3744772
           14:06.4   574409 6.35303E+12    5.45039E+13     5709.88    0.0185341   0.0193304     0.0781965     0.5734451   0.5980826 2.3831101      2.3831101
           19:09.3   574409 6.35303E+l2    5.45039E+13     5681.29    0.0185341   0.0195839       0.077805    0.5734451   0.6059259 2.3711776      2.3711776
                                                                                                                                                                Document: 39-3




           24:12.6   574409 6.35303E+12    5.45039E+13      5681.4    0.0185341     0.021853    0.0778065     0.5734451   0.6761318 2.3712235      2.3712235
           29:16.S   574410 6.35303E+12     5.4739E+13     5706.78    0.0185341   0.0200612     0.0778185     0.5734451   0.6206935 2.3715874      2.3715874
           34:19.S   574410 6.35303E+1 2    5.4739E+13     5723.04    0.0185341   0.0209275     0.0780402     0.5734451   0.6474969 2.3783446      2.3783446




Appx3003
           39:22.8   574410 6.35303E+12     5.4739E+13     5712.44    0.0185341   0 .0210112    0.0778956     0.5734451   0.6500865 2.3739395      2.3739395
           44:26.3   574410 6.35303E+12     5.4739E+l3     5766.56    0.0185341   0.0207384     0.0786336     0.5734451   0.6416461 2.3964304      2.3964304
           49:29.4   574410 6.35303E+l2     5.4739E+13     5752.64    0.0185341   0.0222079     0.0784438     0.5734451   0.6871124 2.3906456      2.3906456
           54:32.S   574411 6.35303E+l2    5.33843E+13     5785.23    0.0185341   0.0227025     0.0808902     0.5734451   0.7024153 2.4652002      2.4652002
           59:35.5   574412 6.35303E+12    5.33495E+13     5778.03    0.0185341   0.0428589     0.0808422     0.5734451   1.3260544 2.4637378      2.4637378
                                                                                                                                                                Page: 213




           04:38.4   574412 6.35303E+12    5.33495E+13     5707.59    0.0231547   0.0241354     0 .0798566    0.7164064   0.7467493 2.4337024      2.4337024
           09:41.5   574412 6.35303E+12    5.33495E+13     5698.98    0.0231547   0.0216243     0.0797362     0.7164064   0.6690558 2.4300311      2.4300311
           14:44.4   574412 6.35303E +12   5.33495E+13     5716.84    0.0231547   0.0224334      0.079986     0.7164064   0.6940894 2.4376465      2.4376465
           19:47.4   574413 6.35303E+12    5.25253E+13     5727.04    0.0231547   0.0226368      0.081386     0.7164064   0.7003826 2.4803111      2.4803111
           24:50.2   574413 6.35303E+12    5.25253E+13     5727.44    0.0231547   0.0213798     0.0813917     0.7164064    0.661491 2.4804844      2.4804844
           29:53.5   574413 6.35303E +12   5.25253E+13     5735.97    0.0231547   0.0246145     0.0815129     0.7164064   0.7615726 2.4841786      2.4841786
           34:56.2   574414 6.35303E+12    5.19701E+13     5739.52    0.0231547   0.0244526     0.0824347     0.7164064   0.7565634 2.5122723      2.5122723
           39:58.9   574415 6.35303E+12    5.18073E+13     5733 .01   0.0231547   0.0247503          0.0826   0.7164064   0.7657743 2.5173089      2.5173089
           45:02.0   574418 6.35303E+l2    5.19586E+13      5 730.9   0.0231547   0.0246666     0.0823292     0.7164064   0.7631846 2.5090566      2.5090566
           50:05.4   574420 6.35303E+12    5.25895E+l3     5722.12    0.0231547   0.0217518     0.0812169     0.7164064   0.6730007 2.4751591      2.4751591
           55:08.3   574421 6.35303E+12    5.25734E+13     5697.57    0.0231547   0.0351625     0.0808932     0.7164064   1.0879278 2.4652918      2.4652918
           00:11.2   574421 6.35303E+l2    5.25734E+l3     5674.99    0.0262502   0.0227664
                                                                                                                                                                Filed: 01/02/2024




                                                                                                0.0805726     0.8121812   0.7043924 2.4555216      2.4555216
           05:14.1   574423 6.35303E+12    5.29406E+l3     5662.61    0.0262502   0.0211763     0.0798392     0.8121812   0 .6551947 2.4331701     2.4331701
           10:17.1   574424 6.35303E+12    5.28202E+13     5700.01    0.0262502   0.0212464     0.0805497     0.8121812   0.6573636 2.4548241      2.4548241
           15:20.3   5 74424 6.35303E+12   5.28202E+13     5679.07    0.0262502   0.0274053     0.0802538     0.8121812      0.84792 2.4458059     2.4458059
           20:23.5   574425 6.35303E+l2    5.23532E+l3     5686.98    0.0262502   0.0470867     0.0810825     0.8121812   1.4568625 2.471061        2.471061
           25:27.5    574426 6.35303E+l2    5.30049E+13    5674.69   0.0262502   0.2292147    0.0799125     0.8121812   7.0919028 2.435404     7.0919028
           30:31.9    574427 6.35303E+l2    5.28466E+13    5692.52   0.0262502   0.2216174    0.0804036     0.8121812   6.8568424 2.4503724    6.8568424
           35:34.7    574427 6.35303E+12    5.28466E+13    5694.01   0.0262502   0.0471417    0.0804247     0.8121812   1.4585642 2.4510138    2.4510138
           40:37.2    574428 6.35303E+12      5.2354E+l3   5713.35   0.0262502     0.026834   0.0814571     0.8121812     0.830244 2.4824794   2.4824794
           45:39.9    574428 6.35303E+12     5.2354E+13    5716.19   0.0262502   0.0271429    0.0814976     0.8121812   0.8398013 2.4837134    2.4837134
           50:43.0    574428 6.35303E+l2     5.2354E+13    5717.38   0.0262502   0.0274218    0.0815146     0.8121812   0.8484305 2.4842305    2.4842305
           55:46.3    574429 6.35303E+l2    5.15634E+13    5710.01   0.0262502   0.0231901    0.0826578     0.8121812   0.7175017 2.5190709    2.5190709
           00:48.9    5 74429 6.35303E+12   5.15634E+13    5698.38    0.026897   0.0217524    0.0824894     0.8321932   0.6730193 2.5139401    2.5139401
           05:51.7    574429 6.35303E+12    5.15634E+13    5709.41    0.026897   0.0217524    0.0826491     0.8321932   0.6730193 2.5188062    2.5188062
           10:54.7    574430 6.35303E+12    5.12815E+13    5715.13    0.026897   0.0226581    0.0831866     0.8321932   0.7010416 2.5351866    2.5351866
           15:57.5    574430 6.35303E+12    5.12815E+13    5712.23    0.026897   0.0229356    0.0831444     0.8321932   0.7096275 2.5339002    2.5339002
           21:00.5    574430 6.35303E+l2    5.12815E+l3     5713.4    0.026897   0.0229256    0.0831614     0.8321932   0.7093181 2.5344192    2.5344192
                                                                                                                                                           Case: 23-1922




           26:04.3    574430 6.35303E+l2    5.12815E+13    5723.95    0.026897     0.023048     0.083315    0.8321932   0.7131051 2.5390991    2.5390991
           31:07.1    574430 6.35303E+l2    5.12815£+13    5735.36    0.026897   0.0238875    0 .0834811    0.8321932   0.7390793 2.5441605    2.5441605
           36:10.4    574430 6.35303E+l2    5.12815£+13    5739.01    0.026897   0.0236472    0.0835342     0.8321932   0.7316444 2.5457796    2.5457796
           41:13.2    574430 6.35303E+12    5.12815£+13    5741.24    0.026897   0.0239907    0.0835666     0.8321932   0.7422723 2.5467688    2.5467688
           46:16.4    574430 6.35303£+12    5.12815£+13    5724.65    0.026897   0.0464448    0.0833252     0.8321932   1.4370021 2.5394096    2.5394096
           56:21.7    574432 6.35303£+12    4.99455£+13    5715.44    0.026897   0.0462722    0.0854165     0.8321932   1.4316619 2.6031435    2.6031435
           01:25.6    574432 6.35303E+12    4.99455E+l3    5710.99    0.026856   0.0260505        0.08535   0.8309246   0.8060025 2.6011167    2.6011167
           06:28.6    574433 6.35303E+12    4.98413E+ 13   5720.19    0.026856   0.0232273    0 .0856661    0.8309246   0.7186527 2.6107513    2.6107513
           11:32.0    574435 6.35303E+12    4.97656£+13    5727.69    0.026856   0.0241208      0.085909    0.8309246   0.7462976 2.6181535    2.6181535
           16:35.1    574435 6.35303E+12    4.97656E+ 13   5726.31    0.026856   0.0265562    0.0858883     0.8309246   0.8216488 2.6175227    2.6175227
           21:38.0    574437 6.35303E+12    4.98823E+13    5731.36    0.026856   0 .0254804   0 .0857628    0.8309246   0.7883636 2.6136992    2.6136992
                                                                                                                                                           Document: 39-3




           26:41.0    574438 6.35303 Et12    4.9928£+13    5735.02    0.026856   0 .0467602   0.0857391     0.8309246   1.4467606 2.6129777    2.6129777
           31:44.0    574440 6.35303E+12    4.96931E+13    5745.06    0.026856   0.0262716    0.0862952     0.8309246   0.8128433 2.6299251    2.6299251
           36:47.2    574441 6.35303E+12    5.04581E+l3    5742.56    0.026856   0 .0260607   0 .0849499    0.8309246   0.8063181 2.5889252    2.5889252




Appx3004
           41:49.9    574441 6.35303E+l2    5.04581£+13    5743.71    0.026856   0.0469087    0 .0849669    0.8309246   1.4513552 2.5894437    2.5894437
           46:52.8    574442 6.35303E+12    5.28842E+13    5750.85    0.026856   0.0335792    0 .0811698    0.8309246   1.0389404 2.4737229    2.4737229
           51:55.7    574442 6.35303E+l2    5.28842E+ 13   5746.02    0.026856   0.0258719    0.0811016     0.8309246   0.8004766 2.4716453    2.4716453
           56:59.4    574443 6.35303£+12    5.28228E+ 13   5737.61    0.026856   0 .0247931   0 .0810771    0.8309246   0. 7670985 2.4708977   2.4708977
           07:04.8    574443 6.35303 E+12   5.28228E+l3     5735.1   0.0293057   0.0239244    0.0810416     0.9067184   0.7402209 2.4698168    2.4698168
                                                                                                                                                           Page: 214




           12:08.2    574443 6.35303f+12    5.28228E+13    5755.91   0.0293057   0.0241312    0.0813357     0.9067184   0. 7466193 2.4787786   2.4787786
           17:11.3    574443 6.35303E+12    5.28228E+13    5760.01   0.0293057   0.0244131    0.0813936     0.9067184   0 .7553413 2.4805442   2.4805442
           22:14.8    574444 6.35303E+12    5.21447E+13    5754.45   0.0293057   0.0243054    0.0823724     0.9067184   0.7520091 2.510372      2.510372
           27 :17.9   574444 6.35303E+12    5.21447E+13    5767.44   0.0293057   0 .0271808   0.0825583     0.9067184    0.840974 2.5160389    2.5160389
           32:20.7    574445 6.35303E+12    5.19166E+13    5755.01   0.0293057   0.0334751    0 .0827425    0.9067184   1.0357196 2.5216513    2.5216513
           37:23.8    574446 6.35303£+12    5.17083E+13    5764.68   0.0293057   0.0269796    0.0832153     0.9067184   0 .8347488 2.5360608   2.5360608
           42:26.6    574446 6.35303E+l2    5.17083£+13    5756.94   0.0293057   0.0257824    0.0831036     0.9067184   0.7977075 2.5326557    2.5326557
           47:30.1    574446 6.35303E+l2    5.17083E+13    5755.95   0.0293057   0 .0259458   0.0830893     0.9067184   0.8027631 2.5322202    2.5322202
           52:32.9    574448 6.35303E+12    5.19511E+13    5743.01   0.0293057   0.0258671     0.082515     0.9067184   0.8003281 2.5147176    2.5147176
           57:35.8    574448 6.35303E+12    5.19511E+13    5714.06   0.0293057    0.029113     0.082099     0.9067184   0 .9007562 2.5020411   2.5020411
           02:38.8    574448 6.35303E+12    5.19511E+13    5709.16   0.0285642   0.0261365    0.0820286     0.8837763   0.8086633 2.4998955    2.4998955
                                                                                                                                                           Filed: 01/02/2024




           07:41.8    574449 6.35303£+12    5.17328E+13    5699.99   0.0285642   0.0243494    0.0822425     0.8837763   0 .7533704 2.5064137   2.5064137
           12:45.5    574449 6.35303£+12    5.17328E+13    5715.31   0.0285642   0.0249058    0.0824635     0.8837763   0.7705855 2.5131502    2.5131502
           17:48.3    574450 6.35303£+12    5.16724E+13    5717.01   0.0285642   0.0252523    0.0825845     0.8837763   0.7813062 2.5168369    2.5168369
           22:51.1    574450 6.35303E+12    5.16724E+ 13   5712.98   0.0285642   0.0249495    0.0825263     0.8837763   0.7719375 2.5150627    2.5150627
           27:54.2    574450 6.35303E+12    5.16724E+13    5722.03   0.0285642   0.0249614     0.082657     0.8837763   0.7723057 2.5190469    2.5190469
           32:57.1   5 74450   6.35303E +12   5.16724E+13     5727.15   0.0285642    0.024628    0.082731   0.8837763   o. 7619903 2.5213009    2.5213009
           38:00.1   574451    6.35303E+12    5 .07309E +13   5728.02   0.0285642   0.0251649   0.0842791   0.8837763    0.778602   2.5684819   2.5684819
           43:02.9   574453    6.35303E+12    5.08262E+13     5712.01   0.0285642   0.0253148    0.083886   0.8837763   0.7832399   2.5565013   2.5565013
           48:06.0   574454    6.35303E +12   5.11925E+l3     5714.36   0.0285642   0.0241284     0.08332   0.8837763   0.7465327   2.5392517   2.5392517
           53:08.8   574454    6.35303E+l2    5.11925E+13     5702.85   0.0285642   0.0233991   0.0831522   0.8837763   0.7239682   2.5341371   2.5341371
           58:11.8   574454    6.35303E+12    5.11925E+13     5709.89   0.0285642   0.0231231   0.0832548   0.8837763   0.7154287   2.5372654   2.5372654
           03:14.8   574454    6.35303E +12   5.11925E+ 13    5717.23   0.0308666   0.0242656   0.0833618   0.9550126   0.7507777    2.540527    2.540527
           08:17.7   574454    6.35303E+12    5.11925E+13     5705.48   0.0308666   0.0233018   0.0831905   0.9550126   0.7209577   2.5353057   2.5353057
           13:21.1   574454    6.35303E+l2    5.11925E+l3     5717.65   0.0308666   0.0235938    0.083368   0.9550126   0.7299922   2.5407136   2.5407136
                                                                                                                                                            Case: 23-1922
                                                                                                                                                            Document: 39-3




Appx3005
                                                                                                                                                            Page: 215
                                                                                                                                                            Filed: 01/02/2024
            Case: 23-1922       Document: 39-3     Page: 216   Filed: 01/02/2024




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            Case: 23-1922      Document: 39-3      Page: 217   Filed: 01/02/2024




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HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                         BB10000920




                                             Appx3007
           datetime block_height network_diff est_network_hashrate BTC_price day_ahead_LMP real_time_LMP breakeven_mining_cost day_ahead_LMP_rev real_time_ mining_rev realized_rev
            18:57.8      574204 6.35303E+12            5.38327E+13 5320.85        0.0060427       0.005385          0.0737773           0.1869611 0.166612 2.2484294 2.2484294
            24:01.3      574204 6.35303E+12            5.38327E+l3 5320.01        0.0060427     0.0064427           0.0737656           0.1869611 0.199337 2.2480744 2.2480744
            29:04.S      574204 6.35303E+l2            5.38327E+13 5319.53        0.0060427     0.0066197             0.073759          0.1869611 0.204814 2.2478716 2.2478716
            34:07,5      574204 6.35303E+12            5.38327E+13   5323.01      0.0060427     0.0050811           0.0738072           0.1869611 0.157209 2.2493421 2.2493421
            39:10.8      574205 6.35303E+l2            5.30839E+13 5321.95        0.0060427     0.0039673           0.0748335           0.1869611 0.122748 2.2806172 2.2806172
            44:13.7      574205 6.35303E+l2            5.30839E+13 5326.49        0,0060427     0.0026429           0.0748973           0.1869611 0.081771 2.2825627 2.2825627
            49:17.3      574206 6.35303E+l2            5.44532E+13   5325.49      0.0060427     0.0055617           0.0730003           0.1869611 0.172079 2.2247506 2.2247506
            54:21.0      574207 6.35303E+12            5.39845E+13 5329.01        0.0060427     0.0078101           0.0736827           0.1869611 0.241645 2.2455467 2.2455467
            59:24.0      574207 6.35303E+l2            5.39845E+l3 5325.97        0.0060427     0.0013496           0.0736407           0.1869611 0.041757 2.2442657 2.2442657
            04:26.9      574208 6.35303E+l2            5.34662E+13 5326.24        0.0010725     0.0028982           0.0743583           0.0331832 0.08967 2.2661373 2.2661373
            09:29.9      574208 6.35303E+l2            5.34662E+l3 5325.01        0.0010725    -0.0032033
                                                                                                                                                                                      Case: 23-1922




                                                                                                                    0.0743412           0.0331832 -0.09911 2.2656139 2.2656139
            14:32.8      574209 6.35303E+12            5.33477E+13 532i.61        0.0010725    -0.0082933           0.0744587           0.0331832 -0.25659 2.2691954 2.2691954
            19:35.8      574209 6.35303E+l2            5.33477E+13 5321.01        0.0010725     0.0010456           0.0744503           0.0331832 0.032351 2.2689395 2.2689395
            24:38.8      574210 6.35303E+12            5.36221E+13 5327.95        0.0010725       0.001341            0.074166          0.0331832 0.041491 2.2602762 2.2602762
            29:41.7      574212 6.35303E+l2            5.54528E+13 5327.05        0.0010725    -0.0189529           0.0717053           0.0331832 -0.5864 2.185285        2.185285
            34:44.6      574212 6.35303E+l2            5.54528E+13 5323.36        0.0010725    -0.0315616           0.0716557           0.0331832 -0.97652 2.1837713 2.1837713
            39:47.5      574215 6.35303E+l2            5.58834E+13    5323.1      0.0010725    -0.0309173           0.0711001           0.0331832 -0.95658 2.1668382 2.1668382
            44:50.4      574215 6.35303E+12            5.58834E+13    5323.1      0.0010725    -0.0300668           0 .0711001          0.0331832 -0.93027 2 .1668382 2.1668382
            49 :53.4     574215 6.35303E+l2            5.58834E+13 5326.69        0.0010725    -0.0266166            0.071148           0.0331832 -0.82352 2.1682995 2.1682995
            54:56.2      574215 6.35303E+12            5.58834E+13    5326.7      0.0010725      -0.031087          0 .0711481          0.0331832 -0.96183 2.1683036 2.1683036
            59:59.2      574216 6.35303E+12            5.54406E+13 5326.69        0.0010725    -0.0320125           0.0717163           0.0331832 -0.9904 7 2.1856184 2.1856184
                                                                                                                                                                                      Document: 39-3




            05:02.6      574216 6.35303E+l2            5.54406E+13 5330.34        0.0004616    -0.0310784           0.0717654           0.0142819 -0.96157 2.187116       2.187116
            10:05.7      574219 6.35303E+12            5.59245E+13 5326.73        0.0004616    -0.0029138           0.0710963           0.0142819 -0.09015 2.1667245 2.1667245
            15:08.7      574220 6.35303E+12            5.59914E+13 5330.77        0.0004616    -0.0189733           0.0710652           0.0142819 -0.58703 2 .1657754 2.1657754




Appx3008
            20:11.5      574220 6.35303E+12            5.59914E+13   5343.74      0.0004616    -0.0173406           0.0712381           0.0142819 -0.53652 2.1710449 2.1710449
            25:14.S      574224 6.35303E+12            5.59847E+13 5336.19        0.0004616    -0.0300341            0.071146           0.0142819 -0.92926 2.168237       2.168237
            30:17.5      574226 6.35303E+12            5.60441E+13 5332.48        0.0004616    -0.0260257           0.0710211           0.0142819 -0.80524 2.1644326 2.1644326
            35:20.7      574227 6.35303E+l2            5.56725E+l3 5331.92        0.0004616    -0.0190855           0.0714877           0.0142819 -0.59051 2.1786519 2.1786519
                                                                                                                                                                                      Page: 218




            40:24.0      574227 6.35303E+12            5.56725E+13 5332.07        0.0004616    -0.0196742           0.0714897           0.0142819 -0.60872 2.1787132 2.1787132
            45:26.9      574227 6.35303E+12            5.56725E+l3 5339.99        0.0004616    -0.0193638           0.0715959           0.0142819 -0.59912 2.1819493 2.1819493
            50:29.9      574228 6.35303E+12            5.52451E+l3 5343.15        0.0004616    -0.0290785           0.0721925           0.0142819 -0.89969 2.2001303 2.2001303
            55:32.9      574229 6.35303E+12             5.5892E+13 5339.93        0.0004616    -0.0235031           0.0713139           0.0142819 -0.72719 2.1733552 2.1733552
            00:36.0      574229 6.35303E+12             5.5892E+l3 5339.62        0.0003683    -0.0186023           0.0713098           0.0113952 -0.57556 2.173229       2.173229
            05:38.8      574229 6.35303E+12             5.5892E+13 5340.81        0.0003683     -0.030799           0.0713256           0.0113952 -0.95292 2.1737133 2.1737133
            10:41.7      574229 6.35303E+12             5.5892E+l3 5346.19        0.0003683    -0.0302803           0.0713975           0.0113952 -0.93687 2.175903       2.175903
            15:45.1      574230 6.35303E+l2            5.53347E+13 5351.26        0.0003683     -0.030195           0.0721849           0.0113952 -0.93423 2 .1999008 2.1999008
            20:48.1      574231 6.35303E+12            5.49411E+13 5348.15        0.0003683    -0.0280841           0.0726599           0.0113952 -0.86892 2 .2143761 2.2143761
            25:51.1      574231 6.35303E+12            5.49411E+ 13 5345.35       0.0003683     -0.028219           0.0726219           0.0113952 -0.8731 2.2132168 2.2132168
            30:54.2      57423 1 6.35303E+12           5.49411E+ 13 5345.27       0.0003683    -0.0269783           0.0726208           0.0113952 -0.83471 2.2131836 2.2131836
                                                                                                                                                                                      Filed: 01/02/2024




            35:57.2      574232 6.35303E+l2            5.47061E+13 5350.24        0.0003683    -0.0274456           0.0730005           0.0113952 -0.84917 2.2247569 2.2247569
            41:00.3      574232 6.35303 E+12           5.47061E+13 5346.06        0.0003683    -0.0274731           0.0729435           0.0113952 -0.85002 2.2230187 2.2230187
            46:03.7      574232 6.35303E+12            5.47061E+13 5353.06        0.0003683    -0.0289024            0.073039           0.0113952 -0.89424 2 .2259295 2.2259295
            51:06.6      574232 6.35303E+12            5.47061E+l3 5358.68        0.0003683    -0.0281664           0.0731157           0.0113952 -0.87147 2.2282664 2.2282664
           56:09.5   574232   6.35303E+12    5.47061E+13    5361.44   0.0003683    -0.0264087     0.0731533   0.0113952 -0.81709    2.2294141    2.2294141
           01:12.5   574232   6.35303E+12    5.47061E+13    5374.99   0.0029068    -0.0263978     0.0733382   0.0899364 -0.81675    2. 2350485   2.2350485
           06:15.5   574233   6.35303E+12    5.35475E+13    5374.51   0.0029068    -0.0027561     0.0749183   0.0899364 -0.08527    2.2832021    2.2832021
           11:18.3   574233   6.35303E+12    5.35475E+13    5358.81   0.0029068    -0.0007245     0.0746994   0.0899364 -0.02242    2.2765324    2.2765324
           16:21.5   574233   6.35303E+12    5.35475E+13     5364.9   0.0029068    -0.0182589     0.0747843   0.0899364 -0.56493    2.2791195    2.2791195
           21:24.5   574234   6.35303E+12    5.31615E+13    5359.77   0.0029068    -0.0018612     0.0752553   0.0899364 -0.05759     2.293473     2.293473
           26:27.4   574234   6.35303E+12    5.31615E+13    5359.03   0.0029068    -0.0145596     0.0752449   0.0899364 -0.45047    2.2931563    2.2931563
           31:30.3   574234   6.35303E+l2    5.31615E+13    5350.15   0.0029068    -0.0032024     0.0751202   0.0899364 -0.09908    2.2893565    2.2893565
           36:33.4   574234   6.35303E+l2    5.31615E+13    5341.65   0.0029068    -0.0159588     0.0750009   0.0899364 -0.49377    2.2857193    2.2857193
           41:37.6   574236   6.35303E+12    5.29706E+13    5347.88   0.0029068      -0.031347     0.075359   0.0899364 -0.96988    2.2966332    2.2966332
           46:40.5   574237   6.35303E+12    5.26741E+13     5351.2   0.0029068    -0.0299955     0.0758303   0.0899364 -0.92806    2.3109964    2.3109964
           51:43.8   574238   6.35303E+l2
                                                                                                                                                             Case: 23-1922




                                               5.2719E+13   5355.44   0.0029068      -0.005314    0.0758257   0.0899364 -0.16442    2.3108556    2.3108556
           56:47.1   574238   6.35303E+l2      5.2719E+13   5345.98   0.0029068    -0.0015188     0.0756917   0.0899364 -0.04699    2.3067736    2.3067736
           01:50.1   574239   6.35303E+l2    5.28168E+13    5350.18   0.0123358    -0.0315408     0.0756109   0.3816697 -0.97587    2.3043114    2.3043114
           06:52.9   574240   6.35303E+12    5.25658E+13    5350.99   0.0123358    -0.0303257     0.0759835   0.3816697 -0.93828    2.3156641    2.3156641
           11:55.9   574242   6.35303E+l2    5.34165E+13    5348.27   0.0123358        9.42E-05   0.0747354   0.3816697 0.002915    2. 2776282   2.2776282
           16:58.9   574243   6.35303E+l2    5.35108E+13    5354.48   0.0123358     0.0004518     0.0746903   0.3816697 0.013979    2.2762553    2.2762553
           22:01.8   574245   6.35303E+12    5.38531E+13    5359.65   0.0123358     0.0010006     0.0742872   0.3816697 0.030959    2.2639687    2.2639687
           27:04.8   574246   6.35303E+12    5.41667E+13    5357.51   0.0123358    -0.0032478     0.0738276   0.3816697 -0.10049    2.2499632    2.2499632
           32:07.7   574246   6.35303E+12    5.41667E+13    5361.99   0.0123358    -0.0012084     0.0738894   0.3816697 -0.03739    2.2518446    2.2518446
           37:10.8   574246   6.35303E+12    5.41667E+ 13   5361.98   0.0123358     0.0049192     0.0738892   0.3816697    0.1522   2. 2518404   2.2518404
           42:13.6   574246   6.35303E+l2    5.41667E+13    5366.22   0.0123358    -0.0153369     0.0739476   0.3816697 -0.47452    2.2536211    2.2536211
                                                                                                                                                             Document: 39-3




           47:16.4   574249   6.35303E+12    5.43573E+13    5361.59   0.0123358     -0.001234     0.0736247   0.3816697 -0.03818    2.2437799    2.2437799
           52:19.3   574251   6.35303E+12    5.52479E+13     5360.9   0.0123358     0.0019206     0.0724286   0.3816697 0.059423    2.2073275    2.2073275
           57:22.2   574251   6.35303E+l2    5.52479E+13    5354.26   0.0123358     0.0019529     0.0723389   0.3816697 0.060423    2.2045935    2.2045935




Appx3009
           02:25.2   574252   6.35303 E+12   5.50584E+13    5358.27   0.0171547     0.0052837     0.0726423   0.5307664 0.163478    2.2138386    2.2138386
           07:29.5   574253   6.35303E+12    5.55506E+ 13   5362.43   0.0171547     0.1591301     0.0720545   0.5307664 4.923485    2.1959243    4.9234853
           12:32.4   574254   6.35303E+12    5.55733E+13    5360.24   0 .0171547    0 .0137192    0.0719957   0.5307664 0.424472    2.1941337    2.1941337
           17:35.8   574255   6.35303E+12      5.5978E+13   5358.19   0.0171547     0 .0100247    0.0714478   0.5307664 0.310164    2.1774367    2.1774367
                                                                                                                                                             Page: 219




           22:39.3   574257   6.35303E+12    5.59531E+13    5365.45   0.0171547       0.010676    0.0715764   0.5307664 0.330315    2.1813562    2.1813562
           27:42.4   574257   6.35303E+12    5.59531E+13    5368.93   0.0171547     0.0084567     0.0716229   0.5307664 0.26165      2.182771     2.182771
           32:45.3   574257   6.35303E+12    5.59531E+13    5368.01   0.0171547         0.00695   0.0716106   0.5307664 0.215033     2.182397     2.182397
           37:48.1   574257   6.35303.E+12   5.59531E+13    5368.01   0.0171547     0.0068908     0.0716106   0.5307664 0.213201     2.182397     2.182397
           42:51.2   574258   6.35303E+12    5.61961E+13    5363.48   0.0171547     0.0079862     0.0712408   0.5307664 0.247093    2.1711281    2.1711281
           47:54.2   574258   6.35303E+l2    5.61961E+13    5363.48   0.0171547     0.0077288     0.0712408   0.5307664 0.239129    2.1711281    2.1711281
           53:01.0   574258   6.35303E+12    5 .61961E+13   5367.12   0.0171547     0.0079606     0.0712892   0.5307664 0.246301    2.1726015    2.1726015
           58:03.9   574258   6.35303E+12    5.61961E+13     5368.9   0.0171547     0.0094797     0.0713128   0.5307664 0.293302    2.1733221    2.1733221
           03:06.9   574258   6.35303E+12    5.61961E+13    5361.18   0.0175345     0 .0099931    0.0712103   0.5425174 0.309187     2.170197     2.170197
           08:10.0   574258   6.35303E+12    5.61961E+ 13   5360.85   0.0175345     0.0140424     0.0712059   0.5425174 0.434472    2.1700634    2.1700634
           13:13.1   574260   6.35303E+12    5.46276E+13    5364.69   0.0175345     0.0115677     0.0733029   0.5425174 0.357905    2.2339708    2.2339708
                                                                                                                                                             Filed: 01/02/2024




           18:16.1   574260   6.35303E+12    5.46276E+13    5368.73   0.0175345     0.0089848     0.0733581   0.5425174 0.27799     2.2356531    2.2356531
           23:19.1   574260   6.35303E+12    5.46276E+13    5365.96   0.0175345     0.0087186     0.0733202   0.5425174 0.269754    2.2344996    2.2344996
           28:22.1   574260   6.35303E+12    5.46276E+13    5366.96   0.0175345     0.0076954     0.0733339   0.5425174 0.238096     2.234916     2.234916
           33:25.3   574261   6.35303E+12    5.36607E+13    5369.99   0.0175345     0.0085314     0.0746974   0.5425174 0.263962    2.2764693    2.2764693
           38:28.2    574261   6.35303E+12   5.36607E+13    5366.01   0.0175345      0.007959    0.074642    0.5425174   0.246252   2.2747821    2.2747821
           43:31.2    574261   6.35303E+12   5.36607E+13    5363.99   0.0175345    0.0088748    0.0746139    0.5425174   0.274586   2.2739257    2.2739257
           48:34.0    574261   6.35303E+12   5.36607E+13    5362.94   0.0175345    0.0087942    0.0745993    0.5425174   0.272093   2.2734806    2.2734806
           53:36.9    574261   6.35303E+12   5.36607E+13    5374.61   0.0175345    0.0108958    0.0747616    0.5425174   0.337116   2.2784278    2.2784278
           58:39.7    574263   6.35303E+12   5.26165E+13    5373.07   0.0175345    0.0088925    0.0762235    0.5425174   0.275134   2.3229796    2.3229796
           03:42.6    574266   6.35303E+12   5.51716E+13    5365.69   0.0192201     0.008437    0.0725936    0.5946699   0.261041   2.2123564    2.2123564
           08:45.5    574268   6.35303E+12   5.60115E+13    5358.95   0.0192201    0.0081387    0.0714152    0.5946699   0.251811   2.1764425    2.1764425
           13:48.7    574269   6.35303E+l2   5.58958E+13    5350.35   0.0192201    0.0089234    0.0714482    0.5946699    0.27609   2.1774474    2.1774474
           18:51.9    574270   6.35303E+12    5.6144E+13    5350.01   0.0192201    0.0083345    0.0711278    0.5946699   0.257869   2.1676825    2.1676825
           23:54.8    574271   6.35303E+12    5.6095E+13    5356.14   0.0192201    0.0081467    0.0712715    0.5946699   0.252059    2.172064     2.172064
           28:57.8    574271   6.35303E+12    5.6095E+13    5348.01   0.0192201    0.0080171    0.0711633    0.5946699   0.248049    2.168767     2.168767
           34:00.7    574272   6.35303E+12   5.54087E+13    5356.18   0.0192201    0.0081756    0.0721548
                                                                                                                                                              Case: 23-1922




                                                                                                             0.5946699   0.252953   2.1989837    2.1989837
           39:03.7    574273   6.35303E+12   5.53104E+13    5355.34   0.0192201    0.0085978    0.0722717    0.5946699   0.266016   2.2025454    2.2025454
           44:07 .1   574274   6.35303E+12   5.53441E+13    5355.28   0.0192201    0.0106277     0.072227    0.5946699   0.328821   2.2011814    2.2011814
           49:10.1    574274   6.35303E+12   5.53441E+13    5354.11   0.0192201    0.0119739    0.0722112    0.5946699   0.370473   2.2007005    2.2007005
           54:13.2    574274   6.35303E+l2   5.53441E+l3    5355.14   0.0192201    0.0170918    0.0722251    0.5946699    0.52882   2.2011238    2.2011238
           59:16.2    574274   6.35303E+12   5.S3441E+13    5369.69   0.0192201    0.0147439    0.0724213    0.5946699   0.456176   2.2071043    2.2071043
           04:19.1    574274   6.35303E+12   5.53441E+13    5370.68   0.0216772    0.0099164    0.0724347    0.6706926   0.306813   2.2075112    2.2075112
           09:22.5    574274   6.35303E+12   5.53441E+ 13   5367.34   0.0216772    0.0091219    0.0723896    0.6706926   0.282232   2.2061384    2.2061384
           14:25.5    574274   6.35303E+12   5.S3441E+13    5364.39   0.0216772    0.0156346    0.0723498    0.6706926   0.483735   2.2049258    2.2049258
           19:28.4    574275   6.35303E+12   5.36343E+13    5366.28   0.0216772    0 .0160516   0.0746825    0.6706926   0.496637    2.276015     2.276015
           24:31.3    574275   6.35303E+12   5.36343E+13    5371.27   0.0216772    0 .0160404   0.0747519    0.6706926    0.49629   2.2781314    2.2781314
                                                                                                                                                              Document: 39-3




           29:34.0    574275   6.35303E+12   5.36343E+13    5369.89   0.0216772    0.0158588    0.0747327    0.6706926   0.490671   2.2775461    2.2775461
           34:37.0    574277   6.35303E+12   5.50501E+13    5373.89   0.0216772    0.0200104    0.0728651    0.6706926   0.619122   2.2206282    2.2206282
           39:39.9    574280   6.35303E+l2   5.61893E+13     5386.3   0.0216772    0.0192174    0.0715525    0.6706926   0.594586   2.1806275    2.1806275




Appx3010
           44:42.8    574281   6.35303E+12   5.67946E+ 13   5376.94   0.0216772    0.0172971     0.070667    0.6706926   0.535172   2.1536405    2.1536405
           49:45.4    574281   6.35303E+12   5.67946E+ 13   5380.34   0.0216772    0.0171393    0.0707117    0.6706926    0.53029   2.1550023    2.1550023
           54:48.5    574282   6.35303E+12    5.6096E+13    5376.01   0.0216772    0.0134753    0.0715347    0.6706926   0.416926   2.1800845    2.1800845
           59:51.6    574282   6.35303E+12    5.6096E+13    5379.99   0.0216772    0 .0180308   0.0715877    0.6706926   0.557873   2.1816984    2.1816984
                                                                                                                                                              Page: 220




           04:54.7    574283   6.35303E+l2   5.56063E+13    5387.53   0.0236157    0.0178982    0.0723193    0.7306698    0.55377   2.2039945    2.2039945
           09:58.2    574283   6.35303E+12   5.56063E+13    5404.49   0.0236157    0.0199601    0.0725469    0.7306698   0.617566   2.2109326    2.2109326
           15:01.2    574283   6.35303E+12   5.56063E+ 13    5410.8   0 .0236157    0.019843    0.0726316    0.7306698   0.613942    2.213514     2.213514
           20:04.6    574284   6.35303E+12   5.64188E+13    5402.18   0.0236157    0.0211652    0.0714716    0.7306698   0.654851   2.1781617    2.1781617
           25:08.2    574284   6.35303E+l2   5.64188E+13    5401.01   0.0236157    0.0207169    0.0714561    0.7306698   0.640981      2.17769      2.17769
           30:11.3    574285   6.35303E+12   5.57835E+l3    5408.19   0.0236157    0.0202099     0.072366    0.7306698   0.625294   2.2054203    2.2054203
           35:14.3    574285   6.35303E+l2   5.57835E+13    5399.01   0.0236157    0.0197121    0.0722432    0.7306698   0.609892   2.2016767    2.2016767
           40:17.3    574285   6.35303E+12   5.57835E+13    5401.14   0.0236157    0.0205203    0.0722717    0.7306698   0.634898   2.2025453    2.2025453
           45:20.2    574285   6.35303E+12   5.57835E+l3    5401.12   0.0236157     0.020253    0.0722714    0.7306698   0.626628   2.2025372    2.2025372
           50:23.3    574285   6.35303E+l2   5.57835E+13    5404.01   0.0236157    0.0204966    0.0723101    0.7306698   0.634165   2.2037157    2.2037157
           55:26.4    574285   6.35303E+12   5.57835E+13    5402.66   0.0236157    0.0204779     0 .072292   0.7306698   0.633586   2.2031652    2.2031652
                                                                                                                                                              Filed: 01/02/2024




           00:29.5    574285   6.35303E+12   5.57835E+13    5405.56   0.0246623    0.0205394    0.0723309    0.7630516   0.635489   2.2043478    2.2043478
           05:32.6    574285   6.35303E+l2   5.57835E+13    5408.51   0.0246623     0.020696    0.0723703    0.7630516   0.640334   2.2055508    2.2055508
           10:35.6    574286   6.35303E+12   5.36818E+13    5410.26   0.0246623    0.0206614    0.0752279    0.7630516   0.639264   2.2926386    2.2926386
           15:38.9    574287   6.35303E+12   5.50908E+ 13   5405.01   0.0246623    0.0206639    0.0732328    0.7630516   0.639341   2.2318356    2.2318356
           20:42.0   574287   6.35303E+l2    5.50908E+l3     5377.7   0.0246623   0.0207146    0.0728628   0.7630516 0.64091     2.2205587    2.2205587
           25:45.3   574288   6.35303E+l2     5.6446E+13    5379.31   0.0246623   0.0207073    0.0711347   0.7630516 0.640684    2.1678941    2.1678941
           30:48.4   574289   6.35303E+l2    5.61643E+13    5386.34   0.0246623   0.0217617     0.071585   0.7630516 0.673307    2.1816166    2.1816166
           35:51.4   574289   6.35303E+l2    5.61643E+ 13   5386.22   0.0246623   0.0218403    0.0715834   0.7630516 0.675739     2.181568     2.181568
           40:54.5   574289   6.35303E+l2    5.61643E+l3    5380.96   0.0246623   0.0212653    0.0715135   0.7630516 0.657948    2.1794376    2.1794376
           45:57.5   574289   6.35303E+l2    5.61643E+l3    5373.11   0.0246623   0.0218495    0.0714091   0.7630516 0.676024    2.1762581    2.1762581
           51:00.S   574290   6.35303E+12    5.56905E+ 13   5379.99   0.0246623   0.0219329    0.0721089   0.7630516 0.678604    2.1975834    2.1975834
           56:03.8   574293   6.35303E+l2    5.63654E+l3    5381.68   0.0246623   0.0219044    0.0712679   0.7630516 0.677722    2.1719525    2.1719525
           01:07.0   574294   6.35303E+l2    5.66874E+l3    5378.02   0.0258006      0.02135   0.0708148   0.7982706 0 .660569   2.1581456    2.1581456
           06:09.8   574295   6.35303E+12    5.71185E+l3    5388.44   0.0258006   0.0215474    0.0704165   0.7982706 0 .666677   2.1460054    2.1460054
           11:12.8   574296   6.35303E+l2    5.69506E+l3    5391.26   0.0258006   0.0217122     0.070661   0.7982706 0.671776    2.1534583    2.1534583
           16:15.8
                                                                                                                                                           Case: 23-1922




                     574298   6.35303E+l2    5. 77593E+13   5388.44   0.0258006   0.0240987    0.0696352   0.7982706 0.745614    2.1221966    2.1221966
           21:19.0   574298   6.35303E+l2    5.77593E+l3    5388.43   0.0258006   0.0223207    0.0696351   0.7982706 0.690603    2.1221927    2.1221927
           26:22.1   574298   6.35303E+l2    5.77593E+l3    5393.86   0.0258006   0.0257788    0.0697053   0.7982706 0.797596    2.1243313    2.1243313
           31:25.5   574300   6.35303E+l2    5.74492E+l3    5390.38   0.0258006   0.0265151    0.0700363   0.7982706 0.820377       2.13442      2.13442
           36:29.7   574301   6.35303 E+l2    5.7613E+l3    5391.27   0.0258006   0 .0846763   0.0698488   0.7982706 2.619885    2.1287047    2.6198847
           41:33.9   574301   6.35303E+l2     5.7613E+l3     5391.2   0.0258006   0 .2210761   0.0698479   0.7982706 6.840095    2.1286771    6.8400945
           46:37.9   574302   6.35303E+l2    5.77583E+l3    5394.99   0.0258006   0.1570346    0.0697211   0.7982706 4.858651    2.1248138    4.8586505
           51:42.1   574302   6.35303E+l2    5.77583E+13    5394.99   0.0258006   0.1785148    0.0697211   0.7982706 5.523248    2.1248138    5.5232479
           56:46.2   574305   6.35303E+l2     5.8471E+l3    5394.98   0.0258006   0.1762844    0.0688712   0.7982706 5.454239    2.0989108    5.4542393
           01:50.2   574305   6.35303E+l2     5.8471E+l3    5392.44   0.0281961   0.2198672    0.0688387   0.8723873 6.802691    2.0979226    6.8026912
           06:53.7   574305   6.35303E+12     5.8471E+13    5392.99   0.0281961   0.0379209    0.0688458   0.8723873 1.173273    2.0981366    2.0981366
                                                                                                                                                           Document: 39-3




           11:56.7   574306   6.35303E+12    5.85526E+l3    5393.03   0.0281961   0.0282621    0.0687504   0.8723873 0.874429    2.0952297    2.0952297
           17:00.1   574309   6.35303E+12    6.00748E+l3    5396.48   0.0281961   0.0252831    0.0670512   0.8723873 0. 782259   2.0434454    2.0434454
           22:03.0   574309   6.35303E+12    6.00748E+13    5397.01   0.0281961   0.0261016    0.0670578   0.8723873 0.807584    2.0436461    2.0436461




Appx3011
           27:06.2   574310   6.35303E+12    6.02983E+13    5396.19   0.0281961   0 .0259345   0.0667991   0.8723873 0.802413    2.0357628    2.0357628
           32:09.2   574311   6.35303E+12    6.01255E+13    5399.99   0.0281961   0.0302117    0.0670382   0.8723873 0.93475     2.0430488    2.0430488
           37:12.3   574311   6.35303E+12    6.01255E+13    5396.83   0.0281961   0.0302065    0.0669989   0.8723873 0.934589    2.0418532    2.0418532
           42:16.0   574312   6.35303E+l2    5.99055E+13     5396.6   0.0281961   0.0302581    0.0672421   0.8723873 0.936186    2.0492645    2.0492645
                                                                                                                                                           Page: 221




           47:18.9   574312   6.35303E+l2    5.99055E+l3     5395.6   0.0281961   0.0260237    0.0672297   0.8723873 0.805173    2.0488848    2.0488848
           52:22.0   574315   6.35303E+l2    5.97623E+l3    5391.32   0.0281961   0.0287961    0.0673373   0.8723873 0.890951    2.0521662    2.0521662
           57:25.5   574315   6.35303E+12    5.97623E+l3    5389.83   0.0281961   0.0262929    0.0673187   0.8723873 0.813502     2.051599     2.051599
           02:29.6   574316   6.35303E+12    5.95157E+13    5386.52   0.0299161   0.2138762    0.0675561   0.9256041 6.61733     2.0588338    6.6173296
           07:32.4   574317   6.35303E+12    6.04051E+13    5388.05   0.0299161   0.0275251    0.0665804   0.9256041 0.851627    2.0290984    2.0290984
           12:36.3   574319   6.35303E+12     6.0775E+l3    5393.81   0.0299161   0.2273591    0.0662458   0.9256041 7.034491    2.0189017    7.0344906
           17:39.2   574320   6.35303E+12    6.21737E+l3    5393.01   0.0299161   0.0493661     0.064746   0.9256041 1.527387    1.9731924    1.9731924
           22:42.0   574320   6.35303E+l2    6.21737E+l3    5402.48   0.0299161   0.0375238    0.0648597   0.9256041 1.160986    1.9766573    1.9766573
           27:44.8   574320   6.35303E+12    6.21737E+l3    5407.98   0.0299161   0.0307697    0.0649257   0.9256041 0.952015    1.9786696    1.9786696
           32:47.7   574321   6.35303E+l2    6.17749E+13    5401.85   0.0299161    0.028391    0.0652708   0.9256041 0.878418    1.9891864    1.9891864
           37:50.6   574321   6.35303E+l2    6.17749E+13    5405.27   0.0299161   0.0282624    0.0653121   0.9256041 0.874439    1.9904458    1.9904458
                                                                                                                                                           Filed: 01/02/2024




           42:53.6   574321   6.35303E+12    6.17749E+l3    5406.86   0.0299161   0.0277909    0.0653313   0.9256041 0.85985     1.9910313    1.9910313
           47:56.6   574321   6.35303E+12    6.17749E+l3    5408.61   0.0299161   0.0279723    0.0653525   0.9256041 0.865463    1.9916757    1.9916757
           52:59.4   574321   6.35303E+12    6.17749E+ 13   5414.93   0.0299161   0.0279911    0.0654288   0.9256041 0.866045     1.994003     1.994003
           58:02.4   574321   6.35303E+l2    6.17749E+13    5402.69   0.0299161    0.026867    0.0652809   0.9256041 0.831265    1.9894957    1.9894957
           03:05.3    574321   6.35303E+l2    6.17749E+l3    5391.74   0.0292659    0.0268991   0.0651486    0.9054869 0.832258    1.9854634     1.9854634
           08:08.S    574321   6.35303E+12    6.17749E+13     5395.3   0.0292659    0.0270222   0.0651917    0.9054869 0.836067    1.9867744     1.9867744
           13:11.4    574321   6.35303E+l2    6.l7749E+ 13   5397.89   0.0292659    0.0267872    0.065223    0.9054869 0.828796    1.9877281     1.9877281
           18:14.9    574321   6.35303E+12    6.17749E+13     5399.5   0.0292659    0.0268543   0.0652424    0.9054869 0.830872      1.988321      1.988321
           23:17.9    574321   6.35303E+12    6.17749E+13    5394.06   0.0292659    0.0269768   0.0651767    0.9054869 0.834662    1.9863178     1.9863178
           28:20.8    574321   6.35303E+12    6.17749E+l3    5393.44   0.0292659    0.0268761   0.0651692    0.9054869 0.831547    1.9860895     1.9860895
           33:24.0    574322   6.35303E+l2     5.8824E+13     5394.4   0.0292659    0.0268238   0.0684506    0.9054869 0.829928      2.086093      2.086093
           38:27.3    574322   6.35303E+12     5.8824E+l3    5392.26   0.0292659    0.0261315   0.0684234    0.9054869 0.808509    2.0852655     2.0852655
           43 :30.4   574323   6.35303E+l2    5.85421E+13    5392.81   0.0292659    0.0274694   0.0687599    0.9054869 0.849903    2.0955189     2.0955189
           48:33.4    574323   6.35303 E+12   5.85421E+13    5397.13   0.0292659    0.0267346    0.068815    0.9054869 0.827169    2.0971976     2.0971976
           53:36.4    574323   6.35303E+l2    5.85421E+l3    5402.13   0.0292659    0.0276262   0.0688787    0.9054869 0.854755    2.0991404     2.0991404
           58:39.2    574326   6.35303E+l2    5.98016E+13    5403.36   0.0292659    0.0304034   0.0674434    0.9054869 0.940681    2.0553977
                                                                                                                                                               Case: 23-1922




                                                                                                                                                 2.0553977
           03:42.1    574326   6.35303£+12    5.98016£+13    S402.78    0.030273    0.0359978   0.0674361    0.9366466 1.113772    2.0551771     2.0551771
           08:45.0    574327   6.35303E+l2    5.96067E+13    5401.47    0.030273    0.0287712   0.0676402    0.9366466 0.890181    2.0613959     2.0613959
           13:48.1    574327   6.35303E+l2    5.96067E+ 13   5402.02    0.030273    0.0276182   0.0676471    0.9366466 0.854507    2.0616058     2.0616058
           18:51.1    574328   6.35303E+l2    5.96752E+13    5405.01    0.030273    0.0258534   0.0676069    0.9366466 0.799904    2.0603812     2.0603812
           23:54.0    574328   6.35303E+l 2   5.96752E+13    5405.54    0.030273    0.0273201   0.0676135    0.9366466 0.845284    2.0 605832    2.0605832
           28:57.0    574328   6.35303E+l2    5.96752E+13    5411.23    0.030273    0.0271151   0.0676847    0.9366466 0.838941    2 .0627523    2.0627523
           34:00.5    574329   6.35303E+l2    5.94855E+13    5414.16    0.030273    0.0272609   0.0679373    0.9366466 0.843452    2.0704516     2.0704516
           39:03.4    574330   6.35303E+l2    5.97035E+13    5414.16    0.030273    0.0272442   0.0676893    0.9366466 0.842936    2.0628912     2.0628912
           44:06.6    574331   6.35303E+l2    5.96567E+ 13   5414.18    0.030273    0.0259561   0.0677426    0.9366466 0.803082    2.0645162     2.0645162
           49:10.2    574333   6.35303E+l2     5.9734E+l3    5407.51    0.030273    0.0270756   0.0675716    0.9366466 0.837719    2.0593055     2.0593055
                                                                                                                                                               Document: 39-3




           54:13.3    574333   6.35303E+12     5.9734E+13    5400.01    0.030273    0.0271004   0.0674779    0.9366466 0.838486    2.0564494     2.0564494
           59:16.4    574334   6.35303E+12    5.92562E+13    5403.78    0.030273    0.0273779   0.0680695    0.9366466 0.847072    2.0744785     2.0744785
           04:19.8    574335   6.35303E+l2     5.9018E+13     5401.4   0.0290851    0.0283554   0.0683141     0.899893 0.877316    2.0819329     2.0819329




Appx3012
           09:23.3    574335   6.35303E+l2     5.9018E+l3    5400.65   0.0290851    0.0271462   0.0683046     0.899893 0.839903    2.0816439     2.0816439
           14:26.3    574337   6.35303E+l2    6.04407E+13    5403.84   0.0290851    0.0271793   0.0667361     0.899893 0.840928    2.0338434     2.0338434
           19:29.7    574338   6.35303E+12    6.00814E+13    5403.99   0.0290851    0.0269492   0.0671371     0.899893 0.833808    2.0460639     2.0460639
           24:32.5    574341   6.35303E+12    6.05704E+13    5406.15   0.0290851    0.0265213   0.0666217     0.899893 0.820569    2.0303561     2.0303561
                                                                                                                                                               Page: 222




           29:35.5    574342   6.35303E+l2     6.0482E+13    5405.72   0.0290851    0.0269952   0.0667137     0.899893 0.835232    2.0331615     2.0331615
           34:38.6    574343   6.35303E+12    5.99395E+13    5402.02   0.0290851    0.0260047   0.0672715     0.899893 0.804585    2.0501593     2.0501593
           39:41.6    574343   6.35303E+l2    5.99395E+13    5399.38   0.0290851    0.0266287   0.0672386     0.899893 0.823892    2.0491574     2.0491574
           44:44.4    574344   6.35303E+12    5.95861E+13    5399.01   0.0290851    0.0265012   0.0676328     0.899893 0.819947    2.0611697     2.0611697
           49:47.3    574344   6.35303E+l 2   5.95861E+l3    5394.85   0.0290851    0.0271631   0.0675807     0.899893 0.840426    2.0595816     2.0595816
           54:50.3    574344   6.35303E+12    5.95861E+ 13   5396.47   0.0290851    0.0265076    0.067601     0.899893 0.820145         2.0602        2.0602
           59:53.1    574344   6.35303E+12    5.95861E+13    5398.44   0.0290851    0.0266994   0.0676256     0.899893 0.826079    2.0609521     2.0609521
           04:56.9    574346   6.35303 E+12   5.84022E+13    5394.51      0.02818   0.2274043   0.0689463    0.8718892 7.035889    2.1012014       7.035889
           10:00.6    574347   6.35303 E+12   5.86008E+l3     5393.4     0.02818    0.0269004   0.0686985    0.8718892 0.832298    2.0936499     2.0936499
           15:04.1    574347   6.35303 E+12   5.86008E+ 13   5397.48     0.02818     0.026967   0.0687505    0.8718892 0.834359    2.0952337     2.0952337
           20:07.3    574348   6.35303E+12    5.87322E+13    5396.99      0.02818   0.0271281   0.0685905    0.8718892 0.839343    2.0903567     2.0903567
                                                                                                                                                               Filed: 01/02/2024




           25:10.3    574348   6.35303E+l2    5.87322E+ 13   5396.15      0.02818   0.0268342   0.0685798    0.8718892 0.83025     2.0900313     2.0900313
           30:14.9    574349   6.35303 E+12   5.84595E+13    5395.98     0.02818     0.226576   0.0688975    0.8718892 7 .010261   2.0997122     7 .0102614
           35:17.9    574350   6.35303E+l2    5.91267E+ 13   5396.77      0.02818   0.0272473      0.06813   0.8718892 0.843032    2.0763241     2.0 763241
           40:20.9    574350   6.35303E+l2    5.91267E+13    5395.88     0.02818     0.024981   0.0681188    0.8718892 0. 772912   2.0759816     2.0759816
           45:24.0    574351   6.35303E+l2    5.92508E+13     5395.8      0.02818   0.0257123    0.0679751   0.8718892 0.795539     2.0716025    2.0716025
           50:27.1    574351   6.35303E+12    5.92508E+13    5393.06      0.02818   0.0249229    0.0679406   0.8718892 0.771115     2.0705505    2.0705505
           55:30.2    574351   6.35303E+12    5.92508E+13    5392.02      0.02818   0.0251479    0.0679275   0.8718892 0.778076     2.0701512    2.0701512
           00:33.0    574351   6.35303E+12    5.92508E+13    5390.01   0.0294406    0.0252162    0.0679022   0.9108922 0.780189     2.0693795    2.0693795
           05:35.8    574351   6.35303E+12    5.92508E+13    5365.12   0.0294406    0.0226972    0.0675886   0.9108922 0.702251     2.0598235    2.0598235
           10:38.7    574351   6.35303E+12    5.92508E+13    5371.99   0.0294406    0.0227666    0.0676752   0.9108922 0.704399     2.0624611    2.0624611
           15:41.6    574351   6.35303E+l2    5.92508E+13     5379.7   0.0294406    0.0243866    0.0677723   0.9108922 0.754521     2.0654212    2.0654212
           20:44.5    574353   6.35303E+12    5.95341E+13     5378.3   0.0294406    0.0230678    0.0674322   0.9108922 0.713718     2.0550568    2.0550568
           25:47.5    574353   6.35303E+12    5.95341E+13    5381.03   0.0294406    0.0249763    0.0674664   0.9108922 0. 772767    2.0560999    2.0560999
           30:50.5    574353   6.35303E+12    5.95341E+13    5392.25   0.0294406    0.0253991    0.0676071   0.9108922 0.785848     2.0603871    2.0603871
           35:53.6    574353   6.35303E+l2    5.95341E+13    5394.16   0.0294406    0 .0253424    0.067631   0.9108922 0.784094     2.0611169    2.0611169
                                                                                                                                                             Case: 23-1922




           40:56.7    574353   6.35303E+12    5.95341E+13    5399.99   0.0294406    0.0250223    0.0677041   0.9108922 0.77419      2.0633446    2.0633446
           45:59.6    574356   6.35303E+12    6.01278E+ 13   5396.88   0.0294406    0.0234576    0.0669971   0.9108922 0.725778     2.0417971    2.0417971
           51:02.7    574356   6.35303E+l2    6.01278E+13    5394.77   0.0294406    0 .0249344   0.0669709   0.9108922 0.77147      2.0409989    2.0409989
           56:05.8    574356   6.35303E+12    6.01278E+13     5402.4   0 .0294406    0 .022081   0.0670656   0.9108922 0.683186     2.0438855    2.0438855
           01:08.8    574357   6.35303E+l2    5.98782 E+l3   5407.57   0.0358454    0.0219246    0.0674096   1.1090567 0.678347     2.0543694    2.0543694
           06:12.1    574357   6.35303E+12    5.98782E+13    5412.01   0.0358454    0 .0217059    0.067465   1.1090567 0.671581     2.0560562    2.0560562
           11:15.1    574359   6.35303E+12    5.99023E+13    5413.47   0.0358454    0.0219481     0.067456   1.1090567 0.679074     2.0557835    2.0557835
           16:18.2    574360   6.35303E+12     6.0023E+13    5411.11   0.0358454    0.0220348    0.0672909   1.1090567 0.681757     2.0507521    2.0507521
           21:21.3    574360   6.35303E+12      6.0023E+l3   5411.03   0.0358454    0.0228761    0.0672899   1.1090567 0.707787     2.0507217    2.0507217
           26:24.5    574360   6.35303E+12      6.0023E+l3   5403.73   0.0358454    0.0226145    0.0671992   1.1090567 0.699693     2.0479551    2.0479551
           31:27.6    574361   6.35303E+12    5.95038E+l3    5407.93   0.0358454    0 .0246405   0.0678382   1.1090567 0.762377     2.0674304    2.0674304
                                                                                                                                                             Document: 39-3




           36:30.8    574361   6.35303E+12    5.95038E+13    5411.14   0.0358454    0.0360477    0.0678785   1.1090567 1.115316     2.0686576    2.0686576
           41:34.3    574362   6.35303E+l2    5.87448E+13    5422.09   0.0358454    0.0239492    0.0688946   1.1090567 0 .740988    2.0996263    2.0996263
           46:37.4    574362   6.35303E+l2    5.87448E+13    5435.74   0.0358454    0.0225539    0.0690681   1.1090567 0.697818     2.1049121    2.1049121




Appx3013
           51:40.5    574362   6.35303E+12    5.87448E+13    5435.55   0.0358454    0.0241469    0.0690657   1.1090567 0.747105     2.1048385    2.1048385
           56:43.6    574363   6.35303E+l2    5.80502E+ 13   5427.15   0.0358454    0.0327231    0.0697841   1.1090567 1.012453     2.1267343    2.1267343
           01:47.3    574363   6.35303E+12    5.80502E+l3     5428.1   0.0269617    0.0483081    0.0697964    0.834195 1.494653     2.1271066    2.1271066
           06:50.1    574364   6.35303E+ 12   5.78645E+13    5441.31   0.0269617    0.0434265    0.0701907    0.834195 1.343616     2.1391255    2.1391255
                                                                                                                                                             Page: 223




           11:53.2    574364   6.35303E+l2    5.78645E+13    5428.95   0.0269617    0.0243957    0.0700313    0.834195 0.754803     2.1342664    2.1342664
           16:56.5    574367   6.35303E+l2    5.84533E+l3    5433.74   0.0269617    0.0247673     0.069387    0.834195     0.7663   2.1146321    2.1146321
           21:59.8    574367   6.35303E+ 12   5.84533E+l3    5439.23   0.0269617    0.0232371    0.0694571    0.834195 0.718956     2.1167686    2.1167686
           27:03.6    574368   6.35303E+l2    5.81378E+ 13   5433.99   0.0269617    0.0215394    0.0697668    0.834195 0.666429     2.1262058    2.1262058
           32:06.7    574368   6.35303E+l2    5.81378E+l3    5443.02   0.0269617    0.0212281    0.0698827    0.834195 0.656797     2.1297391    2.1297391
           37:09.8    574369   6.35303E+12     5.7527E+13    5441.82   0.0269617    0.0207248    0.0706092    0.834195 0.641225     2.1518775    2.1518775
           42:13.0    574370   6.35303E+l2    5.73316E+l3    5444.99   0.0269617    0.0200896    0.0708911    0.834195 0.621572     2.1604697    2.1604697
           47:16.2    574370   6.35303E+l2    5.73316E+l3    5471.73   0.0269617    0.0200075    0.0712392    0.834195 0.619032     2.1710796    2.1710796
           52:19.8    574370   6.35303E+l2    5.73316E+l3    5464.57   0.0269617    0.0196461     0.071146    0.834195 0.60785      2.1682387    2.1682387
           57:22.8    574373   6.35303E+l2    5.75391E+13    5469.53   0.0269617    0.0199141    0.0709537    0.834195 0.616142      2.162379     2.162379
           02:26.3    574373   6.35303E+l2    5.75391E+13    5466.18   0.0207707    0.0196095    0.0709103   0.6426455 0.606718     2.1610546    2.1610546
                                                                                                                                                             Filed: 01/02/2024




           07: 29.4   574373   6.35303E+l2    5.75391E+13     5468.2   0.0207707    0.019358 2   0.0709365   0.6426455 0.598943     2.1618532    2.1618532
           12:32.4    574374   6.353031:+12   5.70787E+13    5462.25   0.0207707      0.019736   0.0714308   0.6426455 0.610632     2.1769189    2.1769189
           17:35.9    574375   6.35303E+l2    5,67247E+13    5457.26   0.0207707    0.0194616    0.0718109   0 .6426455 0.602142    2.188503 2   2.1885032
           22:38.8    574376   6.35303E+12    5.68162E+l3    5459.27   0.0207707      0.021469   0.0717217   0.6426455 0.664251      2.185782     2.185782
           27:41.6   574376 6.35303E+12   5.68162E+13    5455.91   0.0207707   0.0195687   0.0716775   0.6426455 0.605456 2.1844367    2.1844367
           32:44.5   574377 6.35303E+12   5.63276E+13    5456.06   0.0207707   0.0197946   0.0723014   0.6426455 0.612445 2.2034492    2.2034492
           37:47.4   574377 6.35303E+l2   5.63276E+13    5461.19   0.0207707   0.0219931   0.0723693   0.6426455 0.680467 2.205521       2.205521
           42:50.1   574377 6.35303E+l2   5.63276E+13     5464.3   0.0207707   0.0213058   0.0724106   0.6426455 0.659202 2.206777       2.206777
           47:53.0   574378 6.35303E+l2   5.65074E+13    5471.12   0.0207707   0.0213015   0.0722702   0.6426455 0.659068 2.2024995    2.2024995
           52:55.9   574378 6.35303E+l2   5.65074E+13     5465.8   0.0207707   0.0208578   0.0721999   0.6426455 0.64534 2.2003578     2.2003578
           57:58.7   574378 6.35303E+l2   5.65074E+l3    5467.45   0.0207707   0.0197404   0.0722217   0.6426455 0.610768 2.2010221    2.2010221
           03:32.3   574384 6.35303E+12   5.65611E+l3    5475.82   0.0180828    0.018821   0.0722636   0.5594818 0.582322 2.2022993    2.2022993
           08:35.1   574384 6.35303E+12   5.65611E+13    5472.78   0.0180828   0.0187888   0.0722235   0.5594818 0.581326 2.2010766    2.2010766
           13:38.2   574384 6.35303E+l2   5.65611E+13    5477.51   0.0180828   0.0188459   0.0722859   0.5594818 0.583092 2.2029789    2.2029789
           18:41.2   574384 6.35303E+l2   5.65611E+13    5475.27   0.0180828   0.0184952   0.0722564   0.5594818 0.572242 2.202078      2.202078
                                                                                                                                                    Case: 23-1922




           23:44.S   574384 6.35303E+12   5.65611E+13    5485.01   0.0180828   0.0183313   0.0723849   0.5594818 0.56717 2.2059953     2.2059953
           28:47.4   574385 6.35303E+l2   5.52675E+13    5483.01   0.0180828   0.0180025   0.0740521   0.5594818 0.556997 2.2568058    2.2568058
           33:50.3   574386 6.35303E+l2     5.5002E+13   5487.35   0.0180828   0.0182859   0.0744685   0.5594818 0.565766 2.2694951    2.2694951
           38:53.3   574386 6.35303E+12     5.5002E+13    5489.7   0.0180828   0.0187295   0.0745004   0.5594818 0.579491 2.270467      2.270467
           43:56.2   574387 6.35303E+l2     5.4816E+13   5485.01   0.0180828   0.0183101   0.0746893   0.5594818 0.566515 2.2762247    2.2762247
           48:59.1   574387 6.35303E+12     5.4816E+13   5494.56   0.0180828   0.0184541   0.0748194   0.5594818 0.57097 2.2801879     2.2801879
           54:02.0   574387 6.35303E+12     5.4816E+13   5496.86   0.0180828   0.0184113   0.0748507   0.5594818 0.569646 2.2811424    2.2811424
           59:04.8   574388 6.35303E+l2   5.41076E+l3    5492.23   0.0180828   0.0184131   0.0757667   0.5594818 0.569701 2.3090591    2.3090591
           04:07.9   574388 6.35303E+l2   5.41076E+13    5492.55   0.0171198   0.0184116   0.0757711   0.5296866 0.569655 2.3091936    2.3091936
           09:11.2   574388 6.35303E+12   5.41076E+13    5499.47   0.0171198    0.018402   0.0758666   0.5296866 0.569358 2.3121029    2.3121029
           14:14.7   574390 6.35303E+l2   5.36713E+13    5497.38   0.0171198   0.0183991   0.0764543   0.5296866 0.569268 2.3300147    2.3300147
                                                                                                                                                    Document: 39-3




           19:17.4   574393 6.35303E+12    5.4543E+13    5505.67   0.0171198   0.0188975   0.0753459   0.5296866 0.584689 2.296235      2.296235
           24:20.4   574393 6.35303E+12    S.4543E+13    5525.72   0.0171198   0.0194457   0.0756203   0.5296866 0.60165 2.3045972     2.3045972
           29:23.6   574393 6.35303E+l2    5.4543E+13    5532.69   0.0171198   0.0193998   0.0757157   0.5296866 0.60023 2.3075042




Appx3014
                                                                                                                                       2.3075042
           34:27.1   574393 6.35303E+12    5.4543E+13    5548.77   0.0171198   0.0195967   0.0759358   0.5296866 0.606322 2.3142106    2.3142106
           39:30.2   574394 6.35303E+l2   5.38779E+13    5540.68   0.0171198   0.0195476    0.076761   0.5296866 0.604803 2.3393597    2.3393597
           44:33.4   574395 6.35303E+l2   5.53825E+13    5512.91   0.0171198   0.0198241   0.0743014   0.5296866 0.613358 2.2644017    2.2644017
           49:36.3   574395 6.35303E+l2   5.53825E+13    5524.53   0.0171198   0.0195437    0.074458   0.5296866 0.604682 2.2691746    2.2691746
                                                                                                                                                    Page: 224




           54:39.3   574395 6.35303E+12   5.53825E+13     5525.3   0.0171198   0.0195692   0.0744684   0.5296866 0.605471 2.2694909    2.2694909
           59:42.3   574395 6.35303E+12   5.53825E+13    5518.69   0.0171198   0.0192178   0.0743793   0.5296866 0.594599 2.2667759    2.2667759
           04:45.3   574395 6.35303E+12   5.53825E+13     5533.7   0.0177576   0.0191891   0.0745816   0.5494201 0.593711 2.2729411    2.2729411
           09:48.1   574395 6.35303E+l2   5.53825E+13    5530.29   0.0177576   0.0191378   0.0745356   0.5494201 0.592124 2.2715405    2.2715405
           14:51.2   574396 6.35303E+12   5.44713E+l3    5534.64   0.0177576   0.0189612   0.0758421   0.5494201 0.58666 2.3113551     2.3113551
           19:54.1   574396 6.35303E+12   5.44713E+13    5544.31   0.0177576   0.0189168   0.0759746   0.5494201 0.585286 2.3153934    2.3153934
           24:57.0   574396 6.35303E+12   5.44713E+13    5549.76   0.0177576    0.018934   0.0760493   0.5494201 0.585818 2.3176694    2.3176694
           30:00.1   574397 6.35303E+l2   5.38389E+13    5535.92   0.0177576    0.019027   0.0767506   0.5494201 0.588695 2.3390422    2.3390422
           35:03.1   574397 6.35303E+12   5.38389E+l3    5548.11   0.0177576   0.0186692   0.0769196   0.5494201 0.577625 2.3441927    2.3441927
           40:06.4   574397 6.35303E+12   5.38389E+13    5576.84   0.0177576   0.0189082   0.0773179   0.5494201 0.58502 2.3563317     2.3563317
           45:09.S   574397 6.35303E+12   5.38389E+13    5588.49   0.0177576   0.0188137   0.0774794   0.5494201 0.582096 2.3612541    2.3612541
                                                                                                                                                    Filed: 01/02/2024




           50:12.8   574397 6.35303E+12   5.38389E+13    5580.14   0.0177576   0.0194016   0.0773636   0.5494201 0.600286 2.3577261    2.3577261
           55:16.0   574397 6.35303E+l2   5.38389E+13    5584.03   0.0177576   0.0194473   0.0774176   0.5494201    0.6017 2.3593697   2.3593697
           00:19.0   574398 6.35303E+12   5.24135E+13    5587.36   0.0179634   0.0194473   0.0795704   0.5557876    0.6017 2.4249801   2.4249801
           05:22.0   574399 6.35303E+12   5.22154E+13    5575.01   0.0179634   0.0198978   0.0796957   0.5557876 0.615638 2.4287994    2.4287994
           10:25.0   574400    6.35303E+12    5.19602E+13   5558.15   0.0179634   0.0 197059     0.079845    0.5557876 0.609701    2.4333473    2.4333473
           15:28.S   5 74400   6.35303 E+12   5.19602E+13    5577.5   0.0179634   0.0197937     0.0801229    0.5557876 0.612417    2.4418187    2.4418187
           20:31.4   574400    6.35303E+l 2   5.19602E+13   5579.19   0.0179634    0 .019798    0.0801472    0.5557876 0.61255     2.4425586    2.4425586
           25:34.2   574401    6.35303E+l2    5.14241E+l3   5571.72   0.0179634   0.0199501     0.0808744    0.5557876 0.617256    2.4647197    2.4647197
           30:37.l   574401    6.35303E+l2    5.14241E+l3   5570.01   0.0179634   0.0199163     0.0808496    0.5557876 0.61621     2.4639632    2.4639632
           35:40.l   574402    6.35303E+l2    5.15991£+13    5590.6   0.0179634   0.0206372     0.0808732    0.5557876 0.638515    2.4646821    2.4646821
           40:43.0   574403    6.35303E+l2    5.16659£+13   5618.11   0.0179634   0.0201332     0.0811661    0.5557876 0.622921    2.4736097    2.4736097
           45:45.9   574404    6.35303E+l 2   5.22163£+13   5610.56   0.0179634   0.0220943     0.0802027    0.5557876 0.683598     2.444248     2.444248
           50:48.6   574406    6.35303E+l2    5.44332E+l3   5659.03   0.0179634   0.0201857     0.0776008    0.5557876 0.624546    2.3649536    2.3649536
           55:51.S   574406    6.35303£+12    5.44332E+l3   5657.45   0.0179634   0 .0201063    0.0775791    0.5557876 0.622089    2.3642933    2.3642933
           00:54.3   574407    6.35303£+12    5.44179E+13   5681.44   0.0187756   0.0190108     0.0779301    0.5809171 0.588194    2.3749899    2.3749899
           05:57.2   574408    6.35303E+l2    5.43366E+l3   5664.77   0.0187756   0.0196478
                                                                                                                                                             Case: 23-1922




                                                                                                0.0778177    0.5809171 0.607903    2.3715634    2.3715634
           11:00.1   574409    6.35303E+ 12   5.45039E+13   5675.15   0.0187756    0.019932     0.0777209    0.5809171 0.616696     2.368615     2.368615
           16:03.S   574409    6.35303E+12    5.45039E+13    5712.4   0.0187756   0.0201859     0.0782311    0.5809171 0.624552    2.3841619    2.3841619
           21:07.1   574409    6.35303E+l2    5.45039E+l3   5686.74   0.0187756   0.0225242     0.0778796    0.5809171 0.696899    2.3734522    2.3734522
           26:10.3   574410    6.35303E+l2     5.4739E+l3   5682.68   0.0187756   0.0206965     0.0774898    0.5809171 0.64035     2.3615721    2.3615721
           31:13.5   574410    6.35303£+12     5.4739E+l3   5696.73   0.0187756   0.0215966     0.0776814    0.5809171 0.668199    2.3674109    2.3674109
           36:16.9   574410    6.35303E+12     5.4739E+l3   5721.55   0.0187756   0.0216764     0.0780199    0.5809171 0.670668    2.3777254    2.3777254
           41:19.9   574410    6.35303E+l2     5.4739E+13   5723.36   0.0187756   0.0214227     0.0780445    0.5809171 0.662818    2.3784776    2.3784776
           46:23.0   574410    6.35303E+12     5.4739E+l3   5753.44   0.0187756   0.0229512     0.0784547    0.5809171 0.71011     2.3909781    2.3909781
           51:26.1   574410    6.35303E+l2     5.4739E+l3   5751.61   0.0187756   0.0234893     0.0784298    0.5809171 0.726759    2.3902176    2.3902176
           56:29.0   574412    6.35303E+l2    5.33495E+13   5783.15   0.0187756   0.0444265     0.0809138    0.5809171 1.374556     2.465921     2.465921
                                                                                                                                                             Document: 39-3




           01:31.9   574412    6.35303E+12    5.33495E+13   5778.34   0.0236295   0.0250626     0.0808465    0.7310967 0.775437       2.46387      2.46387
           06:34.9   574412    6.35303£+12    5.33495E+l3   5717.03   0.0236295   0.0224619     0.0799887    0.7310967 0.694971    2.4377276    2.4377276
           11:38.0   574412    6.35303E+ 12   5.33495E+l3   5720.45   0.0236295   0.0232839     0.0800365    0.7310967 0.720404    2.4391858    2.4391858




Appx3015
           16:40.9   574413    6.35303E+l2    5.25253£+13   5714.68   0.0236295   0.0234838     0.0812103    0.7310967 0.726589    2.4749582    2.4749582
           21:43.7   574413    6.35303E+12    5.25253£+13   5731.49   0.0236295   0.0221746     0.0814492    0.7310967 0.686082    2.4822384    2.4822384
           26:46.8   574413    6.35303E+l2    5.25253E+13   5723.09   0.0236295   0.0254915     0.0813299    0.7310967 0.788707    2.4786004    2.4786004
           31:50.0   574414    6.35303E+12    5.19701E+13   5734.99   0.0236295   0.0253002     0.0823697    0.7310967 0.782788    2.5102894    2.5102894
                                                                                                                                                             Page: 225




           36:53.0   574414    6.35303E+12    5.19701E+l3   5744.23   0.0236295   0.0255777     0.0825024    0.7310967 0.791374    2.5143339    2.5143339
           41:56.0   574416    6.35303E+l2    5.19215E+13   5727.36   0.0236295   0.0254854     0.0823371    0.7310967 0.788518    2.5092973    2.5092973
           46:59.2   574418    6.35303E+12    5.19586E+13   5734.35   0.0236295   0.0224637     0.0823788    0.7310967 0.695027     2.510567     2.510567
           52:02.0   574420    6.35303E+l2    5.25895E+13   5710.56   0.0236295    0.036317     0.08105 29   0.7310967 1.123648    2.4701587    2.4701587
           57:05.3   574421    6.35303E+l2    5.25734£+13   5677.64   0.0236295    0 .023519    0.0806102    0.7310967 0.727678    2.4566683    2.4566683
           02:08.1   574422    6.35303E+l2     5.2543E+l3   5686.55   0.0268916   0.0219254     0.0807834    0.8320261 0.678372    2.4619458    2.4619458
           07:11.0   574423    6.35303E+12    5.29406E+13   5686.98   0.0268916   0.0218438     0.0801828    0.8320261 0.675847    2.4436417    2.4436417
           12:13.8   574424    6.35303E+12    5.28202E+13   5690.22   0.0268916   0.0219166     0.0804113    0.8320261    0.6781   2.4506078    2.4506078
           17:16.6   574424    6.35303E+12    5.28202E+l3   5676.93   0.0268916        0.0283   0.0802235    0.8320261 0.875602    2.4448842    2.4448842
           22:19.S   574426    6.35303E+l2    5.30049E+l3   5683.45   0.0268916   0.0487112     0.0800358    0.8320261 1.507125    2.4391635    2.4391635
           27:23.6   574426    6.35303E+12    5.30049E+13   5679.11   0.0268916   0.2372194     0.0799747    0.8320261 7.339568    2.4373009    7.3395682
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           32:27.6   574427    6.35303E+l2    5.28466E+l3    5693.6   0.0268916   0.2295848     0.0804189    0.8320261 7.103354    2.4508373    7.1033537
           37:30.4   574427    6.35303E+12    5.28466E+l3   5702.84   0.0268916   0.0489678     0.0805494    0.8320261 1.515064    2.4548147    2.4548147
           42:33.4   574428    6.35303E+12     5.2354E+l3   5719.96   0.0268916   0.0279098     0.0815514    0.8320261 0.863529    2.4853515    2.4853515
           47:36.4   574428    6.35303E+l2     5.2354E+l3   5723.27   0.0268916   0.0281961     0.0815986    0.8320261 0.872387    2.4867897    2.4867897
           52:39.2   574428   6.35303E+12     5.2354£+13   5713.35   0.0268916   0.0284418    0.0814571   0.8320261 0.879989     2.4824794    2.4824794
           57:41.9   574429   6.35303E+12   5.15634£+13    5701.89   0.0268916   0.0240122    0.0825403   0.8320261 0.742938     2.5154886    2.5154886
           02:44.8   574429   6.35303£+12   5.15634E+ 13   5699.76   0.0275399   0.0225376    0.0825094   0.8520845 0.697313     2.5145489    2.5145489
           07:47.7   574429   6.35303E+12   5.15634£+13    5710.93   0.0275399   0.0233152    0.0826711   0.8520845 0.721372     2.5194768    2.5194768
           12:50.6   574430   6.35303E+l2   5.12815£+13    5715.01   0.0275399   0.0234875    0.0831849   0.8520845 0.726703     2.5351334    2.5351334
           17:53.7   574430   6.35303£+12   5.12815£+13    5705.63   0.0275399   0.0238366    0.0830483   0.8520845 0.737504     2.5309725    2.5309725
           22:56.5   574430   6.35303£+12   5.12815£+13    5712.82   0.0275399   0.0238261     0.083153   0.8520845 0.73718      2.5341619    2.5341619
           27:59.5   574430   6.35303£+12   5.12815£+13    5735.12   0.0275399   0.0239167    0.0834776   0.8520845 0.739983      2.544054     2.544054
           33:02.8   574430   6.35303£+12   5.12815£+13    5742.14   0.0275399    0.024794    0.0835797   0.8520845 0.767126      2.547168     2.547168
           38:06.1   574430   6.35303£+12   5.12815£+13     5731.9   0.0275399   0.0244682    0.0834307   0.8520845 0.757046     2.5426257    2.5426257
           43:09.2   574430   6.35303£+12   5.12815£+13    5731.35   0.0275399   0.0248106    0.0834227   0.8520845 0.76764      2.5423817    2.5423817
           48:12.0   574430   6.35303£+12
                                                                                                                                                           Case: 23-1922




                                            5.12815E+13    5726.26   0.0275399    0.047908    0.0833486   0.8520845 1.482274     2.5401238    2.5401238
           53:15.1   574432   6.35303£+12   4.99455£+13    5722.76   0.0275399   0.0287109    0.0855259   0.8520845 0.888315     2.6064774    2.6064774
           58:18.0   574432   6.35303£+12   4.99455E+13    5706.12   0.0275399   0.0476729    0.0852772   0.8520845      1.475   2.5988986    2.5988986
           03:21.0   574433   6.35303£+12   4.98413£+13    5718.48    0.027516   0.0268482    0.0856405    0.851345 0.830683     2.6099708    2.6099708
           08:24.1   574435   6.35303£+12   4.97656£+13    5722.49    0.027516   0.0239382     0.085831    0.851345 0.740648     2.6157766    2.6157766
           13:27.6   574435   6.35303E+12   4.97656£+13    5731.99    0.027516    0 .024889   0.0859735    0.851345 0.770066     2.6201191    2.6201191
           18:31.2   574437   6.35303E+l2   4.98823£+13    5729.41    0.027516   0.0274338    0.0857336    0.851345 0.848802        2.61281      2.61281
           23:34.4   574438   6.35303£+12    4.9928E+13    5727.98    0.027516   0.0263334    0.0856339    0.851345 0.814755     2.6097702    2.6097702
           28:37.4   574438   6.35303£+12    4.9928E+13    5745.01    0.027516   0.0483259    0.0858885    0.851345 1.495203     2.6175294    2.6175294
           33:41.0   574441   6.35303£+12   5.04581£+13     5733.7    0.027516    0.027147    0.0848189    0.851345 0.839928     2.5849309    2.5849309
           38:43.9   574441   6.35303£+12   5.04581E+13    5748.11    0.027516   0.0269173     0.085032    0.851345 0.832821     2.5914274    2.5914274
                                                                                                                                                           Document: 39-3




           43:47.1   574442   6.35303£+12   5.28842£+13    5748.64    0.027516    0.048425    0.0811386    0.851345 1.49827      2.4727723    2.4727723
           48:50.4   574442   6.35303£+12   5.28842£+13    5745.02    0.027516   0.0346966    0.0810875    0.851345 1.073513     2.4712151    2.4712151
           53:53.5   574442   6.35303£+12   5.28842£+13    5746.74    0.027516    0.026743    0.0811118    0.851345 0.827428      2.471955     2.471955




Appx3016
           58:56.5   574443   6.35303£+12   5.28228£+13    5739.99    0.027516   0.0256215    0.0811107    0.851345 0.792729     2.4719226    2.4719226
           03:59.3   574443   6.35303£+12   5.28228£+13    5735.16   0.0300224   0.0258636    0.0810425   0.9288931 0.80022      2.4698426    2.4698426
           09:02.7   574443   6.35303£+12   5.28228£+13    5751.51   0.0300224   0.0247336    0.0812735   0.9288931 0.765258     2.4768837    2.4768837
           14:05.7   574443   6.35303£+12   5.28228£+13    5760.39   0.0300224   0.0249539     0.081399   0.9288931 0.772074     2.4807079    2.4807079
                                                                                                                                                           Page: 226




           19:09.0   574443   6.35303£+12   5.28228£+13     5759.7   0.0300224   0.0252528    0.0813893   0.9288931 0.781322     2.4804107    2.4804107
           24:12.2   574444   6.35303£+12   5.21447£+13    5765.94   0.0300224   0.0251079    0.0825368   0.9288931 0.776838     2.5153845    2.5153845
           29:15.1   574445   6.35303£+12   5.19166£+13    5760.01   0.0300224    0.028066    0.0828144   0.9288931 0.868362     2.5238421    2.5238421
           34:18.0   574446   6.35303E+12   5.17083E+13    5752.55   0.0300224   0.0345945    0.0830402   0.9288931 1.070354     2.5307244    2.5307244
           39:20.9   574446   6.35303£+12   5.17083£+13    5767.39   0.0300224   0.0278833    0.0832544   0.9288931 0.862709      2.537253     2.537253
           44:23.9   574446   6.35303£+12   5.17083£+13    5759.99   0.0300224   0.0266611    0.0831476   0.9288931 0.824894     2.5339975    2.5339975
           49:26.8   574448   6.35303£+12   5.19511£+13    5756.94   0.0300224   0.0267976    0.0827151   0.9288931 0.829118     2.5208172    2.5208172
           54:30.1   574448   6.35303£+12   5.19511£+13     5735.1   0.0300224   0.0267019    0.0824013   0.9288931 0.826157      2.511254     2.511254
           59:33.0   574448   6.35303£+12   5.19511£+13    5719.45   0.0300224   0.0300539    0.0821764   0.9288931 0.929868     2.5044012    2.5044012
           04:36.4   574448   6.35303E+12   5.19511£+13     5702.8   0.0292181   0.0270051    0.0819372    0.904008 0.835538     2.4971106    2.4971106
           09:39.4   574449   6.35303E+12   5.17328£+13    5699.65   0.0292181   0.0251577    0.0822376    0.904008 0.778379     2.5062642    2.5062642
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           14:42.6   574450   6.35303£+12   5.16724£+13    5715.01   0.0292181   0.0257413    0.0825556    0.904008 0.796436     2.5159564    2.5159564
           19:45.6   574450   6.35303£+12   5.16724£+13     5715.9   0.0292181   0.0260754    0.0825685    0.904008 0.806773     2.5163482    2.5163482
           24:48.6   574450   6.35303£+12   5.16724£+13    5710.01   0.0292181   0.0257615    0.0824834    0.904008 0. 797061    2.5137552    2.5137552
           29:51.6   574450   6.35303E+l2   5.16724£+13    5720.01   0.0292181   0.0258404    0.0826278    0.904008 0.799502     2.5181576    2.5181576
           34:54.4   574450 6.35303E +l2   5.16724E +l3   5725.31   0.029218 1   0.025550 7   0.082704 4
           39:57.2   574452 6.35303E +l2   5.09821E+13
                                                                                                           0.904008 0.790539 2.520490 8    2.5204908
                                                          5720.01   0.029218 1   0.026108 3   0.0837466
           45:00.3   5 74454 6.35303E+12   5.11925E+l3                                                     0.904008 0.807791 2.552253 3    2.5522533
                                                          5714.05   0.029218 1    0.026223
           50:03.4   574454 6.35303E +l2                                                      0.083315 5   0.904008 0.81134 2.539113 9
                                           5.11925E +l3   5704.48   0.029218 1                                                             2.5391139
                                                                                  0.02501 8   0.083175 9
           55:06.5   574454 6.35303E +l2   5.11925E+l3
                                                                                                           0.904008 0.774057 2.534861 4    2.5348614
                                                          5709.99   0.029218 1   0.024277 9   0.083256 3
           00:09.5   574454 6.35303E +l2   5.11925E+13
                                                                                                           0.904008 0.751158 2.53730 98    2.537309 8
                                                          5711.52   0.031611 7   0.0239833
           05:12.8   574454 6.35303E +l2                                                      0.083278 6   0.97806 6 0.742043 2.537989 7
                                           5.11925E +l3   5715.02   0.031611 7                                                             2.5379897
                                                                                 0.02514 84   0.083329 6
           10:15.8   574454 6.35303E +l2   5.11925E +l3
                                                                                                           0.978066 0.77809 2 2.539545      2.539545
                                                          5705.02   0.031611 7    0.024145    0.083183 8   0.97806 6 0.747046 2.5351013    2.5351013
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Appx3017
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                                                                                                                                                        Filed: 01/02/2024
           Case: 23-1922       Document: 39-3       Page: 228   Filed: 01/02/2024




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